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 1   [Submitting Counsel on Signature Page]
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11                             UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF CALIFORNIA
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13
     IN RE: JUUL LABS, INC. MARKETING,                 Case No.
14
     SALES PRACTICES, AND PRODUCTS
15   LIABILITY LITIGATION                              MDL No. 19-md-02913-WHO

16
      THIS DOCUMENT RELATES TO:                        COMPLAINT
17    Spartanburg County School District Four v.
      JUUL Labs, Inc., Altria Group, Inc., Philip      JURY TRIAL DEMANDED
18
      Morris USA, Inc., Altria Client Services, LLC,
19    Altria Group Distribution Company, James
      Monsees, Adam Bowen, Nicholas Pritzker,
20    Hoyoung Huh, and Riaz Valani
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 1                                       I.     INTRODUCTION

 2           1.       The battle to end nicotine addiction and its associated diseases and death has
 3   consumed our nation’s public health resources for more than half a century. After five decades of
 4   tireless efforts by public health advocates, litigators, and regulators, the war on tobacco was on
 5   the path to victory. By 2014, rates of smoking and nicotine addiction in this country were finally
 6   at an all-time low, particularly among teenagers. Until now. The United States, closer than ever
 7   to consigning the nicotine industry to the dustbin of history, now faces a youth nicotine epidemic
 8   of historic proportions.
 9           2.       JUUL products are rampant in the nation’s schools, with the percentage of 12th
10   graders who reported consuming nicotine almost doubling between 2017 and 2018. In 2019, more
11   than five million middle and high school students reported current use of e-cigarettes, including
12   more than one in every four high schoolers. Consistent with this national trend, youth e-cigarette
13   consumption rates in Spartanburg County School District Four (“Spartanburg Four” or
14   “Plaintiff”) continue to climb. The Surgeon General has warned that this new “epidemic of youth
15   e-cigarette use” could condemn a generation to “a lifetime of nicotine addiction and associated
16   health risks.” The swift rise in a new generation of nicotine addicts has overwhelmed parents,
17   schools, and the medical community (including county public health departments) on the front
18   lines dealing with this crisis, drawing governmental intervention at nearly every level—but it’s
19   too little, too late.
20           3.       This public health crisis is no accident. What had been lauded as progress in
21   curbing cigarette use, JUUL Labs Inc.’s (JLI) co-founders Adam Bowen and James Monsees
22   viewed as opportunity. Seizing on the decline in cigarette consumption and the lax regulatory
23   environment for e-cigarettes, Bowen, Monsees, and investors in their company sought to
24   introduce nicotine to a whole new generation, with JLI as the dominant supplier. To achieve that
25   common purpose, they knew they would need to create and market a product that would make
26   nicotine cool again, without any of the stigma associated with cigarettes. With help from their
27   early investors and board members, who include Nicholas Pritzker, Riaz Valani, and Hoyoung
28


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 1   Huh (together, the “Management Defendants”), they succeeded in hooking millions of youth, and,

 2   of course, earning billions of dollars in profits.

 3           4.      Every step of the way, JLI, by calculated intention, adopted the cigarette industry’s

 4   playbook, in coordination with one of that industry’s innovators, cigarette giant Altria. JLI was

 5   created in the image of the iconic American cigarette companies, which JLI founders praised for

 6   creating “the most successful consumer product of all time. . . . an amazing product.” The secret

 7   to that “amazing product”? Nicotine, a chemical that has deleterious effects on developing young

 8   brains, is the fundamental reason that people persist in using tobacco products even though they

 9   can cause pulmonary injuries, cardiovascular disease and other serious, often fatal, conditions.

10   Through careful study of decades of cigarette industry documents, JLI knew that the key to

11   developing and sustaining addiction was the amount and the efficiency of the nicotine delivery.

12           5.      Three tactics were central to decades of cigarette industry market dominance:

13   product design to maximize addiction; mass deception; and targeting of youth. JLI and its co-

14   conspirators adopted and mastered them all. First, JLI and Bowen designed JUUL products to

15   create and sustain addiction, not break it. JLI and Bowen were the first to design an e-cigarette

16   that could compete with combustible cigarettes on the speed and strength of nicotine delivery.

17   Indeed, JUUL products use nicotine formulas and delivery methods much stronger than

18   combustible cigarettes, confirming that what JLI and Bowen designed was a starter product

19   designed for youth, not a cessation or cigarette replacement product. JLI and Bowen also

20   innovated by making an e-cigarette that was smooth and easy to inhale, practically eliminating

21   the harsh “throat hit,” which otherwise deters nicotine consumption, especially among nicotine

22   “learners,” as R.J. Reynolds’ chemist Claude Teague called new addicts, primarily young people.

23           6.      Second, JLI and the Management Defendants, just like cigarette companies before

24   them, targeted kids as their customer base. One of JLI’s “key needs” was the need to “own the

25   ‘cool kid’ equity.” JUUL products were designed to appear slick and high-tech like a cool gadget,

26   including video-game-like features like “party mode.” JLI offered kid-friendly flavors like mango

27   and cool mint, and partnered with Altria to create and preserve the market for mint-flavored
28   products—all because Defendants knew that flavors get young people hooked. Under the guise


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 1   of youth smoking prevention, JLI sent representatives directly to schools to study teenager e-

 2   cigarette preferences.

 3          7.      Third, JLI, the Management Defendants and Altria engaged in a campaign of

 4   deceit, through sophisticated mass media and social media communications, advertisements and

 5   otherwise, about the purpose and dangers of JUUL products. JUUL products’ packaging and

 6   advertising grossly understates the nicotine content in its products. Advertising campaigns

 7   featured JUUL paired with food and coffee, positioning JUUL as part of a healthy meal, a normal

 8   part of a daily routine, and as safe as caffeine. In partnership with Altria, JLI adopted a “Make

 9   the Switch” campaign to mislead the public into thinking that JLI products were benign smoking

10   cessation devices, even though JUUL was never designed to break addictions. JLI, the

11   Management Defendants, and Altria also concealed the results of studies that revealed that JUUL

12   products were far more powerfully addictive than was disclosed. JLI’s deceptive marketing

13   scheme was carried out across the country through broad distribution channels: veteran cigarette

14   industry wholesalers, distributors and retailers ensured that JUUL products would become widely

15   available to a new market of nicotine-newcomers, especially youth. JLI and the Management

16   Defendants joined with these veteran cigarette industry marketers to secure premium shelf space

17   for vivid displays at convenience stores, like 7-11, and gas stations, including Chevron, that would

18   lure e-cigarette users, particularly young people, who would become long-term customers. These

19   marketing efforts have been resounding successes—when JUUL products were climbing in sales,

20   most youth—and their parents—believed that e-cigarettes did not contain nicotine at all.

21          8.      JLI and the Management Defendants reached their intended demographic through

22   a diabolical pairing of notorious cigarette company advertising techniques (long banned for

23   cigarettes because they cause young people to start smoking) with cutting-edge viral marketing

24   campaigns and social media. They hired young models and advertised using bright, “fun” themes,

25   including on media long barred to the cigarette industry, such as billboards, on children’s websites

26   such as “Nick Junior” and Cartoon Network, and on websites providing games and educational

27   tools to students in middle school and high school. JLI and the Management Defendants also
28   employed young social-media “influencers” and celebrities popular with teenagers. When the


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 1   public, regulators, and Congress caught onto JLI’s relentless focus on children, JLI and the

 2   Management Defendants simply lied, even though they knew well that they had purposefully

 3   targeted youth in their marketing and those efforts had been breathtakingly successful.

 4          9.      It should come as little surprise that JLI and the Management Defendants’

 5   misconduct, expressly patterned after decades of cigarette company practices, could not have been

 6   carried out without the involvement and expertise of an actual cigarette company. In December

 7   2018, Altria paid $12.8 billion to acquire a 35% stake in JLI. Nicholas Pritzker and Riaz Valani

 8   led the negotiations for JLI and worked closely with Altria’s executives to secure Altria’s

 9   agreement to pull its own competing e-cigarette product off the market and instead throw its vast

10   resources and cigarette industry knowledge behind JUUL. Altria thus supported and ultimately

11   directed JLI, working to ensure its continued success despite Altria’s knowledge that JLI and the

12   Management Defendants’ had misled the public and targeted youth. JUUL’s market dominance

13   was established, positioning Altria and the Management Defendants to share in JLI’s profits.

14   Defendants’ conduct prompted the Federal Trade Commission to sue JLI and Altria on April 1,

15   2020 alleging violations of the antitrust laws and seeking to unwind the JLI/Altria transaction.

16   But even well before Altria announced its investment in JLI, the connections between the two

17   companies ran deep. With the assistance and direction of the Management Defendants, Altria

18   collaborated with JLI to maintain and grow JUUL sales, despite its knowledge that JUUL was

19   being marketed fraudulently to all consumers and targeted to youth, including by sharing data and

20   information and coordinating marketing activities, including acquisition of key shelf space next

21   to top-selling Marlboro cigarettes. Altria’s investment in JLI is not merely a financial proposition,

22   but a key element of Defendants’ plan to stave off regulation and public outcry and keep their

23   most potent and popular products on the market. JLI (and the Management Defendants) have

24   benefitted from Altria’s expertise in designing and marketing addictive products, and in thwarting

25   regulation.

26          10.     There is no doubt about it—JLI, the Management Defendants, Altria, and their co-

27   Defendants have created this public health crisis. At the heart of this disastrous epidemic are the
28   concerted efforts of JLI, its co-conspirators, and all those in JUUL’s supply and distribution chain


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 1   to continuously expand their market share and profits by preying upon a vulnerable young

 2   population and deceiving the public about the true nature of the products they were selling.

 3   Nicotine is not benign like coffee, contrary to what many JUUL users believe. Nor is the aerosol

 4   as harmless as puffing room air. Worse, the flavors in JUUL products are themselves toxic and

 5   dangerous, and have never been adequately tested to ensure they are safe for inhalation.

 6   According to the most recent scientific literature, JUUL products cause acute and chronic

 7   pulmonary injuries, cardiovascular conditions, and seizures. Yet JUUL products and advertising

 8   contain no health risk warnings at all. And a generation of kids is now hooked, ensuring long-

 9   term survival of the nicotine industry because, today just as in the 1950s, 90% of smokers start as

10   children.

11                                 II.     JURISDICTION AND VENUE

12          11.       This Court has subject matter jurisdiction over this action pursuant to 28 U.S.C. §
13   1331 because Plaintiff’s racketeering claim arises under the laws of the United States, 18 U.S.C.
14   § 1961 et seq., and pursuant to 28 U.S.C. § 1332(a) because: (i) the amount in controversy exceeds
15   $75,000, exclusive of interests and costs, and (ii) the plaintiff and defendants are citizens of
16   different states. This Court has supplemental jurisdiction over the state law claims pursuant to 28
17   U.S.C. § 1367.
18          12.       The Court has personal jurisdiction over Defendants because they do business in
19   the Northern District of California and have sufficient minimum contacts with the District.
20   Defendants intentionally avail themselves of the markets in this State through the promotion,
21   marketing, and sale of the products at issue in this lawsuit in California, and by retaining the
22   profits and proceeds from these activities, to render the exercise of jurisdiction by this Court
23   permissible under California law and the U.S. Constitution.
24          13.       In addition, Defendant JUUL Labs Inc. has its principal place of business in the
25   Northern District of California and Defendants Monsees, Bowen, Pritzker, and Valani reside
26   within the Northern District of California, making them subject to the general jurisdiction of this
27   Court. Defendant Huh resided in the Northern District of California when he engaged in the
28   conduct alleged herein.

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 1           14.     All Defendants have materially participated in conduct that had intended and

 2   foreseeable effects on Plaintiff such that the forum Court could exercise personal jurisdiction over

 3   defendants. Defendants’ conduct was purposefully directed at Plaintiff and similarly situated

 4   plaintiffs throughout the United States and in each forum.

 5           15.     The Court also has personal jurisdiction over JLI, the Management Defendants,

 6   and Altria under 18 U.S.C. § 1965, because at least one of these Defendants has sufficient

 7   minimum contacts with the District.

 8           16.     Venue is proper in the Northern District of California pursuant to 28 U.S.C. § 1391

 9   (b)(2) and (3) because a substantial part of the events or omissions giving rise to the claims at

10   issue in this Complaint arose in this District and Defendants are subject to the Court’s personal

11   jurisdiction with respect to this action.

12                                               III.   PARTIES

13
     Plaintiff
14
             17.     Plaintiff Spartanburg County School District Four is a school district organized
15
     and operating pursuant to the laws of the State of South Carolina. Plaintiff’s offices are located
16
     on 118 McEdco Road, Woodruff, South Carolina 29388.
17
     JUUL Labs, Inc.
18

19           18.     Defendant JUUL Labs, Inc. (“JLI”) is a Delaware corporation, having its principal

20   place of business in San Francisco, California. Ploom, Inc., a predecessor company to JLI, was

21   incorporated in Delaware on March 12, 2007. In 2015, Ploom, Inc. changed its name to PAX

22   Labs, Inc. In April 2017, PAX Labs, Inc. changed its name to JUUL Labs, Inc., and formed a new

23   subsidiary corporation with its old name, PAX Labs, Inc. That new subsidiary, PAX Labs, Inc.

24   (“PAX”), was incorporated in Delaware on April 21, 2017 and has its principal place of business

25   in San Francisco, California.

26           19.     JLI designs, manufactures, sells, markets, advertises, promotes and distributes

27   JUUL e-cigarettes devices, JUUL pods and accessories (collectively “JUUL” or “JUUL
28   products”). Prior to the formation of separate entities PAX Labs, Inc. and JLI in or around April


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 1   2017, JUUL designed, manufactured, sold, marketed, advertised, promoted, and distributed JUUL

 2   under the name PAX Labs, Inc.

 3             20.   Together with its predecessors, JUUL Labs, Inc is referred to herein as “JLI.”

 4   Altria Defendants

 5             21.   Defendant Altria Group, Inc., (“Altria” or “Altria Group” or together with its

 6   wholly owned subsidiaries and their predecessors, “Altria” or together with Defendants Philip

 7   Morris USA, Inc., Altria Client Services LLC, and Altria Group Distribution Company, the “Altria

 8   Defendants”) is a Virginia corporation, having its principal place of business in Richmond,

 9   Virginia. Altria is one of the world’s largest producers and marketers of tobacco products,

10   manufacturing and selling combustible cigarettes for more than a century.

11             22.   Defendant Philip Morris USA, Inc. (“Philip Morris”), is a wholly-owned

12   subsidiary of Altria. Philip Morris is also a Virginia corporation that has its principal place of

13   business in Richmond, Virginia. Philip Morris is engaged in the manufacture and sale of cigarettes

14   in the United States. Philip Morris is the largest cigarette company in the United States. Marlboro,

15   the principal cigarette brand of Philip Morris, has been the largest selling cigarette brand in the

16   United States for over 40 years.

17             23.   On December 20, 2018, Altria Group and Altria Enterprises LLC purchased a 35%

18   stake in JLI. Altria and JLI executed a Services Agreement that provides that Altria, through its

19   subsidiaries, Philip Morris, Altria Client Services LLC, and Altria Group Distribution Company,

20   would assist JLI in the selling, marketing, promoting, and distributing of JUUL, among other

21   things.

22             24.   Defendant Altria Client Services LLC (“Altria Client Services” or “ACS”) is a

23   Virginia limited liability company with its principal place of business in Richmond, Virginia.

24   Altria Client Services provides Altria Group, Inc. and its companies with services in many areas

25   including digital marketing, packaging design & innovation, product development, and safety,

26   health, and environmental affairs. Pursuant to Altria’s Relationship Agreement with JLI, Altria

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 1   Client Services assists JLI in the sale, marketing, promotion and distribution of JUUL products.1

 2   Such services include database support, direct marketing support, and premarket product

 3   application support.2 On September 25, 2019, the former senior vice president and chief growth

 4   officer of Altria Client Services, K.C. Crosthwaite, became the new chief executive officer of JLI.

 5          25.     Defendant Altria Group Distribution Company (“AGDC”) is a Virginia

 6   corporation and wholly owned subsidiary of Altria Group, Inc. with its principal place of business

 7   in Richmond, Virginia. Altria Group Distribution Company provides sales, distribution and

 8   consumer engagement services to Altria’s tobacco companies. Altria Group Distribution

 9   Company performs services under the Relationship Agreement to assist JLI in the sale, marketing,

10   promotion and distribution of JLI. Such services include JUUL-distribution support, the removal

11   by Altria Group Distribution Company of Nu Mark products (such as Green Smoke or MarkTen)

12   and fixtures in retail stores and replacing them with JUUL products and fixtures, and sales support

13   services.

14          26.     While Plaintiff has attempted to identify the specific Altria defendant which

15   undertook certain acts alleged in this Complaint, it was not always able to do so due to ambiguities

16   in Altria’s and JLI’s own documents. References in these internal documents to “Altria” without

17   further detail are common. In other words, Defendants do not always specify which entity is

18   involved in particular activities in their own internal documentation. Moreover, key employees

19   moved freely between Altria Group, Inc. and its various operating subsidiaries, including

20   defendants Altria Client Services, Altria Group Distribution Company, and Philip Morris USA

21   Inc – each of which is a wholly owned subsidiary of Altria Group, Inc. For example, K.C.

22   Crosthwaite (who would later become CEO of JLI) was at various points from 2017 through 2019

23   employed by Altria Client Services, Philip Morris, and Altria Group. And in its own annual

24   reports to Shareholders, when identifying the “Executive Officers” of Altria Group, Altria states

25

26
     1
27     Altria Group, Inc., Relationship Agreement by and among JUUL Labs, Inc., Altria Group, Inc.,
       and Altria Enterprises LLC (“Relationship Agreement”) (Form 8-K), Ex. 2.2 (Dec. 20, 2018),
28     https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex22.htm.
     2
       Id.
                                                       8
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 1   that the “officers have been employed by Altria or its subsidiaries in various capacities during

 2   the past five years.”3

 3           27.    Notably, Altria Group directs the activities of its varying operating companies,

 4   including defendants Altria Client Services, AGDC, and Philip Morris. For this reason, and unless

 5   otherwise specified, the term “Altria” refers to Altria Group Inc. as the responsible entity, by

 6   virtue of its control over its various operating subsidiaries. To the extent such an assumption is

 7   incorrect, the knowledge of which Altria Group Inc. subsidiary is responsible for specific conduct

 8   is knowledge solely within the possession of the Altria Defendants.

 9   Management Defendants

10           28.    Defendant James Monsees is a resident of the San Francisco Bay area, California.
11   In 2007, he co-founded Ploom with Adam Bowen. He served as Chief Executive Officer of JLI
12   until October 2015. Since October 2015, he has been Chief Product Officer of JLI. At all relevant
13   times, he has been a member of the Board of Directors of JLI until he stepped down in March
14   2020.
15           29.    Defendant Adam Bowen is a resident of the San Francisco Bay area, California.
16   In 2007, he co-founded Ploom with Defendant Monsees. At all relevant times, he has been Chief
17   Technology Officer and a member of the Board of Directors of JLI.
18           30.    Defendant Nicholas Pritzker is a resident of San Francisco, California, and a
19   member of the Pritzker family, which owned the chewing-tobacco giant Conwood before selling
20   it to Reynolds American, Inc., a subsidiary of British American Tobacco. Pritzker received a J.D.
21   from the University of Chicago. He served as president of the Hyatt Hotels Corporation and was
22   a member of its Board of Directors from 1980 to 2007. More recently, he co-founded Tao Capital,
23   an early investor in, among other companies, Tesla Motors and Uber. In 2011, he invested in JLI.4
24   He has been on the Board of Directors of JLI since at least August 2013.5 At least from October
25
     3
       Altria Group, Inc., 2018 Altria Group, Inc. Annual Report at 98, available at
26     http://investor.altria.com/file/4087349/Index?KeyFile=1001250956 (emphasis added)
     4
27     Ainsley Harris, How JUUL went from a Stanford thesis to $16 billion startup, Fast Co. (Mar. 8,
       2020), https://www.fastcompany.com/90263212/how-JUUL-went-from-a-stanford-thesis-to-
28     16-billion-startup.
     5
       JLI01426164.
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 1   2015 to August 2016, he was on the Executive Committee in the Board of Directors and served

 2   as Co-Chairman. He controlled two of JLI’s seven maximum Board seats (the second of which

 3   was occupied at relevant times by Alexander Asseily and Zachary Frankel).6

 4            31.   Defendant Hoyoung Huh currently lives in Florida. During most of the relevant

 5   time period, he lived and worked in the Silicon Valley area, California. He holds an M.D. from

 6   Cornell and a Ph.D. in Genetics/Cell Biology from Cornell/Sloan-Kettering. He has been CEO or

 7   a Board member of numerous biotechnology businesses, including Geron Corporation. Huh has

 8   been on the Board of Directors of JLI since at least June 2015. At least from October 2015 to

 9   August 2016, he was on the Executive Committee in the Board of Directors. Huh occupied the

10   Board seat appointed by a majority of the JLI Board.7 Huh resigned from JLI’s board in May

11   2018.8

12            32.   Defendant Riaz Valani lives near San Jose, California and is a general partner at

13   Global Asset Capital, a San Francisco-based private equity investment firm. He first invested in

14   JLI in 2007, and has been on the Board of Directors of JLI since at least 2007.9 At least from

15   October 2015 to August 2016, he was on the Executive Committee in the Board of Directors.

16   HeHe controlled two JLI’s maximum seven Board seats.10 Beginning around March 2015,

17   Valani’s second seat was occupied by Hank Handelsman; Zach Frankel may have occupied

18   Valani’s second seat starting in 2017, though Handelsman remained on the board.11

19            33.   Defendants Monsees, Bowen, Pritzker, Huh, and Valani are referred to collectively

20   as the “Management Defendants.”

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23   6
       JLI01356230; JLI01356237; JLI00417815 (same in February 2018); JLI01362388;
24     JLI01439393; JLI01440776.
     7
       Id.
25   8
       JLI01425022.
     9
       JLI01437838; Ploom, Inc., Notice of Exempt Offering of Securities (Form D) (May 5, 2011),
26     https://www.sec.gov/Archives/edgar/data/1520049/000152004911000001/xslFormDX01/prima
27     ry_doc.xml.
     10
        JLI01426710; JLI01365707; INREJUUL_00327603; JLI00417815.
     11
28      JLI01356230; JLI01356237; JLI00417815; JLI01365706; JLI01362388; JLI01439393;
       JLI01440776.
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 1          34.     The Altria Defendants, Monsees, Bowen, Pritzker, Huh, and Valani are referred to

 2   collectively as the “RICO Defendants.”

 3                          IV.     GENERAL FACTUAL ALLEGATIONS

 4   A.     Each Defendant Was Instrumental in Seeking to Develop and Market the
            Blockbuster Sequel to Combustible Cigarettes, the “Most Successful Consumer
 5          Product of All Time.”
 6
            35.     JLI’s co-founder James Monsees has described the cigarette as “the most successful
 7
     consumer product of all time . . . an amazing product.”12 This statement, which ignores the fact
 8
     that cigarettes have caused more deaths than any other human invention, contained a kernel of
 9
     truth. When U.S. smoking rates peaked in the mid-1960s, 42% of adults smoked cigarettes.
10
     Cigarettes were everywhere; people smoked on airplanes, in movie theatres, at the office, and at
11
     sports games. Movie stars and sports heroes smoked. Cigarette advertising wallpapered American
12
     life, glamorizing smoking as sophisticated, cool, and the thing to do.
13
            36.     But in reality, of course, this “successful” product has long been the world’s leading
14
     cause of preventable death.
15
            37.     Years of anti-smoking campaigns, including work by local government public
16
     health departments and school-based anti-tobacco programs, have made great strides towards
17
     denormalizing cigarette smoking. But where public health officials and schools saw progress,
18
     others saw an opportunity.
19
            38.     Citing “some problems” inherent in the cigarette, Monsees and JLI co-founder
20
     Adam Bowen set out to “deliver[] solutions that refresh the magic and luxury of the tobacco
21
     category.”13 Monsees saw “a huge opportunity for products that speak directly to those consumers
22
     who aren’t perfectly aligned with traditional tobacco products.”14 Successfully capitalizing on this
23

24
     12
        Kathleen Chaykowski, Billionaires-to-be: Cigarette Breakers–James Monsees and Adam
25     Bowen Have Cornered the US E-Cigarette Market with Juul. Up Next: The World, FORBES
       INDIA (Sept. 27, 2018), www.forbesindia.com/article/leaderboard/billionairestobe-cigarette-
26     breakers/51425/1.
     13
27      Josh Mings, Ploom Model Two Slays Smoking With Slick Design and Heated Tobacco Pods,
       SOLID SMACK (Apr. 23, 2014), www.solidsmack.com/ design/ploom-modeltwo-slick-design-
28     tobacco-pods.
     14
        Id.
                                                      11
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 1   opportunity would mean not only billions of dollars in short-term revenue but lucrative acquisition

 2   by a cigarette industry power player.

 3           39.    Bowen and Monsees took the first major step toward realizing their vision by

 4   deliberately creating an extremely potent nicotine product that looked nothing like a cigarette. But

 5   achieving widespread adoption of their highly addictive product required resources and expertise

 6   beyond those possessed by Bowen, Monsees or others at JLI.

 7           40.    When it became clear that Bowen and Monsees could not achieve vision of growing

 8   the number of nicotine-addicted e-cigarette users to ensure a base of customers for life through JLI

 9   by themselves, the Management Defendants planned a fundamental shift in roles to allow Pritzker,

10   Huh, and Valani to direct and take control of JLI and use it to commit the Defendants’ unlawful

11   acts.

12           41.    Specifically, in October 2015, Monsees stepped down from his role as Chief

13   Executive Officer of JLI (to become Chief Product Officer) and, in his stead, Pritzker, Valani, and

14   Huh formed an Executive Committee of the JLI Board of Directors that would take charge of

15   fraudulently marketing JUUL products, including to youth.

16           42.    Prior to the installation of Tyler Goldman as JLI’s new CEO in August 2016,

17   Defendants Pritzker, Valani, and Huh used their newly formed Executive Committee to expand

18   the number of addicted e-cigarette users through fraudulent advertising and representations to the

19   public. They overrode other board members’ arguments that JLI’s youth oriented marketing

20   campaign should be abandoned or scaled back, directed the continuation of the marketing

21   campaign that they knew was actively targeting youth, and cleaned house at JLI by “dismiss[ing]

22   other senior leaders and effectively tak[ing] over the company.”15 Once their leadership was

23   secure, defendants Pritzker, Valani, and Huh pressed for even “more aggressive rollout and

24   [marketing].”16

25

26

27   15
        Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. TIMES
28     (Nov. 23, 2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
     16
        INREJUUL_00278359.
                                                      12
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 1             43.   Defendants Bowen, Monsees, Pritzker, Valani, and Huh thus, and as further set

 2   forth in this complaint, controlled JLI and used it to make fraudulent misrepresentations or

 3   omissions regarding Juul’s intentional addictiveness and method of nicotine delivery, combined

 4   with the intent, contrary to public statements, to grow the market for nicotine-addicted individuals

 5   for their own financial gain.

 6             44.   And, as set forth in this complaint, Defendants Bowen, Monsees, Pritzker, Huh,

 7   and Valani sought to personally profit from their unlawful acts, using their control of JLI to

 8   position the company for acquisition. By no later than August 2015, and likely earlier, Defendant

 9   Monsees was in talks with Japan Tobacco International (an early investor in Ploom, JLI’s

10   predecessor), British American Tobacco, and Phillip Morris International regarding a potential

11   acquisition of the JUUL business. Monsees had already received “a couple good faith lowball

12   offers” from British American Tobacco and was awaiting a proposal from PMI that month. At the

13   same time, Monsees was looking for “banking support to give an internal tobacco champion the

14   tools to argue for a sizeable deal.”17

15             45.   By no later than August 2015, Defendants Bowen, Pritzker, Valani, and Huh joined

16   in the discussions of a potential acquisition by a major cigarette company,18 as they knew, in the

17   words of Defendant Bowen, “big tobacco is used to paying high multiples for brands and market

18   share.”

19             46.   Unable to secure an early acquisition, the Management Defendants knew that their

20   desire to monetize a massive new market for JUUL would be aided if they could convert Altria, a

21   competitor through its e-cigarette subsidiary Nu Mark LLC and an experienced cigarette company

22   with a history of marketing to youth and covering it up, into an ally and eventual purchaser. They

23   began that effort as late as the Spring of 2017. While Defendants JLI, Bowen, Monsees, Valani,

24   and Huh are relative newcomers to the tobacco industry, Altria has been manufacturing and selling

25   “combustible” cigarettes for more than a century.

26

27
     17
28        JLI01369437
     18
          INREJUUL_00016386 (Stifel Presentation, Aug. 2015).
                                                      13
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 1          47.     Altria, for its part, desperately sought a replenishing customer base. Cigarette

 2   companies have long known that profitable growth requires a pipeline of “replacement” customers.

 3   After decades of tobacco litigation and regulation, Altria (including through its subsidiary Philip

 4   Morris) had little ability to recruit new smokers in the ways that had driven Philip Morris’s success

 5   through most of the 1900s. In 2017, Altria’s combustible cigarette products (sold through Philip

 6   Morris) were facing increasing regulatory pressures. In late July 2017, Altria’s stock value

 7   plummeted shortly after the FDA announced that it would reduce the amount of nicotine allowed

 8   in cigarettes with an eye toward reaching non-addictive levels.19 In late 2017, Altria, and other

 9   major cigarette companies, also finally complied with a consent decree from the 1990s tobacco

10   litigation that required them to issue corrective advertising statements that highlighted the

11   addictiveness and health impacts of smoking cigarettes.20

12          48.     Due in large part to this litigation and regulation, cigarette use has been declining

13   in the United States in the last decade, especially among youth.21 Altria estimates that the cigarette

14   industry declined by 4% in 2017 and by 4.5% in 2018, and it predicted a continued 4% to 5%

15   decline in the average annual U.S. cigarette industry volume for 2019 through 2023.22 Altria later

16   adjusted the estimated rate of decline to 4% to 6%, to reflect efforts to increase the legal age for

17   cigarette smoking to 21.23

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     19
        See Dan Caplinger, Altria Group in 2017: The Year in Review, The Motley Fool (Dec. 18,
21     2017), https://www.fool.com/investing/2017/12/18/altria-group-in-2017-the-year-in-
       review.aspx.
22   20
        https://www.law360.com/articles/1037281/tobacco-cos-settle-long-running-health-warning-
23     dispute
     21
        Current Cigarette Smoking Among Adults In the United States, CDC,
24     https://www.cdc.gov/tobacco/data_statistics/fact_sheets/adult_data/cig_smoking/index.htm
       (last visited February 10, 2020); Youth and Tobacco Use, CDC,
25     https://www.cdc.gov/tobacco/data_statistics/fact_sheets/youth_data/tobacco_use/index.htm
       (last visited February 10, 2020).
26   22
        Altria’s Fourth-Quarter 2018 Earnings Conference Call, Altria (Jan. 31, 2019),
27     http://investor.altria.com/Cache/1001247877.PDF?O=PDF&T=&Y=&D=&FID=1001247877
       &iid=4087349.
     23
28      Altria Shares Slide As Cigarette Sales Continue to Decline, Tobacco Bus. (July 31, 2019),
       https://tobaccobusiness.com/altria-shares-slide-as-cigarette-sales-continue-to-decline/.
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 1          49.     In the face of this continued downward trend in the traditional cigarette market,

 2   Altria had undertaken its own efforts at marketing an e-cigarette product through its subsidiary Nu

 3   Mark LLC. Altria, through Nu Mark, had launched the MarkTen product nationwide in 2014 with

 4   an aggressive marketing campaign, eclipsing the advertising expenditures for the market leader at

 5   that time, blu e-cigarettes.24 Of the $88.1 million spent on e-cigarette advertising in 2014, nearly

 6   40% of that was Altria’s MarkTen campaign, at $35 million.25 Altria was clear in its intent to

 7   dominate the e-cigarette market as it has the combustible cigarette market: “We are the market

 8   leader today and we will continue to be,” then-CEO Marty Barrington told investors at the time of

 9   MarkTen’s launch.26 The original MarkTen was a “cigalike,” designed to mimic the look and feel

10   of a combustible cigarette.

11          50.     Altria had also been acquiring small companies in the e-cigarette industry, starting

12   in 2014 with Green Smoke, Inc., whose e-cigarettes were also the “cigalike” style, and were sold

13   in flavors including “Vanilla Dreams” and “Smooth Chocolate.”27 In 2016, Altria acquired an

14   e-cigarette product called Cync, from Vape Forward.28 Cync is a small e-cigarette device that uses

15   prefilled pods in a variety of flavors, similar to the JUUL.

16          51.     At the same time Altria was struggling to market a successful e-cigarette product

17   through Nu Mark, it was carefully studying JUUL. A May 13, 2016 presentation by Altria Client

18   Services titled “JUUL Market Summary” included detailed information on the sale of JUUL,

19   including market share, the number of chain stores selling JUUL, the price of JUUL and JUUL

20

21   24
        Jennifer Cantrell et al., Rapid increase in e-cigarette advertising spending as Altria’s MarkTen
       enters the marketplace, Tobacco Control 25 (10) (2015),
22     http://dx.doi.org/10.1136/tobaccocontrol-2015-052532.
     25
23      Id.
     26
        Melissa Kress, MarkTen National Rollout Hits 60,000 Stores, Convenience Store News (July
24     22, 2014), https://csnews.com/markten-national-rollout-hits-60000-stores.
     27
        Mike Esterl, Altria To Launch MarkTen E-Cigarette Nationally, Wall St. J. (Feb. 19, 2014),
25     https://www.wsj.com/articles/altria-to-launch-markten-e-cigarette-nationally-1392832378;
       Senator Richard J. Durbin et al., Gateway to Addiction? A Survey of Popular Electronic
26     Cigarette Manufacturers and Targeted Marketing to Youth at 12 (Apr. 14, 2014),
27     https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
       Cigarettes%20with%20Cover.pdf.
     28
28      Remarks by Jody Begley, 2017 Altria Investor Day (Nov. 2, 2017), http://media.corporate-
       ir.net/media_files/IROL/80/80855/2017InvestorDay/Remarks_and_Reconciliations.pdf.
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 1   pods, updates to the design of JUUL and JUUL pods, new flavor names, the purported nicotine

 2   strength of JUUL pods, the “Target consumer” for JUUL, and the “Business Model/Sources of

 3   Funding” of JLI (then PaxLabs).29

 4          52.     In February 2017, Altria told investors at the 2017 Consumer Analyst Group of

 5   New York (CAGNY) Conference that over the past year, “Nu Mark LLC (Nu Mark) made

 6   excellent progress toward its long-term aspiration of becoming a leader in e-vapor.”30 In his

 7   remarks, Altria Group’s current then-CEO, Howard A. Willard III, said, “Nu Mark, our e-vapor

 8   company, had a very strong year. It made excellent progress toward establishing MarkTen as a

 9   leading brand in the category, continued to improve its supply chain, and took the necessary steps

10   to comply with the deeming regulations.” He noted, however, that the estimated “total 2016 e-

11   vapor consumer spending was roughly flat compared to the prior year at approximately $2.5

12   billion.”31 In 2017, Altria’s MarkTen e-cigarettes had a market share of only 13.7%, well behind

13   JLI’s growing market share of 40%.32 Thus, despite its public statements to the contrary, Altria

14   knew the popularity of JUUL stood in the way of Altria becoming the dominant force in the e-

15   cigarette market.

16          53.     With smoking on the decline, litigation and regulatory controls were ramping up

17   and threatening Altria’s ability to attract new smokers, and JUUL outperforming Altria’s products

18   in the market, Altria saw a solution in JLI, with its exponential growth and large youth market.

19   That youth market would be key to replacing Altria’s lost profits for years to come. So, Altria

20   Group and Altria Client Services set out to court the leaders of JLI in an eighteen-month dance, all

21

22

23   29
        ALGAT0002577924.
24   30
        Remarks by Marty Barrington, Altria Group, Inc.’s (Altria) Chairman, CEO and President, and
       other members of Altria’s senior management team 2017 Consumer Analyst Group of New
25     York (CAGNY), (2017), http://investor.altria.com/Cache/IRCache/1ac8e46a-7eb4-5df2-843d-
       06673f29b6b0.PDF?O=PDF&T=&Y=&D=&FID=1ac8e46a-7eb4-5df2-843d-
26     06673f29b6b0&iid=4087349.
     31
27      Id.
     32
        Richard Craver, Vuse falls further behind Juul on e-cig sales, Winston-Salem Journal (Dec.
28     14, 2017), https://www.journalnow.com/business/vuse-falls-further-behind-juul-on-e-cig-
       sales/article_ed14c6bc-5421-5806-9d32-bba0e8f86571.html.
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 1   the while signaling that a massive payout would await those leaders if they maintained JLI’s large

 2   youth market.

 3          54.      Essential to maintaining JLI’s large youth market, of course, was delaying or

 4   preventing regulation or public outcry that could interfere with Altria’s and the Management

 5   Defendants’ efforts. Altria, with its decades of experience doing just that, aided JLI and the

 6   Management Defendants in these efforts along the way, ultimately attempting to deceive the public

 7   and the FDA itself in order to defraud users when the specter of regulation threatened the value of

 8   its impending investment in late 2018. Altria’s best bet for maintaining its sales by increasing the

 9   number of users, especially youth, addicted to nicotine was to partner with JLI’s leadership (1) to

10   maintain or increase the number of users, especially youth, hooked on JUUL; and (2) to delay and

11   prevent regulation that could interfere with this first scheme.

12          55.      For those reasons and others, Altria began coordinating with the Management

13   Defendants in the Spring of 2017. And so, with Defendants Bowen, Monsees, Pritzker, Valani,

14   and Huh looking for a big payout, and Altria and Altria Client Services looking for new customers,

15   this group of Defendants began to work together, using JLI to further their unlawful ends, in the

16   Spring of 2017. Of course, these Defendants were not strangers to one another. Before the Spring

17   of 2017, Altria (through Altria Client Services) and JLI were members of at least one industry

18   group that shared information and coordinated public statements regarding vaping,33 and Ploom’s

19   advisory committee included Altria’s former growth officer. Howard Willard, Altria’s CEO said,

20   the company followed “JUUL’s journey rather closely” from its early beginnings.34

21          56.      As discussed further below, Altria first contacted JLI’s leadership, including

22   Defendants Pritzker and Valani, about a partnership by early 2017, with “confidential discussions”

23   beginning in the Spring of 2017.35 JLI’s pitch deck to investors at the time boasted that “Viral

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     33
        INREJUUL_00278740.
26   34
        Olivia Zaleski & Ellen Huet, Juul Expects Skyrocketing Sales of $3.4 Billion, Despite
27     Flavored Vape Restrictions, Bloomberg (Feb. 22, 2019),
       https://www.bloomberg.com/news/articles/2019-02-22/juul-expects-skyrocketing-sales-of-3-4-
28     billion-despite-flavored-vape-ban.
     35
        Altria’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).
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 1   Marketing Wins,” and that JUUL’s super potent nicotine formulation was “cornering” the

 2   consumables market with the highest customer retention rate of any e-cigarette.36

 3           57.    By the Fall of 2017, JLI, through its leadership including the Management

 4   Defendants, and Altria had agreed to and had taken coordinated actions to maintain and expand

 5   JUUL’s market share, knowing that it was based on sales to youth and fraudulent and misleading

 6   advertising to users of all ages.

 7           58.    The “confidential discussions” continued, with Altria’s leadership meeting

 8   regularly with Pritzker and Valani for “a period of approximately 18 months.”37 Defendants

 9   Pritzker and Valani took the lead on these discussions (together with JLI CEO Kevin Burns),

10   working to establish the formal JLI-Altria partnership. On August 1, 2018, Pritzker, Valani, and

11   JLI’s CEO Kevin Burns met Willard and William Gifford, Altria’s CFO, at the Park Hyatt Hotel

12   in Washington, D.C., to discuss their partnership and Altria’s support of JUUL’s mission.

13           59.    During the roughly 18-month negotiating period, Pritzker, Valani, and JLI’s

14   leadership communicated regularly with Altria as they all worked together to fraudulently growth

15   and maintain JUUL’s market share. Through their control of JLI, Bowen, Monsees and Huh

16   remained critical to the success of these efforts. Without their control of the JLI Board of Directors

17   and prior fraudulent conduct, the close coordination between JLI’s leadership and Altria and

18   Altria’s investment in JLI to support JUUL’s mission, would not have been possible.

19           60.    In December 2018, Altria decided to take the next step in its coordination with the

20   Management Defendants and JLI’s leadership by making a $12.8 billion equity investment in JLI,

21   the largest equity investment in United States history. This arrangement was profitable for Altria,

22   as well as enormously lucrative for Defendants Monsees, Bowen, Pritzker, Valani, and Huh, as

23   detailed below.

24           61.    Both before and after Altria’s investment, JLI, through its employees and officers,

25   provided Altria with critical information regarding the design and nicotine content of the JUUL

26   product, the labeling of the JUUL product, and related topics including advertising, retail

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     36
28        INREJUUL_00349529.
     37
          Id.
                                                       18
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 1   distribution, online sales, age verification procedures, information on underage user’s flavor

 2   preferences, and regulatory strategies. Altria, for its part, increasingly guided and directed JLI and

 3   the Management Defendants in these areas and helped them devise and execute schemes to

 4   preserve JLI’s youth appeal and market, including by deceiving users of all ages and regulators.

 5          62.     JLI, the Management Defendants, and Altria worked together to implement their

 6   shared goal of growing a youth market in the image of the combustible cigarette market through a

 7   multi-pronged strategy to: (1) create an highly addictive product that users would not associate

 8   with cigarettes and that would appeal to the lucrative youth market, (2) deceive the public into

 9   thinking the product was a fun and safe alternative to cigarettes that would also help smokers quit,

10   (3) actively attract young users through targeted marketing, and (4) use a variety of tools, including

11   false and deceptive statements to the public and regulators, to delay regulation of e-cigarettes. As

12   detailed more fully throughout this Complaint, each of the Defendants played a critical role—at

13   times overlapping and varying over time—in each of these strategies.

14   B.     Defendants’ Strategy Was to Create a Nicotine Product That Would Maximize
            Profits Through Addiction.
15
            1.      Defendants Understood that the “Magic” Behind Cigarettes’ Stratospheric
16                  Commercial Success Was Nicotine Addiction.
17
            63.     The first step in replicating the success of combustible cigarettes was to create a
18
     product that, like combustible cigarettes, was based on getting users addicted to the nicotine in the
19
     product. Nicotine is an alkaloid, a class of plant-derived nitrogenous compounds that is highly
20
     addictive and the key ingredient that drives addiction to cigarettes. Nicotine’s addictive properties
21
     are similar to heroin and cocaine.38
22
            64.     Route of administration and speed of delivery are key to understanding nicotine’s
23
     addictive potential. Dr. Neal Benowitz, Scientific Editor of the 1988 Surgeon General’s Report on
24
     nicotine addiction, wrote: “After a puff, high levels of nicotine reach the brain in 10–20 s[econds],
25
     faster than with intravenous administration, producing rapid behavioral reinforcement. The
26
     rapidity of rise in nicotine levels permits the smoker to titrate the level of nicotine and related
27
28    See e.g., U.S. Dep’t of Health and Human Servs., Nicotine Addiction: A Report of the Surgeon
     38

      General, DHHS Publication Number (CDC) 88-8406, (1988).
                                                       19
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 1   effects during smoking, and makes smoking the most reinforcing and dependence-producing form

 2   of nicotine administration.”39

 3          65.     Again, according to Dr. Benowitz, “The rapid rate of delivery of nicotine by

 4   smoking … results in high levels of nicotine in the central nervous system with little time for

 5   development of tolerance. The result is a more intense pharmacologic action. The short time

 6   interval between puffing and nicotine entering the brain also allows the smoker to titrate the dose

 7   of nicotine to a desired pharmacologic effect [often subconsciously], further reinforcing drug self-

 8   administration and facilitating the development of addiction.”40

 9          66.     Nicotine fosters addiction through the brain’s “reward” pathway. Both a stimulant

10   and a relaxant, nicotine affects the central nervous system; increases blood pressure, pulse, and

11   metabolic rate; constricts blood vessels of the heart and skin; and causes muscle relaxation. Long-

12   term exposure to nicotine causes upregulation—an increase in the number of these high-affinity

13   nicotinic receptors in the brain. When nicotine binds to these receptors it triggers a series of

14   physiological effects in the user that are perceived as a “buzz” that includes pleasure, happiness,

15   arousal, and relaxation of stress and anxiety. With regular nicotine use, however, these feelings

16   diminish, and the user must consume increasing amounts of nicotine to achieve the same effects.

17          67.     Kids are particularly vulnerable to nicotine addiction, as Defendants know well. As

18   described by the United States Surgeon General, “Tobacco use is a pediatric epidemic.” Nine out

19   of ten smokers begin by age 18 and 80% who begin as teens will smoke into adulthood.41

20          68.     The above statements apply equally, if not more so, to e-cigarettes. Further, the

21   Surgeon General has explained how the nicotine in e-cigarettes affects the developing brain and

22   can addict kids more easily than adults: “Until about age 25, the brain is still growing. Each time

23   a new memory is created, or a new skill is learned, stronger connections—or synapses—are built

24   between brain cells. Young people’s brains build synapses faster than adult brains. Because

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     39
        Neal L. Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, 192
26     HANDB. EXP. PHARMACOL. 29 (2010),
27     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/
     40
        Id.
     41
28      Preventing Tobacco Use Among Youth and Adults, A Report of the Surgeon General at 1
       (2012), https://www.hhs.gov/surgeongeneral/reports-and-publications/tobacco/index.html.
                                                      20
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 1   addiction is a form of learning, adolescents can get addicted more easily than adults.”42 The effects

 2   of nicotine exposure on the brain of youth and young adults include not only addiction, priming

 3   for use of other addictive substances, but also reduced impulse control, deficits in attention and

 4   cognition, and mood disorders.43 A highly addictive, psychoactive substance that targets brain

 5   areas involved in emotional and cognitive processing, nicotine poses a particularly potent threat to

 6   the adolescent brain, as it can “derange the normal course of brain maturation and have lasting

 7   consequences for cognitive ability, mental health, and even personality.”44

 8          69.     In 2014, the United States Surgeon General reported that nicotine addiction is the

 9   “fundamental reason” that individuals persist in using tobacco products, and this persistent tobacco

10   use contributes to millions of needless deaths and many diseases, including diseases that affect the

11   heart and blood vessels (cardiovascular disease), lung diseases (chronic obstructive pulmonary

12   disease (COPD) and lung cancer), cancer almost anywhere in the body, and birth defects.45

13          70.     It took five decades of public health initiatives, government intervention, impact

14   litigation, consumer education and tobacco regulation to finally see a significant drop in cigarette

15   smoking and nicotine addiction.

16          71.     By 2014, the number of adults that reported using cigarettes had dropped to 18%,

17   and the number of adult smokers who reported quitting smoking increased from 50.8% in 2005 to

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     42
        Know The Risks: E-Cigarettes & Young People (2019), https://e-
22     cigarettes.surgeongeneral.gov/ knowtherisks.html.
     43
23      Menglu Yuan et al., Nicotine and the Adolescent Brain, 593 J. OF PHYSIOLOGY 3397 (2015),
       www.ncbi.nlm.nih.gov/pmc/articles/PMC4560573/; U.S. Surgeon General and U.S. Centers for
24     Disease Control & Prevention, Office on Smoking and Health, Know the Risks: E-Cigarettes
       and Young People (2019), https://e-cigarettes.surgeongeneral.gov/.
25   44
        Natalia A. Goriounova & Huibert D. Mansvelder, Short- and Long-Term Consequences of
       Nicotine Exposure During Adolescence for Prefrontal Cortex Neuronal Network Function, 2
26     COLD SPRING HARBOR PERSP. MED. 12 (2012),
27     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3543069/.
     45
        U.S. Dep’t of Health and Human Servs. 2014 Surgeon General's Report: The Health
28     Consequences of Smoking—50 Years of Progress (2014),
       https://www.cdc.gov/tobacco/data_statistics/sgr/50th-anniversary/index.htm#report.
                                                      21
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 1   59% by 2016.46 By 2014, teen smoking also hit a record low.47 In June 2014, the Centers for

 2   Disease Control and Prevention (“CDC”) reported that “in achieving a teen smoking rate of 15.7

 3   percent, the United States has met its national Healthy People 2020 objective of reducing

 4   adolescent cigarette use to 16 percent or less.”

 5          72.     The United States Surgeon General reported in 2014 that: “We are at a historic

 6   moment in our fight to end the epidemic of tobacco use that continues to kill more of our citizens

 7   than any other preventable cause. The good news is that we know which strategies work best. By

 8   applying these strategies more fully and more aggressively, we can move closer to our goal of

 9   making the next generation tobacco-free.”48

10          73.     Where the public health community saw progress in curbing the use of cigarettes

11   and nicotine addiction, Defendants saw an opportunity.

12          2.      Following the Cigarette Industry Playbook, Defendants Sought to Market a
                    Product that would Create and Sustain Nicotine Addiction, but Without the
13                  Stigma Associated with Cigarettes
14          74.     Seeking to build and dominate a new market for nicotine products without the
15   baggage of combustible cigarettes (i.e. well-established link to death and disease), JLI engineered
16   a cool-looking e-cigarette device capable of delivering more nicotine and fueling higher levels of
17   consumer addiction than ever before. JLI marketed that highly-addictive device as healthy, safe,
18   cool and available in kid-friendly flavors.
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     46
        Centers for Disease Control and Prevention, U.S. Dep’t of Health and Human Services, Trends
21     in Cigarette Smoking Among High School Students—United States, 1991-2001, 51 MORBIDITY
       & MORTALITY WKLY. REP. 409 (May 17, 2002),
22     https://www.cdc.gov/mmwr/preview/mmwrhtml/mm5119a1.htm; Teresa W. Wang et al.,
23     Tobacco Product Use Among Adults—United States, 2017, 67 MORBIDITY & MORTALITY
       WKLY. REP. 1225 (Nov. 9, 2018), https://www.cdc.gov/mmwr/volumes/67/wr/pdfs/mm6744a2-
24     H.pdf; U.S. Dep’t of Health and Human Servs. 2014 Surgeon General's Report: The Health
       Consequences of Smoking—50 Years of Progress (2014),
25     https://www.cdc.gov/tobacco/data_statistics/sgr/50th-anniversary/index.htm#report.
     47
        Press Release, Centers for Disease Control and Prevention, Cigarette smoking among U.S.
26     high school students at lowest level in 22 years (June 12, 2014),
27     https://www.cdc.gov/media/releases/2014/p0612-YRBS.html.
     48
        U.S. Dep’t of Health and Human Servs. Let’s Make the Next Generation Tobacco-Free: Your
28     Guide to the 50th Anniversary Surgeon General’s Report on Smoking and Health (2014),
       https://www.hhs.gov/sites/default/files/consequences-smoking-consumer-guide.pdf
                                                        22
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 1          75.     In doing so, JLI followed the cigarette industry’s playbook. Monsees admitted that

 2   when creating JLI, he and Bowen carefully studied the marketing strategies, advertisements, and

 3   product design revealed in cigarette industry documents that were uncovered through litigation

 4   and made public under the November 1998 Master Settlement Agreement between the state

 5   Attorneys General of forty-six states, five U.S. territories, the District of Columbia and the four

 6   largest cigarette manufacturers in the United States. “[Cigarette industry documents] became a

 7   very intriguing space for us to investigate because we had so much information that you wouldn’t

 8   normally be able to get in most industries. And we were able to catch up, right, to a huge, huge

 9   industry in no time. And then we started building prototypes.”49

10          76.     In a thesis presentation Bowen and Monsees gave in 2004, Monsees candidly

11   admitted, “The cigarette is actually a carefully engineered product for nicotine delivery and

12   addiction.”50 JLI researched how cigarette companies engineered their products and chemically

13   manipulated nicotine to maximize delivery: “We started looking at patent literature. We are pretty

14   fluent in ‘Patentese.’ And we were able to deduce what had happened historically in the tobacco

15   industry.”51 With access to the trove of documents made public to curb youth smoking and aid

16   research to support tobacco control efforts, JLI was able to review literature on manipulating

17   nicotine pH to maximize its delivery in a youth-friendly vapor with minimal “throat hit.”

18          77.     Through studying industry documents, JLI learned that the cigarette industry had

19   tried for years to figure out ways to create and sustain addiction by delivering more nicotine in

20   way that would be easy to ingest—without the nausea, cough, or other aversive side effects that

21   many new smokers experienced. In the 1970s, R.J. Reynolds scientists eventually found a solution:

22   Combine the high-pH nicotine with a low-pH acid. The result was a neutralized compound referred

23   to as nicotine salt. In a 1973 RJR memorandum titled “Cigarette concept to assure RJR a larger

24   segment of the youth market,” RJR highlighted that this chemical manipulation of the nicotine

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     49
        Gabriel Montoya, Pax Labs: Origins with James Monsees, SOCIAL UNDERGROUND,
26     https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.
     50
27      Jordan Crook, This is the Stanford Thesis Presentation That Launched Juul, TECH CRUNCH
       (Feb. 27, 2019), https://techcrunch.com/2019/02/27/this-is-the-stanford-thesis-presentation-
28     that-launched-juul/.
     51
        Id.
                                                     23
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 1   content was expected to give its cigarettes an “additional nicotine ‘kick’” that would be more

 2   appealing and addictive. A young RJ Reynolds chemist, Thomas Perfetti, synthesized 30 different

 3   nicotine salt combinations, tested the salts’ ability to dissolve into a liquid, and heated them in

 4   pursuit of the “maximum release of nicotine.”52 Perfetti published his results in a 1979 memo

 5   stamped “CONFIDENTIAL,” which was found among the documents that the FDA obtained from

 6   JLI in 2018. Relying on cigarette industry research like this, and assistance from Perfetti himself,

 7   JLI developed a cartridge-based e-cigarette using nicotine salts. As described in herein, JLI’s use

 8   of nicotine salts, pioneered by major combustible tobacco companies, was a critical tool for

 9   addicting non-smokers, including youth.

10          78.     JLI also engaged former cigarette industry researchers to consult on the design of

11   their product. As Monsees noted in an interview with WIRED magazine: “The people who

12   understood the science and were listed on previous patents from tobacco companies aren’t at those

13   companies anymore. If you go to Altria’s R&D facility, it’s empty.”53 The WIRED article stated

14   that “[s]ome of those people are now on [PAX Lab, Inc.’s] team of advisers, helping develop

15   J[UUL].”54

16          79.     One of the keys to JLI’s success was its ability to fuse addiction and technology.

17   The JUUL e-cigarette system is comprised of three parts: (1) the JUUL e-cigarette device (2) the

18   JUUL pod (with e-liquid), and (3) the Universal Serial Bus [USB] charger (collectively referred

19   to herein as “JUUL”). The JUUL e-cigarette device is a thin, sleek rectangular e-cigarette device

20   consisting of an aluminum shell, a battery, a magnet (for the USB-charger), a circuit board, an

21   LED light, and a pressure sensor. JLI manufactures and distributes JUUL pods that contain liquid

22   that includes nicotine, flavoring and other additives. Each JUUL pod is a plastic enclosure

23   containing 0.7 milliliters of JLI’s patented nicotine liquid and a coil heater. When a sensor in the

24   JUUL e-cigarette detects the movement of air caused by suction on the JUUL pod, the battery in

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     52
        Thomas A. Perfetti, Smoking Satisfaction and Tar/Nicotine Control (Dec. 7, 1978), https://ca-
26     times.brightspotcdn.com/3a/12/a5ec27874843a56e26b4ecdfd221/nicotine-salts-
27     investigation.pdf.
     53
        David Pierce, This Might Just Be the First Great E-Cig, WIRED (Apr. 21, 2015),
28     www.wired.com/2015/04/pax-juul-ecig/.
     54
        Id.
                                                      24
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 1   the JUUL e-cigarette device activates the heating element, which in turn converts the nicotine

 2   solution in the JUUL pod into a vapor consisting of nicotine, benzoic acid, glycerin, and propylene

 3   glycol along with myriad chemical flavorings and other chemicals, many of which are recognized

 4   as toxic.55

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18           80.    JLI sells the JUUL pods in packs of four or two pods, and until recently, in a variety
19   of enticing flavors. Many of the flavors have no combustible cigarette analog, including “cool”
20   cucumber, fruit medley, “cool” mint, and crème brûlée. Figure 1 shows the JLI device and a JLI
21   “Starter Kit” with four flavored JUUL pods:
22

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     55
28     King County & Seattle Public Health, E-cigarettes and Vapor Products (Dec. 30, 2019),
      https://www.kingcounty.gov/depts/health/tobacco/data/e-cigarettes.aspx.
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13   Figure 1

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            81.     JLI attempted to distinguish JUUL products from the death and disease associated
15
     with cigarettes by deliberately providing a false assurance of safety. For example, on May 8, 2018,
16
     a document titled “Letter from the CEO” appeared on JUUL’s website. The document stated:
17
     “[JUUL]’s simple and convenient system incorporates temperature regulation to heat nicotine
18
     liquid and deliver smokers the satisfaction that they want without the combustion and the harm
19
     associated with it.”56
20
            82.     JLI even took this message to ninth graders: in 2018, a representative from JLI
21
     spoke at a high school during a presentation for ninth graders, stating that JUUL “was much safer
22
     than cigarettes,” that the JUUL was “totally safe,” that the JUUL was a “safer alternative than
23
     smoking cigarettes,” and that the “FDA was about to come out and say it [JUUL] was 99% safer
24
     than cigarettes . . . and that . . . would happen very soon.”57
25

26
     56
27      Letter from U.S. Food & Drug Admin. to Kevin Burns, CEO of Juul Labs, Inc. (Sept. 9, 2019),
       https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
28     investigations/warning-letters/juul-labs-inc-590950-09092019.
     57
        Id.
                                                       26
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 1          83.     This was not just a rogue employee. Internal messaging around JUUL, crafted by

 2   the executives, emphasized that JUUL was safer than smoking. In a “Marketing Update”

 3   presentation dated March 26, 2015, a message from then-Chief Marketing Officer Scott Dunlap

 4   stated that “[v]aporization technology is fundamentally disruptive, because it is safer, faster, more

 5   effective and less intrusive than alternatives.”58 More than a year later, on April 28, 2016, Tim

 6   Danaher sent Tyler Goldman a slide deck aimed at investors which he said that “James [Monsees]

 7   owns” and “will pull / update the relevant slides.”59 The deck claimed that “PAX Labs’ new

 8   delivery system is faster, safer, more effective and less intrusive than[,]” among other options,

 9   “[s]moking[.]”60 The consistency of the wording in these presentations more than a year apart

10   shows that this was standard company language.

11          84.     JLI’s mission was not to improve public health. Rather, JLI sought to introduce a

12   new generation of users to nicotine. JLI’s business model was never about reducing addiction. As

13   one JLI engineer put it: “We don’t think a lot about addiction here because we’re not trying to

14   design a cessation product at all . . . anything about health is not on our mind.”61

15          85.     JLI, Bowen, and Monsees achieved their vision. Pioneering a nicotine delivery

16   technology that eliminated the harshness of traditional free-base nicotine, JLI’s e-cigarette system

17   provided users with palatable access to high-concentrations of nicotine like never before. Since

18   the JUUL’s launch in 2015, JLI has become the dominant e-cigarette manufacturer in the United

19   States. Its revenues grew by 700 percent in 2017 alone. By 2019, JLI owned three-quarters of the

20   e-cigarette market.62

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     58
24      INREJUUL_00441986 (emphasis added).
     59
        JLI00373324.
25   60
        JLI00373328 (emphasis added).
     61
        Kevin Roose, Juul’s Convenient Smoke Screen, N.Y. TIMES (Jan. 11, 2019),
26     https://www.nytimes.com/2019/01/11/technology/juul-cigarettes-marketing.html.
     62
27      Dick Durbin et al., Durbin & Senators to JUUL: You are More Interested in Profits Than
       Public Health, Durbin Newsroom (Apr. 8, 2019),
28     https://www.durbin.senate.gov/newsroom/press-releases/durbin-and-senators-to-juul-you-are-
       more-interested-in-profits-than-public-health.
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 1          3.        Defendants Sought to Position JLI for Acquisition by a Major Cigarette

 2                    Company.

 3          86.       JLI, along with the Management Defendants, worked together to maintain and

 4   expand the number of nicotine-addicted e-cigarette users in order to ensure a steady and growing

 5   customer base.

 6          87.       That growing customer base was crucial to JLI’s and the Management Defendants’

 7   long term objective—lucrative acquisition by another company. They recognized that JLI’s

 8   product, with its potential to dominate the nicotine products market by hooking new users, would

 9   appeal to one segment of the economy in particular: the cigarette industry.

10          88.       JLI and the Management Defendants also recognized that their business goal—

11   becoming part of the cigarette industry—was unlikely to endear them to the users that they needed

12   to purchase their products. Years of anti-smoking campaigns have successfully stigmatized

13   cigarette smoking. When Monsees and Bowen presented their thesis and product design to their

14   classmates, they included a clip from a South Park episode showing the characters assembled at

15   the Museum of Tolerance and shaming a smoker.63

16          89.       Monsees and Bowen needed to shape social norms such that the public attitude

17   towards e-cigarettes would allow users to use their product without the stigma and self-

18   consciousness smokers experienced. Monsees and Bowen saw a market opportunity in a

19   generation of non-smoking users brought up on anti-smoking norms. In Monsees’ words, they

20   wanted to redesign the cigarette “to meet the needs of people who want to enjoy tobacco but don’t

21   self-identify with—or don’t necessarily want to be associated with—cigarettes.”64

22          90.       Part of this approach was consistently portraying JUUL as an enemy of the cigarette

23   industry, with a publicly announced goal of eliminating the cigarette. In an interview, Bowen

24   asserted that he and Monsees spent a lot of time talking about “the kind of typical thoughts of evil

25
     63
        Gabriel Montoya, Pax Labs: Origins with James Monsees, SOCIAL UNDERGROUND,
26     https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.
27
     64
        Id.; see also, INREJUUL_00064696 (May 28, 2015) (Slides describing JUUL’s market
       overview and positioning as a “tech lifestyle product with a nicotine experience that satisfies,
28     JUUL will appeal to regular ecig users and wealthy, tech savvy smokers – a significant portion
       of the market.”)
                                                      28
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 1   Big Tobacco companies like coming down and squashing you.”65 The “Mission Statement” on

 2   JLI’s homepage proclaims:

 3          Our mission is to transition the world’s billion adult smokers away from
            combustible cigarettes, eliminate their use, and combat underage usage of our
 4          products.
 5          We envision a world where fewer adults use cigarettes, and where adults who
 6          smoke cigarettes have the tools to reduce or eliminate their consumption entirely,
            should they so desire.66
 7
     In fact, JLI’s Chief Administrative Officer has publicly stated that the goal behind JLI is
 8
     “eliminating cigarettes.”67
 9
            91.     This public message of eliminating cigarettes and challenging tobacco companies
10
     stands in direct contrast with JLI’s actual business and investment strategy, which involved
11
     replicating in JUUL’s new market the tobacco companies’ historical success in the market for
12
     cigarettes. From the beginning, Bowen and Monsees actively sought the investment and assistance
13
     of major cigarette companies. Bowen and Monsees’ initial foray into the e-cigarette business,
14
     Ploom, launched its e-cigarette as the ModelOne in 2010, using pods of loose-leaf tobacco heated
15
     by butane. It did not catch on. Ploom only sold a few thousand devices. By then a company with
16
     a dozen employees, Ploom was faltering, in need of money, technological expertise, and marketing
17
     savvy.68
18
            92.     Help came from Japan Tobacco International (“Japan Tobacco”), a division of
19
     Japan Tobacco Inc., the fourth-largest tobacco company in the world. In December 2011, Japan
20
     Tobacco and Ploom entered into a strategic agreement, which gave Japan Tobacco a minority stake
21
     in Ploom and made it a strategic partner. In a statement regarding the agreement, Monsees said,
22
     “We are very pleased to partner with [Japan Tobacco] as their deep expertise, global distribution
23

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     65
        Alison Keeley, Vice Made Nice? A High-tech Alternative to Cigarettes, STANFORD MAGAZINE
25     (2012), https://stanfordmag.org/contents/vice-made-nice.
     66
        JUUL Labs, Our Mission (2019), https://www.juul.com/mission-values.
26   67
        Ashley Gould, JUUL Labs is Committed to Eliminating Cigarettes, CAL MATTERS (March 18,
27     2019), https://calmatters.org/commentary/e-cigarette/.
     68
        David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?,
28     Inc., https://www.inc.com/magazine/201405/david-freedman/james-monsees-ploom-ecigarette-
       company-marketing-dilemma.html
                                                      29
                                                                                       COMPLAINT
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 1   networks and capital resources will enable us to enter our next phase of growth and capitalize on

 2   global expansion opportunities.”69 As Bowen explained in an interview, “We were still doing a lot

 3   of our own internal product development, but now we had access to floors of scientists at [Japan

 4   Tobacco].”70

 5          93.     According to internal documents, JLI (then known as Pax) entered into a “strategic

 6   partnership” with Japan Tobacco after it “evaluated all major tobacco industry companies.”71

 7   When JLI was getting ready to launch JUUL, its business plan called for a “massive distribution

 8   for JUUL,” to “be distributed by the four largest US tobacco distributors.”72 In addition, in 2015,

 9   JLI counted among its advisors Charles Blixt, the former general counsel of Reynold American,

10   Chris Skillin, former director of corporate business development at Altria Group, Bryan Stockdale,

11   the former SVP/President & CEO of R.J. Reynolds / American Snuff Company, and Chris

12   Coggins, a toxicologist at Reynolds for 20 years.73

13          94.     JLI and the Management Defendants even retained the Investment Bank Stifel to

14   help JLI “establish strong international partnerships with leading tobacco companies (“LT”) to

15   accelerate JUUL.”74 According to Stifel, “JUUL could be a multi-billion opportunity to LT

16   [leading tobacco companies] over time,” and Stifel offered to manage a process that: “Identified

17   the best Partner(s) for JUUL”; “Best positions JUUL to each Partner”; “Creates a catalyst for

18   [leading tobacco company] decision making”; and “drives strong economic value and terms

19   through competition.”75 The end result of the process would be an exclusive agreement with the

20   cigarette industry that would “maximize JUUL Growth Trajectory.”76

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     69
        Innovative P’ship for Ploom and Japan Tobacco Int’l JTI to Take Minority Share in Ploom,
22     JAPAN TOBACCO INT’L (Dec. 8, 2011), https://www.jti.com/sites/default/files/press-
23     releases/documents/2011/innovative-partnership-for-ploom-and-japan-tobacco-
       international.pdf.
24   70
        David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?,
       INC. MAGAZINE (2014), https://www.inc.com/magazine/201405/david-freedman/james-
25     monsees-ploom-ecigarette-company-marketing-dilemma.html.
     71
        INREJUUL_00371423 (Pax Labs company overview, Feb. 2015).
26   72
        INREJUUL_00371447.
     73
27      INREJUUL_00371458-INREJUUL_00371459.
     74
        INREJUUL_00016386 (Stifel Presentation, Aug. 2015).
     75
28      Id.
     76
        Id.
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 1          95.     Stifel’s presentation to the JLI Board of Directors, which included each of the

 2   Management Defendants, also emphasized both the stagnant and declining cigarette market, and

 3   the sharply growing e-cigarette market:77

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15          96.     According to Stifel, “[s]ince 2013 [leading tobacco companies] have aggressively
16   but unprofitably entered the vape category . . . with products that are not compelling.”78 Stifel’s
17   conclusion was that in light of the leading cigarette companies’ failures to develop an appealing e-
18   cigarette product: “JUUL Presents a Prime Opportunity for [leading tobacco companies] to
19   Compete with [vaporizers, tanks and mods] in Form Factor and Dominate the E-cig Experience
20   Through Retail Channels that Leverage its Distribution Strengths.”79
21          97.     Consistent with Stifel’s presentation, and the profits it was forecasting, a draft
22   December 7, 2015 presentation to the board of directors included as a “management committee
23   recommendation” that JLI position itself for “strategic alternatives (including licensing or sale)”:80
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     77
27      INREJUUL_0016399.
     78
        INREJUUL_0016400-INREJUUL_0016401.
     79
28      INREJUUL_0016404.
     80
        INREJUUL_00061757 (board meeting presentation, Dec. 7, 2015).
                                                       31
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14           98.   The presentation also made clear that the “strategic alternative” for JLI envisioned
15   by management was its acquisition by a large cigarette company:81
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          INREJUUL_00061833.
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 1           99.    This goal—acquisition by a major cigarette company—was a motive that the JLI

 2   and the Management Defendants would return to in making decisions about the manufacture and

 3   marketing of JUUL products. As an example, in a 2016 email exchange with JLI employees

 4   regarding potential partnerships with e-cigarette juice manufacturers, Defendant Bowen reminded

 5   the employees that “big tobacco is used to paying high multiples for brands and market share.”82

 6   Bowen knew that to achieve the ultimate goal of acquisition, JLI and the Management Defendants

 7   would have to grow the market share of nicotine-addicted e-cigarette users, regardless of the

 8   human cost.

 9           100.   JLI and the Management Defendants sought to grow the market share of nicotine-

10   addicted e-cigarette users beginning by at least early 2015 through two related schemes: first, by

11   designing an unsafe product with a high nicotine content that was intended to addict, or exacerbate

12   the addiction of, its users; and, second, by marketing and misbranding that potent product to the

13   broadest possible audience of potential customers, including young people whose addiction would

14   last the longest and be the most profitable for the Defendants.

15           101.   These schemes were an overwhelming success. In December 2016, Monsees

16   observed in an email to Valani that “Soon enough [JUUL’s success] will catch the eyes of big

17   tobacco and they’ll either swing a new product more directly towards us, get aggressive about

18   acquisition or do both in parallel.”83 By the close of 2017, according to Nielsen data, JLI had

19   surpassed its competitors in capturing 32.9% of the e-cigarette market, with British American

20   Tobacco at 27.4% and Altria at 15.2%.84 The total e-cigarette market expanded 40% to $1.16

21   billion.85

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     82
        INREJUUL_00294198.
26   83
        JLI00380274.
     84
27      Ari Levy, E-cigarette maker Juul is raising $150 million after spinning out of vaping
       company, CNBC (Dec. 20, 2017), https://www.cnbc.com/2017/12/19/juul-labs-raising-150-
28     million-in-debt-after-spinning-out-of-pax.html.
     85
        Id.
                                                     33
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 1              102.   By 2018, JLI represented 76.1% of the national e-cigarette market,86 and JLI’s gross

 2   profit margins were 70%.87 In a complaint it filed in November 2018 against 24 vape companies

 3   for alleged patent infringement, JLI asserted that it was “now responsible for over 95% of the

 4   growth in the ENDS cartridge refill market in the United States” and included the following

 5   chart:88

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                103.   JLI shattered previous records for reaching decacorn status, reaching valuation of
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     over $10 billion in a matter of months—four times faster than Facebook.89 This all came just three
19
     years after its product launch.
20

21

22   86
        Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market at 2,
23     STAN. RES. INTO THE IMPACT OF TOBACCO ADVERT. (2019),
       http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
24   87
        Dan Primack, Scoop: The Numbers Behind Juul’s Investor Appeal, AXIOS (July 2, 2018),
       https://www.axios.com/numbers-juul-investor-appeal-vaping-22c0a2f9-beb1-4a48-acee-
25     5da64e3e2f82.html.
     88
        Verified Complaint Under Section 337 of the Tariff Act of 1930 at 6, In the Matter of Certain
26     Cartridges for Elec. Nicotine Delivery Sys. & Components Thereof, Investigation No. 337-TA-
27     1141 (USITC Nov. 19, 2018).
     89
        Zack Guzman, Juul Surpasses Facebook As Fastest Startup to Reach Decacorn Status,
28     YAHOO! FIN. (Oct. 9, 2018), https://finance.yahoo.com/news/juul-surpasses-facebook-fastest-
       startup-reach-decacorn-status-153728892.html.
                                                        34
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 1   C.     JLI and Bowen Designed a Nicotine Delivery Device Intended to Create and Sustain
            Addiction.
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            104.    JLI was well-aware from the historical cigarette industry documents that the future
 3
     of any nicotine-delivery business depends on snaring kids before they age beyond the window of
 4
     opportunity. One memo from a Lorillard marketing manager to the company’s president put it
 5
     most succinctly, “[t]he base of our business is the high school student.”90 It is no surprise, then,
 6
     that the industry designed products specifically to attract and addict teen smokers. Claude Teague
 7
     of R.J. Reynolds titled one internal memo “Research Planning Memorandum on Some Thoughts
 8
     About New Brands of Cigarettes for the Youth Market.” In it he frankly observed, “Realistically,
 9
     if our Company is to survive and prosper, over the long term, we must get our share of the youth
10
     market. In my opinion this will require new brands tailored to the youth market.” 91 Dr. Teague
11
     noted that “learning smokers” have a low tolerance for throat irritation so the smoke should be “as
12
     bland as possible,” i.e., not harsh; and he specifically recommended an acidic smoke “by holding
13
     pH down, probably below 6.” As seen below, JLI heeded Dr. Teague’s advice.
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            1.      JLI and Bowen Made Highly Addictive E-Cigarettes Easy for Young People
15                  and Non-Smokers to Inhale.
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            105.    As combustible cigarettes were on the decline, e-cigarettes were introduced to the
17
     U.S. market beginning in 2007. Over time, e-cigarettes developed a small group of regular users,
18
     who were primarily current or former smokers. By 2014, the e-cigarette market in the U.S. was in
19
     decline.
20
            106.    E-cigarettes struggled to compete with combustible cigarettes, because of the
21
     technical challenge of delivering enough aerosolized nicotine to satisfy a smoker’s addiction in a
22
     palatable form.92 Before JUUL, most e-cigarettes used an alkaline form of nicotine called free-base
23
     nicotine.93 When aerosolized and inhaled, free-base nicotine is relatively bitter, irritates the throat,
24

25   90
        Internal Memo from T.L. Achey, Lorillard Tobacco Company, to Curtis Judge, Product
       Information (August 1978).
26   91
        Internal Memo from Claude Teague, R.J. Reynolds, Research Planning Memorandum on
27     Some Thoughts About New Brands of Cigarettes for the Youth Market (Feb. 2, 1973).
     92
        Robert K. Jackler & Divya Ramamurthi, Nicotine Arms Race: JUUL and the High-nicotine
28     Product Market, 28 TOBACCO CONTROL 623 (2019).
     93
        Id.
                                                       35
                                                                                          COMPLAINT
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 1   and is perceived as harsh by the user.94 This experience is often referred to as a “throat hit.” The

 2   higher the concentration of free-base nicotine, the more intense the “throat hit.”95 While some

 3   “harshness” would not have much impact on seasoned cigarette smokers, it would deter

 4   newcomers, or nicotine “learners,” as Claude Teague at R.J. Reynolds called young non-smokers

 5   decades ago.

 6          107.    Before 2015, most e-liquids on the market were between 1% and 2% concentration;

 7   3% concentrations were marketed as appropriate for users who were accustomed to smoking

 8   approximately forty cigarettes a day.96 None of these e-liquids delivered as much nicotine as

 9   quickly as a combustible cigarette.

10          108.    Around 2013, JLI scientists developed new e-liquids and new devices to increase

11   the amount of nicotine that e-cigarettes could deliver to users and to reduce the throat hit. JLI

12   scientists focused on nicotine salts rather than free-base nicotine, and they tested their formulations

13   in a variety of ways.

14          2.      JLI’s Initial Experiments Measured Non-Smokers’ “Buzz” Levels and
                    Perceptions of Throat Harshness.
15
            109.    JLI intentionally designed its product to minimize “throat hit” and maximize
16
     “buzz.” JLI’s first known testing of JUUL-related products occurred in 2013, when it conducted
17
     “buzz” experiments that included non-smoker participants and measured “buzz” and throat
18
     harshness. JLI officers and directors Adam Bowen, Ari Atkins, and Gal Cohen served as the initial
19
     subjects in the “buzz” experiments. These early tests were performed with the assistance of
20
     Thomas Perfetti, the same RJR chemist who had studied nicotine salt decades ago to help RJR
21
     palatably deliver more nicotine.
22
            110.    In these early tests, JLI’s goal was to develop a “buzz-effective e-cig formulation,”
23
     which would principally turn on “effectiveness (buzz, harshness),” followed by shelf life and
24
     patentability.97 The aim was to develop a nicotine salt formulation that maximized buzz,
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26
     94
27      Id.
     95
        Id.
     96
28      Id.
     97
        INREJUUL_00002903.
                                                       36
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 1   minimized harshness. “Employees tested new liquid-nicotine formulations on themselves or on

 2   strangers taking smoke breaks on the street. Sometimes, the mix packed too much punch – enough

 3   nicotine to make some testers’ hands shake or send them to the bathroom to vomit . . . .”98

 4          111.    The “buzz” experiments, which used heart rate as a qualitative measurement for

 5   buzz, showed that Bowen tested a 4% benzoate (nicotine salt) solution, which caused his resting

 6   heart rate to increase by about 70% in under 2 minutes, far exceeding all other formulations JLI

 7   was considering:99

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16          112.    Because they personally consumed these formulations, Bowen, Cohen, and Atkins
17   knew that the 4% benzoate solution delivered a strong buzz that matched or exceeded a cigarette
18   but had minimal throat hit.
19          113.    A later study by Anna K. Duell et al., which examined 4% benzoate solutions—the
20   basis for JUUL’s subsequent commercial formulations—explains why there was so little throat
21   hit. The Duell study determined that the fraction of free-base nicotine in JUUL’s “Fruit Medley”
22   flavor was 0.05 and in “Crème Brulee” was 0.07.100 Given total nicotine content of 58 mg/ml and
23   56 mg/ml in each flavor, respectively, these flavors have roughly 3-4 mg/ml free-base nicotine.
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     98
        Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS (Nov. 5,
26     2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
     99
27      INREJUUL_00002903.
     100
         U.S. Patent No. 9,215, 895; Anna K. Duell et al., Free-Base Nicotine Determination in
28     Electronic Cigarette Liquids by H NMR Spectroscopy, 31 CHEM. RES. TOXICOL. 431, 432 (Fig.
       3).
                                                     37
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 1   For comparison, “Zen” brand e-liquid contains 17 mg/ml of nicotine—less than one-third of the

 2   total nicotine content of JUUL’s flavors—but has a free-base fraction of 0.84,101 resulting in over

 3   14 mg/ml of free-base nicotine. The Duell Study’s authors found that the low free-base fraction in

 4   JUUL aerosols suggested a “decrease in the perceived harshness of the aerosol to the user and thus

 5   a greater abuse liability.”102

 6           114.    Dramatically reducing the throat hit is not necessary for a product that is aimed at

 7   smokers, who are accustomed to the harshness of cigarette smoke, but it very effectively appeals

 8   to nonsmokers, especially youths. The cigarette industry has long recognized this; a published

 9   study of industry documents concluded that “product design changes which make cigarettes more

10   palatable, easier to smoke, or more addictive are also likely to encourage greater uptake of

11   smoking.”103 The Duell study concluded that JLI’s use of nicotine salts “may well contribute to

12   the current use prevalence of JUUL products among youth.”104

13           115.    Reducing the harshness of nicotine also allows more frequent use of e-cigarettes,

14   for longer periods of time, and masks the amount of nicotine being delivered. By removing the

15   physiological drawbacks of inhaling traditional free-base nicotine, JLI’s technology removes the

16   principal barrier to nicotine consumption and addiction. The Duell study further concluded that

17   JLI’s creation of a non-irritating vapor that delivers unprecedented amounts of nicotine is

18   “particularly problematic for public health.”105

19           3.      JUULs Rapidly Deliver Substantially Higher Doses of Nicotine than
                     Cigarettes.
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             116.    In 2014, after the “buzz” experiments, JLI engineers ran a pilot pharmacokinetic
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     study in New Zealand, called the Phase 0 Clinical Study.106 The participants in the study—Adam
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     101
24       Anna K. Duell et al., Free-Base Nicotine Determination in Electronic Cigarette Liquids by H
       NMR Spectroscopy, 31 CHEM. RES. TOXICOL. 431 (hereinafter “Duell Study”).
25   102
         Id. at 431–34.
     103
         David A. Kessler, Juul Says It Doesn’t Target Kids. But Its E-Cigarettes Pull Them In, N.Y.
26     TIMES (July 31, 2019), https://www.nytimes.com/2019/07/31/opinion/juul-kids.html.
     104
27       Duell Study at 433 (citing J.G. Willett, et al., Recognition, Use and Perceptions of JUUL
       Among Youth and Young Adults, TOBACCO CONTROL 054273 (2018)).
     105
28       Id. at 431.
     106
         INREJUUL_00350930.
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 1   Bowen, Gal Cohen, and Ari Atkins107—had their blood drawn while vaping prototype JUUL

 2   aerosols. From these measurements, the scientists calculated key pharmacokinetic parameters,

 3   including maximum concentration of nicotine in the blood (Cmax) and total nicotine exposure

 4   (Area Under the Curve or AUC). JLI reported the results in U.S. Patent No. 9,215,895 (the ’895

 5   patent), for which JLI applied on October 10, 2014,108 and which was granted in December 2015.

 6   The named inventors on the patent were Adam Bowen and Chenyue Xing

 7          117.   Among the formulations was a 4% benzoate formulation, which was made with

 8   3.8% benzoic acid and 5% nicotine, as well as propylene glycol and vegetable glycerin. 109 As a

 9   comparator, JLI also measured nicotine blood levels after smoking Pall Mall cigarettes. The Phase

10   0 study also tested a 2% benzoate formulation, which had a similar Cmax as a Pall Mall cigarette,

11   and a variety of other formulations.110 The following graph shows the pharmacokinetic results of

12   the Phase 0 study:

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         Id.
     108
         This application was a continuation of U.S. Patent Application No. 14/271,071 (filed May 6,
26     2014), which claimed the benefit of U.S. Provisional Patent Application Serial No. 61/820,128,
27     (filed May 6, 2014), and U.S. Provisional Patent Application Serial No. 61/912,507 (filed
       December 5, 2013).
     109
28       U.S. Patent No. 9,215,895, at 19:63-20:4 (filed Dec. 22, 2015).
     110
         INREJUUL_00024437.
                                                    39
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 1           118.    According to Table 1 in the patent, the Cmax (the maximum nicotine concentration

 2   in blood) for Pall Mall cigarettes was 11.65 ng/mL, and for 4% benzoate it was 15.06 ng/mL,

 3   which is nearly 30% higher. The total nicotine exposure (as measured by Area Under the Curve or

 4   AUC) was 367.5 ng * min/mL for Pall Mall cigarettes and 400.2 ng * min/mL for 4% benzoate,

 5   which is almost 9% higher. The 4% benzoate formulation had the highest Cmax and AUC of any

 6   of the formulations measured.

 7           119.    Describing these results, JLI’s ’895 patent all but brags that it surpassed a

 8   commercially available combustible cigarette (Pall Mall) in maximum delivery and nearly rivaled

 9   it in how soon it could deliver peak nicotine. According to the ‘895 patent, “certain nicotine salt

10   formulations [i.e., JLI’s] provide satisfaction in an individual superior to that of free base nicotine,

11   and more comparable to the satisfaction in an individual smoking a traditional cigarette.” 111 The

12   patent further explains that the “rate of nicotine uptake in the blood” is higher for some claimed

13   nicotine salt formulations “than for other nicotine salt formulations aerosolized by an electronic

14   cigarette . . . and likewise higher than nicotine free-base formulations, while the peak nicotine

15   concentration in the blood and total amount of nicotine delivered appears comparable to a

16   traditional cigarette.”112

17           120.    In other words, JLI distinguishes itself, and established the patentability of its e-

18   liquids, by reference to their superlative ability to deliver nicotine, both in terms of peak blood

19   concentration and total nicotine delivery. The rate of nicotine absorption is key to providing users

20   with the nicotine “kick”113 that drives addiction and abuse.114 Because “nicotine yield is strongly

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     111
24       U.S. Patent No. 9,215, 895, at 7:51-55 (filed Dec. 22, 2015) (emphasis added).
     112
         Id. at 7:63-8:4.
25   113
         Internal Memo from Frank G. Colby, R.J. Reynolds, Cigarette Concept to Assure RJR a
       Larger Segment of the Youth Market (Dec. 4, 1973).
26   114
         As the National Institutes of Health has noted, the “amount and speed of nicotine
27     delivery . . . plays a critical role in the potential for abuse of tobacco products.” U.S. Dep’t of
       Health & Human Servs., How Tobacco Smoke Causes Disease: The Biology and Behavioral
28     Basis for Smoking-Attributable Disease, A Report of the Surgeon General at 181 (2010),
       https://www.ncbi.nlm.nih.gov/books/NBK53017/pdf/Bookshelf_NBK53017.pdf.
                                                        40
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 1   correlated with tobacco consumption,”115 a JUUL pod with more nicotine will strongly correlate

 2   with higher rates of consumption of JUUL pods, generating more revenue for JUUL. For example,

 3   a historic cigarette industry study that looked at smoker employees found that “the number of

 4   cigarettes the employees smoked per day was directly correlated to the nicotine levels.”116 In

 5   essence, JLI distinguished itself based on its e-liquids’ extraordinary potential to addict.

 6          121.    Another study corroborates the key result of the Phase 0 study that the 4% benzoate

 7   solution delivers more nicotine than a combustible cigarette.117 The Reilly study tested JUUL’s

 8   tobacco, crème brûlée, fruit medley, and mint flavors and found that a puff of JUUL delivered 164

 9   ± 41 micrograms of nicotine per 75 mL puff. By comparison, a 2014 study using larger 100 mL

10   puffs found that a Marlboro cigarette delivered 152-193 μg/puff.118 Correcting to account for the

11   different puff sizes between these two studies, this suggests that, at 75 mL/puff, a Marlboro would

12   deliver about 114-145 μg/puff. In other words, the Reilly study suggests that JUUL delivers more

13   nicotine per puff than a Marlboro cigarette.

14          122.    Additionally, depending on how the product is used, an e-cigarette with the 4%

15   benzoate solution is capable of delivering doses that are materially higher than those seen in the

16   Phase 0 study. As a paper published by the European Union notes: “[A]n e-cigarette with a

17   concentration of 20 mg/ml delivers approximately 1 milligram of nicotine in five minutes (the time

18   needed to smoke a traditional cigarette, for which the maximum allowable delivery is 1 mg of

19   nicotine).”119 With at least 59 mg/ml of nicotine in a salt form that increases the rate and efficiency

20

21   115
         Martin J. Jarvis et al., Nicotine Yield From Machine Smoked Cigarettes and Nicotine Intakes
       in Smokers: Evidence From a Representative Population Survey, 93 NT’L CANCER INST. 134
22     (Jan. 17, 2001), https://academic.oup.com/jnci/article/93/2/134/2906355
     116
23       Letter from Peggy Martin to Study Participants, Resume of Results from Eight-Week Smoking
       Study, UCSF Library, 1003285443-5443 (Sept. 10, 1971).
     117
24       Samantha M. Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by JUUL
       Electronic Cigarettes, 21 NICOTINE TOBACCO RESEARCH 1274 (Aug. 19, 2019),
25     https://www.ncbi.nlm.nih.gov/pubmed/30346584.
     118
         Megan J. Schroeder & Allison C. Hoffman, Electronic Cigarettes and Nicotine Clinical
26     Pharmacology, 23 TOBACCO CONTROL ii30 (May 23, 2014),
27     www.ncbi.nlm.nih.gov/pmc/articles/PMC3995273/.
     119
         E-Cigarettes, European Comm’n,
28     https://ec.europa.eu/health/sites/health/files/tobacco/docs/fs_ecigarettes_en.pdf (citing United
       Kingdom Medicines and Healthcare Products Regulatory Agency and industry reports).
                                                       41
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 1   of uptake (and even with a lower mg/ml amount), a JUUL pod easily exceeds the nicotine dose of

 2   a combustible cigarette. Not surprisingly, the European Union has banned all e-cigarette products

 3   with a nicotine concentration of more than 20 mg/ml nicotine, and other countries have considered

 4   similar regulations.120

 5                                  123.   Around 2014, JLI engineers designed the JUUL vaping device, which also was

 6   designed for addictiveness. On average, the JUUL was engineered to deliver between four to five

 7   milligrams of aerosol per puff, which is an unusually massive puff121:

 8

 9                             6
                                              JUUL                    Blu
10                                            Linear (JUUL)           Linear (Blu)
                               5
11
           AVERAGE MASS/PUFF (mg)




12
                               4
13

14                             3
15

16                             2

17
                               1
18

19
                               0
                                     0                   25                   50                  75                  100
20
                                                                        PUFF COUNT
21

22                                  124.   Given the concentration of nicotine in a JUUL pod, four to five milligrams of JUUL

23   e-liquid contains about 200-250 micrograms (μg) of nicotine. As noted by Dan Myers, a JLI

24   scientist, in an internal 2018 email to Adam Bowen and Ziad Rouag, a regulatory employee at JLI

25

26   120
         Charis Girvalaki et al., Discrepancies in Reported Versus Measured Nicotine Content of E-
27     cigarette Refill Liquids Across Nine European Countries Before and After the Implementation
       of the EU Tobacco Products Directive, 55 EUR. RESPIR. J. 1900941 (2020),
28     https://doi.org/10.1183/13993003.00941-2019.
     121
         INREJUUL_00442040-INREJUUL_00442080; INREJUUL_00442064
                                                                           42
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 1   at the time, “much more nicotine than 150 per puff could be problematic” because, according to

 2   Myers, cigarettes deliver between around 100-150 μg of nicotine per puff.122 In other words,

 3   JUUL’s precisely calibrated nicotine delivery system was specifically engineered to aerosolize up

 4   to 2.5 times as much nicotine per puff as a cigarette. Myers also noted that “Adam put in his

 5   recommendation of ~4mg/puff as the target” for a pharmacokinetic study.123

 6          125.    JLI scientists realized in 2014 that the amount of nicotine that JUUL e-cigarettes

 7   delivered could be problematic. Chenyue Xing stated that “[y]ou hope that they get what they

 8   want, and they stop,” but JLI scientists were concerned that “a Juul—unlike a cigarette—never

 9   burns out,” so the device gives no signal to the user to stop. According to Xing, JLI scientists

10   “didn’t want to introduce a new product with stronger addictive power.”124 For this reason, “the

11   company’s engineers explored features to stop users from ingesting too much of the drug, too

12   quickly. JLI’s founders applied for a patent in 2014 that described methods for alerting the user or

13   disabling the device when the dose of a drug such as nicotine exceeds a certain threshold.”125 For

14   example, “[o]ne idea was to shut down the device for a half-hour or more after a certain number

15   of puffs[.]”126 But upper management rejected the concerns that the scientists raised, and “[t]he

16   company never produced an e-cigarette that limited nicotine intake.”127

17          126.    As another option, JLI could have limited the duration of each puff to prevent the

18   JUUL from delivering doses of nicotine exceeding those of a cigarette on a per-puff basis. Instead,

19   it programmed the device to emit puffs for up to six seconds.128 JUUL knew from the Phase 0

20   pharmacokinetic study in 2014 and the CH-1702 pharmacokinetic study in 2017 that puffs of three

21   seconds generate pharmacokinetic profiles matching that of a cigarette.129

22

23
     122
24       INREJUUL_00347306.
     123
         Id.
25   124
         Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS (Nov. 5,
       2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
26   125
         Id.
     126
27       Id.
     127
         Id.
     128
28       INREJUUL_00431693
     129
         INREJUUL_00351218; INREJUUL_00351239.
                                                      43
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 1          127.    Further warnings about the addictive power of the JUUL e-cigarette—and its appeal

 2   to youths—came from consumer research that Ploom commissioned in 2014. Ploom hired the

 3   consumer research firm Tragon to do research with prototypes of the JUUL e-cigarette. On

 4   September 30, 2014, Lauren Collinsworth, a consumer researcher at Tragon, emailed Chelsea

 5   Kania, a marketing employee at Ploom, with some of the preliminary results from the studies. She

 6   stated that the testing showed that “the younger group is open to trying something new and liked

 7   J1 [the JUUL prototype] for being smart, new, techy, etc.”130 Ms. Collinsworth added that “the

 8   qualitative information suggests J1 could fit into the e-cig or vapor category for the younger group.

 9   The qualitative findings suggested this product isn’t going to fit as well with consumers who are

10   looking to cut back on the cigarette intake.”131

11          128.    On October 1, 2014, Ms. Collinsworth followed up with additional comments. She

12   stated that “[t]he delivery was almost too much for some smokers, especially those used to regular

13   e-cigarettes. When they approached the product like they would a Blu or other inexpensive e-cig,

14   they were floored by the delivery and didn’t really know how to control it.”132

15          129.    Survey responses showed that the least important product attribute for the adult

16   smokers and non-smokers in that group was “buzz.”133 Comments from the study’s subjects

17   included “overwhelming when I first inhaled,” “too much for me,” “it was too strong,” and “it

18   caught me off-guard.”134 Comments on the device’s style said JUUL “might manage to make

19   smoking cool again”; others “thought it was a data storage device.”135

20          130.    The final results from this consumer research were distributed to upper

21   management, including to then-CEO James Monsees136 and then-Chief Marketing Officer Richard

22   Mumby.137

23

24
     130
         JLI00365905.
25   131
         Id. (emphasis added).
     132
         JLI00365709.
26   133
         JLI00365176.
     134
27       INREJUUL_00058345.
     135
         Id.
     136
28       JLI00364678.
     137
         JLI00364487.
                                                        44
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 1          131.      In late 2014, knowing the results of the buzz tests, the Phase 0 study and the

 2   consumer research, JLI executives, including Bowen, selected the 4% benzoate formulation to

 3   serve as the model for all formulations to be used in the JUUL product to be released in 2015. All

 4   JUUL formulations at launch used the same amount of nicotine and benzoic acid as did the

 5   formulation that resulted in the highest nicotine blood levels in the Phase 0 study. JUUL pods were

 6   foreseeably exceptionally addictive, particularly when used by persons without prior exposure to

 7   nicotine.

 8          4.        JLI and the Management Defendants Knew That JUUL was Unnecessarily
                      Addictive Because It Delivered More Nicotine Than Smokers Needed or
 9                    Wanted.
10          132.      The JUUL e-cigarette launched in 2015. After the launch, JLI and the Management
11   Defendants continued to collect information about the addictiveness of JUUL. This information
12   confirmed what they already knew: JUUL was exceptionally dangerous because of its
13   addictiveness.
14          133.      For example, on April 22, 2017, an e-cigarette retailer emailed Gal Cohen
15   expressing concern about the addictiveness of JLI’s products. He wrote:
16          I am very concerned about the JLI products. People's addiction behavior
17          is SEVERE with this JLI device. I don't think I can justify carrying this anymore.
            The Brooklyn store is run by someone else and he still wants to carry it. I am
18
            not really happy about this. It was a simple product for users who do not want to
19          fill tanks and change atomizers and it was easy to sell, but I really don't feel
            good about selling it. I know we talked about this back a few years ago before we
20          were carrying the product, but I am curious to know what is in the liquid. I know
            the nicotine salts are added but I would like to know what else is in it. Do you
21          guys have a GCMS or ingredient listing for the liquid? Are there other additives?
            I want to feel more comfortable so I can keep carrying these, but I have seen
22
            what it is doing to people and I am very uncomfortable with it. Last year when
23          the news came to me and wanted me to help them with the story that teens were
            using JLI I shut that story down by telling them it wasn't true. It is true. kids
24          are getting hooked on this thing and they don't even understand half the time
            that it has nicotine in it! Little kids.. like 14 and 15 year olds. They try to come
25          in my shop and we tell them it is 21 and over and get them out... but it is REALLY
            bad!
26
            I have kids calling and trying to order using delivery services as well. We will only
27          allow pickup and delivery for regular customers whose ID we have
28          already checked... but they TRY and that worries me.. because the smoke shops


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 1           and bodegas are NOT checking that the person they are picking up for is old
             enough to buy the product.
 2
             I agree that it is certainly less hazardous than smoking... but to
 3           intentionally increase the addictiveness of nicotine seems really irresponsible
             and makes me feel like Big Tobacco pushing people onto a really addictive
 4           product. I just don't think that it is necessary and I don't feel good about it.
 5           Anyway... if there is any info you have that might make me feel better about selling
             it let me know... or if you could send me ingredient listing (I know Pax applied for
 6           the patent on the liquid with the nicotine salts so it should be ok to share now?) I
 7           would appreciate it.138
             134.     Another example came just days later. On April 28, 2017, JLI held a science
 8
     meeting discussing the scientific information in JLI’s possession with outside scientists. Notes
 9
     from the meeting state that “concern was raised that because the nicotine update [sic] is slightly
10
     faster the data could be interpreted as feeding an addiction faster. Given the current climate with
11
     addictions to OxyContin how the data is presented needs to be considered carefully.”139
12
             135.     Additionally, Dan Myers wrote to Adam Bowen in October 2017 that “single puff
13
     data from Juul suggests that a small number of puffs, at the beginning of the pod’s lifetime, may
14
     contain 2-3X” the levels of nicotine in the puffs from the rest of the pod, “i.e., 200-300
15
     [μ]g/puff.”140 This is consistent with a central goal of the product’s design: capturing “users with
16
     the first hit.”141
17
             136.     None of this information was a surprise, nor did it cause JLI or the Management
18
     Defendants to change JLI’s products or marketing. In fact, they embraced it. On November 3,
19
     2017, Steven Hong, JLI’s Director of Consumer Insights, described JUUL’s “design and chemical
20
     formulation (fast acting nic salts)” as JLI’s “ace in the hole” over the competition.142
21
             137.     The following year, JLI and the Management Defendants obtained even more
22
     evidence that the amount of nicotine in JUULpods was needlessly high. By no later than May of
23
     2018, JLI had completed Phase I of “Project Bears,” a JLI study of smoker and vaper nicotine
24

25
     138
         INREJUUL_00264888-INREJUUL_00264890.
26   139
         INREJUUL_00230416.
     140
27       INREJUUL_00434580-INREJUUL_00434590.
     141
         Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS (Nov. 5,
28     2019), https://www.reuters.com/investigates/special-report/juul-ecigarette.
     142
         INREJUUL_00228928-INREJUUL_00228930.
                                                      46
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 1   strength preferences. The results showed that “[a]cross the smoker segments, product liking is very

 2   similar[,]” and the “heaviest smokers (21+ cigs) like 1.7% more than higher strengths” such as 3%

 3   and 5%.143 Similarly, “for those who evaluated the 5% pod, when given the choice of lower level

 4   pod strengths, at least half would choose a lower strength pods.”144

 5          138.    The same tests also showed that, contrary to JLI’s expectations, smokers did not

 6   increase their use of the 1.7% formulation relative to the 5% formulation in order to achieve

 7   nicotine satisfaction. “Smoking volume does seem to be a driver of vaping volume, but this does

 8   not vary much by strength within a given smoker type.”145

 9          139.    Thus, Project Bears revealed that 5% JUULpods delivered more nicotine than

10   necessary to satisfy cigarette smokers, even those characterized as “heavy” smokers.146

11          140.    At some point during the coordination between JLI, the Management Defendants,

12   and Altria, but no later than the due-diligence period for Altria’s investment in JLI, either JLI

13   (through its employees) or one or more of Defendants Bowen, Monsees, Pritzker, Huh, and Valani

14   provided Altria with a copy of the Project Bears findings.147

15          141.    Nonetheless, JLI, the Management Defendants, and Altria have maintained and

16   promoted the 5% JUULpods as JLI’s flagship offering of JUULpods although they knew that even

17   current smokers prefer a lower nicotine content. They pushed the 5% JUULpod because it hooked

18   users faster and kept them addicted to nicotine.148

19          142.    In addition to Project Bears, JLI and the Management Defendants (and potentially

20   Altria) were aware of other internal studies that established that its 5% JUUL pod product would

21   not be a successful cessation tool, as it was not attractive to an audience looking to reduce cigarette

22   consumption.149

23

24

25   143
         INREJUUL_00260068.
     144
         INREJUUL_00260065.
26   145
         INREJUUL_00244200.
     146
27       Id.
     147
         Id.
     148
28       Id.
     149
         Id.
                                                       47
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 1          5.      JUUL’s Design Did Not Look Like a Cigarette, Making it Attractive to Non-
                    Smokers and Easy for Young People to Use Without Detection.
 2
            143.    Not only did JUUL contain high levels of nicotine that delivered a strong “buzz”
 3
     from the first puff, JLI designed its product to look appealing to youth and non-smokers. In January
 4
     2015, six months before JUUL’s launch, JLI’s Marketing Director, Sarah Richardson, identified
 5
     “key needs” for JUUL’s PR strategy, including “Establish premium positioning to entice the
 6
     “masses” to follow the trend setters; own the “early adopter” /”cool kid” equity as we build out
 7
     volume”, and highlighted that “JUUL deliberately doesn’t resemble e-cigs or cigalikes” that are
 8
     “awkward” and “douche-y”.150 Instead, JUUL is “elegant” and “cool”.
 9
            144.    JLI’s strategy to position a nicotine-delivery device as the cool thing to do is not
10
     new. Decades before, Dr. Teague from R.J. Reynolds observed: “pre-smokers” face
11
     “psychological pressure” to smoke if their peers are doing so, “a new brand aimed at a young
12
     smoker must somehow be the ‘in’ brand and its promotion should emphasize togetherness,
13
     belonging and group acceptance, while at the same time emphasizing ‘doing one’s own thing.’”151
14
     Again, JUUL followed the cigarette playbook verbatim.
15
            145.    JLI knew that among its target audience, young people, cigarette smoking had
16
     become increasingly stigmatized. JLI wanted to create a product that would create “buzz” and
17
     excitement, totally different from the image of addicted cigarette smokers huddling outside their
18
     workplaces in the cold to get their nicotine fix.
19
            146.    Unlike the distinct smell and odor emitted from combustible cigarettes, JUUL emits
20
     a reduced aerosol with a nearly undetectable scent. And unlike other e-cigarettes, the JUUL device
21
     does not produce large plumes of smoke. Instead, the vapor cloud is very small and dissipates very
22
     quickly, allowing for concealed use. As a result, young users can, and do, use JUUL—in class or
23
     at home—without detection.
24
            147.    The JUUL device is also designed to be small and discrete. Fully assembled, the
25
     device is just over 9.5 cm in length and 1.5 cm wide. The JUUL device resembles a memory stick
26

27   150
       INREJUUL_00057291 et seq.
     151
28     Internal RJR Memo, Claude Teague, Research Planning Memorandum on Some Thoughts
      About New Brands of Cigarettes for the Youth Market, (Feb. 2, 1973).
                                                         48
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 1   and can be charged in a computer’s USB drive. This design allows the device to be concealed in

 2   plain sight, camouflaged as a thumb-drive, for use in public spaces, like schools and even charged

 3   in school computers. JLI has been so successful in emulating harmless technology that its small,

 4   rectangular devices are often mistaken for—or passed off as—flash drives. According to one high

 5   school senior, “that’s what people tell the teachers a lot, too, if you charge it in class, they’ll just

 6   say it’s my flash drive.”

 7

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             148.    The ability to conceal a JUUL is part of the appeal for adolescents. The devices are
23
     small and slim, so they fit easily in a closed hand or a pocket. The ease and simplicity of use—
24
     there is nothing to light or unwrap, not even an on-off switch—also make it possible to covertly
25
     use a JUUL behind a turned back, which has become a trend in many schools. As a police officer
26
     told reporters, JUUL use is “incredibly prevalent in schools,” including both high schools and
27
     middle schools, and that it is hard to catch kids in the act of using JUUL because the device does
28


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 1   not produce a large vapor cloud. As the officer explained, students will “just take a little hit or puff

 2   off them and then can hold the vapor in their mouth for a little while . . . There’s minimal vapor.

 3   They’ll also just blow into their sleeve or into their hoodie.”152 Finding new ways to hide the ever-

 4   concealable JUUL has spawned products designed just for that purpose, such as apparel that allows

 5   the wearer to use the device while it is concealed in the drawstring of a hoodie or the strap of a

 6   backpack.153

 7          149.     Referred to as “the iPhone of e-cigarettes,” JLI’s design was also slick and

 8   high-tech, which made it appealing to youth. JLI co-founder Bowen drew on his experience as a

 9   design engineer at Apple Inc. to make JUUL resonate with Apple’s popular aesthetics. This high-

10   tech style made JUULs look “more like a cool gadget and less like a drug delivery device. This

11   wasn’t smoking or vaping, this was JUULing.”154 The evocation of technology makes JUUL

12   familiar and desirable to the younger tech-savvy generation, particularly teenagers. According to

13   a 19-year-old interviewed for the Vox series By Design, “our grandmas have iPhones now, normal

14   kids have JUULs now. Because it looks so modern, we kind of trust modern stuff a little bit more

15   so we’re like, we can use it, we’re not going to have any trouble with it because you can trust it.”155

16   A 16-year-old agreed, explaining that “the tech aspect definitely helps people get introduced to it

17   and then once they’re introduced to it, they’re staying, because they are conditioned to like all

18   these different products. And then this is another product. And it’s just another product. Until

19   you’re addicted to nicotine.”156

20          150.     JUUL’s design also included an LED light, which allowed users to active “party

21   mode,” whereby the LED light would flash a rainbow of colors. “Party mode” is activated by the

22   user by waving the JUUL device back and forth until the white LED light starts flashing multiple

23
     152
24       Juuling at School, KOMO News (2019),
       https://komonews.com/news/healthworks/dangerous-teen-trend-juuling-at-school.
25   153
         Evie Blad, ‘Juuling’ and Teenagers: 3 Things Principals and Teachers Need to Know, EDUC.
       WK. (July 18, 2018), https://www.edweek.org/ew/articles/2018/07/18/juuling-and-teenagers-3-
26     things-principals-and.html.
     154
27       How JUUL Made Nicotine Go Viral, VOX (Aug. 10, 2018),
       https://www.youtube.com/watch?v=AFOpoKBUyok.
     155
28       Id.
     156
         Id.
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 1   colors, so that the rainbow colors are visible while the person inhales from the JUUL device. “Party

 2   mode” can also be permanently activated on the JUUL by the user quickly and firmly slapping the

 3   JUUL against the palm of the hand, until the LED light starts flashing multiple colors permanently.

 4   Party mode on the JUUL is described by users to be “like an Easter egg in a video game” and

 5   allows for “some cool tricks that are going to drive [] friends crazy.” 157 This feature was another

 6   characteristic that set JUUL apart from other e-cigarettes on the market, and made it even more

 7   appealing and “cool” to young users.

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            151.    According to Dr. David Kessler, a former Commissioner of the FDA and current
19
     Professor of Pediatrics at the University of California, San Francisco, JUUL’s “fundamental design
20
     appears to ease young people into using these e-cigarettes and ultimately, addiction.”158 Dr.
21
     Kessler emphasized the reduced harshness of JUUL’s nicotine salt formulation, the high nicotine
22
     content, discreet vapor cloud, and use of flavors as design features that appeal to youth.159 On April
23
     24, 2018, the FDA sent JLI a letter, based on the FDA’s concern “about the popularity of JUUL
24

25

26   157
         Jon Hos, Getting Your Juul Into Party Mode, (Jul. 12, 2018), https://vapedrive.com/getting-
27     your-juul-into-party-mode.
     158
         David A. Kessler, Juul Says It Doesn’t Target Kids. But Its E-Cigarettes Pull Them In, N.Y.
28     TIMES (July 31, 2019), https://www.nytimes.com/2019/07/31/opinion/juul-kids.html.
     159
         Id.
                                                      51
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 1   products among youth” and stated that this popularity may be related to “the product design.”160

 2   As a result, the FDA requested documents related to product design, including its “shape or form,”

 3   “nicotine salt formulation” and “nicotine concentration/content,” “flavors,” and “features such as:

 4   appearance, or lack thereof, or plume . . . [and] USB port rechargeability.”

 5          6.      JLI Enticed Newcomers to Nicotine with Kid-Friendly Flavors Without
                    Ensuring the Flavoring Additives Were Safe for Inhalation.
 6
                    a.     JIL Develops Flavored JUUL Products That Would Appeal to Youth.
 7
            152.    Cigarette companies have known for decades that flavored products are key to
 8
     getting young people to acclimate to nicotine. A 1972 Brown & Williamson memorandum: Youth
 9
     Cigarette – New Concepts, specifically noted the “well known fact that teenagers like sweet
10
     products.”161 A 1979 Lorillard memorandum concluded that younger customers would be
11
     “attracted to products with ‘less tobacco taste,” and even proposed borrowing data from the “Life
12
     Savers” candy company to determine which flavors enjoyed the widest appeal among youth.162
13
            153.    Altria’s subsidiary U.S. Smokeless Tobacco Company (formerly called United
14
     States Tobacco Company) described the initiation of new customers through flavored products as
15
     “the graduation theory”:
16
            New users of smokeless tobacco—attracted to the product for a variety of reasons—
17
            are most likely to begin with products that are milder tasting, more flavored, and/or
18          easier to control in the mouth. After a period of time, there is a natural progression
            of product switching to brands that are more full-bodied, less flavored, have more
19          concentrated “tobacco taste” than the entry brand.163
20

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     160
         Letter from Matthew R. Holman, Director of the Office of Science at the Center for Tobacco
22     Products, to Ziad Rouag, Vice President of Regulatory & Clinical Affairs, JUUL Labs, Inc.
23     (Apr. 24, 2018), https://www.fda.gov/media/112339/download.
     161
         Marketing Innovations, Inc., Brown & Williamson Tobacco Corp. Project Report: Youth
24     Cigarette—New Concepts, U.C.S.F. Truth Tobacco Indus. Documents (Sept. 1972),
       https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=hzpd0040.
25   162
         Flavored Tobacco FAQs, Students Working Against Tobacco,
       http://swatflorida.com/uploads/fightresource/Flavored%20Tobacco%20Industry%20Quotes%2
26     0and%20Facts.pdf (citing Sedgefield Idea Sessions 790606-790607 (June 8, 1979), Bates No.
27     81513681/3691) (last visited Mar. 27. 2020).
     163
         G.N. Connolly, The marketing of nicotine addiction by one oral snuff manufacturer, 4
28     TOBACCO CONTROL 73-79 (1995),
       https://www.ncbi.nlm.nih.gov/pmc/articles/PMC1759392/pdf/v004p00073.pdf.
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 1            154.   A sales manager who worked at U.S. Tobacco in the 1980s told the Wall Street

 2   Journal that “They talked about graduation all the time—in sales meetings, memos and manuals

 3   for the college program. It was a mantra.”164

 4            155.   A 2004 study found that seventeen-year-old smokers were more than three times as

 5   likely as those over the age of twenty-five to smoke flavored cigarettes, and they viewed flavored

 6   cigarettes as safer.165

 7            156.   In June 2015, JUUL came to market in four flavors including tabaac (later renamed

 8   tobacco), fruut (later renamed fruit medley), bruulé (later renamed crème brulee), and miint (later

 9   renamed mint).

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17            157.   JUUL later offered other kid-friendly flavors, including cool mint, cucumber, and
18   mango.
19

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26   164
         Alix Freedman, Juiced Up: How a Tobacco Giant Doctors Snuff Brands to Boost Their
27     ‘Kick,’ WALL ST. J. (Oct. 26, 1994),
       https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=mlch0185.
     165
28       Gardiner Harris, Flavors Banned From Cigarettes to Deter Youth, N.Y. TIMES (Sept. 22,
       2009), https://www.nytimes.com/2009/09/23/health/policy/23fda.html.
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 1          158.    In 2009, the FDA banned flavored cigarettes (other than menthol) as its first major

 2   anti-tobacco action pursuant to its authority under the Family Smoking Prevention and Tobacco

 3   Control Act of 2009. “Flavored cigarettes attract and allure kids into addiction,” Health and Human

 4   Services Assistant Secretary Howard Koh, MD, MPH, said at a news conference held to announce

 5   the ban.166 In January 2020, the FDA banned flavored e-cigarette pods, other than “Tobacco” and

 6   “Menthol” flavors, in response to “epidemic levels of youth use of e-cigarettes” because these

 7   products are “so appealing” to children.”167

 8          159.    The availability of e-liquids in flavors that appeal to youth increases rates of e-

 9   cigarette adoption by minors. A national survey found that that 81% of youth aged twelve to

10   seventeen who had ever used e-cigarettes had used a flavored e-cigarette the first time they tried

11   the product, and that 85.3% of current youth e-cigarette users had used a flavored e-cigarette in

12   the past month. Moreover, 81.5% of current youth e-cigarette users said they used e-cigarettes

13   “because they come in flavors I like.”168

14          160.    Adding flavors to e-liquids foreseeably increases the risk of nicotine addiction by

15   making it easier and more pleasant to ingest nicotine.169 Research has shown that adolescents

16   whose first tobacco product was flavored are more likely to continue using tobacco products than

17   those whose first product was not flavored.

18

19   166
         Daniel J. DeNoon, FDA Bans Flavored Cigarettes: Ban Includes Cigarettes With Clove,
20     Candy, and Fruit Flavors, WebMD (Sept. 22, 2009), https://www.webmd.com/smoking-
       cessation/news/20090922/fda-bans-flavored-cigarettes#2.
21   167
         U.S. Food & Drug Admin., FDA Finalizes Enforcement Policy on Unauthorized Flavored
       Cartridge-Based E-cigarettes that Appeal to Children, Including Mint (Jan. 22, 2020),
22     https://www.fda.gov/news-events/press-announcements/fda-finalizes-enforcement-policy-
23     unauthorized-flavored-cartridge-based-e-cigarettes-appeal-children.
     168
         See Bridget K. Ambrose et al., Flavored Tobacco Product Use Among US Youth Aged 12-17
24     Years, 2013-2014, 314 JAMA 1871 (2015). Another peer-reviewed study concluded that young
       adults who use electronic cigarettes are more than four times as likely to begin using regular
25     cigarettes as their peers who have not used e-cigarettes. See Brian A. Primack, et al. Initiation
       of Traditional Cigarette Smoking after Electronic Cigarette Use Among Tobacco-Naïve US
26     Young Adults, 131 AM. J. MED. 443.e1 (2018).
27
     169
         See U.S. Dep’t of Health & Human Servs., How Tobacco Smoke Causes Disease: The
       Biology and Behavioral Basis for Smoking-Attributable Disease: A Report of the Surgeon
28     General, Chapter 4 (Centers for Disease Control and Prevention ed. 2010),
       https://www.ncbi.nlm.nih. gov/books/NBK53018/ #ch4.s92.
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 1          161.    In a recent study, 74% of youth surveyed indicated that their first use of a JUUL

 2   was of a flavored JUUL pod.170

 3          162.    Research shows that when youth see advertisements for flavored e-cigarettes, they

 4   believe the advertisements and products are intended for them.171

 5          163.    Flavors like mint and menthol are attractive to youth. According to Robin Koval,

 6   CEO and president of Truth Initiative, mint and menthol are among the most popular flavors for

 7   youth and that “[w]e also know, as does the tobacco industry, that menthol has been and continues

 8   to be the starter flavor of choice for young cigarette users.” According to the FDA, “younger

 9   populations have the highest rate of smoking menthol cigarettes” and “menthol in cigarettes is

10   likely associated with increased initiation and progression to regular [] cigarette smoking.”172

11          164.    A significant majority of under-age users chose flavored e-cigarette products.173 By

12   at least early 2017, JLI knew that its flavors had attracted young people and non-smokers in

13   droves.174 Instead of taking corrective action or withdrawing the kid friendly flavors, JLI

14   capitalized on their popularity with kids continued to promote JUUL’s flavors. In a social media

15   post from August 2017, for example, JLI tweeted “Beat The August Heat with Cool Mint” and

16

17

18   170
         Karma McKelvey et al., Adolescents and Young Adults Use in Perceptions of Pod-based
19     Electronic Cigarettes. 1 JAMA NETWORK OPEN e183535 (2018), https://
       doi:10.1001/jamanetworkopen.2018.3535.
20
     171
         D.C. Petrescu, et al., What is the Impact of E-Cigarette Adverts on Children’s Perceptions of
       Tobacco Smoking? An Experimental Study, 26 TOBACCO CONTROL 421 (2016); Julia C. Chen-
21     Sankey et al., Perceived Ease of Flavored E-Cigarette Use and E-Cigarette Use Progression
       Among Youth Never Tobacco Users, 14 PLOS ONE 1 (2019).
22   172
         Preliminary Scientific Evaluation of the Possible Public Health Effects of Menthol Versus
23     Nonmenthol Cigarettes at 5, FDA, https://www.fda.gov/media/86497/download (last visited
       Mar. 28, 2020).
     173
24       Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 322 JAMA 2095
       (2019), https://tinyurl.com/y3g75gmg (“Among current exclusive e-cigarette users, an
25     estimated 72.2% . . . of high school students and 59.2% . . . of middle school students used
       flavored e-cigarettes. . . .").
26   174
         See INREJLI_00265068 (Feb. 13, 2017 internal JLI email string: “. . . [f]lavors are important
27     for retention – especially when you consider the switching effectiveness of JLI. Would we still
       have these people as customers if we didn’t offer fruit or dessert flavors? Hard to say on this
28     alone, but if we removed our highest quality flavors (mint or mango), we would surely risk
       churn.”)
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 1   “Crisp peppermint flavor with a pleasant aftertaste.”175 In another August 2017 tweet, JLI

 2   compared JUUL to dessert: “Do you brulée? RT [re-tweet] if you enjoy dessert without the spoon

 3   with our Creme Brulee #JUULpods.”176

 4          165.       JLI asserts that it did not intend its flavors to appeal to underage users. After eleven

 5   Senators sent a letter to JLI questioning its marketing approach and kid-friendly e-cigarette flavors,

 6   JLI visited Capitol Hill and told Senators that it never intended its products to appeal to kids and

 7   did not realize they were using the products, according to a staffer for Senator Richard Durbin177.

 8   JLI’s statements to Congress—which parallel similar protests of innocence by cigarette company

 9   executives—were false.

10          166.       A former JUUL manager, who spoke to The New York Times on the condition that

11   his name not be used, said that within months of JUUL’s 2015 introduction, it became evident that

12   teenagers were either buying JUULs online or finding others who made the purchases for them.

13   Some people bought more JUUL kits on the company’s website than they could individually use—

14   sometimes ten or more devices at a time. “First, they just knew it was being bought for resale,”

15   said the former senior manager, who was briefed on the company’s business strategy. “Then, when

16   they saw the social media, in fall and winter of 2015, they suspected it was teens.”178

17          167.       JLI’s use of flavors unfairly targeted not only youth, but unsuspecting adults as

18   well. By positioning JUUL pods as a flavor-oriented product rather than a system for delivering a

19   highly addictive drug, JLI deceptively led users to believe that JUUL pods were not only healthy

20   (or at least essentially harmless), but also a pleasure to be enjoyed regularly, without guilt or

21   adverse effect.

22
     175
23       JUUL Labs, Inc. (@JUULvapor), Twitter (Aug. 4, 2017),
       http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_39.jpg.
24   176
         Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes
       (Nov. 16, 2018), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-
25     focus-of-juuls-early-marketing-campaigns/#3da1e11b14f9.
     177
         Lorraine Woellert & Sarah Owermohle, Juul Tries to Make Friends in Washington as
26     Regulators Circle, POLITICO (Dec. 28, 2018), https://www.politico.com/story/2018/12/08/juul-
27     lobbying-washington-1052219.
     178
         Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y.
28     TIMES (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
       marketing.html.
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 1                  b.      Defendants Developed and Promoted the Mint Flavor and Sought to
                            Preserve its Market.
 2
             168.   While JLI and the Management Defendants were developing and marketing their
 3
     flavored products to appeal to and recruit youth, Altria, recognizing the value of those young
 4
     “replacement smokers” committed itself to the cause. With the shared goal to grow the number of
 5
     nicotine-addicted users, and as detailed further herein, JLI’s leadership, the Management
 6
     Defendants, and Altria set out to do whatever was necessary to create and preserve the lucrative
 7
     market for flavors. In order to maximize the value of its mint line of JUULpods, JLI, with the
 8
     support of the Management Defendants, chemically and socially engineered its mint pods to
 9
     become the most popular “flavor” among youth, including through extensive surveillance of youth
10
     behavior and preferences, all while seeking to conceal mint’s appeal to youth.
11
             169.   In July 2013, Reynolds American Inc.179 released the Vuse, the first-known
12
     cartridge-based nicotine salt e-cigarette to reach the domestic market.180 Altria entered the nicotine
13
     salt market one month later, with the MarkTen cig-a-like.181 JLI would enter the market in June
14
     2015.
15
             170.   Though mint was one of the least popular e-cigarette flavor categories with youth
16
     in 2015, trailing the fruit and dessert categories,182 Reynolds, Altria and JLI had all introduced
17
     mint-flavored products within a year of each company’s initial release. By mid-2014, Reynolds
18
     had added “Mint, Rich Mint, Spearmint, [and] Wintergreen” to its Vuse lineup.183 By February
19
     2015, Altria’s Nu Mark LLC, under the leadership of Joe Murillo (JLI’s current regulatory head),
20
     released a Winter Mint flavor for MarkTen.
21

22   179
         Reynolds is now a wholly owned subsidiary of British American Tobacco.
23
     180
         See FAQs, RJR Vapor Co., LLC, http://www.vusevapor.com/faqs/product/ (“Since Vuse’s
       launch in 2013, all of our closed systems available for sale nationally (i.e., Vuse Solo, Vuse
24     Ciro, Vuse Vibe, and Vuse Alto) include nicotine salts.”).
     181
         Additional Info, Nu Mark LLC, https://markten.com (“certain varieties” of MarkTen Original
25     “contain … acetic acid, benzoic acid, and lactic acid.”).
     182
         See M.B. Harrell et al., Flavored E-cigarette Use: Characterizing Youth, Young Adult, and
26     Adult Users, 5 PREVENTIVE MEDICINE REPS. 33-40, § 3.3 (Mar. 2017),
27     https://www.sciencedirect.com/science/article/pii/S2211335516301346.
     183
         See Sen. Richard Durbin, et al., Gateway to Addiction? (April 14, 2014),
28     https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
       Cigarettes%20with%20Cover.pdf.
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 1          171.    Unlike Reynolds and Altria, which released mint products after first releasing a

 2   menthol variant, JLI skipped menthol and went straight to mint, adding Menthol in late 2017

 3   around the same time it released its mango JUULpods.

 4          172.    JLI’s flavored JUULpods were particularly popular with its underage users and,

 5   when mango was introduced, it was the underage user’s flavor of choice.

 6          173.    JLI, the Management Defendants, and Altria recognized both the potential of using

 7   flavors to hook kids and the inevitability that the government would seek to regulate said flavors.

 8   So, they sought to solidify the market presence of a “substitute” youth-friendly flavor—mint—

 9   which might escape regulation and preserve JLI’s astronomical sales figures.

10                         (i)     JLI Manipulates Chemistry of Mint JUUL Pods.

11          174.    One recent study found that JLI’s mango had the lowest free-base content, making
12   it the least harsh formula; and that mint had the highest free-base content (30% more free-base
13   than mango), making mint the formula with the strongest nicotine impact:184
14

15

16

17

18

19

20

21
           Anna K. Duell et al., Nicotine in tobacco product aerosols: ‘It’s déjà vu all over again’
22

23          175.    These findings evidence JLI, the Management Defendants, and the Altria

24   Defendants’ plan to make the flavor whose lifespan they were working hard to preserve the most

25   potent when it got into the hands of nonsmokers, including youth.

26
     184
27      See Duell AK, et al. Nicotine in Tobacco Product Aerosols:
      “It's Déjà vu All Over Again,” 5 TOBACCO CONTROL (Dec. 17, 2019),
28    https://tobaccocontrol.bmj.com/content/tobaccocontrol/early/2019/12/16/tobaccocontrol-2019-
      055275.full.pdf.
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 1                  c.      JLI’s Youth Surveillance Programs Confirmed that Mint JUUL Pods
                            are Preferred by Teens.
 2
            176.    In January 2018, Kevin Burns, JLI’s new CEO, deployed his experience as the
 3
     former CEO of a yogurt company to begin developing JUUL’s flavor portfolio.
 4
            177.    One part of this initiative included studying consumer reactions to flavor names.
 5
     By February 2018, McKinsey & Company had provided a roadmap to JLI’s Consumer Insights
 6
     department, which included multiple flavor studies including a flavor “likability” tests, which was
 7
     carried out under JUUL’s marketing and commercial department.185
 8
            178.    In April 2018, JLI received a document request from the FDA on April 24, 2018,
 9
     seeking information about the design and marketing of JLI’s products, among other things.186
10
            179.    In response, JLI announced a commitment of $30 million to youth prevention
11
     efforts and began sending JLI representatives to schools to present what were essentially
12
     advertising campaigns for JUUL products. This conduct resulted in a Warning Letter from the
13
     FDA’s Center for Tobacco Products to JLI in September 2019.187
14
            180.    Under the guise of this youth prevention program, JLI directly studied 13- to 17-
15
     year-old teens’ e-cigarette flavor preferences.188 These studies, undertaken at a time when JLI and
16
     Altria were coordinating their activities, asked teens to rank a variety of e-cigarette flavors in terms
17
     of appeal, and included the names of current JUUL flavors, JUUL flavors under development, and
18
     flavors offered by JLI’s competitors. Though they were not made public, through document
19
     requests, two such studies have been identified from April 2018.
20
            181.    The first study, carried out by McKinsey & Company, generated over 1,000
21
     responses from teens aged 13 to 17 years old.189 The second study, conducted by DB Research,
22

23
     185
24       INREJUUL_00053172.
     186
         Matthew Holman, U.S. Food & Drug Admin., to Ziad Rouag, Juul Labs, Inc., Letter from
25     Director of Office of Science, Center for Tobacco Products (Apr. 24, 2018),
       https://www.fda.gov/media/112339/download.
26   187
         Letter from U.S. Food & Drug Admin. to Kevin Burns, CEO of Juul Labs, Inc. (Sept. 9,
27     2019), https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
       investigations/warning-letters/juul-labs-inc-590950-09092019.
     188
28       INREJUUL_00121627 (preliminary slides); INREJUUL_00124965 (data).
     189
         Id.
                                                       59
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 1   appears to have gathered data from a focus group of 16 kids in Bethesda, Maryland, and Baltimore,

 2   Maryland.190

 3          182.      Both studies found that teens’ co-favorite JUUL flavors were mango and mint, and

 4   that teens found only one third-party flavor more desirable than mango and mint: “Cotton Candy”

 5   (McKinsey) 191 and “Fruit Loops” (DB Research).192

 6          183.      Though the McKinsey study did not survey teens’ preference for menthol, the DB

 7   Research study did and found that while 28% of teens found menthol appealing, 72% of teens

 8   liked mint.193

 9          184.      In other words, these surveys showed that teens respond to mint the way they

10   respond to their favorite candy flavors and respond to Menthol the way they respond to traditional

11   tobacco flavors typically disfavored by youth. This is unsurprising, as the “Mint” flavor was

12   designed not to taste like a Menthol cigarette. Users have described JLI’s Menthol flavor as

13   “tast[ing] like a [N]ewport” cigarette that “doesn’t have that good peppermint taste like [C]ool

14   [M]int.”194

15          185.      Because of these and other studies, JLI, the Management Defendants, and the Altria

16   Defendants knew that mint is an attractive flavor for kids. According to Siddharth Breja, who was

17   senior vice president for global finance at JLI, after JLI pulled most flavored pods, including

18   mango, from the market in a purported attempt to reduce youth usage of JUUL, then-CEO Kevin

19   Burns said that “[y]ou need to have an IQ of 5 to know that when customers don’t find mango they

20   buy mint.”195 And it was public knowledge that mint and menthol have a well-documented history

21   of facilitating youth tobacco use, as Dr. Jonathan Winickoff testified before Congress:

22

23   190
         INREJUUL_00035325.
     191
24       INREJUUL_00124965.
     192
         Id.
25   193
         INREJUUL_00035325.
     194
         Reddit, How does Classic Menthol Compare to Cool Mint,
26     https://www.reddit.com/r/juul/comments/7wo39m/how_does_classic_menthol_compare_to_co
27     ol_mint/.
     195
         Sheila Kaplan and Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former
28     Executive Say, N.Y. TIMES (Nov. 20, 2019), https://www.nytimes.com/2019/10/30/health/juul-
       pods-contaminated.html.
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 1          [it is] completely false to suggest that mint is not an attractive flavor to children.
            From candy canes to toothpaste, children are introduced to mint flavor from a
 2          young age. Not only do children enjoy mint, but it has special properties that make
            it an especially dangerous flavor for tobacco. Menthol’s anesthetic properties cool
 3
            the throat, mask the harshness of nicotine, and make it easier for children to start
 4          using and continue using tobacco products. The impact of mint and menthol flavors
            on increasing youth tobacco addiction is well documented.196
 5

 6          186.   If the purpose of these youth prevention studies was to “better understand how
 7   different flavor profiles appeal to different age groups to inform youth prevention,” as the
 8   McKinsey slides presenting that study’s findings indicate, the lesson for JLI, the Management
 9   Defendants, and the Altria Defendants was that teens like mint as much or more than any other
10   JUUL flavor, including mango, fruit medley, crème brulee, cucumber, and more than a dozen other
11   candy-like flavors produced by third-parties for use with the JUUL device.
12          187.   With that knowledge and with no genuine interest in youth prevention, and as
13   detailed below, JLI, the Management Defendants, and Altria committed to work to preserve mint
14   as a flavor for as long as possible. Indeed, to further this goal, Defendants Pritzker and Valani
15   poured additional money into JLI a mere two months later as part of a $600 million funding
16   round.197
17          188.   By keeping mint on the market long after other flavors were pulled, these
18   Defendants continued to expand the number of addicted e-cigarette users.
19   D.     Defendants Developed and Implemented a Marketing Scheme to Mislead Users into
            Believing that JUUL Products Contained Less Nicotine Than They Actually Do and
20          Were Healthy and Safe.
21
            189.   Having created a product designed to hook users to its nicotine, JLI had to mislead
22
     users into believing JUUL was something other than what it actually was. So, the company
23

24
     196
         Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
25     Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. 3 (2019)
       (statement of Jonathan P. Winickoff, American Academy of Pediatrics). ,
26     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/2019.07.24%20Winickoff
27     %20AAP%20Testimony.pdf.
     197
         Alex Wilheim & Jason D. Rowley, JUUL Raises $650M Of Its $1.25B Mega-Round,
28     CRUNCHBASE (Jul. 10, 2018), https://news.crunchbase.com/news/juul-raises-650m-of-its-1-
       25b-mega-round/.
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 1   engaged in a years’ long campaign to downplay JUUL’s nicotine content, nicotine delivery, and

 2   the unprecedented risks of abuse and addiction JUUL poses. Defendants devised and knowingly

 3   carried out a material scheme to defraud and addict users by (a) misrepresenting the nicotine

 4   content, nicotine delivery profile, and risks of JUUL products, (b) representing to the public that

 5   JUUL was a smoking cessation tool, and (c) using third-party groups to spread false and

 6   misleading narratives about e-cigarettes, and JUUL in particular.

 7          1.      The Defendants Knowingly Made False and Misleading Statements and
                    Omissions Concerning JUUL’s Nicotine Content.
 8
            190.    As part of their strategy to market to youth and nonsmokers, JLI and the
 9
     Management Defendants also did not effectively inform users that JUUL products contain
10
     nicotine. Despite making numerous revisions to JUUL products’ packaging since 2015, JLI did
11
     not include nicotine warnings until forced to do so in August 2018.198
12
            191.    Moreover, many of JUUL’s advertisements, particularly prior to November 2017,
13
     also did not mention that JUUL contained nicotine. In the first year after JUUL’s launch, not one
14
     of JLI’s 171 promotional emails said anything about the nicotine content in JUUL products.199 For
15
     example, in a July 11, 2015 email, JLI advertised its promotional events with the text, “Music, Art,
16
     & JUUL. What could be better? Stop by and be gifted a free starter kit.”200 This email did not
17
     mention that JUULpods contain nicotine, nor did it say that JUUL or the free starter kits were
18
     intended for adults only.
19
            192.    Similarly, none of JLI’s 2,691 tweets between June 2015 and October 6, 2017
20
     mentioned that JUUL contained nicotine.201 For example:
21

22   198
         See INREJUUL_00444332 (2015 image of JLI packaging). The JLI packaging originally
23     included such warnings about nicotine, but were removed during various rounds of revisions,
       see e.g., INREJUUL_00021583-586 at 583 (2014 image of JLI packaging containing
24     handwritten revisions of the original language).
     199
         Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
25     Research Into the Impact of Tobacco Advertising 25 (Jan. 31, 2019),
       http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
26   200
         Check out our JUUL events this Summer, JUUL (hello@juulvapor.com) (July 11, 2015),
27     http://tobacco.stanford.edu/tobacco_web/images/pod/juul/email/large/email_2.jpg.
     201
         Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
28     Research Into the Impact of Tobacco Advertising 25 (Jan. 31, 2019),
       http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
                                                      62
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 1           A.        On August 7, 2015, JLI tweeted, “Need tix for @cinespia 8/15? We got you. Follow
                       us and tweet #JUULallnight and our faves will get a pair of tix!” 202 This tweet did
 2                     not mention that JUUL contained nicotine.
 3
             B.        On July 28, 2017, JLI tweeted an image of a Mango JUULpod next to mangos
 4                     captioned “#ICYMI: Mango is now in Auto-ship! Get the #JUULpod flavor you
                       love delivered & save 15%. Sign up today.”203 This tweet did not mention that
 5                     JUUL contained nicotine.
 6           C.        On August 4, 2017, JLI tweeted “Beat The August Heat with Cool Mint” and “Crisp
                       peppermint flavor with a pleasant aftertaste,” captioned “A new month means you
 7
                       can stock up on as many as 15 #JUULpod packs. Shop now.”204 This tweet did not
 8                     mention that JUUL contained nicotine.

 9           D.        On August 28, 2017, JLI tweeted “Do you brulée? RT [re-tweet] if you enjoy
                       dessert without the spoon with our Creme Brulee #JUULpods.” 205 This tweet did
10                     not mention that JUUL contained nicotine.
11
             193.      Even after Defendants added a nicotine warning to JUUL products, they continued
12
     to mislead youth and the public about the amount of nicotine in a JUULpod. Every 5% strength
13
     JUUL pod package represents that one pod is equivalent to one pack of cigarettes. This statement
14
     is deceptive, false and misleading. As JLI’s regulatory head explained internally to former CEO
15
     Kevin Burns in 2018, each JUUL pod contains “roughly twice the nicotine content of a pack of
16
     cigarettes.”206
17
             194.      In addition, and as JLI and the Management Defendants know, it is not just the
18
     amount of nicotine, but the efficiency with which the product delivers nicotine into the
19
     bloodstream, that determines the product’s narcotic effect, risk of addiction, and therapeutic use.
20

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23   202
         JUUL Labs, Inc. (@JUULvapor), Twitter (Aug. 7, 2015),
24     http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_18.jpg.
     203
         JUUL Labs, Inc. (@JUULvapor), Twitter (July 28, 2017),
25     http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_38.jpg.
     204
         JUUL Labs, Inc. (@JUULvapor), Twitter (Aug. 4, 2017),
26     http://tobacco.stanford.edu/tobacco_web/images/pod/juul/twitter/large/twitter_39.jpg.
27
     205
         Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes
       (Nov. 16, 2018), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-
28     focus-of-juuls-early-marketing-campaigns/#3da1e11b14f9.
     206
         INREJUUL_00279931.
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 1   Most domestic cigarettes contain 10–15 mg of nicotine per cigarette207 and each cigarette yields

 2   between 1.0 to 1.4 mg of nicotine,208 meaning that around 10% of the nicotine in a cigarette is

 3   typically delivered to the user. JUUL e-cigarettes, on the other hand, have been found to deliver at

 4   least 82% of the nicotine contained in a JUUL pod to the user.209 JLI’s own internal studies suggest

 5   a nicotine transfer efficiency rate of closer to 100%.210

 6          195.    Defendants also knew that the use of benzoic acid and nicotine salts in JUUL pods

 7   affects pH and facilitates “absorption of nicotine across biological membranes.” 211 JUUL’s e-

 8   liquid formulation is highly addictive not only because it contains a high concentration of nicotine,

 9   but because it contains a particularly potent form of nicotine, i.e., nicotine salts. Defendants knew

10   this, as Adam Bowen advised the Board of Directors at an October 2015 Board meeting on JLI’s

11   “nicotine salts patent application.”212 And the Altria Defendants were aware of the research

12   showing the potency of nicotine salts from their many years in the tobacco business.

13          196.    JLI and Defendant Bowen, knowing that the Phase 0 results illustrated that the

14   nicotine content was greater than they wanted to represent, sought to engineer test results that

15   differed from those results and were more consistent with JLI’s deceptive messaging. In May 2014,

16   within weeks of the Phase 0 study, JLI and Defendant Bowen carried out a second

17   pharmacokinetics study in New Zealand. This study was called the CH-1401, or the “Phase 1”

18   study. This study again examined the effects of inhaling aerosol from various 2% nicotine

19   solutions: nicotine benzoate (blend A), nicotine malate (blend B), and free-base nicotine (blend

20

21   207
         Neal L Benowitz & Jack E Henningfield, Reducing the Nicotine Content to Make Cigarettes
       less addictive, 22 TOBACCO CONTROL Supp. 1, i14-17 (2013),
22     https://www.ncbi.nlm.nih.gov/pmc/articles/PMC3632983/.
     208
23       Lynn T. Kozlowski & Janine L. Pilliteri, Compensation for Nicotine by Smokers of Lower
       Yield Cigarettes, 7 SMOKING AND TOBACCO CONTROL MONOGRAPH 161, 164
24     (1983), https://cancercontrol.cancer.gov/brp/tcrb/monographs/7/m7_12.pdf
     209
         Samantha M. Reilly et al., Free Radical, Carbonyl, and Nicotine Levels Produced by JUUL
25     Electronic Cigarettes, 21 NICOTINE TOBACCO RESEARCH 1274 (2019),
       https://www.ncbi.nlm.nih.gov/pubmed/30346584 (about 82%, for averages of 164 μg per puff).
26   210
         See, e.g., INREJUUL_00023597 (finding 94% nicotine transfer efficiency with 4% benzoate
27     formula).
     211
         Neal L. Benowitz et al., Nicotine Chemistry, Metabolism, Kinetics and Biomarkers, 192
28     HANDB.EXP.PHARMACOL. 29(2010), https://www.ncbi.nlm.nih.gov/pmc/articles/PMC2953858/
     212
         INREJUUL_00278408.
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 1   C).213 In a further departure from the Phase 0 study, which used experienced e-cigarette users, the

 2   Phase 1 study used subjects that had not previously ingested aerosolized nicotine vapor, and who

 3   had certainly never ingested aerosolized nicotine vapor from nicotine salts. As Defendants JLI and

 4   Bowen knew, this difference is critical. Just as first-time smokers would not inhale as much

 5   cigarette smoke as regular smokers, inexperienced (or “learning”) e-cigarette users will not inhale

 6   vapor at a rate that maximizes nicotine delivery.214 JLI’s decision to omit participants with

 7   previous e-cigarette experience from the criteria for inclusion in CH-1401 resulted in artificially

 8   deflated Cmax results.215

 9          197.    The Cmax recorded in the Phase 1 study was approximately a third of that achieved

10   by smoking a cigarette. Specifically, e-cigarette users recorded a Cmax of approximately 12.87

11   ng/ml, compared with the 31.47 ng/ml Cmax resulting from smoking a Pall Mall.216

12          198.    In possession of the results from both the Phase 0 and Phase 1 studies, JLI

13   nevertheless decided to launch a 5% nicotine salt solution as its commercial product. An internal

14   memo explained JLI’s reasoning as follows: “[s]ince the Cmax of the [2%] nicotine salt was about

15   1/3 that of cigarettes, we chose a concentration of 5% for our commercial product (JUUL), which

16   should provide a Tmax and Cmax consistent with a cigarette.”217

17          199.    Instead of testing a 5% solution, JLI estimated the Cmax result of a 5% nicotine

18   solution using a model.218 But the Phase 0 data showed that a 4% benzoic acid / 5% nicotine

19   solution would have a higher Cmax and AUC than those of a cigarette, not one that was equal.

20          200.    JLI and the Management Defendants knew that JLI’s studies indicated that their

21   5% solution product was more potent and more addictive than a typical cigarette. But JLI and the

22   Management Defendants then used their unsupported extrapolation of their flawed studies to

23   market JUUL as providing a nicotine experience on par with a cigarette, even though they designed

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25
     213
         INREJUUL_00014159-INREJUUL_00014226.
26   214
         INREJUUL_00002526-INREJUUL_00002625.
     215
27       Id.
     216
         Id.
     217
28       INREJUUL_00351717-INREJUUL_00351719.
     218
         Id.
                                                     65
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 1   JUUL to ensure that was not true. In reality, there were never any measured test results in accord

 2   with JLI’s marketing to distributors, retailers, and the public at large.

 3          201.    In the United States, the unsupported extrapolations from what appears to be the

 4   Phase 1 study were used to create charts, which JLI posted on its website, shared with journalists,

 5   sent to retailers, and distributed to third party promoters, showing that JUUL’s 5% solution

 6   achieved a pk profile just below that of a cigarette. For example, the following chart appeared on

 7   the online publication TechCrunch:219

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19          202.    Simultaneously, while providing extrapolated data to the public, Phase 1 was used

20   as the basis for representations to retailers that a 2% solution achieved a pk profile equaling that

21   of a cigarette. In a pitch deck dated March 25, 2015, and labeled as being intended for the

22   convenience store distributor Core-Mark, JLI presented interim220 Phase 1 data showing this

23   equivalence:221

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     219
27       Ryan Lawler, Vaporization Startup Pax Labs Introduces Juul, Its Next-Gen-E-Cigarette,
       TECH CRUNCH (Apr. 21, 2015), https://techcrunch.com/2015/04/21/pax-juul/.
     220
28       See JLI00363360.
     221
         INREJUUL_00448896.
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12            203.   These misrepresentations to the public were not accidental, nor were they the work
13   of a rogue employee. In a June 2014 Ploom Board meeting in London, the Ploom executives’
14   presentation to the Board, which at that time included Defendants Bowen, Monsees, Pritzker, and
15   Valani, explained the differences between the Phase 0 and Phase 1 results as “due to averaging
16   across more subjects with variability in puffing behavior.”222 Their explanation did not note that
17   “variability in puffing behavior” was partly a result of the fact that participants in the Phase 0 study
18   were experienced e-cigarette users whereas the participants in the Phase 1 study were not. Thus,
19   Defendants Bowen, Monsees, Pritzker, and Valani were privy to both the Phase 0 and Phase 1
20   results. And they knew that the data JLI (then Ploom) was pushing on the public was false and
21   misleading, but none made any efforts to correct or withdraw those false and misleading
22   statements. Aside from submitting the testing protocol and results of the Phase 0 study with the
23   ‘895 patent, JLI, Bowen, Monsees, Pritzker, and Valani otherwise ignored the Phase 0 study and
24   omitted it from public discussion of JUUL’s nicotine delivery.
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27
28
     222
           INREJUUL_00016443-INREJUUL_00016507.
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 1          2.      JLI, the Management Defendants, and Altria Transmitted, Promoted and
                    Utilized Statements Concerning JUUL’s Nicotine Content that They Knew
 2                  Was False and Misleading.
 3          204.    As set forth above, the statements in JLI advertisements and on JUUL pod
 4   packaging that each JUUL pod contains about as much nicotine as a pack of cigarettes are
 5   deceptive, false and misleading. Defendants knew this.
 6          205.    JLI and the Management Defendants caused deceptive, false and misleading
 7   statements that a JUUL pod had an equivalent amount of nicotine as one pack of cigarettes to be
 8   distributed via the wires and mails. These Defendants have thus materially misrepresented the
 9   nicotine content of JUUL products to the consuming public including Plaintiff, through acts of
10   mail and wire fraud.
11          206.    By no later than October 30, 2016 (and likely earlier), the JLI Website—which, as
12   discussed above, the Management Defendants on JLI’s Board of Directors reviewed and
13   approved—advertised that “[e]ach JUULpod contains 0.7mL with 5% nicotine by weight,
14   approximately equivalent to 1 pack of cigarettes or 200 puffs.”223 The language on the website
15   would later change, but still maintained the same fraudulent misrepresentation—i.e., that “[e]ach
16   5% JUULpod is roughly equivalent to one pack of cigarettes in nicotine delivery.”224
17          207.    As noted above, JLI and the Management Defendants directed and approved the
18   content of the JUUL website, and they also directed and approved the distribution channels for
19   JUUL pods and deceptive, misleading and fraudulent statements regarding JUUL’s nicotine
20   content. And although they knew that these statements, which they caused to be transmitted over
21   the wires and mails, were untrue, JLI and the Management Defendants have made no effort to
22   retract such statements or correct their lies. Moreover, by no later than July 2018, James Monsees
23   required JLI employees to personally seek his approval for the artwork on all JUUL and JUUL
24   pod packaging.225
25

26   223
         JUULpod, JUUL Labs, Inc. (Oct. 30, 2016),
27     https://web.archive.org/web/20161030085646/https://www.juulvapor.com/shop-pods/
     224
         What is Vaping?, JUUL Labs, Inc. (July 2, 2019), https://www.JUUL.com/resources/What-is-
28     Vaping-How-to-Vape
     225
         JLI10045538
                                                     68
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 1          208.    In addition to approving the JLI website, knowing that it contained deceptive,

 2   misleading and false statements, JLI (through its employees) and the Management Defendants also

 3   were directly responsible for the interstate transport, via U.S. mail, of JUULpod packaging

 4   contained misrepresentations and omissions. At the same Board Meeting where Defendants

 5   Pritzker, Huh, and Valani were installed as the Executive Committee, the Board directed JLI’s

 6   management on, among other things, “the need to rely on distributors and the challenges in

 7   reaching customers otherwise.”226

 8          209.    JUUL pod packages that were sent via U.S. mail stated that a single Juul pod is

 9   “approximately equivalent to about 1 pack of cigarettes.”227 These statements, as well as the

10   statements on the JLI website, are false and misleading.

11          210.    The statement on the JLI website, and in its advertisements and packaging, that

12   each JUUL pod contains 5% nicotine and is approximately equivalent to a pack of cigarettes is

13   false and likely to deceive and mislead, because the actual amount of nicotine contained in a JUUL

14   pod is as much as twice as high as that in a pack of cigarettes.

15          211.    AGDC and Altria Client Services greatly expanded the reach of this fraud by

16   providing their retail and distribution might for JLI products, causing millions of JUUL pods to be

17   sent via U.S. mail with packaging stating that JUUL pods contain only 5% nicotine by weight and

18   are “approximately equivalent to about 1 pack of cigarettes.”228 JLI, the Management Defendants,

19   and the Altria Defendants knew that these statements were false and misleading, but nevertheless

20   utilized JUUL product packing, marketing and advertising to maintain their fraud.

21          212.    The Altria Defendants knew in 2017 that a JUUL pod delivered more nicotine than

22   one pack of cigarettes. In 2017, Altria, through its wholly owned subsidiary Nu Mark, launched

23   its MarkTen Bold e-cigarette, a relatively high-strength 4% formulation compared to the 2.5% and

24   3.5% strength MarkTen products initially offered. Even though JUUL was already on store shelves

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     226
27       INREJUUL_00278408.
     227
         Juul Labs, Inc., Twitter, (Feb. 14, 2018),
28     https://twitter.com/JUULvapor/status/963844069519773698,
     228
         Id.
                                                      69
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 1   and was rapidly gaining market share with its 5% nicotine formulation, Altria (through Nu Mark)

 2   chose to bring a less potent 4% formulation to market.

 3          213.    According to Altria’s own pharmacokinetic testing (likely conducted by Altria

 4   Client Services) as reflected in the chart below, this 4% less potent formulation was nevertheless

 5   sufficient to raise plasma nicotine to levels approaching those generated by combustible cigarettes.

 6   In other words, the Altria Defendants’ own pharmacokinetic testing suggested the highly addictive

 7   nature of a 5% formulation, as such a formulation would readily equal or exceed the nicotine

 8   delivery profile of a combustible cigarette.

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      Figure 1: Presented at Altria Group Inc.’s November 1, 2017 Investor Day Presentation.
17                                      MarkTen Bold 4%

18          214.    Based on its own internal knowledge, the Altria Defendants knew that a 5%
19   nicotine formulation would carry more nicotine than one pack of cigarettes. In addition to data
20   Altria and Altria Client Services received from JLI, their due diligence undoubtedly included a
21   careful examination of JLI’s intellectual property, including the ’895 patent, which provides a
22   detailed overview of nicotine benzoate’s pharmacokinetic profile.
23          215.    Thus, JLI, the Management Defendants, and the Altria Defendants knew that the
24   statement on JUUL pod packaging that each JUUL pod contains 5% nicotine and about as much
25   nicotine as a pack of cigarettes is literally false and they intended such statements to mislead.
26   Neither the Altria Defendants nor JLI or the Management Defendants have made any effort to
27   correct or retract the false and misleading statements as to the true nicotine content in JUUL pods.
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 1   Instead, they have continued to misrepresent the product’s nicotine content and design, with the

 2   goal of misleading and deceiving users.

 3          216.    From JUUL’s pre-release announcements to this day, JLI has continuously

 4   represented that each pod is approximately equivalent to a pack of cigarettes. These claims, which

 5   JLI repeats widely in advertisements, press releases, and its web site, have been distributed via the

 6   wires and mails and disseminated by reputable and widely reliable sources that accepted those

 7   representations as true.229

 8          217.    Not only have JLI and the Management Defendants misrepresented or concealed

 9   the actual amount of nicotine consumed via JUUL pods, but they also did not effectively or fully

10   inform users about the risks associated with the potent dose of nicotine delivered by JLI’s products.

11   Despite going through numerous revisions since 2015, the JUUL packaging did not include

12   nicotine addiction warnings until JLI was forced to add them in August 2018. The original JUUL

13   product labels had a California Proposition 65 warning indicating that the product contains a

14   substance known to cause cancer, and a warning to keep JUUL pods away from children and pets,

15   but contained no warnings specifically about the known effects, or unknown long-term effects, of

16   nicotine or consuming e-cigarettes/inhaling nicotine salts.230

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     229
19       See Truth Initiative, 6 Important Facts about Juul, https://truthinitiative.org/research-
       resources/emerging-tobacco-products/6-important-facts-about-juul; Erin Brodwin, An E-
20     cigarette with Twice the Nicotine of Comparable Devices is Taking over High Schools – and
       Scientists are Sounding the Alarm, BUSINESS INSIDER (Apr. 30, 2018),
21     https://www.businessinsider.com/juul-e-cig-vaping-health-effects-2018-3; Caroline Kee,
       Everything you Need to Know About the JUUL, Including the Health Effects, BUZZFEED NEWS
22     (Feb. 5, 2018), https://www.buzzfeednews.com/article/carolinekee/juul-ecigarette-vape-health-
23     effects; Jan Hoffman, The Price of Cool: A Teenager, a Juul and Nicotine Addiction, NEW
       YORK TIMES, (November 16, 2018), https://www.nytimes.com/2018/11/16/health/vaping-juul-
24     teens-addiction-nicotine.html; Sarah Milov, Like the Tobacco Industry, E-cigarette
       Manufacturers are Targeting Children, THE WASHINGTON POST, (Sept. 23, 2018)
25     https://www.washingtonpost.com/outlook/2018/09/23/like-tobacco-industry-e-cigarette-
       manufacturers-are-targeting-children/; Washington State Dep’t of Health, What are Vapor
26     Products?, https://www.doh.wa.gov/YouandYourFamily/Tobacco/VaporProducts.
     230
27       See INREJUUL_00444332 (2015 image of JLI packaging). Note that JLI packaging
       originally included such warnings about nicotine, but were apparently removed during various
28     rounds of revisions, see e.g. INREJUUL_00021583 (2014 image of JLI packaging containing
       handwritten revisions of the original language.).
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 1          218.       Moreover, the form of nicotine JUUL pods contain is particularly potent. JUUL’s

 2   use of “strength” to indicate concentration by weight is also at odds with the industry standard of

 3   reporting concentration by volume,231 leading users to believe it contains less nicotine than other

 4   formulations advertised as 6% nicotine, when JUUL pods in fact contain approximately the same

 5   nicotine as a solution that is 6% nicotine by volume.

 6          219.       The “5% strength” statement in Defendants’ advertisements misrepresents the most

 7   material feature of the JUUL product—the nicotine content—and has misled users to their

 8   detriment. Resellers, apparently assuming that “5% strength” means “50mg/ml” nicotine by

 9   volume, compound confusion among users by stating that JUUL pods contain “50 mg/ml,” which

10   they do not.232

11          220.       If JLI and the Management Defendants did not know when JLI released JUUL pods

12   that the “5% strength” representation in Defendants’ advertisements was misleading, they learned

13   that there was widespread confusion about the JUUL pods’ nicotine content. By 2017, studies

14   revealed that smokers did not understand “5% strength,” and some understood that phrase to mean

15   5% of a cigarette. Though this was identified as a “pain point” for new users, 233 JLI and the

16   Management Defendants (and later the Altria Defendants) did nothing to stop or correct this

17   confusion about the nicotine content.

18
     231
19       See, e.g., American E-Liquids Manufacturing Standards Association, E-Liquids
       Manufacturing Standards, § 1.05 (2017), https://www.aemsa.org/wp-
20     content/uploads/2017/03/AEMSA-Standards-v2.3.3.pdf, (quantifying e-liquid nicotine content
       in terms of volume).
21   232
         See, e.g. Tracy Vapors, Starter Kit,
       http://web.archive.org/web/20190422143424/https://www.tracyvapors.com/collections/starter-
22     kit; Lindsey Fox, JUUL Vapor Review, E-cigarette Reviewed, (Mar. 20, 2017),
23     https://ecigarettereviewed.com/juul-review (“The nicotine content of the JUUL pods is always
       the same: 5% or 50 mg/ml”); Jason Artman, JUUL E-Cigarette Review, eCig One (Oct. 26,
24     2016) https://ecigone.com/e¬cigarette-reviews/juul-e-cigarette-review/ (“the e-liquid contains
       50 mg of nicotine per ml of e-liquid”); West Coast Vape Supply, Juul Starter Kit (July 18,
25     2019),
       http://web.archive.org/web/20190718190102/https://westcoastvapesupply.com/products/juul-
26     starter-kit (“5% . . . 50 mg”); Vapor4Life, How Much Nicotine is In a JUUL? (Aug. 24, 2018),
27     https://www.vapor4life.com/blog/how-much-nicotine-is-in-a-JUUL/. “Each official JUUL pod
       contains a whopping 50mg of nicotine per milliliter of liquid (most other devices range from 3
28     to 30mg per milliliter.”
     233
         INREJUUL_00123540.
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 1          221.    The “5% strength” statement in Defendants’ advertisements is also misleading. At

 2   least two independent studies testing multiple varieties of JUUL pods have likewise found

 3   significantly higher concentrations of nicotine than the 59 mg/mL JUUL’s website represents,

 4   suggesting that the difference in the total nicotine content of a JUUL pod vs. a pack of combustible

 5   cigarettes could be even greater.234

 6          3.      Defendants Used Food and Coffee Themes to Give False Impression that
                    JUUL Products Were Safe and Healthy.
 7
            222.    In late 2015, JLI and the Management Defendants employed a deceptive marketing
 8
     scheme to downplay the harms of e-cigarettes with a food-based advertising campaign called
 9
     “Save Room for JUUL.” The campaign framed JUUL’s addictive pods as “flavors” to be paired
10
     with foods.235 JLI described its Crème Brûlée nicotine pods as “the perfect evening treat” that
11
     would allow users to “indulge in dessert without the spoon.”236 In one 2016 email, JLI bluntly
12
     suggested that users satisfy their sugar cravings with JUUL’s highly-addictive nicotine vapor:
13
     “Have a sweet tooth? Try Brulee.”237 JLI similarly promoted the fruit medley pods using images
14
     of ripe berries.238 JLI described its “Cool” Mint pods as having a “crisp peppermint taste with a
15
     pleasant aftertaste” and encouraged users to “Beat The August Heat With Cool Mint.”239
16

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     234
18       See J.F. Pankow et al., Benzene Formation in Electronic Cigarettes, 12 PLoS ONE 1 (2017);
       See also Anna K. Duell, et al., Free-Base Nicotine Determination in Electronic Cigarette
19     Liquids by 1H NMR Spectroscopy, 31 CHEM. RES. TOXICOL. 431, 431-34 (2018).
     235
         Erin Brodwin, $15 Billion Startup JUUL Used ‘Relaxation, Freedom, and Sex Appeal’ to
20     Market its Crème-brulee-flavored E-cigs on Twitter and Instagram─but its Success has Come
       at a Big Cost, BUSINESS INSIDER (Oct. 26, 2018), https://www.businessinsider.com/juul-e-cig-
21
       marketing-youtube-twitter-instagram-social-media-advertising-study-2018-10.
     236
22       Stanford University, Research into the Impact of Tobacco Advertising,
       http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st658.php&toke
23     n1=fm_pods_img36019.php&theme_file=fm_pods_mt068.php&theme_name=JUUL&subthem
       e_name=Flavors
24   237
         Stanford University, Research into the Impact of Tobacco Advertising,
       http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st658.php&toke
25
       n1=fm_pods_img36019.php&theme_file=fm_pods_mt068.php&theme_name=JUUL&subthem
26     e_name=Flavors
     238
         Stanford University, Research into the Impact of Tobacco Advertising,
27     http://tobacco.stanford.edu/tobacco_web/images/pod/juul/flavors/large/flavor_6.jpg.
     239
         Stanford University, Research into the Impact of Tobacco Advertising,
28     http://tobacco.stanford.edu/tobacco_main/images_pods.php?token2=fm_pods_st658.php&toke

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            223.    Again, none of these advertisements disclosed that JUUL was addictive and unsafe.
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            224.    In several caffeine-pairing advertisements, JUUL devices or pods sit next to coffee
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     and other caffeinated drinks, sometimes with what appear to be textbooks in the picture. 240 JLI’s
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       n1=fm_pods_img36019.php&theme_file=fm_pods_mt068.php&theme_name=JUUL&subthem
28     e_name=Flavors
     240
         Id.
                                                     74
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 1   coffee-based advertisements suggest that JUUL should be part of a comfortable routine, like a cup

 2   of coffee.

 3          225.    JLI’s reference to coffee is no mere marketing gimmick, it reflects the larger effort

 4   to mislead customers into believing that JUUL is no more harmful than coffee, reinforcing the

 5   false and dangerous concept that if a substance is “not harmful,” then addiction to that substance

 6   cannot be harmful.

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14          226.    Defendants knew that tying JUUL to caffeine and food would mislead their target

15   audience—youth and non-smokers—into believing that JUUL was a healthy, safe treat.

16          4.      JLI’s “Make the Switch” Campaign Intentionally Misled and Deceived Users
                    to Believe that JUUL Is a Cessation Device.
17
            227.    JLI, the Altria Defendants, and the Management Defendants recognized that one of
18
     the keys to growing and preserving the number of nicotine-addicted e-cigarette users (and thus
19
     JLI’s staggering market share), was to mislead potential customers about the true nature of JUUL
20
     products. Defendants knew that if it became public that JUUL was designed as a way to introduce
21
     nicotine to youth and otherwise hook new users with its potent nicotine content and delivery, it
22
     would not survive the public and regulatory backlash. Therefore, JLI (with the knowledge and
23
     support of the Management Defendants) and the Altria Defendants repeatedly made false and
24
     misleading statements to the public that JUUL was created and designed as a smoking cessation
25
     device, and falsely and misleadingly used the mails and wires to spread the subterfuge. JLI, the
26
     Management Defendants, and the Altria Defendants committed these deceptive, misleading and
27
     fraudulent acts intentionally and knowingly. In making these representations, JLI, the Management
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 1   Defendants, and the Altria Defendants intended that users, the public, and regulators rely on

 2   misrepresentations that JUUL products were designed to assist smoking cessation.

 3          228.    The most blatant evidence of the cover-up scheme was the January 2019, $10

 4   million “Make the Switch” television advertising campaign. This campaign, which was a

 5   continuation of JLI’s web-based Switch campaign, was announced less than a month after the

 6   Altria Defendants announced Altria’s investment in JLI.

 7          229.    The “Make the Switch” television ads featured former smokers aged 37 to 54

 8   discussing “how JUUL helped them quit smoking.”241 According to JLI’s Vice President of

 9   Marketing, the “Make the Switch” campaign was “an honest, straight down the middle of the

10   fairway, very clear communication about what we’re trying to do as a company.”242 These

11   statements were false as JUUL was not intended to be a smoking cessation device. JLI and the

12   Management Defendants committed acts of wire fraud when they caused the “Make the Switch”

13   campaign to air on television with the fraudulent intent of deceiving and misleading the public, the

14   United States Congress, and government regulators into believing that JLI is and had been focused

15   solely on targeting adult smokers. The Altria Defendants also committed acts of mail fraud when

16   they caused tens of thousands, if not millions, of written versions of the Make the Switch campaign

17   to be distributed with packages of Altria’s combustible cigarettes.

18          230.    The “Make the Switch” campaign was fraudulent and was made to protect,

19   maintain, and expand the tremendous market share gained by lying to users and hooking youth on

20   nicotine by convincing regulators and the public that JUUL was actually as cessation device and

21   JLI’s marketing was never aimed at youth.

22          231.    Defendants continually and intentionally sought to frame JUUL products as

23   smoking cessation devices in their public statements and on their website as part of their scheme

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26   241
         Angelica LaVito, JLI Combats Criticism with New TV Ad Campaign Featuring Adult
27     Smokers Who Quit after Switching to E-cigarettes, CNBC (Jan. 8, 2019),
       https://www.cnbc.com/2019/01/07/juul-highlights-smokers-switching-to-e-cigarettes-in-ad-
28     campaign.html.
     242
         Id.
                                                      76
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 1   to mislead and defraud the public. Defendant Monsees explained during his testimony before

 2   Congress:

 3          The history of cessation products have extremely low efficacy. That is the problem
            we are trying to solve here. So, if we can give consumers an alternative and market
 4          it right next to other cigarettes, then we can actually make something work.
 5          [T]raditional nicotine replacement therapies, which are generally regarded as the
 6          gold standard for tools, right, for quitting, those are nicotine in a patch or a gum
            form, typically, and the efficacy rates on those hover just below about a 10 percent
 7          or so. JUUL-we ran a very large study of JUUL consumers, ex-smokers who had
            picked up JUUL, and looked at them, looked at their usage on a longitudinal basis,
 8          which is usually the way that we want to look at this, in a sophisticated fashion ...
            what we found was that after 90 days, 54 percent of those smokers had stopped
 9
            smoking completely, for a minimum of 30 days already. And the most interesting
10          part of this study is that if you follow it out further, to 180 days, that number
            continues to go up dramatically, and that is quite the opposite of what happens with
11          traditional nicotine replacement therapies.243

12          232.    In response to a direct question about whether people buy JUUL to stop smoking,
13   Defendant Monsees responded: “Yes. I would say nearly everyone uses our product as an
14   alternative to traditional tobacco products.”244
15          233.    Following Defendants Monsees’ and Altria’s lead, Defendants caused a number of
16   other misleading public statements—suggesting that Juul would help existing adult smokers even
17   though it delivered more nicotine than cigarettes and was designed to appeal to kids—to be made,
18   including the following:
19
                    •    “JUUL Labs was founded by former smokers, James and
20                      Adam, with the goal of improving the lives of the world’s one
                        billion adult smokers by eliminating cigarettes. We envision a
21                      world where fewer adults use cigarettes, and where adults
                        who smoke cigarettes have the tools to reduce or eliminate
22                      their consumption entirely, should they so desire.” (JLI
23                      Website, April 2018 (or earlier));245

24

25   243
         Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
       Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
26     (statement of James Monsees, Co-Founder, JUUL Labs, Inc.).,
27     https://oversight.house.gov/legislation/hearings/examining-juul-s-role-in-the-youth-nicotine-
       epidemic-part-ii.
     244
28       Id.
     245
         Our Mission, JUUL Labs, Inc. (2019), https://www.juul.com/mission-values.
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 1                  •   “JUUL Labs, which exists to help adult smokers switch off of
                        combustible cigarettes.” (JLI Website, September 19, 2019);
 2                      and,246
 3
                    •   “To paraphrase Commissioner Gottlieb, we want to be the
 4                      offramp for adult smokers to switch from cigarettes, not an
                        on-ramp for America’s youth to initiate on nicotine.” (JLI
 5                      Website, November 13, 2018);247
                    •   “We are taking significant action to prepare for a future where adult
 6
                        smokers overwhelmingly choose non-combustible products over
 7                      cigarettes by investing $12.8 billion in JUUL, a world leader in
                        switching adult smokers . . . . We have long said that providing adult
 8                      smokers with superior, satisfying products with the potential to reduce
                        harm is the best way to achieve tobacco harm reduction.” (Altria
 9                      Website, December 20, 2018);248
10
                    •   “We believe e-vapor products present an important opportunity to
11                      adult smokers to switch from combustible cigarettes.” (Letter to
                        FDA Commissioner Gottlieb, 10/25/18);249
12
                    •   “We have long said that providing adult smokers with superior,
13
                        satisfying products with the potential to reduce harm is the best
14                      way to achieve tobacco harm reduction. Through Juul, we are making
                        the biggest investment in our history toward that goal.” (Altria Press
15                      Release, Dec. 20, 2018);250

16                  •   “Through JUUL, we have found a unique opportunity to not only
                        participate meaningfully in the e-vapor category but to also support
17
                        and even accelerate transition to noncombustible alternative
18                      products by adult smokers.” (Altria Earning Call, January 31,
                        2019);251 and
19
     246
20       CONSUMER UPDATE: 9/19, JUUL Labs, Inc. (Sept. 19, 2019),
       https://newsroom.juul.com/consumer-update-9-19/.
21   247
         JLI Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-labs-
       action-plan/ (statement of then-CEO Kevin Burns).
22   248
         Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and
23     Drive Growth, BUSINESSWIRE (Dec. 20, 2018),
       https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
24     Investment-JUUL-Accelerate
     249
         Letter from Howard A. Willard III, Altria, to Dr. Scott Gottlieb, FDA, at 1-2 (Oct. 25, 2018).
25   250
         Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and
       Drive Growth, (Dec. 20. 2018), BUSINESS WIRE,
26     https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
27     Investment-JUUL-Accelerate.
     251
         Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call for the
28     period ending December 31, 2018, (Jan. 31, 2019), https://www.fool.com/earnings/call-
       transcripts/2019/02/01/altria-group-mo-q4-2018-earnings-conference-call-t.aspx.
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 1
                        •   We expect the JUUL product features that have driven JUUL’s
 2                          success in switching adult smokers in the U.S. to strongly appeal to
 3                          international adult cigarette smokers. (Altria Earning Call, January 31,
                            2019).252
 4
                 234.   Defendants knew that the “switch” messaging they initiated for JUUL was false,
 5
     deceptive and misleading. JUUL does not have FDA approval as a cessation product. The Switch
 6
     advertisements reinforced the impression left by the testimony of JLI’s co-founder, clearly linking
 7
     JUUL to cessation and quitting. For example:
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                 235.   Representative Rashida Tlaib, upon presenting this ad to Monsees, had the
26
     following exchange:
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     252
           Id.
                                                         79
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 1          Rep. Tlaib: After 30 lines, starting with “quit,” the ad says “switch,” followed by
            no further mentions of start smoking again. You were a smoker. Does this ad give
 2          a smoker hope that there might be a way to quit cigarettes for good?
 3          Mr. Monsees: I think the intention of this ad is to make it very clear to consumers
 4          that there is an alternative, finally, to combustible cigarettes. I am one of those
            people.253
 5
            236.    Defendants’ tacit message in their Switch advertisements is: switch because, unlike
 6
     cigarettes, JUUL is harmless to your health.
 7
            237.    Defendants’ false, deceptive and misleading Switch campaign suggests that
 8
     purchasing a JUUL will “switch” a smoker to a non-smoker and that it was designed to switch
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     adult smokers off cigarettes rather than addict youth to nicotine.
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            238.    Defendants know that a large number of smokers who use JUUL products do not
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     end up switching but instead end up consuming both cigarettes and JUUL.
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            239.    Moreover, Defendants know that, by design, a large number of their customers are
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     first-time youth users and that JUUL was never designed to be a cessation device.
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            240.    JLI has advertised cost-savings calculators as part of its Switch campaign. Those
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     calculators assume that a smoker who switches will continue consuming the same amount of
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     nicotine that he or she did as a smoker (i.e., a pack a day smoker is presumed to consume one
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     JUUL pod a day). Defendants know that the calculator is misleading because smokers who switch
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     to JUUL frequently increase their nicotine intake.
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26   253
        Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
27    Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
      (statement of James Monsees, Co-Founder, JUUL Labs, Inc.)., https://www.c-
28    span.org/video/?c4811191/user-clip-wasserman-grothman-tlaib-question-monsees at 12:33-
      13:04.
                                                      80
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 1           241.   JUUL labels and advertisements also marketed the product as an “alternative” to

 2   cigarettes:

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             242.   Other advertisements similarly marketed the product as smoking “evolved”:
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22           243.   The goal of these advertisements was to convey the deceptive, misleading and false
23   impression that JUUL products could help users quit smoking and break nicotine addiction in a
24   way that was healthy and safe. But, as noted above, that was simply not the case. Defendants never
25   disclosed to users that JUUL e-cigarettes and JUUL pods are at least as, if not more, addictive than
26   combustible cigarettes. And each of JLI, the Management Defendants, and the Altria Defendants
27   received data to this effect, as discussed above, and were aware of this fact.
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 1          244.    In addition, the notions that JUUL products are designed only for existing cigarette

 2   smokers, and safer than combustible cigarettes are belied by JLI’s own knowledge, marketing plan

 3   and intentions on several fronts. First, Defendants sought to grow a new group of users of nicotine

 4   products (e.g., “vapers”), not just to market to the shrinking number of existing cigarette smokers.

 5   Second, JLI and Bowen designed the JUUL device to be easy to use for youth and others who have

 6   never smoked and to create and exacerbate nicotine addiction by encouraging ingestion of

 7   excessive amounts of nicotine. Third, as noted above, JLI’s own internal testing revealed that

 8   JUUL products were often more potent than combustible cigarette smokers prefer. Each of the

 9   Management Defendants knew this from his position on JLI’s Board of Directors, and the Altria

10   Defendants knew the same when they began to actively coordinate with JLI and the Management

11   Defendants. Despite this knowledge, these Defendants made numerous deceptive, false and

12   misleading public statements that JUUL was intended to be a cessation device.

13          245.    JUUL is not a product adults typically use to quit smoking. Researchers have found

14   that as of 2018, only 7.9% of American adults had ever used USB shaped e-cigarette devices, like

15   JUUL, and only 2% of adults currently used them.254 By contrast, a recent study found that 15- to

16   17-year-olds are sixteen times more likely to use JUUL products than 25 to 34-year-olds.255

17          246.    JLI’s own marketing research indicated that JUUL was not appropriate as a

18   cessation device for adults. In 2014, JLI when it was called Ploom hired the consumer research

19   firm Tragon to do research with prototypes of the JUUL e-cigarette. On September 30, 2014,

20   Lauren Collinsworth, a consumer researcher at Tragon, e-mailed Chelsea Kania, a marketing

21   employee at Ploom, with some of the preliminary results from the studies. She stated that the

22   testing showed that “the younger group is open to trying something new and liked J1 [the JUUL

23   prototype] for being smart, new, techy, etc.” 256 Ms. Collinsworth added that “The qualitative

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25   254
         Kristy L. Marynak et al., Use and Reasons for Use of Electronic Vapour Products Shaped like
       USB Flash Drivers Among a National Sample of Adults, 28 TOBACCO CONTROL 685 (Nov.
26     2019), https://tobaccocontrol.bmj.com/content/28/6/685.
     255
27       D.M. Vallone et al., Prevalence and Correlates of JLI Use Among a National Sample of
       Youth and Young Adults, TOBACCO CONTROL (Oct. 29, 2018),
28     http://dx.doi.org/10.1136/tobaccocontrol-2018-054693.
     256
         JLI00365905.
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 1   findings suggested this product isn’t going to fit as well with consumers who are looking to cut

 2   back on the cigarette intake.”257 On October 1, 2014, Ms. Collinsworth followed up with additional

 3   comments. She stated that “[t]he delivery was almost too much for some smokers, especially those

 4   used to regular e-cigarettes.”258 The final results from this consumer research were distributed to

 5   upper management, including to then-CEO James Monsees259 and then-Chief Marketing Officer

 6   Richard Mumby.260

 7          247.    The deceptive, misleading and fraudulent nature of the “Make the Switch”

 8   campaign is evident when comparing the campaign’s advertisements to JUUL’s initial advertising,

 9   as demonstrated below. The fact that these advertisements are for the same product confirms that,

10   notwithstanding the advice JLI and the Altria Defendants received from their media consultants,

11   the Defendants never intended to target only adult smokers.

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     257
27       Id. (emphasis added).
     258
         JLI00365709.
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28       JLI00364678.
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         JLI00364487.
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            248.    Defendants ensured that JUUL was the opposite of a “tool[] to reduce or eliminate”
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     nicotine consumption. According to the National Institutes of Health, the “amount and speed of
21
     nicotine delivery . . . plays a critical role in the potential for abuse of tobacco products.” 261 As
22
     described above, JLI and Bowen designed the JUUL product to deliver nicotine in larger amounts
23
     and at a faster rate than even cigarettes, and then knowingly misled the public about those facts.
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            249.    The Switch campaign also does not disclose or warn about the risks of using
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     multiple tobacco products, “dual use” or that the JUUL is not a smoking cessation product. In
26
     addition to the heightened risks of addiction that multiple tobacco product use poses, one recent
27
28     U.S. Dep’t of Health & Human Servs., Nicotine Addiction: Past and Present, How Tobacco
     261

      Smoke Causes Disease (2010), https://www.ncbi.nlm.nih.gov/books/NBK53018/#ch4.s92
                                                      84
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 1   study found that persons who use e-cigarettes and smoke have blood toxin levels far higher than

 2   one would expect given the blood toxin levels that e-cigarettes and cigarettes generate

 3   individually.262

 4          250.    The FDA and other government regulators, enforcing existing laws addressing e-

 5   cigarettes,263 publicly criticized the “Make the Switch” campaign and other efforts by Defendants

 6   to depict JUUL as a smoking cessation device. Section 911(b)(2)(A)(i) of the Federal Food, Drug,

 7   and Cosmetics Act (FDCA) (21 U.S.C. § 387k(b)(2)(A)(i)) states that when advertising or labeling

 8   of a cigarette product directly or indirectly suggests that the product has a lower risk of cigarette-

 9   related disease, is less harmful than traditional cigarettes, or is otherwise ‘safer’ than traditional

10   cigarettes, then the product becomes a “modified risk tobacco product.”264

11          251.    In late 2019, and in response to the House of Representatives hearings in which JLI

12   executives testified, the FDA issued two warning letters to JLI detailing its concern that JLI was

13   unlawfully marketing its e-cigarette products as cessation tools or as “modified risk tobacco

14   products” within the meaning of the FDCA.265

15          252.    Then, in its September 9, 2019 letter to JLI, the FDA notified JLI that its advertising

16   slogans such as “99% safer,” “much safer,” and “a safer alternative” than cigarettes was

17   “particularly concerning because [those] statements were made directly to children in school.”266

18   The FDA concluded that in using advertising language that e-cigarettes were safer than cigarettes,

19   JLI had violated Sections 902(8) and 911 by marketing JUUL products as “modified risk tobacco

20   products” without prior approval.267

21
     262
         Julie B. Wang et al., Cigarette and E-Cigarette Dual use and Risk of Cardiopulmonary
22     Symptoms in the Health eHeart Study, 13 PLoS ONE 1 (2018).
     263
23       Section 911(b)(2)(A)(i) of the FDCA (21 U.S.C. § 387k(b)(2)(A)(i)) states that when
       advertising or labeling of a cigarette product directly or indirectly suggests that the product has
24     a lower risk of cigarette-related disease, is less harmful than traditional cigarettes, or is
       otherwise ‘safer’ than traditional cigarettes, then the product becomes a “modified risk tobacco
25     product.”
     264
         Id.
26   265
         Letter from U.S. Food and Drug Admin. to Kevin Burns, CEO of JUUL Labs, Inc., (Sept. 9,
27     2019), https://www.fda.gov/inspections-compliance-enforcement-and-criminal-
       investigations/warning-letters/juul-labs-inc-590950-09092019.
     266
28       Id.
     267
         Id.
                                                       85
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 1           253.    The September 9, 2019 letter also detailed the FDA’s concerns with JLI’s “Switch”

 2   marketing campaign. “[T]roubled by recent testimony” that JLI had given to the House

 3   Subcommittee on Economic and Consumer Policy of the Committee on Oversight and Reform,

 4   the FDA noted that JLI’s Switch advertising campaign “may also convey that switching to JUUL

 5   is a safer alternative to cigarettes.”268

 6           254.    The FDA specifically highlighted the Switch campaign slogans which referenced

 7   smoking cigarettes, or attempts to quit smoking, followed by “Make the Switch.” The FDA stated

 8   that JLI’s campaign was in violation of multiple FDA regulations and the FDCA subsections, and

 9   that JLI’s Switch campaign purported to tell the public that using e-cigarettes was an alternative to

10   smoking, or a possible cessation tool.269

11           255.    On the same day, the FDA requested that JLI provide all documents related to its

12   decision to market the Switch campaign to the Cheyenne River Sioux Tribe, in light of the

13   testimony by JLI that it had taken a “public health” approach to Native American tribes, and had

14   sought healthcare professionals to refer Native American smokers to JLI’s Switching Program.270

15           256.    Perhaps unsurprisingly, the Make the Switch campaign was spearheaded by a

16   marketing firm with long-standing ties to the cigarette industry. In particular, it was led by a

17   subsidiary of Omnicom Group, Inc., one of the “Big Four” advertising holding companies

18   dominating marketing and communications worldwide since the 1990s, second only to WPP.

19   Omnicom is the parent company of Mercury Public Affairs which, by at least April 2018, counted

20   both Altria and JLI as its clients. Mercury lobbied for Altria on tobacco regulations,271 and helped

21   JLI push back against negative press coverage of youth usage of its products.272

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     268
         Letter from U.S. Food and Drug Admin. Ctr. for Tobacco Prods. to JUUL Labs, Inc. (Sept. 9,
25     2019), https://www.fda.gov/media/130859/download.
     269
         Id.
26   270
         Id.
27
     271
          Kevin McCauley, Altria Taps Mercury For Tobacco Regulation Work, O’DWYER’S (Jun. 4,
       2018), https://www.odwyerpr.com/story/public/10754/2018-06-04/altria-taps-mercury-for-
28     tobacco-regulation-work.html.
     272
         See, e.g., INREJUUL_00262168; INREJUUL_00262226-INREJUUL_00262227.
                                                      86
                                                                                        COMPLAINT
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 1          257.    For example, on April 2, 2018, a managing director from Mercury, Erick Mullen,

 2   emailed Defendant Valani and Daniel Cruise, Chief Public Affairs Officer at JLI, with a numbered

 3   list of actions in response to The New York Times article published that day, “‘I Can’t Stop’:

 4   Schools Struggle With Vaping Explosion.”273 Mercury’s list includes the recommendation to push

 5   the idea that JLI’s nicotine formulation is no more harmful than water, sugar, and caffeine:

 6   “Engage the press on all the definitions in every fucking story: it’s not a ‘cigarette’ of any kind;

 7   there’s no smoke and nothing medical science has on the books says water and nicotine is more

 8   harmful than water, sugar and caffeine.”274

 9          258.    Defendant Valani and Cruise each separately forwarded the email to JLI CEO

10   Kevin Burns, with Cruise commenting, “Kevin, recent email from friend Erick—a possible

11   ‘campaign manager’” for us. His argument is in line with yours. We need to be systematic,

12   aggressive and relentless. Btw we are not tobacco—have [you] corrected today’s NYT story?”275

13          259.    In August 2018, Omnicom agency DDB Chicago276 sent JLI a proposal for an

14   estimated $11 million campaign “to more firmly establish the true intent of the company,” noting

15   that JLI was “moving very fast.”277 This campaign was “Make the Switch.”

16          5.      JLI, Altria, and Others in the E-Cigarette Industry Coordinated with Third-
                    Party Groups to Mislead the Public About the Harms and Benefits of E-
17                  Cigarettes.
18          260.    Through a collective and parallel effort of funding, leadership, and board
19   membership, JLI, the Altria Defendants and others in the e-cigarette industry leveraged third-
20   parties, ranging from industry-funded non-governmental organizations to online blogs more
21   accessible to youth, to mislead the public about the impacts of consuming e-cigarettes.
22

23   273
         See INREJUUL_00262168; see also Kate Zernike, ‘I Can’t Stop’: Schools Struggle With
24     Vaping Explosion, N.Y. Times (Apr. 2, 2018),
       https://www.nytimes.com/2018/04/02/health/vaping-ecigarettes-addiction-teen.html.
25   274
         INREJUUL_00262168.
     275
         INREJUUL_00262226-227.
26   276
         See INREJUUL_00066530-539 (Other Omnicom entities were involved in this campaign. For
27     example, OMD, “sister company to DDB and part of the Omnicom Group,” sent JLI detailed
       Statements of Work for a U.S. Brand Campaign covering September 16, 2018 through
28     February 28, 2019).
     277
         See INREJUUL_00074841; see also INREJUUL_00074842-844 at 842.
                                                      87
                                                                                       COMPLAINT
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 1          261.    An assortment of lobbyists, trade associations, and online publications have

 2   coordinated with the e-cigarette industry, including JLI and the Altria Defendants, to promote a

 3   consistent message that consuming e-cigarettes is not harmful, that nicotine is not harmful, and

 4   that the impacts of e-cigarettes are greatly exaggerated. These organizations receive funding from

 5   the e-cigarette industry, feature executives on those companies’ boards of directors, and in return,

 6   promote industry products, industry views, or fund “independent” studies of their own that reach

 7   the same conclusions as e-cigarette industry-funded research.

 8                  a.      The American Vaping Association

 9          262.    The American Vaping Association (“AVA”) is a pro-e-cigarette lobby group
10   founded by Greg Conley, who notably publishes articles criticizing the CDC for its stance on
11   restricting e-cigarette use.278 Other executive members of the AVA possess business interests in
12   e-cigarettes; for example, Treasurer David J. Danzak Jr. is associated with an e-cigarette business
13   called Vapornine LLC.279 Vice-President Antoinette Lanza is an owner of an exclusively e-
14   cigarette shop in Hoboken, New Jersey called Smokeless Image.280 Half of the AVA’s functional
15   expenses are for lobbying efforts.281 It lists several sponsors, all of which are e-cigarette, e-liquid,
16   or cigarette companies.282
17          263.    Conley has a prolific social media presence and frequently appears on television
18   and radio to tout the benefits of consuming e-cigarettes and dispute negative news. The AVA
19   website lists “studies” which are uniformly authored by noted industry-funded or industry-friendly
20

21

22
     278
23       Jeff Stier & George Conley, The War on E-Cigarettes, NATIONAL REVIEW (Sept. 19, 2011),
       https://www.nationalreview.com/2011/09/war-e-cigarettes-jeff-stier-gregory-conley/.
     279
24       Vapornine LLC, BUZZFILE, http://www.buzzfile.com/business/Vapornine-LLC-904-372-3244
       (business information page).
25   280
         Stacy Jones, Tobacco Regulators Mull More Oversight as E-cigarettes See Increased
       Popularity, NJ.com (Mar. 30, 2019),
26     https://www.nj.com/business/2013/07/tobacco_regulators_mull_more_o.html.
27
     281
         Form 990, American Vaping Association Inc.’s Return of Organization Exempt from Income
       Tax (2018),
28     https://apps.irs.gov/pub/epostcard/cor/464203951_201812_990O_2019122716980021.pdf.
     282
         AVA Sponsors, American Vaping Association, https://vaping.org/about-us/ava-sponsors/.
                                                       88
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 1   authors, such as Polosa and Shahab.283 AVA lists CASAA, Not Blowing Smoke, and the VTA, all

 2   established fronts for the e-cigarette industry, as “Resources.”

 3           264.    The AVA receives its funding from sponsors, who are organized into tiers such as

 4   Platinum, Gold, Silver, Bronze, and Green.284 Current advertised sponsors include e-cigarette

 5   distributors and retailers such as E-Cigarette Empire, and VaporBeast.285 Prior sponsors are a

 6   who’s who of e-cigarette retailers. In 2016, Platinum sponsors included AltSmoke and Vapor

 7   Kings, while Gold sponsors included the now defunct Smokeless Image.286

 8           265.    On social media, the AVA regularly downplays the risks of consuming e-cigarettes,

 9   criticizes negative coverage as myths or exaggerations, and lauds efforts to curb any regulation of

10   the e-cigarette industry.287

11           266.    JLI actively sought out the AVA to promote JUUL. In January 2016, e-mails

12   between employees at JLI (then known as PAX) discussed a “list of thought leaders [JLI] can tap

13   for stories for JUUL” which included Conley at the AVA and Satel.288

14           267.    In 2018, JLI took advantage of its coordinated efforts with the AVA to downplay

15   the risks associated with JUUL. In an e-mail exchange between Christine Castro of JLI and a

16   “Stratcomms” internal mailing list, Castro lamented a “testy conversation” with a USA Today

17   reporter who pointed out that JLI’s marketing and advertising appeared to feature and target minors

18   and teenagers.289 Castro noted that “I hit back at [the reporter] very aggressively but we can expect

19   the usual B.S. Greg Conley is being allowed to write a 300-word rebuttal. I will email him and

20   copy you Ashley [JLI employee] just so we can stay coordinated.”290

21

22

23   283
         Research Reports, American Vaping Association, https://vaping.org/research-report/.
     284
24       AVA Sponsors, American Vaping Association, https://vaping.org/about-us/ava-sponsors/ .
     285
         Id.
25   286
         AVA Sponsors, American Vaping Association, Wayback Machine – Internet Archive (Aug.
       14, 2017), https://web.archive.org/web/20170814221226/http://vaping.org/about-us/ava-
26     sponsors/.
     287
27       American Vaping Association (@AVABoard), Twitter, https://twitter.com/AVABoard .
     288
         INREJUUL_00278889
     289
28       See INREJUUL_00173252 (Apr. 4, 2018 email).
     290
         Id.
                                                      89
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 1          268.    The AVA also coordinated with JLI on pro-e-cigarette research. In March 2018,

 2   Conley facilitated a conversation between Dr. Konstantinos Farsalinos, a researcher at the

 3   University of Patras, Greece, who regularly publishes e-cigarette industry-friendly articles, and

 4   Gal Cohen, then Director of Scientific Affairs at JLI.291 In the e-mail, Conley asks Farsalinos to

 5   send Cohen “some info on your flavor study” to which Farsalinos responds by sending Conley and

 6   Cohen an attachment: “USA FLAVORS SURVEY.pptx” and the note: “[A]ttached is a

 7   PowerPoint presentation about the study we proposed.”292

 8          269.    The proposed study was a survey aimed at determining what flavors different

 9   demographic groups preferred as e-cigarette flavors, which flavors they use frequently, and which

10   flavors they used when they first started consuming e-cigarettes. While the study was purportedly

11   to determine the impact of e-cigarette flavors on e-cigarette and smoking behavior, the data

12   obtained from such a study would have allowed JLI to understand which flavors were not only the

13   most popular, but which flavors were most popular by demographic.293

14                  b.     Vaping360

15          270.    Vaping360 is a website dedicated to news regarding the e-cigarette industry. The
16   website boasts “40 million smokers and vaping enthusiasts reached since 2015.” This entity has a
17   big social media presence and huge publication strategy.
18          271.    Vaping360’s main message misleads the public about the health impacts of
19   consuming e-cigarettes. Vaping360 has published various articles, including “10 Lies and Myths
20   About Juuling Exposed.”294 This article, published in May 9, 2018, claimed, among other things,
21   that JUUL was not as dangerous as smoking; JUUL did not cause cancer or “popcorn lung”; JUUL
22   was not popular among teenagers, nor did JLI sell kid-friendly flavors or flavors aimed to entice
23

24

25   291
         Juul Labs, Inc. , JUUL Labs Presents Findings at the Global Forum on Nicotine 2018, Cision
       PR Newswire (June 15, 2018) , https://www.prnewswire.com/news-releases/juul-labs-presents-
26     findings-at-the-global-forum-on-nicotine-2018-300666743.html.
     292
27       INREJUUL_0034128.
     293
         Id.
     294
28       Jim McDonald, 10 Lies and Myths About Juuling Exposed, Vaping 360 (May 9, 2018),
       https://vaping360.com/lifestyle/juuling/.
                                                     90
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 1   young people; and the nicotine in JUUL is “a relatively mild drug, [and] may cause

 2   dependence.”295

 3          272.    Vaping360 regularly published articles praising, promoting, or downplaying the

 4   risks of JUUL, including, among others: “These Scientists Want to Kill Smokers’ Hope (For

 5   Vaping)”; “UK Scientists to WHO: Your Vape Report Is Junk”; “One Free Pack JUUL Coupon

 6   Codes 2019”; and an article disparaging anti-smoking advocacy group Truth Initiative by claiming

 7   that “Truth Initiative Promo Encourages Risky Teen Behavior.”296

 8          273.    One of the main writers at Vaping360 is Jim McDonald who aggressively attacks

 9   any negative science as fake news. For example, McDonald frequently posts on social media

10   platforms, including on Facebook and Twitter, but also comments on others posts extensively

11   disputing negative news about consuming e-cigarettes.297

12          274.    Vaping360 has taken funding from e-cigarette manufacturers, and in return

13   coordinates with e-cigarette manufacturers to promote their products, while publishing favorable

14   content. Vaping360 was paid by JLI for advertising and was given kickbacks (referred to as

15   commission) for every coupon used for JUUL that originated from Vaping 360’s website.

16          275.    In March 2017, JLI (then PAX) communicated with Chris Kendell and others at

17   Vaping360 to discuss promoting JLI’s products with a 15% discount coupon on Vaping360’s

18   website.298 JLI representative Andy Martin also noted that JLI “figured out the commission issue,”

19   and expressed excitement at JLI’s new mango flavor JUUL pod.299 They also discussed a Facebook

20   advertising link whereby Vaping360 could offer similar discounts for JLI products on social

21   media.300

22
     295
23       Id.
     296
         Jim McDonald, Truth Initiative Promo Encourages Risky Teen Behavior, Vaping 360 (Jan. 9,
24     2020), https://vaping360.com/vape-news/87705/truth-initiative-promo-encourages-risky-teen-
       behavior/.
25   297
         Jim McDonald, Mass. Senate Passes Worst Vaping Law in the Countr, Vaping 360 (Nov. 21,
       2019), https://vaping360.com/vape-news/86852/mass-senate-passes-worst-vaping-law-in-the-
26     country/; Jim McDonald, Meet the Rich Moms Who Want to Ban Vaping, Vaping 360 (Oct. 8,
27     2018), https://vaping360.com/vape-news/71696/meet-the-rich-moms-who-want-to-ban-vaping/.
     298
         INREJUUL_00143870.
     299
28       Id.
     300
         Id.
                                                     91
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 1          276.    In November 2017, Martin of JLI and Rawad Nassif of Vaping360 discussed a

 2   meeting agenda, with topics such as “new affiliate commission terms,” “JLI funnelling [sic]

 3   project,” and “exploring further opportunities.”301

 4          277.    In 2018, McDonald continued to write articles specifically praising JLI, such as

 5   “Coming Soon: A JUUL to Help You Quit JUULing” and “10 Lies and Myths About JUULing

 6   Exposed.”302 As of 2020, Vaping360 continues to offer discounts for JUUL products.303

 7                  c.      Foundation for a Smoke-Free World

 8          278.    The Foundation was founded in 2017, and presents itself as a public health
 9   organization, purportedly “advancing global progress in smoking cessation and harm
10   reduction.”304 It is funded entirely by Philip Morris International, which in 2017 announced a $1
11   billion commitment to fund the Foundation.305 The Foundation’s 2018 Form 990 lists only one
12   donor: PMI Global Services, Inc., or Philip Morris International, with a contribution of $80
13   million.306
14          279.    The Foundation is headed by Derek Yach, a noted advocate and promoter of e-
15   cigarettes and consuming e-cigarettes.307
16          280.    In 2018, the Foundation announced that it would support Centers of Excellence to
17   conduct tobacco control research.308 This tactic is a well-known tool of the cigarette industry,
18

19   301
         INREJUUL_00139196
     302
20       Jim McDonald, Coming Soon: A JUUL to Help You Quit Juuling, Vaping 360 (Sept. 7, 2018),
       https://vaping360.com/vape-news/70262/coming-soon-a-juul-to-help-you-quit-juuling/.
21   303
         [One FREE Pack] JUUL Coupon Codes 2019, Vaping 360 (Aug. 24, 2018)
       https://vaping360.com/vape-coupons/juul-coupon-promo-code/.
22   304
         Foundation for a Smoke-Free World (2020), https://www.smokefreeworld.org/.
     305
23       David Meyer, Philip Morris Pledges Almost $1 Billion to Anti-Smoking Fight, FORTUNE
       (Sept. 13, 2017), https://www.webcitation.org/6tjyBv4dA.
     306
24       Return of Private Foundation, Foundation for a Smoke-Free World (2018),
       https://web.archive.org/web/20190828104138/https://www.smokefreeworld.org/sites/default/fil
25     es/uploads/documents/fsfw_2018_form_990-pf_public_inspection.pdf.
     307
         Derek Yach: Anti-smoking Advocates Should Embrace E-cigarettes, NATIONAL POST (Aug.
26     26, 2015), https://nationalpost.com/opinion/derek-yach-anti-smoking-advocates-should-
27     embrace-e-cigarettes.
     308
         Support Global Research, Foundation for a Smoke-Free World (May 31, 2018),
28     https://web.archive.org/web/20180531105105/https://www.smokefreeworld.org/our-areas-
       focus/support-global-research.
                                                      92
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 1   which has a history of funding “research” centers to promote industry-friendly views, such as the

 2   Center for Indoor Air Research, which promulgated industry-funded studies that sowed doubt

 3   about the addictiveness of nicotine, claimed that indoor air quality was unaffected by cigarette

 4   smoke and downplayed the harms of cigarettes broadly. Institutes such as the Center for Indoor

 5   Air Research were forced to dissolve as part of the Master Settlement Agreement in 1998.

 6          281.    A 2017 report in The Verge detailed the e-cigarette industry’s apparently

 7   coordinated efforts to use biased research to downplay the risks of consuming e-cigarettes.309 For

 8   example, e-cigarette manufacturers routinely conduct studies focusing on the “good news” about

 9   e-cigarettes, i.e. they release less harmful aerosolized chemicals than combustible cigarettes, or

10   that their aerosol lingers for less time indoors than combustible cigarettes.310 Industry-funded

11   authors then regularly cite to each other’s studies in their own research. 311 On information and

12   belief, JLI and Altria, among others in the e-cigarette industry, funnel their industry-funded studies

13   to friendly pro-industry groups knowing that those entities will misrepresent the results as evidence

14   that e-cigarettes are safe, or not harmful.

15

16

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     309
19       Liza Gross, Vaping Companies are Using the Same Old Tricks as Big Tobacco, THE VERGE
       (Nov. 16, 2017), https://www.theverge.com/2017/11/16/16658358/vape-lobby-vaping-health-
20     risks-nicotine-big-tobacco-marketing.
     310
         See, e.g., J. Margham, et al., Chemical Composition of Aerosol from an E-Cigarette: A
21     Quantitative Comparison with Cigarette Smoke, 29 CHEM. RES. TOXICOL. 1662 (2016); Tanvir
       Walele et al., Evaluation of the Safety Profile of an Electronic Vapour Product Used for Two
22     Years by Smokers in a Real-life Setting, 92 REG. TOXICOL. PHARMACOL. 226 (2018); D.
23     Martuzevicius, et al., Characterization of the Spatial and Temporal Dispersion Differences
       Between Exhaled E-Cigarette Mist and Cigarette Smoke, 21 NICOTINE & TOBACCO RES. 1371
24     (2019).
     311
         See, e.g., Gene Gillman et al., Determining the Impact of Flavored E-liquids on Aldehyde
25     Production During Vaping, 112 REG. TOXICOL. PHARMACOL. 1 (2020); Colin Mendelsohn &
       Alex Wodak, Legalising Vaping in Australia, The McKell Institute (March 2019),
26     https://pdfs.semanticscholar.org/3e13/8e46419913a29f8fc9ddad52ec771f73fa76.pdf; Violeta
27     Kaunelienė et al., Impact of Using a Tobacco Heating System (THS) on Indoor Air Quality in a
       Nightclub, 19 AEROSOL AND AIR QUAL. RES. 1961 (2019); Maya Mitova et al., Human
28     Chemical Signature: Investigation on the Influence of Human Presence and Selected Activities
       on Concentrations of Airborne Constituents, 257 ENV’TL POLLUTION 1 (2020).
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 1                  d.      Vapor Technology Association

 2          282.    The Vapor Technology Association (VTA) bills itself as a trade association and
 3   advocates for the e-cigarette industry. It was founded in January 2016, with the banner tagline on
 4   its website reading “VAPE IS HOPE.”312
 5          283.    In 2018, JLI, SMOK, VMR, Turning Point Brands, and Joyetech were all featured
 6   as “Platinum Members,” a level of membership that required a $100,000 annual contribution.
 7   Thus, JLI paid VTA $100,000 in 2018 to become a Platinum Member, and in return, VTA offered
 8   JLI a board seat; invitations to lobbying strategy meetings; access to the FDA, other federal
 9   agencies, and members of Congress; and conference participation.313
10          284.    The VTA, like other lobbying and trade association groups in the industry,
11   advocates for less regulation of e-cigarettes, and testifies in opposition to flavor bans.314
12                  e.      Retailer Lobbying
13          285.    Retailers have also taken to creating subsidiaries or wholly owned companies
14   whose purpose is to produce quasi-journalistic content to promote consuming e-cigarettes,
15   discredit health initiatives, and suggest that consuming e-cigarettes has no harmful health impacts.
16   The best example of this is the website SoupWire, which publishes articles and editorials that
17   promote consuming e-cigarettes and criticizes studies that look at the negative impacts of
18   consuming e-cigarettes.315 For example, when JLI donated $7.5 million towards a study on the
19   impacts of consuming e-cigarettes on teens, a SoupWire report concluded that the study will likely
20   find “nothing Earth-shattering.”316
21

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     312
24       Vape is Hope, Vapor Technology Association (Feb. 25, 2016),
       https://web.archive.org/web/20160225154600/http://www.vaportechnology.org:80/
25   313
         Some of Our Members, Vapor Technology Association (Nov. 28, 2018),
       https://web.archive.org/web/20181128162940/https://vaportechnology.org/membership/
26   314
         Vapor Technology Association, https://vaportechnology.org/.
27
     315
         Soupwire – The Truth About Vaping, https://soupwire.com/.
     316
         Jeff Hawkins, JUUL Donates $7.5 Million to Teen Vaping Study, Soupwire – The Truth
28     About Vaping (July 2, 2019), https://soupwire.com/juul-donates-7-5-million-to-teen-vaping-
       study/
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 1          6.      Altria Falsely Stated That It Intended to Use Its Expertise in “Underage
                    Prevention” Issues to JLI
 2
            286.    Altria’s announcement that it intended to invest in JLI came less than two months
 3
     after it told the FDA that Altria “believe[s] that pod-based products significantly contribute to the
 4
     rise in youth use of e-vapor products” and that it accordingly would be removing its own pod-
 5
     based products from the market.317 Altria made the same representations to its investors.318
 6
            287.    Although Altria claimed its investment in JLI had an altruistic motive—“ When
 7
     you add to JUUL's already substantial capabilities, our underage tobacco prevention expertise and
 8
     ability to directly connect with adult smokers, we see a compelling future with long-term benefits
 9
     for both adult tobacco consumers and our shareholders,” Altria recently confirmed that JLI has not
10
     even availed itself of that experience.319 In Altria’s October 2019 letter to Senator Richard Durbin,
11
     Altria CEO Howard Willard acknowledged that while Altria “offered to JUUL services relating to
12
     underage prevention efforts,” to date “JUUL has not accepted Altria’s offers of assistance in
13
     addressing underage vaping relating issues.”320 Willard has stated that the deal would allow Altria
14
     to “work[] with JUUL to accelerate its mission.”321 but as Altria knew, as reflected in its letter to
15
     the FDA just two months prior, that mission involved had resulted in usage throughout the youth
16
     market. Altria’s admission that pod-based products contributed to underage use show that Altria
17

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     317
         Letter from Howard A. Willard III, Altria, to Dr. Scott Gottlieb, FDA, 2 (October 25, 2018)
22   318
         Altria Group Inc (MO) Q3 2018 Earnings Conference Call Transcript, (October 25, 2018)
23     https://www.fool.com/earnings/call-transcripts/2018/10/25/altria-group-inc-mo-q3-2018-
       earnings-conference-ca.aspx
     319
24       Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call for the
       period ending December 31, 2018. (Jan. 31, 2019), https://www.fool.com/earnings/call-
25     transcripts/2019/02/01/altria-group-mo-q4-2018-earnings-conference-call-t.aspx
     320
         Letter from Howard A. Willard III to Senator Richard J. Durbin (October 14, 2019) (emphasis
26     added).
     321
27       Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and
       Drive Growth, Business Wire (Dec. 20, 2018, 7:00 AM EST),
28     https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
       Investment-JUUL-Accelerate.
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 1   knew its investment in JLI would “strengthen[] its financial profile and enhance[] future growth

 2   prospects” specifically because JLI dominated the youth market for e-cigarettes.322

 3          288.    Altria recognized that JLI’s market share dominance in the e-cigarette market, a

 4   share that it knew was gained via youth targeting and false and misleading advertising, was the

 5   path to Altria’s continued viability and profitability. In a January 31, 2019 earnings call, Altria

 6   explained that “[w]hen you add to JUUL’s already substantial capabilities, our underage tobacco

 7   prevention expertise and ability to directly connect with adult smokers, we see a compelling future

 8   with long-term benefits for both adult tobacco users and our shareholders. We are excited about

 9   JUUL’s domestic growth and international prospects and their potential impact on our

10   investment.”323 JUUL’s growth was, as Altria well knew, due to the product’s viral popularity

11   among teens. Willard briefly acknowledged the youth vaping crisis, stating, “Briefly touching on

12   the regulatory environment, the FDA and many others are concerned about an epidemic of youth

13   e-vapor usage. We share those concerns. This is an issue that we and others in the industry must

14   continue to address aggressively and promptly.324

15          289.    Altria’s representations that it intended to help JUUL curb the prevalence of

16   underage use was false and misleading. As discussed below, Altria coordinated with JUUL to

17   capture and maintain the youth market.

18   E.     Defendants Targeted the Youth Market

19          290.    Having created a product, like combustible cigarettes, that sought to get users
20   addicted to nicotine, and while taking steps to ensure that users and regulators did not appreciate
21   the true nicotine content or potential harm from using JUULs, to successfully sink their high-tech
22   nicotine hook into American users, JLI, Bowen, and Monsees needed investors willing to adopt
23

24

25   322
         Press Release, Altria Makes $12.8 Billion Minority Investment In Juul To Accelerate Harm
       Reduction And Drive Growth, Altria (Dec. 20, 2018),
26     https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex991.htm.
     323
27       Altria Group (MO) Q4 2018 Earnings Conference Call Transcript: MO earnings call for the
       period ending December 31, 2018 (Jan. 31, 2019), https://www.fool.com/earnings/call-
28     transcripts/2019/02/01/altria-group-mo-q4-2018-earnings-conference-call-t.aspx.
     324
         Id.
                                                     96
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 1   the tactics of the cigarette industry as their own. They found those investors in Pritzker, Huh, and

 2   Valani.

 3             291.    Under the leadership of the Management Defendants, JLI marketed nicotine to kids.

 4   JLI and the Management Defendants deployed a sophisticated viral marketing campaign that

 5   strategically laced social media with false and misleading messages to ensure their uptake and

 6   distribution among young users. JLI and the Management Defendants’ campaign was wildly

 7   successful—burying their hook into kids and initiating a public health crisis.

 8             1.      JLI Emulated the Marketing of Cigarette Companies.

 9             292.    As Defendants know, nearly 9 out of 10 smokers start smoking by age 18, and more
10   than 80% of underage smokers choose brands from among the top three most heavily advertised.325
11   The overwhelming consensus from public health authorities, independent studies, and credible
12   expert witnesses is that “marketing is a substantial contributing factor to youth smoking
13   initiation.”326
14             293.    Struggling to define their own identities, teenagers are particularly vulnerable to
15   image-heavy advertisements that psychologically cue them on the “right” way to look and behave
16   amongst peers.327 Advertisements that map onto adolescent aspirations and vulnerabilities drive
17   adolescent tobacco product initiation.328
18             294.    For decades, cigarette companies spun smoking as signifier of adulthood. This
19   turned smoking into a way for teenagers to project independence and enhance their image among
20   their peers.329
21             295.    Youth marketing was critical to the success of cigarette companies. In the 1950s,
22   Philip Morris—now JUUL’s corporate affiliate—intentionally marketed cigarettes to young
23

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25   325
         U.S. Dep’t Health & Human Servs., Preventing Tobacco Use Among Youths, Surgeon
       General Fact Sheet, https://www.hhs.gov/surgeongeneral/reports-and-
26     publications/tobacco/preventing-youth-tobacco-use-factsheet/index.html.
     326
27       United States v. Philip Morris, 449 F. Supp. 2d 1, 570 (D.D.C. 2006) (J. Kessler).
     327
         Id. at 578.
     328
28       Id. at 570, 590
     329
         Id. at 1072.
                                                        97
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 1   people as a pool from which to “replace smokers” to ensure the economic future of the cigarette

 2   industry.330

 3           296.    Philip Morris’s documents set out their youth strategy, explaining: “Today’s

 4   teenager is tomorrow’s potential regular customer, and the overwhelming majority of smokers first

 5   begin to smoke while still in their teens”.331

 6           297.    It wasn’t just Philip Morris. The strategy of hooking kids was an open secret in the

 7   cigarette industry.332

 8           298.    As detailed below, JLI and the Management Defendants sought to emulate this

 9   approach. Indeed, Monsees admitted to using historical cigarette ads to inform JLI’s own

10   advertising campaign.333

11           299.    The emulation is obvious. A side-by-side comparison of JUUL advertisements with

12   historical cigarette advertisements reveals the appropriated pattern of focusing on imagery related

13   to attractiveness, stylishness, sex appeal, fun, “belonging,” relaxation, and sensory pleasure,

14   including taste.334

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     330
20       United States. v. Philip Morris, No. 99- 2496 (D.D.C. Aug. 17, 2006), ECF No. 5750 at 972
       (Amended Final Opinion).
21   331
         Tobacco Company Quotes on Marketing to Kids, Campaign for Tobacco-Free Kids (May 14,
       2001), https://www.tobaccofreekids.org/assets/factsheets/0114.pdf.
22   332
         C.A. Tucker, Marketing Plans Presentation to RJRI B of D at 2, U.C.S.F. Truth Tobacco
23     Industry Documents (Sept. 30, 1974),
       https://www.industrydocumentslibrary.ucsf.edu/tobacco/docs/#id=ypmw0091 (RJ Reynolds
24     executive explaining that the “young adult . . . market . . . represent[s] tomorrow’s cigarette
       business. As this 14-24 age group matures, they will account for a key share of the total
25     cigarette volume—for at least the next 25 years.”).
     333
         Matthew Perone & Richard Lardner, Juul exec: Never intended electronic cigarette for teens,
26     AP News (July 26, 2019), https://apnews.com/4b615e5fc9a042498c619d674ed0dc33; Gabriel
27     Montoya, Pax Labs: Origins with James Monsees, Social Underground,
       https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees (last visited
28     Apr. 3, 2020).
     334
         See Appendix A, Ads 9-50.
                                                      98
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            300.    JLI and the Management Defendants deployed this same strategy, but adapted it to
24
     modern advertising tactics.
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            2.      The Management Defendants Intentionally Marketed JUUL to Young
26                  People.

27          301.    The risk that children would use a new e-cigarette product was well known and

28   well publicized in the months leading up to the launch of the JUUL e-cigarette. For example, in


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 1   April 2015, the CDC published the results from its 2014 National Youth Tobacco Survey. 335 The

 2   CDC found that “[i]n 2014, e-cigarettes were the most commonly used tobacco product among

 3   middle (3.9%) and high (13.4%) school students.”336 Moreover, “[b]etween 2011 and 2014,

 4   statistically significant increases were observed among these students for current use of both e-

 5   cigarettes and hookahs (p<0.05), while decreases were observed for current use of more traditional

 6   products, such as cigarettes and cigars, resulting in no change in overall tobacco use.”337 The CDC

 7   blamed e-cigarette marketing, the use of “a mixture of ‘sex, free samples, [and] flavors’—the same

 8   things that were originally found to be problematic with cigarette ads.”338

 9          302.    Seeking to enter this nascent youth market for e-cigarettes, JLI intentionally

10   targeted youth from its inception. In March 2015, Management Defendants supervised the

11   advertising campaigns that would accompany the launch of JUUL.

12          303.    JLI knew that its initial customer base would be the key to its growth. On June 15,

13   2015, JLI’s COO Scott Dunlap wrote on article on Entrepreneur.com called “6 Ways to Get a

14   Fanatical Customer Base,” #1 of which was “Seed your initial customer base:”

15          304.    Your first group of customers is the foundation of all future growth, so know who

16   they’ll be, why they’ll rave and help them tell your story. They’ll first act as role models and then

17   as advocates to help spread your mission, so make locating and engaging those core customers a

18   priority. This is especially important if you’re introducing something completely new to a

19   traditional industry.339 Despite this professed knowledge that JLI’s “first group of customers is the

20   foundation of all future growth” and consistent with Monsees’ position that he has no “qualms”

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     335
23       Centers for Disease Control and Prevention, Tobacco Use Among Middle and High School
       Students — United States, 2011–2014, Morbidity and Mortality Weekly Report (MMWR)
24     64(14);381-385 (Apr. 17, 2015),
       https://www.cdc.gov/mmwr/preview/mmwrhtml/mm6414a3.htm.
25   336
         Id.
     337
         Id.
26   338
         Jacob Kastrenakes, More teens are vaping instead of smoking, The Verge (Apr. 16, 2015),
27     https://www.theverge.com/2015/4/16/8429639/teen-ecigarette-use-triples-vaping-beats-
       smoking.
     339
28       Scott Dunlap, 6 Ways to Get a Fanatical Customer Base, Entrepreneur (June 17, 2015)
       https://www.entrepreneur.com/article/247424.
                                                     100
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 1   with marketing to people that were not yet addicted to nicotine,340 JLI’s marketing strategy targeted

 2   people that were “flavor-seeking, social ‘vapers,’” and those who “have very limited experience

 3   with traditional tobacco cigarettes.”341

 4          305.    JLI’s first major marketing hire, Cult Collective Ltd. (“Cult Collective”), presented

 5   a pitch deck to JLI in late 2014, which defined the “target consumer” as a person “within a life

 6   stage or mindset where they are defining their own identity.”342 The study described the “modern

 7   vaper” as “trendy, sophisticated image managers seeking to balance their desire for originality

 8   against acceptance.”343 Put differently, their target consumer was an adolescent.

 9          306.    JLI professedly wanted kids to think JUUL was cool. In an email dated January 29,

10   2015, Sarah Richardson—then Director of Communications—sent a document dated December

11   31, 2014, to Dima Martirosyan, Director of Digital Marketing, who forwarded it to Rafael Burde,

12   Director of Ecommerce.344 The document stated that “[m]ost e-cigarettes to date are unsatisfying

13   and seem ‘douche-y’. The JUUL product delivers nicotine far more effectively, and the product

14   design is elegant and cool. We need to tell this story in a credible fashion through press, influencers

15   and social media.”345 The document repeatedly referred to Pax Labs’s plan to target the “cool

16   kids[.]”346 For example, it described as one of the “Key needs” to “Establish premium positioning

17   to entice the ‘masses’ to follow the trend setters; own the ‘early adopter’ / ‘cool kid’ equity as we

18   build out volume[.]”347 The document noted that “the voices of influencers can build strong

19   demand.”348 Messaging to media similarly focused on “coolness” and the message that “JUUL

20   singlehandedly made e-cigarettes cool.”349

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22   340
         David H. Freedman, How do you Sell a Product When You Really Can’t Say What it Does?,
23     Inc., https://www.inc.com/magazine/201405/david-freedman/james-monsees-ploom-ecigarette-
       company-marketing-dilemma.html (last visited Apr. 4, 2020).
     341
24       INREJUUL_00441209.
     342
         INREJUUL_00057298-INREJUUL_00057487.
25   343
         INREJUUL_00057298-INREJUUL_00057487.
     344
         INREJUUL_00057289.
26   345
         INREJUUL_00057293.
     346
27       Id.
     347
         Id.
     348
28       Id.
     349
         INREJUUL 00441325-INREJUUL_00441326.
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 1          307.    This focus on “cool kids” continued up to and after launch. On May 18, 2015, Kate

 2   Morgan, field marketing manager, emailed Richard Mumby, Chief Marketing Officer, and a

 3   variety of other marketing employees about “Some Music Options for JUUL Party” and noted that

 4   one of the options was a pair who were both “cool kids.”350 On June 7, 2015, Rafael Burde emailed

 5   Scott Dunlap, then Chief Operating Officer, stating that the JUUL launch party “was a resounding

 6   success (at least in my mind) in terms of winning over the cool kids . . . .”351 Pax Labs employees

 7   used similar wording regarding interest in targeting “cool kids” in an email from Sarah Richardson

 8   on August 12, 2015,352 and emails from Ashley Marand on September 15, 2015,353 and October

 9   21, 2015.354 The consistency of the language around this target demographic confirms that

10   marketing to “cool kids” was a company policy set by the executives and the Board, particularly

11   because, before selling the Ploom assets to JTI, James Monsees said similar things about Ploom.355

12          308.    JLI identified its competitor in this space as cigarette companies, complaining that

13   “cigarettes continue to own the ‘cool’ equity,” and identifying a “key pillar to go-to-market” as

14   “win[ning] with the ‘cool crowd’” away from cigarettes.356

15          309.    With this goal in mind, JLI hired the Grit Creative Group (“Grit”), which billed

16   itself as an agency whose marketing appealed to “cool kids.”357 Grit helped JLI to “use external

17   audiences to communicate nuanced messages around early adoption ‘coolness’ and product

18   performance.”358

19          310.    In short order, the phrase “it’s cool to JUUL” became an anthem among kids while

20   youth e-cigarette use skyrocketed.

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23   350
         JLI00218598.
     351
24       JLI00206206.
     352
         JLI00222528.
25   353
         JLI00461564.
     354
         JLI00235965.
26   355
         JLI00514343 (describing Ploom as “providing optionality for distribution growth and
27     consumer outreach to a younger, opinion leading audience”).
     356
         INREJUUL_00161703-INREJUUL_00161715.
     357
28       Id.
     358
         INREJUUL_00277080-INREJUUL_00277104.
                                                    102
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 1          3.      JLI Advertising Exploited Young People’s Psychological Vulnerabilities.

 2          311.    Informed by decades of tobacco marketing, JLI ran a consistent, simple message:
 3   JUUL is used by young, popular, attractive, and stylish people.
 4          312.    This was not the only marketing scheme JLI could have adopted. JLI had other
 5   options. In 2014, JLI engaged a Calgary-based advertising agency, Cult Collective, to complete a
 6   “diagnostic” evaluation of the JUUL brand and to make recommendations regarding the best
 7   advertising strategy to market the JUUL e-cigarette.
 8          313.    In keeping with typical e-cigarette marketing, which messaged to existing smokers
 9   looking to quit, Cult Collective recommended that JUUL position its e-cigarette technology as the
10   focus of its advertisements. Cult Collective presented JUUL with exemplar advertisements that
11   used images of a boom box and a joy stick, juxtaposed against the JUUL e-cigarette, with the tag
12   line: “Everything changes. JUUL the evoluution of smoking.”
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23          314.    This campaign expressly invokes combustible cigarettes and positions the JUUL as
24   a technological upgrade for the modern smoker.
25          315.    JLI rejected this approach.
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 1          316.    Instead, in June of 2015, JLI launched the “Vaporized” advertising campaign.359

 2   The express mission of the Vaporized campaign was to “own the ‘early adopter’/’cool kid’

 3   equity.”360

 4          317.    Applying the template for preying on teens established by the cigarette industry,

 5   the Vaporized campaign used stylish models, bold colors, and highlighted themes of sexual

 6   attractiveness, thinness, independence, rebelliousness and being “cool.”361

 7          318.    The targeting of young users was evident in the design and implementation of the

 8   Vaporized campaign, which featured models in their 20s whose “poses were often evocative of

 9   behaviors more characteristic of underage teen than mature adults.”362

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23   359
         Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’, AdAge
24     (June 23, 2015), http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-
       ads¬campaign/299142/.
25   360
         INREJUUL_00057291-INREJUUL_00057295.
     361
         See Appendix A, Advertisement 1 (example of targeting of young people).
26   362
         Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
27     Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
       (statement of Robert K Jackler, Professor, Stanford University).
28     https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-
       JacklerR-20190724.pdf.
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            319.    In the months leading up to the launch of JUUL e-cigarettes, Pax Labs executives
17
     and directors discussed how to market the new product and the Board approved specific marketing
18
     materials used in JUUL’s launch. On March 23, 2015,363 there was a meeting of the Board of
19
     Directors where the upcoming advertising campaign was discussed.364 The Board at that time had
20
     five members: Pritzker, Valani, Monsees, Bowen, and Handelsman (occupying Valani’s second
21
     seat). According to Chelsea Kania, then Brand Manager at Pax Labs, prior to this meeting, she had
22
     met with the Board to discuss the models who would be used in the marketing collateral
23
     accompanying the JUUL launch. At that meeting, “there was some commentary at the youthfulness
24
     of the models[,]” but “nobody disliked them” and “everybody agreed they are pretty
25
     ‘effective[.]’”365 Ms. Kania also noted that she told the Board that “we have quite the arsenal of
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27   363
         INREJUUL_00371285.
     364
28       INREJUUL_00371314.
     365
         INREJUUL_00174387.
                                                    105
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 1   model images to work with, and that they should let us know if the ones we selected are going to

 2   be problematic. So just waiting on any further feedback if they do a pass with the board.” 366 The

 3   Management Defendants knew that the ads targeted youth and had the authority to determine

 4   which models to use, but “Juul’s board of directors signed off on the company’s launch plans[.]”367

 5   In addition, “Monsees, who was CEO at the time, personally reviewed images from the billboard

 6   photo shoot while it was in session.”368 A senior manager later told the New York Times that “he

 7   and others in the company were well aware” that the marketing campaign “could appeal to”

 8   teenagers.369

 9          320.     As part of the Vaporized campaign, JLI advertised on a 12-panel display over

10   Times Square.370 Billboard advertising of cigarettes has for years been unlawful under the Master

11   Settlement Agreement.

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21   366
         Id.
     367
         Ainsley Harris, How Juul, founded on a life-saving mission, became the most embattled
22     startup of 2018: E-cigarette startup Juul Labs is valued at more than $16 billion. It’s also
23     hooking teens on nicotine and drawing scrutiny from the FDA. Can the company innovate its
       way out of a crisis it helped create?, Fast Company (Nov. 19, 2018),
24     https://www.fastcompany.com/90262821/how-juul-founded-on-a-life-saving-mission-became-
       the-most-embattled-startup-of-2018.
25   368
         Id.
     369
         Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y.
26     Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
27     marketing.html.
     370
         See Appendix A, image 14; see also https://inrejuul.myportfolio.com (also available at
28     http://tobacco.stanford.edu/tobacco_main/subtheme_pods.php?token=fm_pods_ mt068.php)
       (last visited April 3, 2020) (additional images and videos).
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13           321.    These ads, which ran for nearly a month, generated an estimated 1.5 million

14   impressions per day.371

15           322.    In fact, JLI’s Vaporized campaign was so effective that it gained national attention

16   on an October 15th, 2015 episode of Late Night with Stephen Colbert, who ridiculed the notion

17   that the young, dancing models were consistent with a target market of adult smokers. As Colbert

18   joked after viewing the close-up video of young models dancing in place, “[y]eah! There is

19   something about vaping that just makes me want to dance in a way that doesn’t require much lung

20   strength. . . . And it’s not just ads featuring hip young triangles that appeal to the youths. . . . There

21   is no reason to worry about the long-term effects of vaping, because e-cigarettes are so new that

22   their long-term effects are still unknown.”372

23           323.    The Vaporized campaign was not limited to the Times Square billboards however.

24   The ads were also placed in nationally-distributed magazines, and the videos were displayed on

25   screens at the top of point-of-sale JUUL kiosks provided by JUUL to retailers across the country.

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27   371
        INREJUUL_00093933-INREJUUL_00093934.
     372
28      The Late Show With Stephen Colbert: Vaping is So Hot Right Now, YouTube (Oct. 7, 2015),
      https://www.youtube.com/watch?v=PMtGca_7leM.
                                                        107
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 1             324.   To the extent that the Vaporized advertisements disclosed that JUUL contained

 2   nicotine, the warnings were in small print against low-contrast backgrounds, making them easy to

 3   overlook. By way of comparison, cigarette advertisements, are required to display a health warning

 4   in high contrast black and white, covering 20% of the image.

 5             325.   Likewise, JLI’s social media ads did not disclose any health risks of using JUUL

 6   until May of 2018, when they were required to warn of addiction. But even then, JUUL placed

 7   these warnings in areas that were only viewable if the social media user clicked on the “full

 8   version” of the JLI post, which is not how teens typically engage with social media advertising.373

 9   Notably, on Twitter, a social media platform that is geared towards reading text, and on Facebook,

10   where some users do read text, JLI typically did not include the disclaimer in its advertisements at

11   all.374

12             4.     JLI Pushed the Vaporized Campaign Into Youth Targeted Channels.

13                    a.     JLI Placed Its Vaporized Ads on Youth Oriented Websites and
                             Media.
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               326.   JLI engaged programmatic media buyers to place advertisements on websites
15
     attractive to children, adolescents in middle school and high school, and underage college students.
16
     These advertisements, which included the images of models from the Vaporized campaign, began
17
     appearing on websites as early as June 2015. The chosen websites included: nickjr.com (the
18
     website for a children’s television network run by Nickelodeon Group); the Cartoon Network’s
19
     website at cartoonnetwork.com; allfreekidscrafts.com; hellokids.com; and kidsgameheroes.com.
20
               327.   A picture of the homepage of nickjr.com is below:
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27   373
       Se Appendix A, Advertisement 3.
     374
28     See Appendix A, Advertisement 65; see also Juul Image Galleries (2015-2018) SRITA
      Collection, https://inrejuul.myportfolio.com/twitter-1 (last visited Apr. 3, 2020).
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            328.    JLI also purchased banner advertisements on websites providing games targeted to
11
     younger girls,375 educational websites for middle school and high school students,376 and other
12
     teen-targeted websites.377
13
            329.    JLI knew what it was doing. In May 2015, Chelsea Kania contacted Cult Collective
14
     to raise concerns about advertising on younghollywood.com. Kania explained that the website’s
15
     demographics are “age 12-34 . . . and weighing the % who could actually afford JUUL against the
16
     risk we’d run being flagged for advertising on that site – I don’t think we should do it.”378
17
     Nevertheless, JLI continued to push its campaign on websites with young demographics.
18
            330.    JLI promoted the Vaporized campaign on Facebook, Instagram, and Twitter.
19
            331.    JLI could have employed age-gating on its social media accounts to prevent
20
     underage users from viewing its Vaporized advertisements, but chose not to do so.
21
            332.    The Vaporized campaign included the largest e-cigarette smartphone campaign of
22
     2015, which accounted for 74% of all such smartphone advertising that year.
23
     375
24       The sites included dailydressupgames.com, didigames.com, forhergames.com,
       games2girls.com, girlgames.com, and girlsgogames.com.
25   376
         E.g., coolmath-games.com. JUUL also purchased advertisements on basic-mathematics.com,
       coolmath.com, math-aids.com, mathplayground.com, mathway.com, onlinemathlearning.com,
26     and purplemath.com.
     377
27       E.g., teen.com, seventeen.com, justjaredjr.com, and hireteen.com. JUUL purchased
       advertisements on websites for high school students hoping to attend college such as
28     collegeconfidential.com and collegeview.com.
     378
         INREJUUL_00082179-INREJUUL_00082185.
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 1          333.   JLI promoted Vaporized through Vice Magazine, which bills itself as the “#1 youth

 2   media brand” in the world.379

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            334.   By 2016, an estimated 20.5 million U.S. middle and high school students were
12
     exposed to advertisements for e-cigarettes, including JUUL.380
13
                   b.      JLI Used Influencers and Affiliates to Amplify Its Message to a
14
                           Teenage Audience.
15
            335.   JLI used “influencers” to push their product to young people. Influencers are “high-
16
     social net worth” individuals who have developed large social media followings—i.e., the “cool
17
     kids” of the social media world.381 Influencers are prized sources of brand promotion on social
18
     media networks.
19
            336.   Like its Vaporized campaign, JLI’s influencer strategy was youth-focused, with the
20
     stated aim of “show[ing] that the tastemakers, cool kids and early adopters who consume tobacco
21

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23   379
         Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes
24     (Nov. 16, 2018), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-
       focus-of-juuls-early-marketing-campaigns/#3da1e11b14f9.
25   380
         Kristy Marynak et al., Exposure to Electronic Cigarette Advertising Among Middle and High
       School Students – United States, 2014-2016, CDC: Morbidity and Mortality Weekly Report
26     (Mar. 16, 2018), https://www.cdc.gov/mmwr/volumes/67/wr/mm6710a3.htm.
27
     381
         See INREJUUL_00091138 (Aug. 26, 2015 “JLI Influencer Program” defining an influencer
       as “individuals who have strong influence over their audience. We are aiming for influencers in
28     popular culture with large audiences in various sectors such as music, movies, social, pop
       media, etc.”).
                                                    110
                                                                                     COMPLAINT
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 1   use JUUL.”382 In keeping with this strategy, JLI targeted influencers that were young and popular

 2   with adolescents. One influencer JLI targeted was Tavi Gevinson, who was nineteen years old in

 3   the summer of 2015. The year before, Rolling Stone magazine described Gevinson as “possibly

 4   the most influential 18-year-old in America.”383

 5          337.    JLI contracted with Grit to enlist influencers by sending them free JUUL e-

 6   cigarettes. Documents obtained pursuant to a Congressional investigation show that in July 2015,

 7   JLI’s contract with Grit was for services that included “Influencer Relations,” in which Grit agreed

 8   to provide two “Social Buzzmakers” for six events within a four-week period, with each Social

 9   Buzzmaker having a minimum of 30,000 followers and be active on at least two social media

10   channels, such as Instagram, Twitter, or Facebook. The contract provided that JLI would determine

11   or approve the timing of the Buzzmakers’ posts. In addition, JLI engaged Grit to “develop

12   influencer engagement efforts to establish a network of creatives to leverage as loyalists for

13   Juul/Pax brand activations.”384

14          338.    Grit also provided free JUULs to Luka Sabbat, known as the “the Internet’s Coolest

15   Teenager,”385 who was 17 years old during the summer of 2015.

16          339.    Grit targeted celebrities with large numbers of underage fans, including Miley

17   Cyrus, former star of “Hannah Montana,” a series that aired for four seasons on the Disney Channel

18   and won eight Teen Choice Awards.386

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     382
         INREJUUL_00057293.
22   383
         Alex Morris, Tavi Gevinson: A Power Teen’s New Direction, Rolling Stone (Aug. 14, 2014),
23     https://www.rollingstone.com/culture/culture-features/tavi-gevinson-a-power-teens-new-
       direction-232286/.
     384
24       Kenrick Cai, Juul Funded High Schools, Recruited Social Media Influencers To Reach Youth,
       House Panel Charges, Forbes (July 25, 2019),
25     https://www.forbes.com/sites/kenrickcai/2019/07/25/juul-high-schools-influencers-reach-
       youth-house-investigation/#57735a4a33e2. See JLI-HOR-00042050-052 at 050.
26   385
         Alexis Barnett, Who Is Luka Sabbat? Meet the Internet’s Coolest Teenager, Complex (Aug.
27     17, 2015), https://www.complex.com/style/luka-sabbat-interview-on-youth-kanye-west-and-
       fashion.
28   386
         See, INREJUUL_00091141 (Aug. 26, 2015 “JLI Influencer Seeding Chart” provided by Grit
       listing various celebrities and influencers, including Miley Cyrus.).
                                                     111
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 1          340.     JLI paid these social media influencers to post photos of themselves with JUUL

 2   devices and to use the hashtags that it was cultivating.387 One such influencer was Christina Zayas,

 3   whom JLI paid $1,000 for just one blog post and one Instagram post in the fall of 2017.

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            341.    JLI encouraged its distributors, wholesalers, and other resellers—either explicitly
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     or implicitly— to hire affiliates and influencers to promote JLI’s brand and products. Even if not
14
     paid directly by JLI, these influencers profited from the promotion of JUUL products either
15
     because they were paid by JUUL resellers, JUUL accessory sellers, or sellers of JUUL-compatible
16
     products.
17
            342.    For example, one YouTube user Donnysmokes (Donny Karle, age twenty-one)
18
     created a JUUL promotional video in 2017 that garnered roughly 52,000 views, many of which
19
     were from users under the age of eighteen.388 Since that time, Karle has made a series of videos,
20
     including videos titled “How to hide your JUUL from your parents” and “How to HIDE & HIT
21
     Your JUUL at SCHOOL WITHOUT Getting CAUGHT.”389 Karle has admitted to earning
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     388
         Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
26     Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
27     (statement of Robert K Jackler, Professor, Stanford University).
       https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-
28     JacklerR-20190724.pdf.
     389
         Id.
                                                     112
                                                                                       COMPLAINT
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 1   approximately $1200 a month from unspecified sources simply from posting videos of himself

 2   consuming e-cigarettes, especially of JUUL products online.390

 3          343.     Karle also created a YouTube sensation called the “JUUL Challenge,” which is a

 4   play on the viral “Ice Bucket Challenge.” In the JUUL Challenge, the goal is to suck down as much

 5   nicotine as possible within a predetermined amount of time. The JUUL Challenge, which promotes

 6   nicotine abuse and adolescent use of JUUL products, went viral like the Ice Bucket Challenge it

 7   mimicked. Soon, youth across the country were posting their own JUUL Challenge videos, a

 8   practice that continues to this day on YouTube, Instagram, Snapchat and other social media

 9   platforms. In one recent JUUL Challenge on YouTube, which has received nearly 500,000 views,

10   the two teenagers filming themselves discussing the hundreds of thousands of views their prior

11   JUUL Challenge received and comment upon the “virality” of their JUUL Challenge content.391

12          344.    In or around 2017, JLI began using a company called Impact Radius for the

13   management of JLI’s affiliate program. Impact Radius’s affiliate application stated that JLI “auto-

14   approve[d]” applications and did not ask for or confirm the affiliate’s age. 392 JLI’s affiliates

15   promoted JUUL on social media platforms including YouTube, Instagram, Facebook, Snapchat,

16   and Twitter and routinely failed to disclose that they were being paid to promote JUUL products.

17          345.    JLI’s “affiliate program” recruited those who authored favorable reviews of its

18   products by providing such reviewers with a 20% discount of purchases of JUUL products.393 It

19   even recruited JUUL users to act as part of their marketing team by asking users to “refer a friend

20   and get a discount.”394

21

22   390
         Allie Conti, This 21-year-old is Making Thousands a Month Vaping on YouTube, Vice (Feb.
23     5, 2018), https://www.vice.com/en_us/article/8xvjmk/this-21-year-old-is-making-thousands-a-
       month¬vaping-on-youtube.
     391
24       Nate420, JUUL Challenge (Apr. 22, 2018), https://youtu.be/gnM8hqW_2oo (last visited Mar.
       30, 2020).
25   392
         INREJUUL_00113437-INREJUUL_00113441.
     393
         Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
26     Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
27     (statement of Robert K Jackler, Professor, Stanford University),
       https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-
28     JacklerR-20190724.pdf.
     394
         Id. at 9.
                                                    113
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 1          346.   As with much of the marketing strategy for JUUL, the practices described above

 2   are prohibited by the Master Settlement Agreement.

 3                 c.      JLI Used Viral Marketing Techniques Known to Reach Young
                           People.
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            347.   JLI deployed “viral marketing” techniques to great success. Viral marketing is
 5
     defined as “marketing techniques that seek to exploit pre-existing social networks to produce
 6
     exponential increases in brand awareness, through processes similar to the spread of an
 7
     epidemic.”395 Viral marketing effectively converts customers into salespeople, who, by sharing
 8
     their use of a product (on social media or otherwise), repeat a company’s representations and
 9
     endorse the product within their network. The success of viral marketing depends on peer-to-peer
10
     transmission. Hence, a successful viral marketing campaign looks like a series of unrelated,
11
     grassroots communications, when in fact they are the result of carefully orchestrated corporate
12
     advertising campaigns.
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            348.   As JLI boasted in a pitch deck to potential investors dated December 2016, “Viral
14
     Marketing Wins.”396
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22          349.   Social media platforms are the most effective way to launch viral marketing
23   campaigns among young people. As of May 2018, among teenagers, 95% reported use of a smart
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26   395
         N. Deepa et al., Viral Marketing as an On-Line Marketing Medium, IOSR J. of Bus. & Mgmt.
27     18, http://www.iosrjournals.org/iosr-jbm/papers/ncibppte-volume-2/1115.pdf (last visited Apr.
       3, 2020); P. R. Datta et al., Viral Marketing: New Form of Word-of-Mouth Through Internet, 3
28     The Bus. Rev. 69 (2005).
     396
         INREJUUL_00349529-560 at 541.
                                                   114
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 1   phone, 85% use YouTube, 72% use Instagram, and 45% reported being online “constantly.”397

 2          350.    A key feature of JLI’s viral marketing campaign was inviting user-generated

 3   content. This strategy revolves around prompting social media followers to provide their own

 4   JUUL-related content—e.g., post a selfie in your favorite place to use JUUL. The response

 5   provided by a user is then typically distributed—by the social media platform employed—into the

 6   user’s personal network. In this way, brands can infiltrate online communities with personalized

 7   content that promotes their product (e.g. a picture of a friend using a JUUL e-cigarette ).398

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         Monica Anderson & Jingjing Jiang, Teens, Social Media & Technology 2018: Appendix A:
       Detailed Tables, Pew Research Center (May 31, 2018),
26     https://www.pewresearch.org/internet/2018/05/31/teens-technology-appendix-a-detailed-
27     tables/.
     398
         The Rise in the Use of Juul Among Young People: The Power of Design and Social Media
28     Marketing, Campaign for Tobacco Free Kids,
       https://www.tobaccofreekids.org/assets/images/content/JUUL_Presentation.pdf.
                                                     115
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 1          351.    Within a few months of the JLI’s commercial release in June 2015, a former JLI

 2   executive reportedly told the New York Times that JLI “quickly realized that teenagers were, in

 3   fact, using [JUULs] because they posted images of themselves vaping JUULs on social media.”399

 4          352.    To drive consumer participation in its ad campaign, JLI peppered its advertising

 5   and social media posts with hashtags, including those referencing JLI and consuming e-cigarettes

 6   (e.g., #juul, #juulvapor, #switchtojuul, #vaporized, #juulnation, #juullife, #juulmoment); and

 7   trending topics unrelated to JUUL, as well as topics #mothersday, #goldenglobes, #nyc, etc. JLI’s

 8   hashtag marketing went beyond passive posts to being “very proactive to find and reach out to

 9   people who are (or might be) interested in JUUL. This means searching hashtags to engage, using

10   widely used hashtags, paying close attention to our followers, being responsive to posts, etc.”400

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            353.    JLI’s hashtags attracted an enormous community of youthful posts on a wide array
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     of subjects. According to Dr. Jackler, #Juul contains literally thousands of juvenile postings, and
22
     numerous Instagram hashtags contain the JUUL brand name.401
23

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25   399
         Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y.
       Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
26     marketing.html.
     400
27       INREJUUL_00093294.
     401
         Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market at 2,
28     STAN. RES. INTO THE IMPACT OF TOBACCO ADVERT. (2019),
       http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
                                                     116
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 1          354.    Just as JLI intended, JUUL users began taking photos of themselves using JUUL

 2   devices and putting them on social media with the hashtag #juul. They were creating JUUL content

 3   that looked and felt like real JUUL ads: featuring young people having fun and using JUUL. The

 4   flavor-based hashtag campaigns #MangoMonday and #coolmint generated hundreds of thousands

 5   of user-generated posts.

 6          355.    JLI could have stepped in and attempted to stop the use of its trademark in posts

 7   directed to underage audiences, including the use of all the hashtags that contain the word “JUUL.”

 8   It could have promptly sought to shut down infringing accounts such as @doit4juul and

 9   @JUULgirls. It did not do so.

10          5.      JLI Targeted Youth Retail Locations.

11          356.    Studies show that tobacco use is associated with exposure to retail advertising and
12   relative ease of in-store access to tobacco products. Some studies have shown that youth who were
13   frequently exposed to point of sale tobacco marketing were twice as likely to try or initiate smoking
14   than those who were not as frequently exposed.
15          357.    For years, JLI made it difficult for smoke shops and other age-restricted stores to
16   carry its products, instead directing its product to gas stations and convenience stores, which
17   historically make the most underage sales. JLI knows that nicotine-naïve young people frequent
18   gas stations and convenience stores rather than smoke shops. By distributing in those kinds of
19   stores, JUUL increased the likelihood that these people would purchase its product.
20          358.    JLI marketed its products extensively in convenience stores, employing video and
21   product displays with bright colors and young adults using and displaying the JUUL device. The
22   retail marketing worked and, by late 2017, JUUL became the most popular e-cigarette sold in
23   convenience stores according to Nielsen data.402
24          359.    Like all in-store cigarette advertising, JLI’s point–of–sale materials played a major
25   role in driving youth addiction. JLI actively encouraged youth to seek out these laxly regulated
26

27   402
        Laura Bach, JUUL and Youth: Rising E-Cigarette Popularity, Campaign for Tobacco-Free
28    Kids (July 6, 2018), http://www.kdheks.gov/tobacco/download/Campaign_for_tobacco-
      free_kids_rising_popularity_of_e-cigarettes.pdf.
                                                     117
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 1   retail locations, sending marketing e-mails to hundreds of thousands of customers, referring them

 2   to the JUUL store locator and offering discounts. And JLI actively encouraged its retailers to

 3   leniently regulate sales to youth by providing profit margins that far exceeded any other tobacco

 4   product being sold.

 5          360.    Before JUUL’s launch in 2015, JLI and Cult Collective developed packaging and

 6   in-store displays that looked similar to iPhone packaging, which JLI knew would resonate with

 7   young people and further JLI’s campaign to be the “the iPhone of e-cigarettes.”

 8          361.    As a 2015 marketing plan shows, JLI’s in-store promotional content “stands out”

 9   from competing tobacco products by conveying that the “JUUL brand is colorful, approachable,

10   and fun—core elements of trade support assets.”403

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20          6.      JLI Hosted Parties to Create a Youthful Brand and Gave Away Free
                    Products to Get New Users Hooked.
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            362.    JLI also sponsored at least twenty-five live social events for its products in
22
     California, Florida, New York, and Nevada. The invitations to JUUL’s events did not indicate that
23
     the JUUL was intended for cigarette smokers, contained nicotine, or was addictive.404 Instead, the
24
     invitations traded on PAX Lab, Inc.’s (PAX) reputation as a manufacturer of marijuana vaporizers
25
     and promised attendees “free #JUUL starter kit[s],” live music, or slumber parties.405 Photographs
26

27   403
         INREJUUL_00370796-INREJUUL_00370806, 805.
     404
28       See Appendix A, Advertisements 78-81.
     405
         Id.
                                                    118
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 1   from these events indicate that they drew a youthful crowd. Product promotion through sponsored

 2   events was a long-standing practice for cigarette companies, but is now prohibited.

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12          363.   At these live social events, JLI gave attendees free JUUL “Starter Kits,” which
13   contain a JUUL device and 4 JUUL pods of various flavors. JLI gave away samples at music
14   events without age restrictions, including Outside Lands in San Francisco’s Golden Gate Park, and
15   other events aimed at a youthful audience, such as the annual Cinespia “Movies All Night Slumber
16   Party” in Los Angeles. These events, in addition to providing youthful crowds for handing out
17   samples, were opportunities for JLI to cultivate its brand image as youthful, hip, and trendy—but
18   had nothing to do with smoking cessation.
19          364.   Giving away free samples is prohibited conduct for a cigarette company under the
20   Master Settlement Agreement.
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 1          365.    As part of the Vaporized campaign, JLI also emulated trendy pop-up restaurants

 2   and stores by using a shipping container “pop-up JUUL bar” at festivals and events in the Los

 3   Angeles and New York City metro areas. The firm BeCore designed and created the container for

 4   JLI and managed it as a mobile JUUL product sampling lounge.406

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            366.    JLI also held sampling events in stores. By September 2015, JLI was on schedule
13
     to host sampling events in more than 5,000 stores in twenty cities in twelve states. 408 Documents
14
     obtained by the New York Attorney General show that JLI recruited young “brand ambassadors”
15
     to staff these events and required a dress code that included skinny jeans, high-top sneakers or
16
     booties, and an iPhone in a JUUL-branded case.409
17

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     406
         Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
22     Research Into the Impact of Tobacco Advertising 9 (Jan. 31, 2019),
23     http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
     407
         Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’, AdAge
24     (June 23, 2015), http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-
       ads¬campaign/299142/.
25   408
         INREJUUL_00160394.
     409
         Jake Offenhartz, Juul Hooked Teens Through Sick Parties and Hip Ambassadors, NY AG
26     Says, Gothamist (Nov. 19, 2019), https://gothamist.com/news/juul-hooked-teens-through-sick-
27     parties-and-hip-ambassadors-ny-ag-says; Kathleen Chaykowski, The Disturbing Focus of
       Juul’s Early Marketing Campaigns, Forbes (Nov. 16, 2018),
28     https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-disturbing-focus-of-juuls-
       early-marketing-campaigns/#3da1e11b14f9.
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            367.     JLI also engaged PUSH Agency, LLC (“PUSH”), a promotional model and event
10
     staffing agency, to provide models and brand ambassadors to hand out coupons in trendy areas of
11
     New York City popular with young people. In a September 2017 email between PUSH and JLI,
12
     for example, PUSH offered suggestions “for the nightlife shifts” of “places that are popular for
13
     nightlife” that “would be great to hit,” including the Marquee nightclub in Chelsea, Provocateur,
14
     and Le Bain, a penthouse discotheque.410
15
            368.     Though JLI publicly acknowledged in October 2017 that it is unlawful to distribute
16
     free samples of its products at live events,411 it continued to reach out to new users by offering
17
     samples, sometimes at $1 “demo events.” Like so many of JLI’s initiatives, promotions of this
18
     kind are prohibited for cigarette companies by the Master Settlement Agreement.
19
            369.     The effect—and purpose—of JLI’s Vaporized giveaways was to flood major cities
20
     with products that would hook thousands of new users, and to generate buzz for the brand among
21
     urban trendsetters who would then spread JLI’s message to their friends via word of mouth and
22
     social media.
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     410
        INREJUUL_00158794-803 at 794.
25   411
        See Nik Davis (@bigbabynik), Twitter (Nov. 17, 2017 1:11 PM),
      https://twitter.com/JLIvapor/status/931630885887266816; The Role of the Company in the Juul
26    Teen Epidemic, Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H.
27    Comm. on Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong.
      (2019) (statement of Robert K Jackler, Professor, Stanford University).
28    https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-
      JacklerR-20190724.pdf.
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 1          370.    According to BeCore, one of the firms responsible for designing and implementing

 2   JLI’s live events, JLI distributed the nicotine-equivalent of approximately 500,000 packs of

 3   cigarettes at all twenty-five events.412 And this was just to get people started.

 4          7.      The Management Defendants’ Direction of and Participation in JLI and in
                    the Youth Marketing Schemes.
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                    a.      The Management Defendants, and in particular Pritzker, Valani, and
 6                          Huh, controlled JLI’s Board at relevant times.
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            371.    During the relevant time frame, JLI’s operative Voting Agreements provided for a
 8
     maximum of seven board seats.413 By March 2013, Valani, through Ploom Investments LLC,
 9
     controlled two of JLI’s maximum seven board seats.414 Valani continued to control two JLI board
10
     seats at all relevant times. Pritzker joined Monsees, Bowen, and Valani on JLI’s board in August
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     2013.415
12
            372.    In March 2015, after JTI’s board appointees resigned, Hank Handelsman—a lawyer
13
     who serves as general counsel for the Pritzker Organization, and was a senior executive officer
14
     and general counsel for the Hyatt Corporation for several decades—joined Monsees, Bowen,
15
     Pritzker, and Valani on JLI’s board.416 JLI documents indicate that Handelsman occupied Valani’s
16
     second seat on the board.417 Thus, by March 2015, Pritzker and Valani controlled three board seats,
17
     which comprised a majority of the board at the time since only five of seven possible seats were
18
     filled then. And Defendants Monsees and Bowen held the other two board seats.
19
            373.    JLI’s Fourth Amended and Restated Voting Agreement, dated March 2015,
20
     provided for a maximum of seven board seats. Monsees and Bowen each occupied one seat; Valani
21

22   412
         Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
23     Research Into the Impact of Tobacco Advertising 9 (Jan. 31, 2019),
       http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
     413
24       JLI01362389 (Fifth Amended and Restated Voting Agreement, March 2015); JLI01362388
       (Fifth Amended and Restated Voting Agreement, Dec 2016); JLI01439393 (Sixth Amended
25     and Restated Voting Agreement, March 2017); JLI01440777 (Seventh Amended and Restated
       Voting Agreement, Jun 2018).
26   414
         JLI01426710 (March 25, 2013 board minutes note V has seats, discuss a potential designee by
27     Ploom Investments/aka V); JLI10268480 (“Ploom Investments is controlled by Riaz Valani”).
     415
         JLI01426164.
     416
28       JLI00216307; JLI01365707
     417
         JLI01362388.
                                                      123
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 1   had two seats; Pritzker had one seat at that time; another investor would obtain one board seat if

 2   enough shares were raised (but ultimately, they were not), and one seat was to be filled by vote of

 3   a majority of the board.418 Sometime after that, Pritzker assumed control of a second board seat.

 4          374.    By the summer of 2015, Hoyoung Huh and Alexander Asseily joined the Board. At

 5   that time, the Board had seven members: Monsees, Bowen, Valani, Pritzker, Handelsman, Huh,

 6   and Asseily.419 Handelsman continued to occupy Valani’s second seat.

 7          375.    Valani, Pritzker, and Huh continued to control JLI’s board through at least 2018. In

 8   June 2017, Altria was already contemplating a deal with Juul and asked its financial advisor,

 9   Perella Weinberg Partners, to conduct diligence on JLI. Altria reported Perella Weinberg’s

10   findings while preparing for a meeting with JLI, noting that “Valani and Pritzker control majority

11   of voting power and 44% economic interests.”420

12          376.    JLI’s December 2016 Fifth Amended and Restated Voting Agreement provided

13   that Monsees and Bowen controlled the two seats they occupied; Valani controlled the two seats

14   occupied at that time by himself and Handelsman; Pritzker controlled the two seats occupied at

15   that time by himself and Asseily; and Huh occupied the seat appointed by a majority of board

16   members.421 JLI’s March 2017 Sixth Amended and Restated Voting Agreement provided the same

17   board seat composition as the Fifth.422

18          377.    Even after Huh resigned from JLI’s board in May 2018,423 Pritzker and Valani

19   continued to control the board, as they still controlled four of seven board seats. JLI’s June 2018

20   Seventh Amended and Restated Voting Agreement provided that Monsees and Bowen controlled

21   the two seats they occupied; Valani controlled the two seats occupied at that time by himself and

22   Handelsman; Pritzker controlled the two seats occupied at that time by himself and Zach Frankel;

23   and Kevin Burns occupied the seat appointed by a majority of board members.424 Consistent with

24

25   418
         JLI01365707
     419
         JLI00220992
26   420
         ALGAT0002834151.
     421
27       JLI01362388
     422
         JLI01439394
     423
28       JLI01425021
     424
         JLI01440776
                                                    124
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 1   this distribution of board seats, an internal Altria presentation from October 2017 reported on

 2   Altria’s “continued dialogue with key [JLI] investors,” noting that Valani and Pritzker “indicate

 3   that they control majority of voting power.”425 JLI also noted in 2017 and 2018 that Pritzker and

 4   Valani “have two board seats” each, and they “are active on the board as well as providing strategic

 5   advice to the company on a weekly basis.”426

 6          378.    The Bylaws of the JLI Board of Directors provide that “all questions and business

 7   shall be determined by the vote of a majority of the directors present, unless a different vote be

 8   required by law, the Certificate of Incorporation or these bylaws.”427 So, by virtue of their control

 9   of four of the seven seats on the JLI Board of Directors, Defendants Pritzker and Valani had the

10   ability to approve or reject any matter considered by the Board of Directors. This power included,

11   among other things, the decision to remove any officer of JLI (which only required an “affirmative

12   vote of a majority of the directors” – which, as stated above, rested with Pritzker and Valani during

13   all relevant times).428 In this way, Pritzker and Valani ensured JLI would be run as they saw fit.

14                  b.      Pritzker, Huh, and Valani were active, involved board members.

15          379.    JLI’s board members, and especially Pritzker, Valani, and Huh, were “more
16   involved than most.”429 In June 2015, then-COO Scott Dunlap observed that “[o]ur board members
17   are more involved than most, and likely crazier than most, given the depth of experience they have
18   in this industry,” specifically referencing comments made by Pritzker and Valani about JLI’s
19   Vaporized marketing campaign.430 They were so involved, in fact, that Dunlap worried that “the
20   board [will] try and write copy” for future branding changes, and he encouraged Richard Mumby
21   to prepare branding materials in advance so that “we could lead that discussion, should it
22   happen.”431 (Dunlap’s efforts to wrestle control over marketing from Pritzker, Valani, and Huh
23

24

25   425
         ALGAT0000280623
     426
         JLI01356230; JLI01356237 (Nov. 2017); JLI00417815 (Feb. 2018)
26   427
         JLI01385478
     428
27       Id.
     429
         JLI00206239
     430
28       Id.
     431
         Id.
                                                     125
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 1   failed—he was the first person fired when their Executive Committee began to clean house, as

 2   discussed below.) 432

 3          380.    JLI’s board met far more frequently than is typical: they had weekly board calls in

 4   addition to monthly meetings.433 Hoyoung Huh began joining these weekly board calls starting in

 5   May 2015, before he formally took a seat on the board.434 In the months following JUUL’s June

 6   2015 launch, the youth appeal of JUUL’s marketing became a “common conversation” at weekly

 7   board calls.435 Weekly meetings continued into at least 2018. JLI told investors in 2017 and 2018

 8   that Pritzker and Valani “are active on the board as well as providing strategic advice to the

 9   company on a weekly basis.”436 Then-CEO Tyler Goldman told an investor in June 2017 that

10   “Nick [Pritzker] has been a driving force in the building the [JLI] business.”437

11                  c.       The Management Defendants, and in particular Bowen, Monsees,
                             Pritzker, Valani, and Huh, oversaw and directed the youth marketing
12                           scheme.
13          381.    The Management Defendants were well aware that JUUL branding was oriented
14   toward teens and duplicated earlier efforts by the cigarette industry to hook children on nicotine.
15   The Management Defendants directed and approved JUUL branding to be oriented toward
16   teenagers. The Management Defendants directed and participated in every marketing campaign
17   pushing the JUUL e-cigarette, as they had “final say” over all marketing campaigns (including the
18   Vaporized campaign and the other formal and informal marketing efforts described above),438 and
19   Monsees provided specific direction on the content of the website to JLI employees.
20          382.    James Monsees testified to Congress in 2019 that the Board of Directors had “final
21   say” over marketing campaigns, and he was not speaking to only the current state of affairs at the
22   time. As noted above, from 2015 on, JLI’s own documents establish that the Board of Directors
23
     432
24       JLI01369470
     433
         See, e.g., JLI00210436; JLI00380098
25   434
         JLI00206172.
     435
         INREJUUL_00174498
26   436
         JLI01356230; JLI01356237 (Nov. 2017); JLI00417815 (Feb. 2018)
     437
27       JLI02272904
     438
         Examining JLI’s Role in the Youth Nicotine Epidemic: Part II: Hearing Before the Subcomm.
28     on Econ. & Consumer Policy of the Comm. on Oversight & Reform, H.R., 116th Cong. 70
       (2019) (statement of James Monsees, Co-Founder, JUUL Labs, Inc.).
                                                     126
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 1   closely reviewed and approved marketing plans and specific marketing materials, and set the

 2   marketing strategy for the company.

 3            383.   As early as November 2014, Monsees, Pritzker, and Valani discussed “the

 4   addiction issue” with JUUL, working on “defining our strategy” for how to frame and market their

 5   nicotine product.439

 6            384.   In January 2015, JLI’s Board of Directors, including Monsees, Bowen, Valani,

 7   Pritzker, met and discussed JLI’s marketing.440 At this meeting, the “key pillars” identified

 8   included “win[ing] with the ‘cool crowd’ in critical markets,” “build[ing] demand among the

 9   masses,” “lead[ing] with digital and ecommerce foundation,” and “us[ing] external audiences to

10   communicate nuanced messages around early adoption ‘coolness.’” The presentation for this

11   meeting also included “how” to market JUUL, including “PR & influencer coverage with regarded

12   national media in targeted markets, including LA & NYC at launch,” and “build[ing] loyal

13   consumer community via social media.” The Board recognized that JLI had to act quickly because

14   “[o]nline regulatory restrictions may affect [its] future e-commerce strategy.” In short, the entire

15   marketing strategy, including the planned partnership with the #1 youth media magazine, Vice,

16   was presented to the Board for approval before its launch.

17            385.   The Board, including Pritzker and Valani, also controlled JLI’s messaging on

18   nicotine even before JUUL launched. In January 2015, the Board directed the marketing team on

19   several key topics related to JLI’s marketing approach regarding nicotine. Sarah Richardson noted

20   that “[a]fter yesterday’s board meeting conversation,” she and Gal Cohen sought to clarify in a

21   follow-up meeting with Adam Bowen “direction from the board on their comfort level with”

22   aspects of the marketing approach. She noted that sales materials reference JUUL’s “cigarette-

23   level nicotine satisfaction,” “nicotine delivery akin to a cigarette,” and “nicotine absorption rates.”

24   The marketing team planned to ask the Board to clarify its “comfort level with ‘satisfying’

25

26

27
     439
28         JLI01259728
     440
           JLI00212009.
                                                      127
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 1   messaging,” and “Is our goal still that we are champions of transparency, public health, and

 2   consumer interests? If so – at what level are we comfortable being proactive in achieving this?”441

 3          386.    On March 23, 2015, JLI’s Board of Directors—at that time composed of Monsees,

 4   Bowen, Valani, Pritzker, and Handelsman (occupying Valani’s second seat)—met and discussed,

 5   among other things, their plan for JUUL, including summaries for the launch, what was next, and

 6   “ROI opportunities.”442 The presentation for the meeting noted that “to build a company worth

 7   $500B+ you need INNOVATION that fundamentally disrupts MANY $100B+ industries . . . and

 8   creates entirely new $B industries along the way.” The meeting included a “JUUL launch update,”

 9   which noted that “Influencer Marketing has begun.”

10          387.    The Board also approved specific marketing materials used in JUUL’s launch. In

11   March 2015, the Board approved of the Vaporized marketing campaign despite its obvious youth

12   appeal. The Board reviewed Vaporized marketing images and made “some commentary at the

13   youthfulness of the models[,]” but “nobody disliked them” and “everybody agreed they are pretty

14   ‘effective[.]’”443 The Board knew that the ads targeted youth, but “Juul’s board of directors signed

15   off on the company’s launch plans[.]”444

16          388.    Because the Board of Directors—which in March 2015 included only Bowen,

17   Monsees, Pritzker, Valani, and Handelsman (in Valani’s second seat)—reviewed and approved

18   these marketing campaigns, Defendants Bowen, Monsees, Pritzker, and Valani caused the

19   Vaporized campaign, including its omission of any reference to nicotine content, to be distributed

20   via the mails and wires. Notably, Pritzker and Valani, who controlled three of the five Board seats

21   filled at that time, had veto power over the launch plans which included this youthful advertising

22   with no representations of nicotine content, yet they approved the marketing to go forward.

23
     441
24       JLI01121750
     442
         JLI00216307.
25   443
         INREJUUL_00174387.
     444
         Ainsley Harris, How Juul, founded on a life-saving mission, became the most embattled
26     startup of 2018: E-cigarette startup Juul Labs is valued at more than $16 billion. It’s also
27     hooking teens on nicotine and drawing scrutiny from the FDA. Can the company innovate its
       way out of a crisis it helped create?, Fast Company (Nov. 19, 2018),
28     https://www.fastcompany.com/90262821/how-juul-founded-on-a-life-saving-mission-became-
       the-most-embattled-startup-of-2018.
                                                     128
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 1          389.    After launch, executives and directors discussed whether to rein in the advertising

 2   to teenagers. According to Scott Dunlap, then Chief Operating Officer, in June 2015, Nicholas

 3   Pritzker commented that the branding “feels too young[.]”445 At the June 17, 2015 Board meeting,

 4   the Board heard “an update on the rollout of JUUL. . . . Mr. Mumby then provided the board with

 5   his perspective on the JUUL launch and customer feedback. The Board discussed the Company’s

 6   approach to advertising and marketing and portrayal of the product, which led to a discussion of

 7   the Company’s longer term strategy led by Mr. Monsees.”446

 8          390.    According to an anonymous former company manager: “Inside the company, the

 9   first signs that Juul had a strong appeal to young people came almost immediately after the sleek

10   device went on sale in 2015.”447 “[E]arly signs of teenage use kicked off an internal debate . . .

11   Some company leaders . . . argued for immediate action to curb youth sales. . . . The counter-

12   argument came from other company directors, including healthcare entrepreneur Hoyoung Huh

13   and other early investors”—that is, Pritzker and Valani—who “argued the company couldn’t be

14   blamed for youth nicotine addiction.”448

15          391.    In early July 2015, Alexander Asseily “spoke to James [Monsees] at length” on the

16   “JUUL approach.”449 Asseily also spoke “at length” with Valani and Pritzker, following up with

17   a lengthy email advocating against continued youth marketing. He began by noting that “our fears

18   around tobacco / nicotine are not going away. We will continue to have plenty of agitation if we

19   don’t come to terms with the fact that these substances are almost irretrievably connected to the

20   shittiest companies and practices in the history of business.”450 He stated that “an approach needs

21   to be taken that actively, if implicitly, distances us from [Big Tobacco]: what we say, the way we

22   sell, the way we run the company, what we emphasi[z]e, who we hire, etc.”451 Referring to JLI’s

23

24
     445
         JLI00206239.
25   446
         JLI01426553.
     447
         Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, REUTERS (Nov. 5,
26     2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
     448
27       Id.
     449
         JLI00214617.
     450
28       Id.
     451
         Id.
                                                    129
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 1   strategy to use the same marketing techniques as major tobacco companies used to market to

 2   youths, Asseily added that “[t]he trouble with just doing ‘what the others do’ is that we’ll end up

 3   as Nick [Pritzker] rightly points out in the same ethical barrel as them, something none of us want

 4   no matter the payoff (I think).”452 He continued that “the world is transparent and increasingly

 5   intolerant of bullshit. It’s not about faking it - it’s about doing it correctly....which could mean not

 6   doing a lot of things we thought we would do like putting young people in our poster ads or

 7   drafting in the wake of big players in the market.”453 He pushed for an alternative marketing

 8   plan targeting only “existing smokers” and laid out a vision for the company “making products

 9   based in science and with a state goal of doing right by our customer.”454

10          392.    Pritzker, Valani, and Huh rejected this approach, opposing any actions to curb

11   youth sales. Youth sales were a large potential source of revenue.455 As one manager explained,

12   perhaps “people internally had an issue” with sales of JUULs to teenagers, “[b]ut a lot of people

13   had no problem with 500 percent year-over-year growth.”456 And company leaders understood that

14   teenagers who were hooked on nicotine were the most likely segment to become lifelong addicts

15   and thus were the most profitable customers to target.457

16          393.    In October 2015, the debate was resolved in favor of selling to teens. Although

17   JLI’s highly sanitized Board minutes do not reflect whether this debate was put to a vote, Huh,

18   Pritzker, and Valani were the driving force behind this decision. They were aligned in favor of

19   continuing youth marketing, and Valani’s second board seat (occupied by Handelsman) would

20   have given them a majority if a vote was necessary (regardless of Bowen’s vote). Pritzker, Valani

21   and Huh’s position ultimately prevailed—JLI continued marketing JUUL to youths, Monsees was

22   removed as CEO, and Pritzker, Valani, and Huh appointed themselves the newly formed Executive

23   Committee. Even though the directors and executives of JLI knew—and explicitly stated—that

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25   452
         Id.
     453
         Id. (emphasis added).
26   454
         Id.
     455
27       Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5,
       2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
     456
28       Id.
     457
         Id.
                                                       130
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 1   what they were doing was wrong, they pressed ahead with JUUL’s youth-oriented Vaporized ad

 2   campaign through early 2016.458

 3          394.    The company also implemented the Board’s decision to target and sell to minors in

 4   many other ways. For example, in early October 2015, sales and marketing employees of Pax Labs

 5   noted that only 74% of users were able to pass the age gate on the website, “which is a steep decline

 6   in sales for us.”459 In mid-January 2016, a similar group of employees estimated that about 11%

 7   of those reaching the JUUL Purchase Confirmation Page on Pax Labs’s own website were under

 8   18 years old.460 But, rather than strengthen JUUL’s age verification system, Pax Labs worked to

 9   weaken it. In February 2016,461 Pax Labs modified the age verification system so that 92% of users

10   were able to pass the age gate.462 By changing the age verification process so that users were more

11   likely to pass—while knowing that some minors had already been able to pass before the change—

12   Pax Labs deliberately chose to continue selling to underage purchasers.

13          395.    In July 2015, Asseily suggested “a cheeky campaign that asks existing smokers to

14   return their unused cigarette packets (or other vaping products) to us in return for a discount on

15   JUUL” because that would “send the only message that’s needed: JUUL is a superior alternative

16   to conventional smoking and mediocre vaping products.”463 But JLI did not run this campaign then

17   and in fact did not begin focusing its advertising on switching from combustible cigarettes until

18   2018.464

19          396.    By March 2016, however, JLI employees internally recognized that JLI’s efforts to

20   market to children were too obvious. On March 2, 2016, Richard Mumby, the Chief Marketing

21
     458
         The Vaporized advertising campaign continued at least into early 2016. Robert K. Jackler et
22     al., JUUL Advertising Over Its First Three Years on the Market, Stanford Research Into the
23     Impact of Tobacco Advertising 7 (Jan. 31, 2019),
       http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
     459
24       INREJUUL_00276445.
     460
         Native attachment to INREJUUL_00078494.
25   461
         JLI00068428.
     462
         Kate Horowitz’s LinkedIn profile,
26     https://www.linkedin.com/in/k8horowitz (last visited Mar. 9, 2020).
     463
27       JLI00214617.
     464
         Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
28     Research Into the Impact of Tobacco Advertising 16 (Jan. 31, 2019),
       http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
                                                     131
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 1   Officer, sent a document related to JLI’s branding to Hoyoung Huh and a number of other

 2   marketing employees of JLI.465 According to Mumby, he was sending the document because

 3   Hoyoung Huh “indicated that [he] would review [JLI’s] brand and collateral positioning on behalf

 4   of the board.”466 The attached document noted that “[t]he models that we used for the #Vaporized

 5   campaign appeared to be too youthful for many consumers (and the media)[.]”467 Under a header

 6   that listed as one of JLI’s “Objectives” to “Be Different & Have Integrity[,]” the document stated

 7   that “[w]e need to be sensitive to the subjectivity of youthfulness by positioning the brand to be

 8   mature and relatable.”468 On March 11, 2016, Mumby sent another version of this document to

 9   Hoyoung Huh and Zach Frankel (who was then an observer on the Board and would later become

10   a director), and Mumby thanked them “for the support on this.”469 Around this time, Pax Labs

11   reoriented its JUUL advertising from the explicitly youth-oriented Vaporized campaign to a more

12   subtle approach to appeal to the young. The advertising’s key themes continued to include

13   pleasure/relaxation, socialization/romance, and flavors470—all of which still appealed to teenagers,

14   as was made clear in the previous litigation against the cigarette industry and Altria and Philip

15   Morris in particular.

16          397.    Pritzker, Valani, and Huh, along with Bowen and Monsees continued to direct and

17   approve misleading marketing campaigns long after launch. For example, JLI deceptively

18   marketed mint to youth, through flavor-driven advertising, hashtag campaigns, and ads cross-

19   promoting mango and mint.

20          398.    Notably, none of JLI’s early advertisements, including those of the “Vaporized”

21   campaign and others targeted to youths, disclosed that JUUL contains high amounts of nicotine;

22   indeed, many of those advertisements did not advertise JUUL’s nicotine content whatsoever.

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24
     465
         INREJUUL_00178377.
25   466
         INREJUUL_00061469.
     467
         INREJUUL_00178379.
26   468
         INREJUUL_00178384.
     469
27       INREJUUL_00061274.
     470
         Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
28     Research Into the Impact of Tobacco Advertising 9 (Jan. 31, 2019),
       http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf.
                                                     132
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 1            399.   Likewise, none of JLI’s advertisements, including those of the “Vaporized”

 2   campaign and others targeted to youths, disclosed the health risks from consuming JUUL products.

 3            400.   JLI and the Management Defendants knew of course that JUUL contained an ultra-

 4   high concentration of nicotine, and that ultra-high concentration of nicotine was designed to addict.

 5   They also knew that e-cigarette products, including JUUL, would expose users to increased health

 6   risks, including risks to their lungs and cardiovascular system. Despite that knowledge, JLI and

 7   the Management Defendants took affirmative actions, the natural consequence of which was the

 8   approval and transmission of these false and misleading advertisements that did not include a

 9   disclosure of JUUL’s high nicotine content and concentration, nor any health risks at all.

10                   d.     Pritzker, Huh, and Valani Were Able to Direct and Participate in the
                            Youth Marketing Because They Seized Control of the JLI Board of
11                          Directors.
12            401.   Although Defendants Bowen and Monsees were the visionaries behind JLI and the
13   most hands-on in its early stages, by the time JLI was pushing its marketing campaigns in early-to
14   mid-2015, JLI (through the individuals running the company), Bowen, Monsees, Pritzker, Valani,
15   and Huh were each intimately involved in the planning and execution of activities.
16            402.   For example, JLI stopped interacting with the press in the summer of 2015 while
17   its Board of Directors, controlled by Bowen, Monsees, Pritzker, Huh, and Valani, was finalizing a
18   “messaging framework.”471 A legitimate business enterprise would typically ramp up, rather than
19   shut down, press outreach at the very time the company is supposed to be building awareness for
20   its recently launched product.
21            403.   But the Management Defendants at this point were taking actions that went beyond
22   the regular and legitimate business operations of JLI. At the same time JLI stopped traditional
23   press engagement, the Board of Directors was directing and monitoring the launch plans that they
24   had set in motion – including the launch of sponsored content on social media in July 2015 (which
25   content did not include any warnings about JUUL’s nicotine content or health risks).472
26

27
     471
28         INREJUUL_00056077 [Confidential].
     472
           Id.
                                                     133
                                                                                        COMPLAINT
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 1          404.    And at the same time the Management Defendants had approved the early JLI

 2   marketing campaigns that were intentionally targeting youth, there was a fundamental shift in roles

 3   when Defendants Pritzker, Valani, and Huh took charge of the instrumentalities of JLI, including

 4   its employees and resources.

 5          405.    Specifically, in October 2015, Monsees stepped down from his role as Chief

 6   Executive Officer of JLI (to become Chief Product Officer) and, in his stead, Pritzker, Valani, and

 7   Huh formed an Executive Committee of the JLI Board of Directors that would take charge of

 8   fraudulently marketing JUUL products, including to youth. The Management Defendants, and in

 9   particular Huh, wanted to continue their fraudulent marketing, knowing that these ads were also

10   targeted to youth, “argu[ing] that the company couldn’t be blamed for youth nicotine

11   addiction[.]”473

12          406.    Keeping the company’s youth marketing on track was critical to and consistent with

13   Pritzker, Valani, and Huh’s objective of accelerating JUUL’s growth and expanding its customer

14   base—and increasing profitability. Monsees reported to investors that the Executive Committee

15   was “formed to provide more consistent and focused direction to the company,” and Monsees

16   stepped down as CEO so that the Executive Committee could “usher in the next phase of growth

17   for the business.”474 Hoyoung Huh served as the Executive Chairman and Pritzker as Co-

18   Chairman.

19          407.    On October 6, 2015, the day after Pritzker, Valani, and Huh ousted Monsees as

20   CEO and rejected suggestions to abandon the current youth-oriented marketing, Richard Mumby

21   acknowledged in an email to Huh, Pritzker, and Valani that their seizing power would facilitate

22   JUUL’s growth: “Many thanks for the candid conversation yesterday. Not an easy moment for

23   PAX Labs, but I’m excited about the future that these changes will afford. . . . Clearly, improving

24   our sales strategy and integrating sales/marketing better is crucial to our growth.”475

25

26
     473
27       Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5,
       2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
     474
28       JLI01369470
     475
         JLI00214159
                                                     134
                                                                                        COMPLAINT
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 1            408.   JLI’s organizational charts later reflected the executive committee in the place of a

 2   CEO. Before late 2015, the company’s organizational charts showed the CEO at the head of the

 3   company, reporting to the Board.476

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12            409.   After Monsees was removed as CEO, the Executive Committee appeared in the
13   place of the CEO.477
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28         See INREJUUL_00016456 (July 9, 2014).
     477
           INREJUUL_00278332 (Dec. 7, 2015); INREJUUL_00061420 (Apr.21, 2016).
                                                      135
                                                                                        COMPLAINT
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 1          410.    Board minutes also illustrate how the Executive Committee of Pritzker, Valani and

 2   Huh, acted as CEO of JLI during this time period, taking direct control of the company and making

 3   critical decisions about how to market JUUL. Until late October 2015, Monsees (then the CEO)

 4   ran Board meetings.478 In late October 2015 and thereafter, however, Huh (then Executive

 5   Chairman and member of the Executive Board) began running Board meetings.479 Also, the late

 6   October minutes report that the “Board discussed . . . the additional responsibilities that would be

 7   assigned to Bryan White” (who was a Vice President of Engineering and Product Design at the

 8   time), and furthermore that “[a] discussion followed regarding who Bryan should report to, and it

 9   was agreed that the executive committee that had been formed since the last Board meeting,

10   consisting of Messrs. Huh, Pritzker and Valani, would address this issue.”480 Additionally, the

11   Board “discussed how these new roles and responsibilities would be communicated internally.”481

12   Over time, the list of direct reports to the board grew. By early 2018, every senior JUUL executive

13   officer was reporting to the board directly.482

14          411.    By December 2015, it was confirmed that “Hoyoung [Huh] will make decisions on

15   behalf of the BOD [Board of Directors] Exec[utive] Comm[ittee]” and “3-4 days/week Nick

16   [Pritzker] and/or Hoyoung [Huh] will be in the office” to “help us manage our people[.]”483

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     478
20       See INREJUUL_00278406 et seq. (Oct. 5, 2015); INREJUUL_00278410 et seq. (Sept. 24,
       2015).
21   479
         See INREJUUL_00278404 et seq. (October 26, 2015); INREJUUL_00278402 et seq. (Nov.
       10, 2015).
22   480
         INREJUUL_00278405 (Oct. 26, 2015).
     481
23       Id.
     482
         JLI01115999. Direct reports attending board meetings included Piotr Breziznski, VP
24     International; Christine Castro, VP, Public Relations; Gal Cohen, Senior Director Scientific and
       Regulatory Affairs; Tim Danaher, CFO; Joanna Engelke, CQO; Ashley Gould, Chief
25     Administrative Officer; Jacob Honig, Head of E-commerce; Mark Jones, Associate General
       Counsel; Vittal Kadapakkam, Senior Director Strategic Finance; Sonia Kastner, VP Global
26     Supply; Vincent Lim, VP, Human Resources; Danna McKay, General Manager; Isaac Pritzer,
27     Advisor to Executive Team; Bob Robbins, Chief Sales Officer; Wayne Sobon, VP, Intellectual
       Property; Tevi Troy, VP, Public Policy; Jacob Turner, Director of Finance; William Ward,
28     Senior IP Counsel; Bryan White, VP Product Design; Rasmus Wissmann, VP Data.
     483
         INREJUUL_00061856.
                                                       136
                                                                                       COMPLAINT
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 1          412.    Consistent with his role as Executive Chairman, Huh delivered the “Vision for the

 2   company” agenda item at the December 2015 Board meeting.484 Huh laid out JLI’s action plans

 3   going forward, and the explicit goal was to grow JUUL for sale to or joint venture with “Big

 4   Tobacco.”485 To this end and as part of the discussion about how to “grow and sell Juul,”

 5   Defendants Huh, Pritzker, and Valani wanted even “more aggressive rollout and [marketing].”486

 6          413.    Huh served as the Executive Chairman of the Board from October 2015 until at

 7   least May 2016, and others, particularly Monsees, deferred heavily to Huh as the decision-maker

 8   during that period. For example, a JLI executive emailed Huh, Valani, Pritzker, and Handelsman

 9   to organize a Board call with Fidelity on December 16, 2015, and added “let me know if you think

10   we should invite James [Monsees].”487 Pritzker deferred that decision to Huh, who decided that

11   Monsees was allowed, responding, “Am fine w[ith] James joining.”488

12          414.    In December 2015, Monsees expressed concerns about JLI’s marketing budget to

13   Huh in an extremely deferential way, concluding, “As I’ve said, I'm highly sensitive right now to

14   not overstepping my mandate and risk deteriorating the management committee dynamic. I request

15   your assistance in helping me find the right time and place (if any) to present and discuss these

16   concerns. I’m at your service.”489

17          415.    Again expressing concerns about JLI’s leadership and management, Monsees sent

18   Huh an email in December 2015, discussing what he perceived as needed changes, including Board

19   restructuring, the appointment of an interim CEO, and restructuring of Executive Committee.

20   Monsees communicated these concerns in the form of a draft letter written on Huh’s behalf to

21   Pritzker, Valani, and Hank Handelsman.490 These suggestions ultimately were not implemented.

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25   484
         JLI01346296
     485
         INREJUUL_00278352 – 00278359
26   486
         Id.
     487
27       JLI01363643
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         JLI01363649
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28       JLI01363612
     490
         JLI01363610
                                                   137
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 1          416.     In May 2016, Monsees responded to an inquiry from potential investors, saying that

 2   “Hoyoung Huh (our Executive Chairman)” should be involved in any discussions.491 Monsees

 3   separately sought Huh’s advice and guidance on how to respond to unsolicited investor inquiries

 4   like this, adding “if there’s something else you’d like me to do (pass along to you or someone

 5   else?) I’ll be happy to do so.”492

 6          417.     Over the next year, until the installation of a new CEO in August 2016, Defendants

 7   Pritzker, Valani, and Huh used their newly formed Executive Committee to expand the number of

 8   e-cigarette users through fraudulent advertising and representations to the public. They cleaned

 9   house at JLI by “dismiss[ing] other senior leaders and effectively tak[ing] over the company.”493

10   Despite any potential internal misgivings about their fraudulent conduct, notably, none of

11   Management Defendants terminated their relationship with JLI during this time period.

12          8.       Pritzker, Valani, and Huh continued to exercise control over and direct the
                     affairs of JLI even after a new CEO was appointed.
13
            418.     Although JLI hired a new CEO in August 2016, Pritzker, Valani, and Huh’s
14
     Executive Committee does not appear to have been dissolved, and these three Defendants
15
     continued to exercise control over and direct the affairs of JLI.
16
            419.     In 2017, the Board—controlled at that time by Pritzker, Valani, and Huh—
17
     continued to make decisions on the details of the media plans for marketing. For example, a JLI
18
     marketing employee reported to JLI’s media vendor, Mediasmith, that JLI’s chief marketing
19
     officer “presented the entire media plan to the board,” but “we need to put the plan on hold”
20
     because the Board did not approve. She also acknowledged that JUUL’s board was aware their
21
     message was reaching a youth audience, noting that “What we need to do now is educate the
22
     board” on “the ways we can ensure [the] message is NOT reaching an unintended, young
23
     audience.”494
24

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26   491
         JLI01369376
     492
27       JLI01369407
     493
         Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. Times
28     (Nov. 24, 2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
     494
         INREJUUL_00100719
                                                      138
                                                                                       COMPLAINT
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 1           420.    In December 2017, Valani directed aspects of JLI’s distribution and dissemination.

 2   For example, he initiated a conversation checking the progress on plans to sell JUUL devices in

 3   vending machines, asking for early design images and constructs.495

 4           421.    Pritzker also controlled several aspects of JLI’s branding. He was directly involved

 5   in creating JUUL’s corporate website in May 2017. Pritzker dictated specific changes to the

 6   content on the site in a conversation with Ashley Gould (Chief Administrative Officer).496

 7           422.    Also in May 2017, Ashley Gould asked the Board for their feedback on a proposed

 8   name for JUUL’s parent company, and Pritzker weighed in by saying “I’d like to discuss,” and

 9   also evaluated potential names, and sought to ensure that if the new name were to appear on any

10   packaging, the JUUL brand name would still be the most prominent.497

11           423.    In October 2017, the Board reviewed sample marketing campaign materials, and

12   Pritzker rejected a specific proposal, noting that he “didn’t like ‘smokers deserve better

13   alternatives.’”498

14           424.    Pritzker even got involved in customer service issues. In July 2017, Dave Schools,

15   a JUUL customer, member of a famous band, and influencer, complained about bad customer

16   service and defective devices. Schools’ email to JLI begins, “Please note I have copied Nick

17   Pritzker on this email only because he asked me to do so.”499

18           425.    Pritzker and Valani were also in close control of JLI’s public relations and media

19   strategies. For example, Pritzker received an email from a teacher addressing youth use of Juul in

20   schools, forwarded it to the team and directed a specific and personal response to the teacher.500 In

21   January 2018, Ashley Gould reported directly to Valani, Monsees, and Kevin Burns about a study

22   linking teen e-cigarette use to an increased likelihood of trying cigarettes. Valani responded with

23   a detailed messaging strategy and action items to respond to this negative press, including running

24   “strategic media analysis [to] see where these articles are coming from,” “debunk[ing] the studies,

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     495
         JLI00308379
26   496
         JLI01345258
     497
27       JLI01345255
     498
         JLI00322485
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28       JLI11015358
     500
         JLI00024566.
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 1   . . . ideally in coordination with independent researchers,” financially supporting efforts to raise

 2   the tobacco minimum legal sales age to twenty-one years old, hiring a “credible head” of youth

 3   policy, and estimating “the number of adult smokers that have switched.” Valani directed Gould

 4   to give a “week-by-week progress” report on these tasks.501

 5          426.    Valani sent Gould another unfavorable news article about e-cigarettes in April

 6   2018, and she responded that her teams were already working on “next steps” in response. Valani

 7   asked Gould for an update later the same day. 502

 8          427.    After Kevin Burns replaced Tyler Goldman as JLI’s CEO, Burns worked closely

 9   with Pritzker and Valani in particular, seeking their approval regularly. For example, in April 2018,

10   Kevin Burns suggested making several key hires to Valani and Pritzker, seeking their input; he

11   also noted that he would seek Pritzker and Valani’s approval on a draft response to an inquiry by

12   U.S. Senators and a press release regarding youth prevention efforts.503 Also in April 2018, Valani

13   edited a press release about JUUL’s “Comprehensive Strategy to Prevent Underage Use” and sent

14   his redline to the CEO.504 In December 2018, CEO Kevin Burns sought approval from Valani and

15   Pritzker on a specific advertising campaign, saying, “I suggest we proceed” with specified

16   television, print, and radio spots.505 Valani, copying Pritzker, approved only certain videos,

17   deciding “[w]e shouldn’t air the short form ones.”506

18          428.    Also in December 2018, JLI’s marketing team prepared slides for Burns to give a

19   marketing overview presentation to the board,507 and Burns sent the slides to Pritzker and Valani

20   in advance, inviting their feedback.508 Likewise, in January 2019 Burns sent Valani and Pritzker a

21   news article characterizing the Make the Switch campaign as aimed at adult smokers, noting that

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     501
         JLI00147328
25   502
         JLI1053533
     503
         JLI10529705
26   504
         JLI00151297; JLI00151298
     505
27       JLI10071280
     506
         JLI10071228
     507
28       JLI1007754
     508
         JLI10071922
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 1   the article said “this campaign and positioning is starkly different from 2015.” Valani responded,

 2   copying Pritzker, “Really good. Happy to see this reaction.”509

 3           429.       In March 2019, Burns sent a copy of his op-ed in the Washington Post, called “Vape

 4   Makers Must Do More to Stop Kids from Using E-Cigarettes,” to Pritzker and Valani, saying, “We

 5   just got word that our youth survey has been accepted for peer review and will be published in 2-

 6   3 weeks by a well regarded journal.” Pritzker responded “Awesome. And I like the timing and

 7   wording of the op ed.”510 Valani also responded, saying “This is really great. Nicely written.”

 8   Pritzker and Burns then discussed making a “strategic decision” about the availability of flavors

 9   in retail stores.511

10           9.         Pritzker and Valani directed and controlled JLI’s negotiations with Altria

11           430.       Pritzker and Valani, along with Kevin Burns, were the lead negotiators for JLI on
12   the Altria deal.
13           431.       Altria knew that when it was negotiating with JLI, Pritzker and Valani were the
14   company. In June 2017, Altria, preparing for a meeting with JLI, noted that “Per Perella Weinberg
15   Partners, Valani and Pritzker control majority of voting power and 44% economic interests.”512 A
16   later internal Altria presentation reported on Altria’s “continued dialogue with key [JLI]
17   investors,” noting that Valani and Pritzker “indicate that they control majority of voting power.”513
18           432.       On paper, negotiations were between Howard Willard (Altria’s then-CEO), and
19   Pritzker, Valani, and Kevin Burns for JLI. In April 2018, Willard sent confidential “Exchange of
20   Volume Information” to Pritzker, copying Valani and Burns.514 Willard also sent a detailed email
21   to Pritzker and Valani, along with Burns, regarding Altria’s proposed “collaboration … [that]
22   creates a plan to manage that [antitrust] risk,” and “productive partnership that can create
23   substantial value above what is achievable under a standalone scenario in a dynamic tobacco
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     509
         JLI0070326
26   510
         JLI10064121
     511
27       JLI01144202
     512
         ALGAT0002834151.
     513
28       ALGAT0000280623
     514
         JLI10530188
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 1   category environment.”515 Many other email exchanges related to the deal are between Altria’s

 2   team, Pritzker, Valani, and Kevin Burns.516

 3           433.    But some key discussions involved only Pritzker and Valani as the real power

 4   brokers for JLI. For example, an April 2018 email string discussing how to resolve a standstill and

 5   restart the Altria deal negotiation included only Willard, Pritzker, and Valani.517 Pritzker told

 6   Willard what he and Altria’s lawyers needed to work out to have “the continuing right to talk to

 7   Riaz [Valani] and me.”518

 8           434.    Pritzker and Valani worked to build a partnership with Altria. After attending a

 9   closing dinner, Hank Handelsman, JLI Board member and proxy for Pritzker and Valani, emailed

10   Willard and stated, “More importantly to me was the camaraderie shown after a bruising

11   negotiation! In 45 years of doing deals, some in the tobacco industry, I have not seen the ‘we are

12   at peace, let’s move on’ attitude that I witnessed that lovely evening!” In response, Pritzker added

13   KC Crosthwaite to the email chain and thanked Willard and the Altria personnel for the dinner,

14   and stated, “We truly appreciate our partnership, and look forward to an even deeper collaboration

15   in the future.”519

16           435.    Pritzker and Valani continued to communicate with Altria’s CEO on behalf of JLI

17   after the negotiations ended. On May 26, 2019, Pritzker asked Willard whether he was planning

18   to attend “the youth/PMTA meeting in DC,” and “if so, do you think we can find time for you,

19   Riaz [Valani] and I to get together separately?”520

20           436.    Pritzker, Valani, Willard, and Crosthwaite coordinated a response to the Youth

21   Vaping Prevention Plan in July 2019. Willard offered his “reaction to the [Youth Vaping

22   Prevention] Plan” and advised JLI, based on his experience as a cigarette company CEO, not to

23   publicly commit to using the plan or otherwise make an announcement addressing it.521

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25   515
         JLI10530232
     516
         See, e.g., JLI01389789; JLI10523767; JLI01389792; JLI10518886.
26   517
         ALGAT0000113109
     518
27       Id.
     519
         ALGAT0003889812
     520
28       ALGAT0003285214
     521
         ALGAT0003279064
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 1          10.     JLI and the Management Defendants Knew Their Efforts Were Wildly
                    Successful in Building a Youth Market and Took Coordinated Action to
 2                  Ensure That Youth Could Purchase JUUL Products.
 3                  a.      JLI’s Strategy Worked.
 4
            437.    The Management Defendants knew that the JUUL marketing campaigns they
 5
     directed and approved were successful in targeting youth. As Reuters has reported, “the first signs
 6
     that JUUL had a strong appeal to young people came almost immediately after the sleek device
 7
     went on sale in 2015 . . . . Employees started fielding calls from teenagers asking where they could
 8
     buy more JUULs, along with the cartridge-like disposable ‘pods’ that contain the liquid
 9
     nicotine.”522 A former senior manager told the New York Times that “[s]ome people bought more
10
     JLI kits on the company’s website than they could individually use—sometimes 10 or more
11
     devices.” He added that “[f]irst, they just knew it was being bought for resale,” but later “when
12
     they saw the social media, in fall and winter of 2015, they suspected it was teens.”523 Adam Bowen
13
     admitted that “he was aware early on of the risks e-cigarettes posed to teenagers[.]”524 On January
14
     5, 2016, Gal Cohen forwarded a presentation dated December 16, 2015, which asked the question:
15
     “If large numbers of youth are initiating tobacco use with flavored e-cigarettes, but adults [sic]
16
     smokers may benefit from completely switching to an e-cigarette, what should the market look
17
     like?”525 It was common knowledge within JLI that JUULs were being sold to children.
18
            438.    After the Vaporized campaign, retail stores began selling out of JUUL products,
19
     and JLI had a difficult time trying to meet demand coming from its online ordering platform.
20
            439.    Furthermore, it was obvious to those outside the company that JLI was selling
21
     JUUL products to children. In June 2015, reporting on the “Vaporized” campaign that
22
     accompanied the JUUL launch, AdAge reported that John Schachter, director of state
23

24
     522
         Chris Kirkham, Juul Disregarded Early Evidence it was Hooking Teens, Reuters (Nov. 5,
25     2019), https://www.reuters.com/investigates/special-report/juul-ecigarette/.
     523
         Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?: The
26     e-cigarette company says it never sought teenage users, but the F.D.A. is investigating whether
27     Juul intentionally marketed its devices to youth, NY Times (Aug. 27, 2018),
       https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
     524
28       Id.
     525
         INREJUUL_00339938 (emphasis added).
                                                     143
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 1   communications for Campaign for Tobacco-Free Kids, “expressed concern about the JUUL

 2   campaign because of the youth of the men and women depicted in the campaign, especially when

 3   adjoined with the design” and added that there had been “obvious trends that appeal to adolescents

 4   in e-cigarette campaigns[.]”526 Robert Jackler, a Stanford physician who investigated JLI’s launch

 5   campaign, concluded that “JLI’s launch campaign was patently youth-oriented.”527 JLI’s

 6   commercials’ attempts to appeal to teenagers were so obvious that, by October 2015, Stephen

 7   Colbert ran a satirical segment on it that noted, among other things: “And it’s not just ads featuring

 8   hip young triangles that appeal to the youths; so do vape flavors like cotton candy, gummi bear,

 9   and skittles.”528

10           440.    Moreover, the Management Defendants knew that kids were marketing JLI

11   products on social media, and some even sought to take advantage of that to build the JLI brand.

12   For example, on July 16, 2016, Adam Bowen emailed Tyler Goldman about social media posts by

13   children about JUUL e-cigarettes, stating, “I’m astounded by this ‘ad campaign’ that apparently

14   some rich east coast boarding school kids are putting on.”529 Bowen added that “Riaz [Valani] was

15   thinking maybe we can leverage user generated content.”530

16                   b.     JLI Closely Tracked Its Progress in Reaching Young Customers
                            through Social Media and Online Marketing
17
             441.    Tracking the behaviors and preferences of youth that are under twenty-one, and
18
     especially those under eighteen, has long been essential to the successful marketing of tobacco
19
     products. Whether the activity is called “tracking” or “targeting,” the purpose has always been the
20
     same: getting young people to start smoking and keeping them as customers.
21

22

23
     526
         Declan Harty, JUUL Hopes to Reinvent E-Cigarette Ads with ‘Vaporized Campaign’, AdAge
       (June 23, 2015), http://adage.com/article/cmo-strategy/juul-hopes-reinvent-e-cigarette-
24     ads¬campaign/299142/.
     527
         Erin Brodwin, See how Juul turned teens into influencers and threw buzzy parties to fuel its
25     rise as Silicon Valley's favorite e-cig company, Bus. Insider (Nov 26, 2018),
      https://www.businessinsider.com/stanford-juul-ads-photos-teens-e-cig-vaping-2018-11.
26   528
         The Late Show with Stephen Colbert: Vaping is So Hot Right Now, YouTube (Oct. 7, 2015),
27     https://www.youtube.com/watch?v=PMtGca_7leM. The “triangles” ad was a JUUL ad; the
       listed flavors were not, but JUUL also had flavors that appealed to children.
     529
28       JLI00382271.
     530
         Id.
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 1          442.    As early as 1953, Philip Morris was gathering survey data on the smoking habits of

 2   “a cross section of men and women 15 years of age and over.”531 Commenting on these data,

 3   George Weissman, then-Vice President of Philip Morris, observed that “we have our greatest

 4   strength in the 15-24 age group.”532

 5          443.    Traditional approaches to youth tracking (e.g., interviews conducted face-to-face

 6   or over the telephone) were limited, however, in that they often failed to capture data from certain

 7   subsets of the target market. As a Philip Morris employee noted in a June 12, 1970 memorandum,

 8   Marlboro smokers were “among the types of young people our survey misses of necessity (on

 9   campus college students, those in the military and those under 18 years of age).”533

10          444.    However, modern technology has removed many of the hurdles that made youth

11   tracking difficult in decades past. With industry connections, e-mail, social media and online

12   forums, JLI can track, and has consistently tracked and monitored its target youth market,

13   including those below the minimum legal age to purchase or use JUUL products.

14          445.    First, JLI knew from its sales data that the large majority of its customers were

15   under the age of 21. In December 2017, JLI employees discussed potentially supporting raising

16   the legal age to purchase e-cigarettes to 21 and started that based on the data collected by Avail

17   Vapor, “this would be a devastating mistake” because “70% + of sales would be eliminated.” 534

18   According to Avail’s data, 70% of purchasers of JUUL were between 18 and 21 years old, 15% of

19   customers were 22 to 29 years old, 7% of customers were 30 to 44 years old, 6% of customers

20   were 45 to 64 years old, and just 1% of customers were 65 years old or older. JLI employees only

21   noted that “Retailers know well that younger adults buy in greater quantities than mature adults”

22   and supporting a raise of the legal age to 21 “would show we simply do not understand our product

23   success” and “would alienate a large portion of our existing consumers and advocates.”535 The JLI

24   employee also noted that “we need to understand (at least at the senior decision maker level) that

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     531
         Philip Morris Vice President for Research and Development, Why One Smokes, First Draft,
26     1969, Autumn (Minnesota Trial)
     532
27       United States v. Philip Morris, 449 F. Supp. 2d 1, 581 (D.D.C. 2006).
     533
         Id.
     534
28       JLI10344468.
     535
         Id.
                                                     145
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 1   our current success is fuel primarily by younger adult users” and not by “mass market adult

 2   combustion smokers.”536

 3          446.    Second, using the tools available to it, JLI would have known that its viral

 4   marketing program was a resounding success, and in particular with young people.

 5          447.    Between 2015 and 2017, JUUL-related posts on Twitter increased quadratically,

 6   which is the exact result to be expected from an effective viral marketing campaign.537 Its growth

 7   on Instagram was likely even more rapid.

 8          448.    A 2018 study of JLI’s sales and presence on social media platforms found that JLI

 9   grew nearly 700%, yet spent “no recorded money” in the first half of 2017 on major advertising

10   channels, and spent only $20,000 on business-to-business advertising.538 Despite JLI’s apparently

11   minimal advertising spend in 2017, the study found a significant increase in JUUL-related tweets

12   in 2017.539

13          449.    On Instagram, the study found seven JUUL-related accounts, including

14   DoIt4JUUL and JUULgirls, which accounted for 4,230 total JUUL-related posts and had more

15   than 270,000 followers.540

16          450.    In addition to JUUL’s explosive growth on individual social media platforms, the

17   study found JUUL products being marketed across platforms in an apparently coordinated

18   fashion, including smaller targeted campaigns and affiliate marketing, all of which caused the

19   authors to question whether JLI was paying for positive reviews and JUUL-related social media

20   content.

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     536
         Id.
25   537
         See Brittany Emelle, et al., Mobile Marketing of Electronic Cigarettes in the U.S., (May
       2017), https://www.slideshare.net/YTHorg/mobile-marketing-of-electronic-cigarettes.
26   538
         Jidong Huang et al., Vaping versus JUULing: how the extraordinary growth and marketing of
27     JUUL transformed the US retail e-cigarette market, Tobacco Control (May 31, 2018),
       https://tobaccocontrol.bmj.com/content/28/2/146.full.
     539
28       Id.
     540
         Id.
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 1          451.    The lead author of the study concluded that JLI was “taking advantage” of the

 2   reach and accessibility of multiple social media platforms to “target the youth and young adults .

 3   . . because there are no restrictions,” on social media advertising.541

 4          452.    Similarly, an account named @JUULnation was established on Instagram and

 5   posted tips on how to conceal JUUL devices in school supplies. The account also ridiculed

 6   efforts to combat JUUL use in schools, promoted videos of JUUL influencers, and promoted

 7   videos like the “JUUL Challenge,” in which users inhale as much JUUL nicotine vapor as

 8   possible in a fixed period of time. JLI repeatedly used the hashtag “#JUULnation” on posts on its

 9   own Instagram account, for example when advertising its “Cool Mint” JUULpods, JUUL’s

10   portability, or party mode.542

11          453.    A separate study of e-cigarette advertising on mobile devices, where young

12   people spend most of their day consuming media, found that 74% of total advertising

13   impressions were for JUUL products.543

14          454.    A 2019 study found that as much as half of JUUL’s Twitter followers were aged

15   thirteen to seventeen.544

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         Laura Kelly, JUUL Sales Among Young People Fueled by Social Media, Says Study, The
       Wash. Times (June 4, 2018), https://www.washingtontimes.com/news/2018/jun/4/juul-sales-
22     among-young-people-fueled-by-social-med/.
     542
23       JLI00682401-484 at 428, 444, 451; see also Stanford University, Research into the Impact of
       Tobacco Advertising,
24     http://tobacco.stanford.edu/tobacco_web/images/pod/juul/instagram/large/ig_11.jpg; Stanford
       University, Research into the Impact of Tobacco Advertising,
25     http://tobacco.stanford.edu/tobacco_web/images/pod/juul/instagram/large/ig_12.jpg.
     543
         See Brittany Emelle et al., Mobile Marketing of Electronic Cigarettes in the U.S., Truth
26     Iniative (May 2017), https://www.slideshare.net/YTHorg/mobile-marketing-of-electronic-
27     cigarettes.
     544
         Steven Reinberg, Study: Half of Juul's Twitter followers are teens, young adults, HealthDay
28     News, (May 20, 2019) https://www.upi.com/Health_News/2019/05/20/Study-Half-of-Juuls-
       Twitter-followers-are-teens-young-adults/1981558384957/.
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 1          455.    A 2019 study characterizing JUUL-related Instagram posts between March and

 2   May 2018 found that among nearly 15,000 relevant posts from over 5,000 unique Instagram

 3   accounts, more than half were related to youth or youth lifestyle.545

 4          456.    Some Twitter users have reported what appear to be JUUL bots.546 Other Twitter

 5   users appear to either be bot accounts or native advertisers, in that they have a small number of

 6   followers, follow few other users, and post exclusively about JUUL content.547

 7          457.    By April 2018, searching “JUUL” on YouTube yielded 137,000 videos with

 8   forty-three videos having over 100,000 views.548 Of these, a huge number were plainly related to

 9   underage use, including: 1,730 videos on “hiding JUUL in school,” 789 on “JUUL in school

10   bathroom,” 992 on “hiding JUUL at home,” and 241 on “hiding JUUL in Sharpie.”549

11          458.    In 2018, JLI was internally collecting hundreds of social media posts—directed at

12   JLI—informing it of JUUL’s wild popularity with young people and in many cases requesting

13   that JLI do something to stop it.550

14          11.     JLI Worked with Veratad Technologies To Expand Youth Access to JUUL
                    Products.
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            459.    At the same time JLI and the Management Defendants were taking coordinated
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     actions to maintain and expand the number of nicotine-addicted e-cigarette users in order to
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     ensure a steady and growing customer base through unlawful marketing and distribution
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     activities, they worked with an outside entity—Veratad Technologies LLC—to get JUULs into
19
     the hands of the largest number of users possible.
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     545
         Lauren Czaplicki et al., Characterising JUUL-related posts on Instagram, Truth Initiative
22     (Aug. 1, 2019), https://tobaccocontrol.bmj.com/content/early/2019/07/30/tobaccocontrol-2018-
23     054824.
     546
         One example of what appear to be JUUL bots in action on Twitter is available at:
24     https://twitter.com/search?q=juul%20bot&src=typd (last visited Apr. 4, 2020).
     547
         Hennrythejuul (@hennrythejuul), Twitter (Mar. 4, 2020, 9:35 am)
25     https://twitter.com/hennrythejuul.
     548
         Divya Ramamurthi et al., JUUL and Other Stealth Vaporizers: Hiding the Habit from Parents
26     and Teachers, Tobacco Control 2019, Stanford Univ. (Sept. 15, 2018),
27     https://tobaccocontrol.bmj.com/content/tobaccocontrol/28/6/610.full.pdf.
     549
         Id.
     550
28       Complaint at 60, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18,
       2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.=.
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                                                                                       COMPLAINT
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 1            460.   In furtherance of JLI and the Management Defendants’ efforts to secure youth

 2   sales so crucial to expanding JUUL’s market share (and JLI’s profits), and as detailed below,

 3   from approximately 2015 to 2018, JLI and Veratad worked together to try to pass as many

 4   people as possible through an on-line “age verification” system that users had to pass to be able

 5   to order JUUL products.

 6            461.   JLI’s website, including its online store, was pivotal to these efforts. Early

 7   marketing documents show that JLI planned a “consumer journey” that started with a consumer

 8   being exposed to misleading JUUL marketing in stores, where JUUL’s “fun” and

 9   “approachable” in-store marketing would lead users to JLI’s website for additional

10   misrepresentations and omissions about JUUL products, an email subscription sign-up, and

11   purchases through JLI’s ecommerce platform:551

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              462.   JLI worked with Veratad to provide age verification services for its website from
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     2015 to 2018. Veratad has also provided age verification services to other e-cigarette sellers,
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           INREJUUL_00329660
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 1   including Lorillard552 and Altria.553 Consistent with the claim on Veratad’s website that “You can

 2   create your own verification rules,” the company encouraged sellers like JLI to set the desired

 3   compliance level for age verification. As a member of a major e-cigarette trade organization,

 4   Veratad also offered insight into what competitors were doing, and offered to “guide your setup

 5   to follow industry best practices for age verification.”

 6          463.    Though it is illegal to sell and ship e-cigarettes to minors under both state and

 7   federal law, JLI and Veratad designed and implemented an age verification system designed to

 8   maximize the number of prospective purchasers who “pass” the process, rather than to minimize

 9   the number of underage sales.554 As a result of these intentionally permissive age verification

10   practices, JLI and Veratad used online payment systems and the US mails to ship tens of millions

11   of dollars of JUULpods to unverified customers, many of whom were minors.

12          464.    From June 2015 through the end of 2018, the age verification process on JLI’s

13   website typically prompted prospective purchasers to submit their name, address, and date of

14   birth, which JLI forwarded to Veratad. Veratad then attempted to match all or some limited part

15   of the consumer’s information to a person of the minimum legal sales age in its database. If

16   Veratad was able to locate a sufficient match of the prospective purchaser to a person of the

17   minimum legal sales age in its database, then it would return a “pass” result to JLI. If Veratad

18   was unable to make such a match, Veratad returned a “fail” result to JLI.

19          465.     If Veratad returned a “fail” result to JLI, rather than decline the prospective

20   purchaser, JLI would prompt the person to enter an “alternate” address. If Veratad still could not

21   find a match based on this alternate address, JLI would prompt the consumer to enter the last

22   four digits of his or her social security number.

23          466.    If Veratad, supplied with the last four digits of a consumer’s social security

24   number, still could not match the consumer to a person of the minimum legal sales age in its

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     552
         Staff of Sen. Richard Durbin et al., 113th Cong., Gateway to Addiction? (Apr. 14, 2014),
26     https://www.durbin.senate.gov/imo/media/doc/Report%20-%20E-
27     Cigarettes%20with%20Cover.pdf.
     553
         INREJUUL_00174362.
     554
28       Complaint at 165, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18,
       2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.=.
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 1   database, JLI would prompt the consumer to upload an image or photograph of his or her

 2   driver’s license or another governmental identification document. A JLI employee would then

 3   conduct a personal review of the image and decide whether the consumer was of the minimum

 4   legal sales age.

 5          467.    Crucially, Veratad’s age verification system was purposefully flexible, so JLI and

 6   Veratad could work together to decide just how closely a prospective purchaser’s personal

 7   information had to match records in Veratad’s database in order to “pass” the age verification

 8   process. JLI and Veratad could also set, or modify, the applicable minimum legal sales age to be

 9   used for verification.

10          468.    By the fall of 2015, JLI and Veratad knew that bulk purchases were being made

11   for resale on JLI’s website by minors and for resale to minors.555 For example, on May 25, 2016,

12   JLI employees discussed an online purchase of JUUL products made by a fifteen-year-old boy.

13   A JLI employee wrote that “[t]his order had failed age verification a few times with the person’s

14   information as below. The person even uploaded an ID, which was obviously fake and rejected

15   by us. Then, the user entered a different email address and passed from Veratad, and the order

16   was sent.” The employee discussed a communication with Veratad that confirmed that Veratad

17   did not review the date of birth entered by the user when determining whether a person passed

18   age verification for JUUL. JLI recognized that “[t]his situation can potentially happen again.”556

19          469.    Internal JLI documents confirm that JLI discussed underage purchases with

20   Veratad. For example, on May 27, 2016, JLI’s Head of Compliance & Brand Protection wrote

21   that an “underage purchaser changed his email address; which, allowed the order to be passed by

22   Veratad. . . . I believe that Nick and his team are still looking into the matter with Veratad to see

23   if they can get a better understanding of what happened.” A JLI employee replied “hmmm.

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26   555
         Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?: The
27     e-cigarette company says it never sought teenage users, but the F.D.A. is investigating whether
       Juul intentionally marketed its devices to youth, NY Times (Aug. 27, 2018),
28     https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-marketing.html.
     556
         INREJUUL_00300253-258
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 1   Probably impossible to put up an age gate that thwarts a committed teenager from penetrating it

 2   :)”557

 3            470.   Nevertheless, the two companies worked together to find ways to “bump up

 4   [JLI’s] rate of people who get through age verification.”558 JLI repeatedly sought, and Veratad

 5   repeatedly recommended and directed, changes to the age verification process so that more

 6   prospective JUUL purchasers would “pass.” Both did so in an effort to increase direct sales of

 7   JLI’s e-cigarettes without regard to whether its less stringent age verification process would

 8   permit more underage users to purchase them.

 9            471.   Between June 2015 and August 2017 (and perhaps even through early 2018), JLI

10   and Veratad tailored the age verification system to “pass” prospective purchasers even if certain

11   portions of the purchaser’s personal information—e.g., the purchaser’s street address or date of

12   birth—did not match the information corresponding to a person of the minimum legal sales age

13   in Veratad’s database.559

14            472.   Similarly, between June 2015 and August 2017, JLI and Veratad tailored the

15   system to “pass” a prospective purchaser under certain circumstances even when the prospective

16   purchaser’s year of birth did not match the information corresponding to a person of the

17   minimum legal sales age in Veratad’s database.

18            473.   JLI and Veratad sought to increase “pass” rates by modifying the age verification

19   system to allow users multiple opportunities to change their personal information if a match was

20   not initially found in an appropriate government database. A Veratad Performance Report from

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         INREJUUL_00209176-180
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23       INREJUUL_00276489-INREJUUL_00276490
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         Complaint at 43, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18,
24     2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.=. A January 29,
       2018 email exchange between Tom Canfarotta, Director of Strategic Accounts & Client
25     Quality Services at Veratad, and Annie Kennedy, JUUL’s Compliance Manager, reveals this to
       have been the case. Kennedy asked Canfarotta why a particular customer had “passed via the
26     address step (public record check)…but we’ve since learned that is not a correct address—so
27     we’re curious as to how it passed.” In response, Canfarotta wrote, “Your current rule set does
       not require a full address match.” He went on to explain that approval of the customer was not
28     an anomaly or a mistake; instead, Veratad’s age verification system was working exactly the
       way it was designed.
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 1   August 5, 2017 shows that, for 1,963 users Veratad recorded 3,794 transactions—an average of

 2   1.93 attempts per consumer.560 Only 966 users—less than half—passed age verification on the

 3   first attempt.561 By allowing users to alter their personal information and attempt age verification

 4   up to three times, JLI was able to increase its database match pass rate from 49.2% to 61.2%.562

 5              474.   By design, these lax requirements ensured underage users could “pass” JLI’s age

 6   verification process and purchase JUUL e-cigarettes directly from JLI’s website by using their

 7   parent’s name, home address, and an approximate date of birth. JLI was aware of this fact, as

 8   evidenced by the multiple complaints it received from parents who alleged their children did just

 9   that.563

10              475.   JLI directed and approved the system it had implemented with Veratad that

11   caused accounts with “bad info” to be “AV approved” but, as a Senior Business Systems

12   Manager at JLI commented, “if [v]eratad passed it [then] it’s not on us.”

13              476.   JLI customer service representatives even encouraged those who failed age

14   verification to “make multiple accounts in order to pass AV [age verification].”564 Customer

15   service representatives would go so far as to alter identifying information for them; a Slack chat

16   among customer service representatives confirmed that representatives were authorized to

17   “adjust the street address, apartment number, or zip code” associated with shipment.565

18              477.   The age verification procedures designed by JLI and Veratad have allowed

19   hundreds of thousands of e-cigarette products to be sold and/or delivered to fictitious individuals

20   at fictitious addresses.566 Many of these improper sales may have been made to underage

21   purchasers or to resellers who sold the products to underage users on the grey market.567

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     560
24       Id.
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         Id.
25   562
         Id.
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         INREJUUL_00184119.
26   564
         INREJUUL_00215324-INREJUUL_00215325.
     565
27       Complaint at 168, People v. JUUL Labs, Inc., No. RG19043543 (Super. Ct. of Cal. Nov. 18,
       2019), https://oag.ca.gov/system/files/attachments/press-docs/91186258.pdf.=..
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28       Id. at 138.
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         Id.
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 1          478.    By divorcing the address from the other customer data in the age verification

 2   process, JLI and Veratad allowed users to request that tobacco products be sent to locations other

 3   than their permanent legal residences.568 For example, JLI sent thousands of orders to

 4   commercial high rises and office parks.569 It is unlikely these orders would have been approved

 5   had JUUL and Veratad required that addresses provided by users match information in an

 6   appropriate government database and followed the requirement that the shipping address and

 7   billing address be the same.570

 8          479.    The failure of the JLI/Veratad age verification procedure was intentional.571 And

 9   despite JLI’s concerted effort to enable the sale of federally regulated tobacco products to

10   minors, JLI nevertheless publicly touted Veratad as the “gold standard” of age verification

11   services. For example, JLI told a reporter with CBS, Pam Tighe, that “[t]here is an extensive age

12   verification process in place to purchase JUUL online” and that JLI “work[s] with Veratad

13   Technologies, the state-of-the-art, gold-standard for age verification. . . . Veratad uses billions of

14   records from multiple trusted data sources to verify the information customers provide and to

15   ensure customers qualify to access and purchase products from JUULvapor.com.”572 JLI later

16   planned on sending this same, canned false language to a student journalist at Georgetown

17   University.573 Similarly, a JLI spokesperson told a reporter at a New York newspaper, ANMY,

18   that JLI uses “industry-leading ID match and age verification technology to ensure that

19   customers” are over twenty-one years of age and that the “information is verified against

20   multiple databases.”574

21          480.    In August 2017, JLI responded to public scrutiny by publicly stating that it would

22   increase the purchase age on its website to 21+ by August 23, 2017. In the weeks leading up to

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     568
         Id. at 146
25   569
         Id. at 147.
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         Id.
26   571
         Id. at 173.
     572
27       INREJUUL00178123-24.
     573
         INREJUUL_00264882-84.
28   574
         Alison Fox, ‘Juul’ e-cigarettes require stronger FDA regulation, Schmuer Says, AMNY,
       (Oct. 15, 2017), https://www.amny.com/news/juul-e-cigarettes-fda-regulation-1-14485385/.
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 1   that date, it emailed the approximately 500,000 or more potential customers to report that

 2   customers who signed up for JLI’s “auto-ship” subscription service before August 23, 2017

 3   would not have to prove that they were 21+ for as long as they maintained the subscription to

 4   receive JUULpods. As discussed herein, JLI knew that these marketing emails were being sent to

 5   underage individuals, including those who failed age verification. And at the same time, JLI

 6   advertised that the most popular flavor among youth, Mango, was now available on its “auto-

 7   ship” subscription service. As a result of this scheme, JLI’s subscription gains more than offset

 8   any losses from the site’s heightened age verification requirements.

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 9          481.    Further underscoring JLI’s purpose of growing the e-cigarette market, even if that

10   meant selling to youth, JLI and Veratad did not require that the year of birth and last four digits

11   of the social security number match exactly the information corresponding to a person of the

12   minimum legal sales age in Veratad’s database until August 2018.

13          482.    Tellingly, after JLI and Veratad implemented industry-standard age verification

14   practices, JLI boasted to the FDA that approval rate for sales on its website had dropped to 27%.

15          483.    While on one hand JLI continued working with Veratad to ensure minors could

16   purchase JUUL products online, on the other JLI continued to make false and fraudulent

17   statements about the strength of its age verification system. For example, on June 5, 2018, JLI

18   tweeted about its relationship with Veratad, claiming that “We’ve partnered with Veratad

19   Technologies to complete a public records search, only reporting back whether or not you are 21

20   years of age or older.”575 In addition, on November 13, 2018, JLI and the Managements

21   Defendants caused a post to appear on JLI’s website stating that JLI was “Restricting Flavors to

22   Adults 21+ On Our Secure Website” and that JLI’s age-verification system was “an already

23   industry-leading online sales system that is restricted to 21+ and utilizes third party

24   verification.”576 A video accompanying this message stated “At JUUL labs we’re committed to

25   leading the industry in online age verification security to ensure that our products don’t end up in

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27       JUUL Labs, Inc. (@JUULvapor), Twitter (June 5, 2018),
       https://twitter.com/juulvapor/status/1004055352692752386.
28   576
         JUUL Labs Action Plan (“November 2018 Action Plan”), JUUL Labs, Inc. (Nov. 12, 2018),
       https://newsroom.juul.com/juul-labs-action-plan/ (last visited Apr. 30, 2020).
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 1   the hands of underage users” and included an image of a computer with a chain wrapped around

 2   it and locked in place.577 These statements were fraudulent because JLI and the Management

 3   Defendants were and had been coordinating with Veratad to ensure that their age verification

 4   system did not actually prevent youth from purchasing JUUL products.

 5             484.   Not only did JLI’s efforts result in more sales to minors, JLI was also able to

 6   build a marketing email list that included minors—a data set that would prove highly valuable to

 7   Altria.

 8             485.   In the summer of 2017, JLI engaged a company called Tower Data to determine

 9   the ages of the persons associated with email addresses on its email marketing list. According to

10   this analysis, approximately 269,000 email addresses on JLI’s email marketing list were not

11   associated with a record of an individual who had “passed” JLI’s age verification process.578

12   Additionally, approximately 40,000 email addresses on JLI’s email marketing list were

13   associated with records of individuals who had “failed” JLI’s own age verification process.579

14   Tower Data informed JLI that 83% of the approximately 420,000 email addresses on JLI’s

15   marketing list could not be matched with the record of an individual at least eighteen years of

16   age.580

17             486.   Despite knowing that their marketing list included minors, JLI continued to use

18   that marketing list to sell JUUL products, and then shared that list with Altria to use for its

19   marketing purposes.

20             487.   JLI and the Management Defendants knew, however, that it was not enough to

21   disseminate advertisements and marketing materials that promote JLI to youth or to open online

22   sales to youth, while omitting mention of JUUL’s nicotine content and manipulated potency. To

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     577
         Id.
25   578
         Complaint at 121, Commonwealth of Massachusetts v. JUUL, et al., No. 20-00402 (Super. Ct.
       of Mass. Feb. 12, 2020) https://www.mass.gov/doc/juul-complaint/download; Janice Tan, E-
26     cigarette firm JUUL sued for using programmatic buying to target adolescents, Marketing
27     (Feb. 14, 2020), https://www.marketing-interactive.com/e-cigarette-firm-juul-sued-for-using-
       programmatic-buying-to-target-adolescents,
     579
28       Id.
     580
         Id.
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 1   truly expand the nicotine market, they needed to deceive those purchasing a JUUL device and

 2   JUULpods as to how much nicotine they were actually consuming. And, through Pritzker, Huh,

 3   and Valani’s control of JLI’s Board of Directors, they did just that.

 4          12.     JLI Engaged in a Sham “Youth Prevention” Campaign

 5          488.    By April 2017, JLI had determined that the publicity around its marketing to
 6   children was a problem. Ashley Gould, the company’s General Counsel and Chief Regulatory
 7   and Communications Officer, thus sought to “hire a crisis communication firm to help manage
 8   the youth interest JUUL has received[.]”581 By June 2017, JLI began developing a “youth
 9   prevention program[.]”582 While ostensibly aimed at reducing youth sales, JLI’s youth
10   prevention program actually served to increase, not reduce, sales to children.
11          489.    By December 2017, JLI’s youth prevention program included extensive work
12   with schools.583 JLI paid schools for access to their students during school time, in summer
13   school, and during a Saturday School Program that was billed as “an alternative to ‘traditional
14   discipline’ for children caught using e-cigarettes in school.”584 JLI created the curriculum for
15   these programs, and, like the “Think Don’t Smoke” campaign by Philip Morris, which
16   “insidiously encourage[d] kids to use tobacco and become addicted Philip Morris
17   customers[,]”585 JLI’s programs were shams intended to encourage youth e-cigarette use, not
18   curb it. According to testimony before Congress, during at least one presentation, “[n]o parents
19   or teachers were in the room, and JUUL’s messaging was that the product was ‘totally safe.’ The
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23   581
         INREJUUL_00264878; see also INREJUUL_00265042 (retaining Sard Verbinnen, a
24     strategic communications firm).
     582
         See, e.g., INREJUUL_00211242.
25   583
         INREJUUL_00173409.
     584
         Subcommittee on Economic and Consumer Policy Memo (July 25, 2019),
26     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.
27     pdf.
     585
         William V. Corr, American Legacy Foundation Study Shows Philip Morris 'Think Don't
28     Smoke' Youth Anti-Smoking Campaign is a Sham, Campaign for Tobacco Free Kids (May 29,
       2002), https://www.tobaccofreekids.org/press-releases/id_0499.
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 1   presenter even demonstrated to the kids how to use a JUUL.”586 Furthermore, JLI “provided the

 2   children snacks” and “collect[ed] student information from the sessions.”587

 3          490.    The problems with JLI’s youth prevention programs were widespread. According

 4   to outside analyses, “the JUUL Curriculum is not portraying the harmful details of their product,

 5   similar to how past tobacco industry curricula left out details of the health risks of cigarette

 6   use.”588 Although it is well-known that teaching children to deconstruct ads is one of the most

 7   effective prevention techniques, JLI programs entirely omitted this skill, and JLI’s curriculum

 8   barely mentioned JUUL products as among the potentially harmful products to avoid.589 As one

 9   expert pointed out, “we know, more from anecdotal research, that [teens] may consider [JUULs]

10   to be a vaping device, but they don’t call it that. So when you say to a young person, ‘Vapes or e-

11   cigarettes are harmful,’ they say, ‘Oh I know, but I’m using a JUUL.’”590

12          491.    Internal emails confirm both that JLI employees knew about the similarities of

13   JLI’s “youth prevention program” to the earlier pretextual antismoking campaigns by the

14   cigarette industry and that JLI management at the highest levels was personally involved in these

15   efforts. In April 2018, Julie Henderson, the Youth Prevention Director, emailed school officials

16   about “the optics of us attending a student health fair” because of “how much our efforts seem to

17   duplicate those of big tobacco (Philip Morris attended fairs and carnivals where they distributed

18   various branded items under the guise of ‘youth prevention’).”591 She later wrote that she would

19   “confirm our participation w[ith] Ashley & Kevin”592—an apparent reference to Kevin Burns, at

20   the time the CEO of JLI, who would later personally approve JLI’s involvement in school

21   programs. In May 2018, Julie Henderson spoke with former members of Philip Morris’s “youth

22
     586
23       Subcommittee on Economic and Consumer Policy Memo (July 25, 2019),
       https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.
24     pdf.
     587
         Id.
25   588
         Victoria Albert, Juul Prevention Program Didn't School Kids on Dangers, Expert Says, The
       Daily Beast (Oct. 19, 2018), https://www.thedailybeast.com/juul-prevention-program-didnt-
26     school-kids-on-dangers-expert-says.
     589
27       Id.
     590
         Id.
     591
28       INREJUUL_00197608.
     592
         INREJUUL_00197607.
                                                      159
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 1   education” team,593 and Ashley Gould received and forwarded what was described as “the paper

 2   that ended the Think Don’t Smoke campaign undertaken by Philip Morris.”594 The paper

 3   concluded that “the Philip Morris campaign had a counterproductive influence.”595

 4          492.    JLI also bought access to teenagers at programs outside of school. For example,

 5   JLI paid $89,000 to the Police Activities League of Richmond, California, so that all youth in the

 6   Richmond Diversion Program—which targeted “youth, aged 12-17, who face suspension from

 7   school for using e-cigarettes and/or marijuana” and “juveniles who have committed

 8   misdemeanor (lesser category) offenses”—would “participate in the JUUL labs developed

 9   program, Moving Beyond” for as long as ten weeks.596 Similarly, JLI paid $134,000 to set up a

10   summer program for 80 students from a charter school in Baltimore, Maryland.597 Participants

11   were “recruited from grades 3 through 12”598 and worked closely with teachers to develop

12   personal health plans. JLI paid nearly 70% of the cost of hiring eight teachers, eight instructional

13   aides, and three other support personnel for the program.599

14          493.    JLI was aware that these out-of-school programs were, in the words of Julie

15   Henderson, “eerily similar” to the tactics of the tobacco industry.600 In June 2018, Ms.

16   Henderson described “current executive concerns & discussion re: discontinuing our work w[ith]

17   schools[.]”601 Eventually, JLI ended this version of the youth prevention program, but the

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     593
         INREJUUL_00196624.
21   594
         INREJUUL_00265202.
     595
         Matthew C. Farrelly et al., Getting to the Truth: Evaluating National Tobacco
22     Countermarketing Campaigns, 92 Am. J. Public Health 901 (2002).
23
     596
         JLI-HOR-00002181 – 00002182.
     597
         INREJUUL_00194247; Invoice to JUUL Labs from The Freedom & Democracy Schools,
24     Inc. for $134,000, dated June 21, 2018,
       https://oversight.house.gov/sites/democrats.oversight.house.gov/files/JLI-HOR-00003711.pdf.
25   598
         INREJUUL_0019428.
     599
         The Freedom & Democracy Schools, Inc., Proposal to JUUL Labs for Funding the Healthy
26     Life Adventures Summer Pilot (June 9, 2018),
27     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/JLI-HOR-
       00002789_Redacted.pdf.
     600
28       INREJUUL_00194646.
     601
         INREJUUL_00194646.
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 1   damage had been done: following the playbook of the tobacco industry, JLI had hooked more

 2   kids on nicotine.

 3           494.      The Board was intimately involved in these “youth prevention” activities. For

 4   example, in April 2018, Riaz Valani and Nicholas Pritzker edited a youth prevention press

 5   release, noting that they “don’t want to get these small items wrong” and “think it’s critical to get

 6   this right.”602

 7           13.       The FDA Warned JUUL and Others That Their Conduct is Unlawful

 8           495.      Throughout 2018, the FDA put JLI and others in the e-cigarette industry on notice
 9   that their practices of marketing to minors needed to stop. It issued a series of warnings letters
10   and enforcement actions:
11           496.      On February 24, 2018, the FDA sent a letter to JLI expressing concern about the
12   popularity of its products among youth and demanding that JLI produce documents regarding its
13   marketing practices.603
14           497.      In April 2018, the FDA conducted an undercover enforcement effort, which
15   resulted in fifty-six warning letters issued to online retailers, and six civil money complaints to
16   retail establishments, all of which were related to the illegal sale of e-cigarettes to minors.604
17   Manufacturers such as JLI were also sent letters requesting documents regarding their marketing
18   and sales methods.605
19           498.      In May 2018, the FDA again issued more warning letters to manufacturers,
20   distributors, and retailers of e-liquids for labeling and advertising violations; these labels and
21   advertisements targeted children and resembled children’s food items such as candy or
22   cookies.606
23
     602
24       JLI00151300.
     603
         Matthew Holman, Letter from Director of Office of Science, Center for Tobacco Products, to
25     Zaid Rouag, at JUUL Labs, Inc., U.S. FDA (Apr. 24, 2018),
       https://www.fda.gov/media/112339/download.
26   604
         Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed
27     Products on the Market Without Premarket Authorization, U.S. FDA (Jan. 2020),
       https://www.fda.gov/media/133880/download.
     605
28       Id.
     606
         Id.
                                                       161
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 1           499.      In September 2018, the FDA engaged in several other regulatory enforcement

 2   actions, issuing over 1300 warning letters and civil money complaints to e-cigarette and e-liquid

 3   retailers and distributors.607

 4           500.      On September 12, 2018, the FDA sent letters to JLI and other e-cigarette

 5   manufacturers putting them on notice that their products were being used by youth at disturbing

 6   rates.608 The FDA additionally requested manufacturers to enhance their compliance monitoring

 7   mechanisms, implement stricter age verification methods, and limit quantities and volume of e-

 8   cigarette products that could be purchased at a time.609

 9           501.      Finally, in October 2018, the FDA raided JLI’s headquarters and seized more than

10   a thousand documents relating to JLI’s sales and marketing practices.610 Since then, the FDA, the

11   Federal Trade Commission, multiple state attorneys general and the U.S. House of

12   Representatives Committee on Oversight and Reform have all commenced investigations into

13   JLI’s role in the youth e-cigarette epidemic and whether JLI’s marketing practices purposefully

14   targeted youth.

15           502.      Siddharth Breja, who was senior vice president for global finance at JLI, “claims

16   that after the F.D.A. raided Juul headquarters in October 2018, seeking internal documents, Mr.

17   Burns instructed Mr. Breja and other executives not to put anything relating to regulatory or

18   safety issues in writing, so that the F.D.A. could not get them in the future.”611

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     607
         Id.
21   608
         Letter from US FDA to Kevin Burns, U.S. FDA (Sept. 12, 2018),
       https://www.fda.gov/media/119669/download.
22   609
         Press Release, FDA takes new steps to address epidemic of youth e-cigarette use, including a
23     historic action against more than 1,300 retailers and 5 major manufacturers for their roles
       perpetuating youth access, US FDA (Sept. 11, 2018), https://www.fda.gov/news-events/press-
24     announcements/fda-takes-new-steps-address-epidemic-youth-e-cigarette-use-including-
       historic-action-against-more.
25   610
         Laurie McGinley, FDA Seizes Juul E-Cigarette Documents in Surprise Inspection of
       Headquarters, Wash. Post (Oct. 2, 2018),
26     https://www.washingtonpost.com/health/2018/10/02/fda-seizes-juul-e-cigarette-documents-
27     surprise-inspection-headquarters/.
     611
         Sheila Kaplan & Jan Hoffman, Juul Knowingly Sold Tainted Nicotine Pods, Former
28     Executive Say, N.Y. Times (Nov. 20, 2019), https://www.nytimes.com/2019/10/30/health/juul-
       pods-contaminated.html.
                                                       162
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 1          14.       In Response to Regulatory Scrutiny, Defendants Misled the Public,
                      Regulators, and Congress that JLI Did Not Target Youth
 2
            503.      To shield their youth-driven success from scrutiny, Altria, JLI, and the
 3
     Management Defendants’ had a long-running strategy to feign ignorance over JLI and the
 4
     Management Defendants’ youth marketing efforts and youth access to JLI’s products. They were
 5
     well aware that JLI’s conduct in targeting underage users was reprehensible and unlawful, and
 6
     that if it became widely known that this was how JLI obtained its massive market share, there
 7
     would be a public outcry and calls for stricter regulation or a ban on JLI’s products. Given the
 8
     increasing public and regulatory scrutiny of JLI’s market share and marketing tactics, a dis-
 9
     information campaign was urgently needed to protect the Defendants’ bottom line. For this
10
     reason, JLI, the Management Defendants, and Altria all hid JLI’s conduct by vociferously
11
     denying that JLI had marketed to and targeted youth and instead falsely claimed that JLI engaged
12
     in youth prevention. Defendants continued to make these statements while and after actively and
13
     successfully trying to market to and recruit youth non-smokers. These false statements were
14
     designed to protect JLI’s market share, and Altria’s investment, by concealing JLI’s misconduct.
15
            504.      For example, after 11 senators sent a letter to JLI questioning its marketing
16
     approach and kid-friendly e-cigarette flavors like Fruit Medley, Creme Brulee and mango, JLI
17
     visited Capitol Hill and told senators that it never intended its products to appeal to kids and did
18
     not realize youth were using its products, according to a staffer for Sen. Dick Durbin (D-Ill.).
19
     JLI’s statements to Congress—which parallel similar protests of innocence by tobacco company
20
     executives—were false.
21
            505.      Defendants also caused JLI to make public statements seeking to disavow the
22
     notion that it had targeted and sought to addict teens:
23
                  •   “It’s a really, really important issue. We don’t want kids using our products.”
24
                      (CNBC Interview of JLI’s Chief Administrative Officer, December 14, 2017)612
25

26
     612
27      Angelica LaVito, Nearly one-quarter of teens are using pot, CNBC (Dec. 14, 2017),
      https://www.cnbc.com/2017/12/13/marijuana-and-nicotine-vaping-popular-among-teens-
28    according-to-study.html (Interview with Ashely Gould, JUUL Chief Administrative Officer)
      (emphasis added).
                                                       163
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 1              •    “We market our products responsibly, following strict guidelines to have material
                     directly exclusively toward adult smokers and never to youth audiences.” (JLI
 2                   Social Media Post, March 14, 2018)613
 3               •   “Our company’s mission is to eliminate cigarettes and help the more than one
                     billion smokers worldwide switch to a better alternative,” said JUUL Labs
 4                   Chief Executive Officer Kevin Burns. “We are already seeing success in our
 5                   efforts to enable adult smokers to transition away from cigarettes and believe our
                     products have the potential over the long-term to contribute meaningfully to
 6                   public health in the U.S. and around the world. At the same time, we are
                     committed to deterring young people, as well as adults who do not currently
 7                   smoke, from using our products. We cannot be more emphatic on this point:
                     No young person or non-nicotine user should ever try JUUL.” (JLI Press
 8                   Release, April 25, 2018);614
 9              •    “Our objective is to provide the 38 million American adult smokers with
                     meaningful alternatives to cigarettes while also ensuring that individuals who
10                   are not already smokers, particularly young people, are not attracted to
11                   nicotine products such as JUUL,” said JUUL Labs Chief Administrative Officer
                     Ashley Gould, who heads the company's regulatory, scientific and youth
12                   education and prevention programs. “We want to be a leader in seeking solutions,
                     and are actively engaged with, and listening to, community leaders, educators and
13                   lawmakers on how best to effectively keep young people away from JUUL.” (JLI
                     Press Release, April 25, 2018);615
14
                •    “Of course, we understand that parents and lawmakers are concerned about
15                   underage use of JUUL. As are we. We can’t restate this enough. As an
                     independent company that is not big tobacco, we are driven by our mission and
16                   commitment to adult smokers.” (JLI CEO Kevin Burns Letter to JUUL
                     Community on Reddit, July 18, 2018)616
17
                •     “We welcome the opportunity to work with the Massachusetts Attorney General
18                   because, we too, are committed to preventing underage use of JUUL. We
                     utilize stringent online tools to block attempts by those under the age of 21 from
19                   purchasing our products, including unique ID match and age verification
20                   technology. Furthermore, we have never marketed to anyone underage. Like
                     many Silicon Valley technology startups, our growth is not the result of marketing
21                   but rather a superior product disrupting an archaic industry. When adult smokers
                     find an effective alternative to cigarettes, they tell other adult smokers. That’s
22
     613
23       Robert K. Jackler et al., JUUL Advertising Over Its First Three Years on the Market, Stanford
       Research Into the Impact of Tobacco Advertising 15 (Jan. 31, 2019),
24     http://tobacco.stanford.edu/tobacco_main/publications/JUUL_Marketing_Stanford.pdf (citing a
       JUUL social media post from March 14, 2018) (emphasis added).
25   614
         JUUL Labs, Inc., JUUL Labs Announces Comprehensive Strategy to Combat Underage Use,
       MarketWatch (Apr. 25, 2018), https://www.marketwatch.com/press-release/juul-labs-
26     announces-comprehensive-strategy-to-combat-underage-use-2018-04-25 (emphasis added).
     615
27       Id (emphasis added).
     616
         A Letter to the JUUL Community from CEO Kevin Burns, Reddit (July 18, 2018),
28     https://www.reddit.com/r/juul/comments/8zvlbh/a_letter_to_the_juul_community_from_ceo_k
       evin/ (emphasis added).
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 1                  how we’ve gained 70% of the market share. . . Our ecommerce platform utilizes
                    unique ID match and age verification technology to make sure minors are not able
 2                  to access and purchase our products online.” (Statement from Matt David, JLI
                    Chief Communications Officer, July 24, 2018);617
 3
                •   “We did not create JUUL to undermine years of effective tobacco control,
 4                  and we do not want to see a new generation of smokers. . . . We want to be part
                    of the solution to end combustible smoking, not part of a problem to attract youth,
 5
                    never smokers, or former smokers to nicotine products. . . .We adhere to strict
 6                  guidelines to ensure that our marketing is directed towards existing adult
                    smokers.”.” (JLI’s website as of July 26, 2018);618
 7
                •   “We don’t want anyone who doesn’t smoke, or already use nicotine, to use JUUL
 8                  products. We certainly don’t want youth using the product. It is bad for public
                    health, and it is bad for our mission. JUUL Labs and FDA share a common goal –
 9                  preventing youth from initiating on nicotine. . . . Our intent was never to have
                    youth use JUUL products.” (JLI Website, November 12, 2018)619
10              •   “To paraphrase Commissioner Gottlieb, we want to be the offramp for adult
11                  smokers to switch from cigarettes, not an on-ramp for America’s youth to initiate
                    on nicotine.” (JLI Website, November 13, 2018)620
12              •   “Any underage consumers using this product are absolutely a negative for our
                    business. We don’t want them. We will never market to them. We never have.”
13                  (James Monsees, quoted in Forbes, November 16, 2018);621
14              •   “First of all, I’d tell them that I’m sorry that their child’s using the product. It’s
                    not intended for them. I hope there was nothing that we did that made it
15                  appealing to them. As a parent of a 16-year-old, I’m sorry for them, and I have
                    empathy for them, in terms of what the challenges they’re going through.”
16                  (CNBC Interview of JLI CEO, July 13, 2019)622
17

18

19
     617
20       Statement Regarding The Press Conference Held By The Massachusetts Attorney General,
       JUUL Labs, Inc. (July 24, 2018), https://newsroom.juul.com/statement-regarding-the-press-
21     conference-held-by-the-massachusetts-attorney-general/ (emphasis added).
     618
         Our Responsibility, JUUL Labs, Inc. (July 26, 2018),
22     https://web.archive.org/web/20180726021743/https://www.juul.com/our-responsibility (last
23     visited Mar. 29, 2020) (emphasis added).
     619
         JUUL Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-
24     labs-action-plan/ (statement of Ken Burns, former CEO of JUUL) (emphasis added).
     620
         Id. (emphasis added).
25   621
         Kathleen Chaykowski, The Disturbing Focus of Juul’s Early Marketing Campaigns, Forbes
       (Nov. 16, 2018 2:38 PM), https://www.forbes.com/sites/kathleenchaykowski/2018/11/16/the-
26     disturbing-focus-of-juuls-early-marketing-campaigns/#3da1e11b14f9 (emphasis added)
27     (statement of James Monsees).
     622
         Angelica LaVito, As JLI grapples with teen vaping ‘epidemic,’ CEO tells parent ‘I’m sorry’,
28     CNBC (July 13, 2019), https://www.cnbc.com/2019/07/13/as-juul-deals-with-teen-vaping-
       epidemic-ceo-tells-parents-im-sorry.html (emphasis added).
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 1              •    “We have no higher priority than to prevent youth usage of our products
                    which is why we have taken aggressive, industry leading actions to combat youth
 2                  usage.” (JLI Website, August 29, 2019)623
 3              •   James Monsees, one of the company’s co-founders, said selling JUUL products
                    to youth was “antithetical to the company’s mission.”(James Monsees’
 4                  Statement to New York Times, August 27, 2019)624
                •   Adam Bowen, one of the company’s co-founders, said he was aware early on of
 5                  the risks e-cigarettes posed to teenagers, and the company had tried to make
                    JUUL “as adult-oriented as possible.”(Adam Bowen’s Statement to the New
 6
                    York Times, August 27, 2019);625
 7              •   “We have never marketed to youth and we never will.”(JLI Statement to Los
                    Angeles Times, September 24, 2019);626
 8
                •   “I have long believed in a future where adult smokers overwhelmingly choose
 9                  alternative products like JUUL. That has been this company’s mission since it
                    was founded, and it has taken great strides in that direction.” (JLI’s CEO K.C.
10                  Crosthwaite, September 25, 2019);627
11              •   “As scientists, product designers and engineers, we believe that vaping can have a
                    positive impact when used by adult smokers, and can have a negative impact
12                  when used by nonsmokers. Our goal is to maximize the positive and reduce the
                    negative.” (JLI Website, March 6, 2020);628
13              •   “JUUL was designed with adult smokers in mind.” (JLI Website, last visited
14                  March 29, 2020).629
            506.    Defendants either made these statements directly or caused them to be transmitted
15
     as a part of their schemes to defraud the public about what they were selling and to whom.
16
            507.    Altria also engaged in wire fraud when it made public statements seeking to
17
     disavow the notion that JLI had targeted and sought to addict teens:
18

19   623
         Our Actions to Combat Underage Use, JUUL Labs, Inc. (Aug. 29, 2019),
20     https://newsroom.juul.com/our-actions-to-combat-underage-use/ (JUUL statement in response
       to lawsuits) (emphasis added).
21   624
         Matt Richtel & Sheila Kaplan, Did Juul Lure Teenagers and Get ‘Customers for Life’?, N.Y.
       Times (Aug. 27, 2018), https://www.nytimes.com/2018/08/27/science/juul-vaping-teen-
22     marketing.html (emphasis added).
     625
23       Id (emphasis added).
     626
         Michael Hiltzik, Column: Studies show how JLI exploited social media to get teens to start
24     vaping, L.A. Times (Sept. 24, 2019), https://www.latimes.com/business/story/2019-09-
       24/hiltzik-juul-target-teens (statement made on behalf of JUUL) (emphasis added).
25   627
         Juul Labs Names New Leadership, Outlines Changes to Policy and Marketing Efforts, JUUL
       Labs, Inc. (Sept. 25, 2019), https://newsroom.juul.com/juul-labs-names-new-leadership-
26     outlines-changes-to-policy-and-marketing-efforts/ (emphasis added) (statement by K.C.
27     Crosthwaite).
     628
         Our Mission, JUUL LABS (2019), https://www.juul.com/mission-values (last visited Apr. 4,
28     2020) (emphasis added).
     629
         JUUL Labs, Inc., https://www.juul.com/ (last visited Mar. 29, 2020) (emphasis added).
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 1              •   “Altria and JUUL are committed to preventing kids from using any tobacco
                    products. As recent studies have made clear, youth vaping is a serious problem,
 2                  which both Altria and JUUL are committed to solve. As JUUL previously said,
 3                  ‘Our intent was never to have youth use JUUL products.’” (Altria News
                    Release, December 20, 2018).630
 4
            508.    However, JLI, the Management Defendants, and Altria realized that attempting to
 5
     shift public opinion through fraudulent statements was not enough to achieve their goal of
 6
     staving off regulation. To accomplish this goal, they would also need to deceive the FDA and
 7
     Congress. And so they set out to do just that through statements and testimony by JLI
 8
     representatives. These include, but are not limited to, the following:
 9
     Statements by JLI to the FDA:
10             • “JUUL was not designed for youth, nor has any marketing or research effort
                   since the product’s inception been targeted to youth.” (Letter to FDA, June 15,
11                 2018).631
12             • “With this response, the Company hopes FDA comes to appreciate why the
                   product was developed and how JUUL has been marketed — to provide a
13                 viable alternative to cigarettes for adult smokers.” (Letter to FDA, June 15,
                   2018).632
14
     Statements by Altria to the FDA:
15
               • “[W]e do not believe we have a current issue with youth access to or use of our
16                 pod-based products, we do not want to risk contributing to the issue.” (Letter from
                   Altria CEO to FDA Commissioner Scott Gottlieb, October 25, 2018).633
17             • “We believe e-vapor products present an important opportunity to adult smokers
                   to switch from combustible cigarettes.” (Letter to FDA Commissioner Gottlieb,
18
                   10/25/18)
19
     Statements by JLI to Congress:
20             • “We never wanted any non-nicotine user, and certainly nobody under the
                   legal age of purchase, to ever use JLI products. . . .That is a serious problem.
21

22

23   630
         Altria Group, Inc., Altria Makes $12.8 Billion Minority Investment to Accelerate Harm
24     Reduction and Drive Growth (“Altria Minority Investment”) (Form 8-K), Ex. 99.1 (Dec. 20,
       2018),
25     https://www.sec.gov/Archives/edgar/data/764180/000119312518353970/d660871dex991.htm
       (emphasis added).
26   631
         Letter from JUUL's Counsel at Sidley Austin to Dr. Matthew Holman, FDA at 2 (June 15,
27     2018) (emphasis added).
     632
         Id. at 3 (emphasis added).
     633
28       Letter from Altria CEO Howard Willard to Dr. Scott Gottlieb, FDA at 2 (October 25, 2018)
       (emphasis added).
                                                     167
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 1                  Our company has no higher priority than combatting underage use.” (Testimony
                    of James Monsees, July 25, 2019).634
 2              •   “Our product is intended to help smokers stop smoking combustible
 3                  cigarettes.” (Ashley Gould, JLI Chief Administrative Officer, Testimony before
                    House Committee on Oversight and Reform, July 25, 2019).635
 4
     Statements by Altria to Congress:
 5             • “In late 2017 and into early 2018, we saw that the previously flat e-vapor category
                   had begun to grow rapidly. JUUL was responsible for much of the category
 6                 growth and had quickly become a very compelling product among adult
 7                 vapers. We decided to pursue an economic interest in JUUL, believing that an
                   investment would significantly improve our ability to bring adult smokers a
 8                 leading portfolio of non-combustible products and strengthen our competitive
                   position with regards to potentially reduced risk products.” (Letter from Altria
 9                 CEO to Senator Durbin, October 14, 2019).636
10
            509.    Each of the foregoing statements constitutes an act of wire fraud. JLI, Monsees,
11
     and Altria made these statements, knowing they would be transmitted via wire, with the intent to
12
     deceive the public, the FDA, and Congress as to the Defendants’ true intentions of hooking
13
     underage users.
14
            510.    Their disinformation scheme was successful. While certain groups such as the
15
     American Medical Association were calling for a “sweeping ban on vaping products,”637 no such
16
     ban has been implemented to date. Accordingly, JLI’s highly addictive products remain on the
17
     market and available to underage users.
18

19

20
     634
         Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
21     Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. 1 (2019)
       (statement of James Monsees, Co-Founder, JUUL Labs, Inc.).,
22     https://docs.house.gov/meetings/GO/GO05/20190725/109846/HHRG-116-GO05-Wstate-
23     MONSEESJ-20190725.pdf.
     635
         Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
24     Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
       (statement of Ashley Gould, Chief Administrative Officer, JUUL Labs, Inc. )., https://www.c-
25     span.org/video/?462992-1/hearing-cigarettes-teen-usage-day-2&start=6431 at 01:53:25
       (emphasis added).
26   636
         Letter from Howard A. Willard III, Altria to Senator Richard J. Durbin, 6 (October 14, 2019)
27     (emphasis added).
     637
         Karen Zraick, A.M.A. Urges Ban on Vaping Products as JLI is Sued by More States, N.Y.
28     Times (Nov. 19, 2019), https://www.nytimes.com/2019/11/19/health/juul-lawsuit-ny-
       california.html.
                                                    168
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 1   F.        Altria Provided Services to JLI to Expand JUUL Sales and Maintain JUUL’s
               Position as the Dominant E-Cigarette.
 2
               1.      Before Altria’s Investment in JLI, Altria Knew JLI Was Targeting Youth.
 3
               511.    As stated above, according to Howard Willard, Altria first contacted JLI about a
 4
     commercial relationship in early 2017, with “confidential discussions” spearheaded by Pritzker
 5
     and Valani, on the one hand, and senior executives of Altria and Altria Client Services on the
 6
     other, beginning in the Spring of 2017.638 These continued for eighteen months, culminating in
 7
     Altria’s December 2018 equity investment in JLI.
 8
               512.    While at first blush, these meetings between Altria and Altria Client Services and
 9
     Pritzker and Valani about potential investment—described in detail below—might seem like
10
     ordinary business activity, they were anything but. For nearly 18 months, Altria and Altria Client
11
     Services dangled the carrot of a multi-billion dollar payout in front of Pritzker and Valani—
12
     months in which Pritzker, Valani, and the other Management Defendants committed numerous
13
     acts of fraud to grow the business of JLI in order to satisfy Altria’s expectations. And at the same
14
     time, Altria and Altria Client Services were actively courting Pritzker and Valani with that
15
     promised payout, they were gathering information on JLI that confirmed Altria would be
16
     purchasing a company with a proven track-record of sales to youths.
17
               513.    Even before 2017, Altria and Altria Client Services—as with anyone paying
18
     attention to the e-vapor industry at the time—were well aware that JLI had been targeting kids
19
     with its youthful marketing. As noted above, JLI’s “Vaporized” campaign had made its way into
20
     the national zeitgeist, with Stephen Colbert noting that the advertising appealed “to the youths.”
21
     So, not only did Altria and Altria Client Services know JLI was targeting kids at the time it
22
     reached out to begin negotiations, it also knew that such targeting was highly successful. A May
23
     23, 2017 presentation by Altria Client Services observed that “[l]ines outside of vape shops
24
     and/or calls to vape shops regarding stock [of JUUL] are common” and that JLI’s sales revenue
25
     was growing at an exponential rate.639
26

27
28   638
           Altria’s October 14, 2019 letter to Senator Durbin, et. al., by Howard Willard III (2019).
     639
           ALGAT0002412177
                                                       169
                                                                                         COMPLAINT
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 1          514.    And beginning no later than January 2018, Altria received explicit warnings about

 2   the youth appeal of the JUUL product. During a January 3, 2018 meeting between David Wise,

 3   Steven Schroeder, and Zane Underwood of Altria (Underwood was in communication with KC

 4   Crosthwaite at the time) and Avail Vapor640 CEO James Xu and Avail Vapor scientists at

 5   Altria’s Headquarters—specifically, in the “Library” conference room—the Altria

 6   representatives requested granular data that Avail had on the sale of JUUL and JUUL pods. The

 7   Altria representatives asked for, and Avail’s representatives provided, data on the number of

 8   sales of certain flavor pods, purchasing patterns, and the demographics of JUUL users. With

 9   regard to the demographics of JUUL users, the Avail representatives showed the Altria

10   representatives a ski slope diagram indicating that the vast majority of JUUL purchasers at Avail

11   stores were 18 or 19 years old.

12          515.    James Xu of Avail Vapor, who was intimately familiar with JUUL sales and

13   tracked data related to such sales closely, repeatedly warned Altria executives of the youth

14   appeal of JUUL. And in November 2018, Xu presented the demographics data on JUUL directly

15   to KC Crosthwaite (and David Wise), thus providing further evidence that Altria and Altria

16   Client Services knew of JLI’s role in the youth vaping epidemic prior to Altria’s investment in

17   JLI.

18          516.    Notwithstanding their own observations about JUUL’s success with a young

19   demographic, the data Altria received from Avail which concerned the same, and Xu’s repeated

20   warnings, Altria and Altria Client Services aggressively pursued a deal with Pritzker and Valani

21   throughout 2018. Thus, for Altria and Altria Client Services, the large youth make-up of JLI’s

22   market share was a feature—not a flaw—of the company that it sought to acquire. It is no

23   surprise then that, even in the face of these warnings and knowledge, Altria continued to

24   aggressively pursue an investment or potential acquisition of JLI.

25

26

27   640
        As discussed below, JLI had a partnership with Avail Vapor in which Avail gathered detailed
28    data on the sale of JUUL products. Also discussed below, Altria was a minority owner of Avail
      at the time.
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 1           2.      Altria Worked with Pritzker and Valani to Secure Control of JLI and to
                     Exploit JLI for Their Mutual Benefit.
 2
             517.    The initial discussions between Altria (and Altria Client Services) and JLI’s
 3
     leadership began no later than the week of April 16, 2017 when JLI’s then-CEO Tyler Goldman
 4
     and Defendant James Monsees met with Steven Schroder, David Wise, and K.C. Crosthwaite of
 5
     Altria Client Services in San Francisco. Crosthwaite, who would later become CEO of JLI, was
 6
     at the time the Vice President of Strategy and Business Development for Altria Client Services.
 7
     Goldman spoke again with Schroeder, Crosthwaite and Wise on April 27, 2017 to discuss
 8
     “preliminary thoughts on potential ways to work together.”641
 9
             518.    Internal documents from the time show that Altria was eyeing JLI as an
10
     acquisition target. A May 23, 2017 presentation prepared by Altria Client Services for Altria
11
     Group, Inc. titled “Project Mule: Review of E-vapor Closed-System Opportunities” identified
12
     JLI (then PAX Labs) as one of two “Potentially Attractive Options.”642 Among the attractive
13
     features of JLI was that JUUL had “early market success,” had “projected sales to reach ~$300
14
     million at year-end 2017.” But Altria knew that aggressive growth would be necessary, writing
15
     that “[g]enerating an attractive return would require consistently strong EBITDA growth.” The
16
     presentation also viewed as attractive features that JLI offered “mint, berry, tobacco, and cream
17
     varieties” with “[i]ndications of additional flavor pods in potential pipeline,” and that there
18
     “[l]ines outside of vape shops and/or calls to vape shops regarding stock are common.” The
19
     presentation also revealed that Altria (through an unidentified subsidiary, though likely Altria
20
     Client Services) had tested “all five flavors” of JUUL pods and was aware of the amount of
21
     “[n]icotine per puff” in a JUUL pod. Altria Client Services’ conclusions about the popularity of
22
     JUUL were consistent with the narrative JLI was presenting to potential investors. JLI’s pitch
23
     deck to investors at the time boasted that “Viral Marketing Wins,” and that JUUL’s super potent
24
     nicotine formulation was “cornering” the consumables market with the highest customer
25
     retention rate of any e-cigarette.643
26

27   641
         JLI01369848
     642
28       ALGAT0002412177
     643
         INREJUUL_00349529.
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 1            519.   In a May 31, 2017 presentation prepared by Altria Client Services titled “Closed

 2   Tank for AS Analysis,” Altria Client Services stated that “Nu Mark [a subsidiary of Altria

 3   Group, Inc.] and S&BD [a division of Altria Client Services] have engaged in discussions with

 4   Pax Labs (Juul) . . . regarding a potential transaction.”644 Altria Client Services noted that it was

 5   seeking “a meeting of senior management of both firms in the next few weeks to explore

 6   potential interest in a transaction.” Notably, to Altria Client Services, the “senior management”

 7   of JLI was interchangeable with Defendants Pritzker and Valani, as later in the same presentation

 8   Altria Client Services stated that it was “[s]eeking a meeting between Altria management and

 9   Pax lead investors to discuss deal interest.”

10            520.   From the very beginning of their negotiations, it was clear to Altria and Altria

11   Client Services that they were operating within a closing window in which JLI’s sales to youths

12   could continue unabated. In this same May 23, 2017 presentation, Altria Client Services focused

13   on the “significant risk” of unfavorable regulations to “this rapidly growing product segment”

14   given that no PMTAs had been granted for closed-pod products.645 And as set forth below, Altria

15   and Altria Client Services were well aware of the public scrutiny of JLI’s youth marketing

16   efforts, which could only lead to unfavorable regulatory action. Altria and Altria Client Services

17   had to convince Pritzker and Valani to let Altria acquire or buy into JLI before it was too late.

18            521.   In a June 2017 internal presentation prepared by Altria Client Services in

19   anticipation of the meeting with Pritzker and Valani on a potential deal involving a minority

20   stake in JLI with a call option (i.e., the ability to acquire JLI at a later date), which Altria had

21   codenamed “Project Tree,” Altria Client Services identified Valani and Pritzker as “control[ling]

22   majority of voting power [of JLI] and 44% of economic interests.” Altria Client Services’ stated

23   goal was to “build relationship/rapport” with Valani and Pritzker at their first meeting and to

24   convey “Altria’s strengths and potential strategic contributions,” which included “[e]xpertise

25   building premium and iconic brands,” a “[b]est in class distribution and sales force,”

26   “[e]xperience and resources to navigate a complex [regulatory] environment,” “[r]esources to

27
     644
28         ALGAT0002412181
     645
           Id.
                                                       172
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 1   navigate and respond to evolving [government affairs] landscape,” and a “[s]trategic relationship

 2   with Philip Morris international.”646 More important, though, is that the presentation made clear

 3   that Altria and Altria Client Services sought to appeal to Pritzker and Valani’s personal interest

 4   as investors, and not just the contributions that Altria and its subsidiaries could make for the

 5   business of JLI, noting that its potential deal would “[p]rovide return on percentage of equity

 6   invested to date; provide opportunity for upside on equity retained.”647

 7          522.    From the very beginning of their relationship, Altria and Altria Client Services

 8   communicated to Pritzker and Valani—who, in turn, communicated to Defendants Bowen,

 9   Monsees, and Huh—that they would profit handsomely by accepting Altria’s investment and

10   following its lead in growing the business of JLI. Of course, and as set forth herein, this growth

11   would be pursued through fraud and deceit to both the public and regulators.

12          523.    Beyond controlling the “majority of voting power” of JLI, Pritzker and Valani

13   were the perfect choice to liaise with Altria and Altria Client Services on behalf of the

14   Management Defendants. Pritzker has been long familiar with the tobacco industry from his

15   family's ownership of chewing-tobacco giant Conwood before selling it to Reynolds American,

16   Inc., a subsidiary of British American Tobacco. And Valani, for his part, was intimately familiar

17   with the business of JLI. He was the company’s first “angel investor” and was a regular presence

18   within the halls of JLI (then Pax Labs) well before the company even had a working product.648

19   Notably, Pritzker and Valani are the only Defendants who have admitted to using non-

20   discoverable messaging services to communicate regarding JLI business. Pritzker and Valani

21   both used the “Confide” messaging application, which allows users to send encrypted, ephemeral

22

23

24

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26   646
         ALGAT0002834151
     647
27       Id.
     648
         Alex Norcia, JUUL Founders' First Marketing Boss Told Us the Vape Giant's Strange, Messy
28     Origins, VICE (Nov. 5, 2019), https://www.vice.com/en/article/43kmwm/juul-founders-first-
       marketing-boss-told-us-the-vape-giants-strange-messy-origins.
                                                      173
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 1   and screenshot proof messages.649 And Pritzker and Valani both used Signal, which provides

 2   state-of-the-art end-to-end encryption for phone calls and messages.650

 3          524.    Altria was an ideal model for growing JLI. Altria, including through its

 4   subsidiaries, has decades of experience targeting kids through youth-appealing marketing images

 5   and themes.651 It also had decades of experience using flavors to hook kids, and still does so in

 6   many international markets.652 And Altria has decades of experience misleading and lying to the

 7   public about their efforts to target kids through marketing and flavors, and making similar

 8   fraudulent representations to regulators in order to delay or deter regulations.653 Yet, because it

 9   was a party to the Master Settlement Agreement, many of the tactics used by JLI to target kids

10   were unavailable to Altria. So Altria and Altria Client Services found a new way, drawing on

11   Altria’s storied history of unlawful activity to partner to the Management Defendants in JLI’s

12   fraud at every turn. The result was bundles of cash for the Management Defendants, a new

13   generation of youth customers for Altria and its subsidiaries, and a public left reeling from a

14   rapidly growing youth vaping epidemic.

15          525.    Following their early discussions with Nu Mark and Altria Client Services,

16   Defendant Valani met with Howard Willard (then-CEO of Altria Group, Inc.) and William

17   Gifford (then-CFO and now CEO of Altria Group, Inc.) on July 28, 2017. They discussed

18   Altria’s “perspective on the industry, the future of reduced risk products, and your thoughts on

19   possible collaboration between ourselves.”654 Valani followed up on this meeting with an email

20

21

22

23
     649
         Riaz Valani’s Responses and Objections to Plaintiffs’ First Set of Interrogatories; Nicholas
       Pritzker’s Responses and Objections to Plaintiffs’ First Set of Interrogatories.
     650
24       Id.
     651
         Hafez, N., & Ling, P. M. (2005). How Philip Morris built Marlboro into a global brand for
25     young adults: implications for international tobacco control. Tobacco Control, 14(4), 262-271.
       Retrieved from https://escholarship.org/uc/item/5tp828kn
26   652
         Campaign for Tobacco Free Kids, The Facts about Philip Morris International: Company Is
27     Cause of the Tobacco Problem, Not the Solution (November 15, 2017), available at
       https://www.tobaccofreekids.org/assets/images/content/PMI_bad_acts.pdf.
     653
28       See, e.g., United States v. Philip Morris USA, Inc., 449 F. Supp. 2d 1 (D.D.C. 2006).
     654
         ALGAT0000082947
                                                      174
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 1   on July 31, 2017 connecting Gifford with Defendant Pritzker, “convey[ing] our warm regards to

 2   Howard,” and offering to “come to Richmond” in order “to continue our discussion.”655

 3          526.     Defendants Pritzker and Valani traveled to Richmond less than a month later for

 4   an August 25, 2017 meeting with Howard Willard and William Gifford.656 Altria Client Services,

 5   in an internal presentation dated September 2017, would report that either at this meeting or the

 6   July 2017 meeting, Pritzker and Valani “asked Altria to consider three questions to be addressed

 7   at the next meeting being scheduled for mid-late September.” Those questions focused on the

 8   transaction structure and how Altria would assign a value JLI, including its international

 9   prospects.657

10          527.     This presentation also reveals that Pritzker and Valani were open to a deal, and

11   that they had “high value expectations,” even though the presentation later notes that Pritzker

12   and Valani conveyed that JLI “does not need capital.”658 Taken together, these observations

13   make clear that Pritzker and Valani sought a massive payday for themselves and were not

14   looking out for the strategic interests of JLI as a corporation. JLI did “not need” the massive

15   capital infusion that Altria’s investment would ultimately provide. It was the investors—i.e.,

16   Pritzker, Huh, Valani, Bowen, and Monsees—who stood to benefit. It was that promise of an

17   impending personal payout that incentivized and motivated the Management Defendants to

18   accept Altria’s and Altria Client Services’ influence and control. If their fraudulent schemes were

19   successful, they would reap billions of dollars for themselves, regardless of what ended up

20   happening to JLI itself. In this way, Altria and Altria Client Services were able to influence JLI

21   well before Altria formalized its investment in December 2018.

22          528.     Communications between Altria, Altria Client Services, Pritzker, and Valani were

23   frequent and their meetings continued at a regular pace over the next year and a half. For

24   example, on December 15, 2017, Howard Willard, William Gifford, and Jay Moore (Senior Vice

25   President of Business Development, Altria Client Services) met with the Project Tree investors

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     655
27       Id.
     656
         Id.
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28       ALGAT0000112523
     658
         Id.
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 1   (Defendants Pritzker and Valani) again, this time in White Plains, New York at the Andaz 5th

 2   Avenue Hotel.659

 3          529.    By no later than January 25, 2018, Howard Willard directly involved K.C.

 4   Crosthwaite, who had transitioned from Altria Client Services to become President and CEO of

 5   Defendant Philip Morris USA, in the negotiations with JLI. For example, on January 25, 2018,

 6   Howard Willard sent a presentation about “Project Tree” (Altria’s investment in JLI) to K.C.

 7   Crosthwaite and the two men agreed to discuss the matter the next morning.660 By June 2018,

 8   Crosthwaite would be rewarded through a promotion to Senior Vice President, Chief Strategy &

 9   Growth Officer for both Altria Client Services and Altria Group, Inc. and would assist Willard in

10   quarterbacking the JLI deal.

11          530.    Altria and Altria Client Services and Pritzker and Valani continued their

12   correspondence between December 2017 and July 2018. An internal Altria Client Services

13   presentation references a letter Altria received regarding the proposed deal in April 2018.661 On

14   April 13, 2018, Howard Willard sent an email to Nicholas Pritzker, Riaz Valani, and JLI’s then-

15   CEO Kevin Burns, “getting back to you” and requesting a call “early next week” in which Altria

16   would share its plans for a “win/win partnership that enables us to fully collaborate” and to

17   “deliver maximum value in the long run.” Altria also wanted to discuss the “critical item[]” of

18   “strategy alignment and chemistry between our respective operating teams in supportive [sic] of

19   a productive partnership that can create substantial value.”662 Prior to this call, Pritzker, Valani,

20   and Burns on the one hand and Altria (and/or Altria Client Services) on the other shared “volume

21   forecast for [JLI’s] business.”663 The call between Willard, Pritzker, Valani, and Burns took

22   place on April 16, 2018, prior to which Willard sent the JLI parties a “Payment Structure

23   Proposal” and noted that legal counsel need to “connect to assess antitrust risk.”664 The Payment

24   Structure Proposal provided various scenarios for a potential 50.1% investment by Altria in JLI,

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     659
         ALGAT0000025589; ALGAT0000041165.
26   660
         ALGAT0000036407; ALGAT0000111921
     661
27       ALGAT0002817348
     662
         JLIFTC00639178
     663
28       JLIFTC00638936; ALGAT0005452943
     664
         ALGAT0004031391
                                                      176
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 1   each of which contemplated billions of dollars in “Investor Value” for JLI’s investors (i.e., the

 2   Management Defendants).665 Valani forwarded this document to attorney Jorge A. del Calvo at

 3   Pillsbury Winthrop Shaw Pittman LLP who then forwarded the document to Defendants Adam

 4   Bowen and James Monsees.666

 5          531.    Willard followed up on this call with a May 3, 2018 Proposal Letter to Pritzker,

 6   Valani, and Burns.667 The Proposal Letter also contemplated a 50.1% investment that

 7   contemplated majority of payment to be made after antitrust approval and a separate “earn-out

 8   payment” of “up to $3.5 billion” to the “selling JUUL shareholders”; Willard described the

 9   valuation as “compelling to your investors, particularly taking into account the substantial

10   regulatory and legal contingencies relating to eVapor generally and JUUL products

11   specifically.”668 Notably, Willard wrote that Altria was “open to discussing the exact terms of

12   [the earn-out] payment but prefer to discuss it in person.”669 The letter goes on to further state

13   that Altria was “prepared to discuss offering a series of liquidity events for the current JUUL

14   investors with respect to their residual 49.9% ownership interest.”670 This letter is yet another

15   example of the ways in which Altria sought to influence Pritzker and Valani and indirectly

16   control JLI, with the promise of a multi-billion dollar payment if they were to get JLI to go along

17   with an Altria investment. Willard emphasized that they were aligned on a “strategic vision as to

18   how to grow the JUUL business rapidly.” Altria sought to control the JLI business, with Willard

19   writing that “we would require that, following the first two payments outlined above, Altria (a)

20   owns a majority of the JUUL equity and voting rights and (b) has the right to control generally

21   the JUUL business.”671

22          532.    Altria and Altria Client Services viewed these meetings, and Valani in particular,

23   as a “back-channel” to communicate with the decision-makers behind JLI—i.e., the Management

24

25   665
         JLIFTC01082372
     666
         JLIFTC01082370
26   667
         ALGAT0004030132
     668
27       ALGAT0004031645-46
     669
         Id. (emphasis added)
     670
28       Id.
     671
         Id. (emphasis added)
                                                     177
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 1   Defendants. In a presentation by Altria Client Services in June 2018 to Altria Management

 2   regarding preparations for a July 13, 2018 meeting with Pritzker and Valani, Altria Client

 3   Services considered a “[b]ack-channel with Riaz and / or [Goldman Sachs] in advance of

 4   meeting.”672

 5          533.    Altria and Altria Client Services were pursuing this “back-channel” even though

 6   the lawyers for JLI and Altria had grown concerned over Pritzker and Valani’s roles in the

 7   negotiations. On April 26, 2018, Pritzker sent an email to Howard Willard, copying Valani,

 8   regarding a “standstill” in the negotiations. Pritzker wrote: “[O]ur lawyers are apparently at a

 9   standstill over the standstill (in the NDA). I understand that you want the continuing right to talk

10   to Riaz and me. That’s just fine, and we are both happy to talk to y’all any time, but it needs to

11   be limited to in our capacity as directors: we need to avoid any appearance of conflict. I can’t

12   imagine this makes a difference. If not, can you intercede so we can get this going, and if so

13   perhaps you could give us a call to explain.” This email makes clear that Willard wanted

14   unfettered access to his back-channel of Pritzker and Valani, and that Altria and Altria Client

15   Services had not been communicating with Pritzker and Valani “in [their] capacity as

16   directors.”673 Again, Altria and Altria Client Services were appealing to Pritzker and Valani’s

17   personal financial interest, which inevitably affected the actions they took as directors of JLI.

18          534.    Howard Willard responded that he conveyed “our joint view” to Altria’s counsel

19   and then suggested a meeting on May 6, 2018 involving lawyers for both sides. Willard also set

20   up a separate dinner or breakfast for himself and Pritzker.674 Valani was not available on this

21   date, so the meeting was rescheduled, and the back-channeling continued.675

22          535.    The parties met again in July 2018. According to the June 2018 presentation by

23   Altria Client Services, at the July 13, 2018 meeting with Pritzker and Valani, Altria and Altria

24   Client Services planned to push for a deal in which Altria would be able to “appoint[] majority of

25   board” of JLI and have control of “board decisions by majority vote (including hiring/removal of

26
     672
27       ALGAT0002817356
     673
         ALGAT0000113109
     674
28       Id.
     675
         ALGAT0000113121
                                                      178
                                                                                        COMPLAINT
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 1   CEO).” Altria was planning on structuring part of its payment for its ownership in JLI to include

 2   a separate “PMTA payment” of “$1 - $3 Billion” which Altria Client Services conceded was, in

 3   part “to compensate Tree [JLI] investors for potential upside in the business.”676

 4          536.    The same presentation revealed that Altria or Altria Client Services was planning

 5   on engaging with JLI regarding its “Youth vaping prevention plan” by August 10, 2018, with

 6   Altria or Altria Client Services preparing its own plan for JLI.677

 7          537.    The July 13, 2018 meeting was attended by Howard Willard, Billy Gifford, and

 8   K.C. Crosthwaite.678

 9          538.    At some point after negotiations had been ongoing between Altria, Altria Client

10   Services, Pritzker, and Valani, Kevin Burns, then-CEO of JLI, joined the negotiations. By this

11   point, Pritzker and Valani had already pushed Altria and Altria Client Services to offer terms

12   highly favorable to the individual investors in JLI, regardless of the true benefit to the company.

13   And by virtue of their control of JLI, the Management Defendants ensured that Kevin Burns

14   went along with the deal.

15          539.    On August 1, 2018, Pritzker, Valani and Burns met with Howard Willard and

16   William Gifford at the Park Hyatt Hotel in Washington, D.C., to further discuss the terms of an

17   impending deal.679 Following this meeting, Valani and Pritzker were working the machinery of

18   JLI to obtain the information that Altria needed to consummate their deal. On August 7, 2018,

19   Tim Danaher (CFO of JLI) sent Burns, Valani, and Pritzker a “Summary Cap Table,” which

20   Burns forwarded to Howard Willard with a comment that he would “call you tomorrow.”

21   Howard Willard forwarded this email to K.C. Crosthwaite, who at this point was intimately

22   involved at the negotiations between Altria, Pritzker and Valani.680

23          540.    Around this time, K.C. Crosthwaite also made explicit Altria’s goal to influence

24   and control JLI. In a presentation by Crosthwaite to Altria Group, Inc. at the Board of Directors’

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26   676
         Id.
     677
27       Id.
     678
         Id.
     679
28       ALGAT0003443977
     680
         ALGAT0003352121; ALGAT0003352122
                                                     179
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 1   Strategy Session on August 22, 2018, Crosthwaite indicated that Altria should keep pursuing

 2   their “strategic investment in JUUL” because it would give Altria “[s]ignificant ownership and

 3   influence in U.S. e-vapor leader.”681 This presentation reveals that Altria sought to require JLI to

 4   seek “Altria approval” of its “Youth vaping prevention plan.”

 5          541.    The negotiations between JLI, Altria, and Altria Client Services continued full

 6   steam from August 2018 through the announcement of the investment in December 2018. In an

 7   August 14, 2018 email from Nicholas Pritzker to Howard Willard and Billy Gifford, copying

 8   Kevin Burns and Valani, Pritzker wrote that “Riaz [Valani] met with Dinny [Devitre, Altria

 9   Group Board of Directors, Chair of Finance Committee] and that the two of you and maybe

10   Dinny as well may be interested in meeting with us in San Francisco this Saturday.”682 Willard

11   responded that he, Billy Gifford, K.C. Crosthwaite and Dinny Devitre would attend the meeting.

12   Pritzker responded that lawyers should attend, though Kevin Burns emailed him separately that

13   he “wouldn’t add lawyers to the meeting but would put them in back rooms for support,” and

14   that it “[l]ooks like we are a go pending Riaz’s meeting today.” In advance of the Saturday

15   meeting, Willard set up a separate call with Nicholas Pritzker to discuss the remaining

16   negotiating points. Burns and Valani were aware of, and possibly included in, this call.683 So, in

17   August 2018, information was being exchanged between Altria and Altria Client Services and

18   JLI at a rapid pace, and numerous meetings between Valani, Pritzker, and Altria and/or Altria

19   Client Services were taking place.

20          542.    On October 25, 2018, Howard Willard, Billy Gifford, KC Crosthwaite, and

21   Murray Garnick participated in a call with Pritzker, and possibly Valani and Kevin Burns, to

22   discuss the ongoing negotiations.684 Pritzker, Valani, and Burns also met privately with Howard

23   Willard and other Altria (and Altria Client Services) executives on October 28, 2018 for a dinner

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     681
27       ALGAT0003327931.
     682
         JLI01389789
     683
28       JLI01389792
     684
         JLI10518738
                                                     180
                                                                                        COMPLAINT
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 1   at Dinny Devitre’s home to discuss the deal, while sending their lawyers to a separate meeting

 2   that same night.685

 3          543.    Also on October 25, 2018, the day Altria and Pritzker, Valani and Burns held a

 4   call to discuss the deal, Howard Willard shared with Pritzker and Valani the letter that Altria had

 5   sent to the FDA, which was a key part of the Management Defendant’s and Altria’s scheme to

 6   deceive regulators and the public and keep youth-appealing Mint Juul pods on the market long

 7   after other flavors were removed, as set forth below.686

 8          544.    Over the following six weeks prior to the announcement of Altria’s investment in

 9   JLI, K.C. Crosthwaite became even more hands on, leading the aggressive diligence efforts on

10   behalf of Altria and Altria Client Services. October 30, 2018, K.C. Crosthwaite sent JLI a

11   preliminary diligence list which requested a list of all material intellectual property, including all

12   patents (which, notably, would have included the ‘895 patent revealing that JLI’s nicotine

13   content was misrepresented to the public; of course, Altria already knew this because it had

14   undertaken its own testing of the nicotine strength of JUUL pods, as set forth above). It also

15   included requests for “materials related to underage use prevention, underage product appeal,

16   and underage use.” JLI agreed to produce this information by November 9, 2018.687 Crosthwaite

17   and Kevin Burns, as well as others from Altria, Altria Client Services, and JLI, held a call to

18   discuss these diligence requests on November 2, 2018.688

19          545.    By this point, Pritzker and Valani had brought in other senior leadership of JLI to

20   get the deal across the finish line. Kevin Burns, Tim Danaher, Bob Robbins (President, JUUL

21   Americas), Jerry Masoudi (Chief Legal Officer), Mark Jones (Associate General Counsel),

22   Ashley Gould, and Defendants Bowen and Monsees attended meetings with Altria and Altria

23   Client Services from November 15, 2018 through November 17, 2018.689 As set forth below, the

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26   685
         Id.
     686
27       JLIFTC00653389
     687
         JLI01374739; JLI01374736
     688
28       JLI01374736
     689
         ALGAT0003776795
                                                      181
                                                                                         COMPLAINT
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 1   deal was finally consummated—and Pritzker, Valani, Huh, Bowen and Monsees handsomely

 2   rewarded—in December 2018.

 3          3.      Altria Participated in and Directed the Fraudulent Acts of JLI Designed to
                    Protect the Youth Market for JUUL
 4
                    a.     Altria Participated in and Directed JLI’s Make the Switch Campaign.
 5
            546.    Altria did not simply take in information regarding JLI’s youth sales passively
 6
     while it pursued ownership of JLI. It also worked to ensure that the Management Defendants
 7
     would take steps to continue JUUL’s exponential sales growth and to stave off any regulation
 8
     that might hinder that growth.
 9
            547.    Specifically, Altria worked behind the scenes to bolster JLI’s public narrative
10
     claiming that JUUL was a cessation device intended for adult smokers. Well before JLI launched
11
     the “Make the Switch” campaign in January 2019, Altria was pushing the narrative that e-vapor
12
     products could help adult smokers “switch” off of combustible cigarettes. In an October 25, 2018
13
     letter from Howard Willard to the FDA—sent while Altria was finalizing the terms of its deal
14
     with Pritzker, Valani, and Burns—Willard touted that “We believe e-vapor products present an
15
     important opportunity to adult smokers to switch from combustible cigarettes.”690 As noted
16
     below, Howard Willard shared this letter with Pritzker and Valani the same day he sent it to the
17
     FDA.
18
            548.    Moreover, Altria’s partners within JLI—Valani and Pritzker—were involved in
19
     reviewing and approving the Make the Switch Campaign, allowing Altria to influence the
20
     marketing efforts of JLI. For example, on December 27, 2018, Kevin Burns forwarded an email
21
     from Chelsea Kania to Pritzker and Valani with “assets for the [Make the Switch] campaign
22
     including 20/60 radio spots and 30/60 tv spots,” and the next day Valani directed which videos
23
     should be aired as part of the campaign.691
24

25

26

27   690
         Letter from Howard A. Willard III, Altria, to Dr. Scott Gottlieb, FDA, at 1 (Oct. 25, 2018)
28     (emphasis added).
     691
         JLI10071280; JLI10071228
                                                    182
                                                                                      COMPLAINT
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 1                   b.       Altria Participated in and Directed JLI’s Fraudulent Scheme to Keep
                              Mint on the Market.
 2
             549.    Altria and Altria Client Services also came to the bargaining table with Pritzker
 3
     and Valani armed with important knowledge – that flavors would be crucial to JLI’s continued
 4
     ability to target and sell to youth users and wanting to ensure JLI proactively and fraudulently
 5
     protect those flavors.
 6
             550.    Within weeks of the FDA’s July 2017 notice of proposed rulemaking (“ANPR”)
 7
     regarding ENDS flavor regulations, Gal Cohen proposed that JLI and others “build a coalition
 8
     and common agenda to influence or challenge FDA’s approach” to regulating flavors.692
 9
     Foreshadowing their joint effort to portray Mint as a traditional tobacco or menthol flavor (as
10
     opposed to a flavor that appealed to kids), Cohen asked whether Altria and JLI might respond to
11
     the FDA with “a common approach and understanding,” and asked if the companies might find
12
     “a damage limitation option” concerning the regulation of ENDS flavors.693
13
             551.    Ashley Gould, copying Adam Bowen, responded that the “Consensus seems to be
14
     there is a value in participating in a discussion. Less sure that participating in a joint effort to
15
     influence FDA makes sense, so please don't commit to that at the meeting.” In the same email,
16
     Gould seemingly reversed course and gave Cohen the go-ahead to meet with Altria (or Altria
17
     Client Services) in pursuit of a damage limitation option “(but maybe best if the group is
18
     smaller).”694
19
             552.    Cohen attended a September 15, 2017 Global Tobacco Networking Forum
20
     (“GTNF”) industry event with James Xu, CEO of Avail Vapor, and Altria Client Services’ Phil
21
     Park. The small group Gould recommended seems to have materialized, as a September 27, 2017
22
     email from Cohen notes that “Clive Bates organized a group that met on Friday with reps from
23
     Altria etc. . . they want to help drive standards definitions.”695
24

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26
     692
27       JLI10678579
     693
         Id.
     694
28       Id.
     695
         JLI10679070
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 1            553.    Through this meeting, Altria knew that JLI would be a good partner because it

 2   shared a similar vision of preserving flavors. Indeed, Altria (or Altria Client Services) went into

 3   this meeting with Cohen expecting to find a willing partner on flavors. As noted above, a May

 4   2017 presentation from Altria Client Services touted that JLI offered “mint, berry, tobacco, and

 5   cream varieties” with “[i]ndications of additional flavor pods in potential pipeline.”696

 6            554.    The following year, 2018, when it became clear that the FDA was increasing

 7   scrutiny of the e-vapor industry, JLI, the Management Defendants, and Altria publicly defended

 8   mint flavoring as a substitute for menthol cigarette smokers, when in fact JLI’s studies—which

 9   had been made available to Altria and Altria Client Services as part of due diligence for its

10   ultimate investment in JLI—indicated that mint users are not former menthol smokers and that

11   mint pods were as popular with teens as Mango pods. By fighting to keep mint as the last flavor

12   on the market, the cigarette industry could continue to appeal to non-smokers, including youth.

13   JLI and the Management Defendants coordinated with Altria to pursue a fraudulent scheme to

14   persuade the FDA into leaving the mint flavor on the market, willingly sacrificing other flavors

15   in the process as a purported show of commitment to youth prevention.

16            555.    Altria’s specific fraudulent acts with regard to this fraudulent scheme are detailed

17   further below.

18            4.      JLI, the Management Defendants and Altria Coordinated to Market JUUL
                      in Highly-Visible Retail Locations
19
              556.    JLI, the Management Defendants, and Altria’s coordination continued in other
20
     ways throughout 2018 as they prepared for Altria’s equity investment in JLI.
21
              557.    A key aspect of this early coordination was Altria’s acquisition of shelf-space that
22
     it would later provide to JLI to sustain the exponential growth of underage users of JUUL
23
     products. By acquiring shelf space, Altria took steps to ensure that JUUL products would be
24
     placed in premium shelf space next to Marlboro brand cigarettes, the best-selling cigarette
25
     overall and by far the most popular brand among youth.
26

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           ALGAT0002412177
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 1            558.   Altria’s investment was not for its own e-cigarette products. Altria spent

 2   approximately $100 million in 2018 to secure shelf-space at retailers for e-cigarette products—

 3   purportedly for the MarkTen e-cigarette that Altria stopped manufacturing in 2018, and its pod-

 4   based MarkTen Elite, which it launched on a small scale in only 25,000 stores. By comparison,

 5   the 2014 launch of the original MarkTen resulted in product placement in 60,000 stores in the

 6   first month in the western United States alone. Yet Altria’s payments for shelf space were a

 7   mixture of “cash and display fixtures in exchange for a commitment that its e-cigarettes would

 8   occupy prime shelf space for at least two years.”

 9            559.   In reality, Altria spent approximately $100 million on shelf-space in furtherance

10   of expanding the e-cigarette market, including JLI’s massive, ill-gotten market share.

11            560.   When Altria later announced its $12.8 billion investment in JLI, part of the

12   agreement between the two companies was that Altria would provide JLI with this premium

13   shelf space.

14            561.   Altria’s purchase of shelf space in 2018 and its subsequent provision of that space

15   to JLI shows how Altria, JLI, and the Management Defendants were coordinating even before

16   Altria announced its investment in JLI. Altria’s actions ensured that, even after public and

17   regulatory scrutiny forced JLI to stop its youth-oriented advertising, JUUL products would still

18   be placed where kids are most likely to see them—next to Marlboros, the most iconic, popular

19   brand of cigarettes among underage users—in a location they are most likely to buy them—retail

20   establishments.

21            5.     Altria Works with the Management Defendants to Direct JLI’s Affairs and
                     Commit Fraud.
22
              562.   In December 2018, Altria formalized its relationship with JLI’s leadership by
23
     making a $12.8 billion equity investment in JLI through Altria Group and its wholly-owned
24
     subsidiary, Altria Enterprises697, the largest equity investment in United States history. This
25
     arrangement was profitable for both Altria as well as Defendants Monsees, Bowen, Pritzker,
26
     Huh, and Valani. [**REDACTED PURSUANT TO COURT ORDER**] In turn, Altria and its
27
28
     697
           Archive00760162
                                                     185
                                                                                        COMPLAINT
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 1   subsidiaries received millions of loyal teen customers, customers Altria was no longer able to get

 2   through the sale of its own cigarette products. The Management Defendants’ payout reflects their

 3   active role in JLI’s growth, not just a return on their investment.

 4           563.    In July 2018, JLI’s valuation was approximately $15 billion.698 But, in December

 5   2018, Altria’s investment of $12.8 billion for a 35% stake in the company reflected a valuation

 6   of approximately $38 billion—more than two and a half times the valuation just five months

 7   earlier. Defendants Monsees, Bowen, Pritzker, Huh, and Valani thus saw the value of their

 8   investments in JLI skyrocket as a result of the Altria agreement, allowing them to cash out via a

 9   special dividend and bonus, as well as through stock sales that were not available to other of

10   JLI’s minority shareholders.699 This investment further intertwined JLI and the Altria.

11           564.    While Pritzker, Valani, and Altria carefully structured the deal to avoid the

12   appearance of Altria’s control of JLI, for fear of drawing regulatory and public scrutiny, the

13   structure does not tell the whole story. Altria and Altria Client Services had been involved in

14   directing the affairs of JLI indirectly long before its investment, and the Altria Defendants’

15   involvement was even more direct following the investment. And although Altria took only a

16   35% share initially, it retained the option to buy JLI outright in 2022. This promise of a future

17   purchase gave it significant influence over the actions of JLI’s leadership—i.e., the Management

18   Defendants who stood to profit even more handsomely from an ultimate acquisition by Altria.

19           565.    While JLI and Altria remain separate corporate entities in name, following its

20   equity investment in JLI, the Altria Defendants worked with the Management Defendants, and

21   Pritzker and Valani in particular, to forge Altria and JLI forged even greater significant, systemic

22   links, i.e., shared leadership, contractual relationships, financial ties, and continuing coordination

23   of activities with JLI’s leadership. Because Altria and its subsidiaries could no longer market

24   Altria’s products to children or lie to adults about the safety, addictiveness, or health effects of its

25

26   698
         https://www.theverge.com/2018/7/3/17529442/juul-vapes-nicotine-electronic-cigarettes-
27     addiction-funding
     699
         Tiffany Kary, JUUL Founders Sued for Self-Dealing Over Altria's $12.8 Billion, Bloomberg
28     (Jan. 13, 2020), https://www.bloomberg.com/news/articles/2020-01-13/juul-founders-sued-for-
       self-dealing-over-altria-s-12-8-billion.
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 1   own cigarettes as result of prior tobacco litigation and regulation, Altria took even greater control

 2   of JLI in order to accomplish both of these goals through that company.

 3                  a.      Altria Installs Its Own Executives into Leadership Positions to Direct
                            the Affairs of JLI.
 4
            566.    To exercise its influence and control of JLI, Altria worked with Pritzker and
 5
     Valani to install two key Altria executives into leadership positions at JLI: K.C. Crosthwaite and
 6
     Joe Murillo:
 7
                    a.      K.C. Crosthwaite, who was Vice President of Altria Client Services
 8                          when the company carried out a study that would later be used by
 9                          Altria to shield JUUL’s Mint pods from federal regulation, is now
                            JLI’s CEO. Before joining JLI, Crosthwaite was Altria’s and Altria
10                          Client Services’ Chief Growth Officer and played a major role in
                            Altria’s investment in JLI, and had experience in the marketing of
11                          tobacco products from his time as president of Philip Morris USA.
12                  b.      Joe Murillo, who launched the MarkTen e-cigarette line at Altria (as
                            President and General Manager of Nu Mark LLC) and more recently
13
                            headed regulatory affairs for Altria (as Senior Vice President of
14                          Regulatory Affairs of Altria Client Services) , is now JLI’s chief
                            regulatory officer.700 A 24-year career Altria executive, Murillo
15                          previously ran Altria’s e-cigarette business, Nu Mark, “before Altria
                            pulled its e-cigarettes off the market as part of its deal with
16                          J[UUL].”701
17
            567.    As mentioned above, K.C. Crosthwaite played a major role in Altria’s investment
18
     in JLI. Crosthwaite frequently communicated with Altria Group’s senior management about
19
     Altria’s investment. For example, on January 25, 2018, Altria Group’s CEO, Howard Willard
20
     sent a presentation about “Project Tree” (Altria’s investment in JLI) to K.C. Crosthwaite (who
21
     was, at the time, President of Defendant Philip Morris USA) and the two men agreed to discuss
22
     the matter the next morning.702 Then in July 2018, Crosthwaite (who, at the time, had
23
     transitioned to his role as Senior Vice President and Chief Growth Officer of Altria Client
24
     Services and Altria Group) was also listed as one of three “meeting participants,” along with
25

26
     700
27       Jennifer Maloney, JLI Hires Another Top Altria Executive, Wall St. J. (Oct. 1, 2019),
       https://www.wsj.com/articles/juul-hires-another-top-altria-executive-11569971306.
     701
28       Id.
     702
         ALGAT0000036407; ALGAT0000111921.
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                                                                                        COMPLAINT
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 1   Willard and Altria Group’s CFO, Gifford, for a July 13, 2018 meeting with JLI’s leadership

 2   about the deal between Altria and JLI.703 In addition, Crosthwaite led Altria Group’s due

 3   diligence efforts,704 signed the investment exclusivity agreement on behalf of Altria Group

 4   shortly before the deal was publicly announced,705 and was listed as the Altria point of contact

 5   for any “notices, requests and other communications” regarding the Services Agreement between

 6   Altria Group and JLI.706

 7          568.    While working on this investment, Altria, and Crosthwaite himself, discussed

 8   their goal to influence and control JLI. For example, in a presentation by Crosthwaite to Altria

 9   Group, Inc. at the Board of Directors’ Strategy Session on August 22, 2018, Crosthwaite

10   indicated that Altria should keep pursuing their “strategic investment in JUUL” because it would

11   give Altria “[s]ignificant ownership and influence in U.S. e-vapor leader.”707

12          569.    After the deal was official, in January 2019, Altria appointed Crosthwaite to the

13   JLI Board of Directors.708 Crosthwaite was required to be a non-voting observer until the FTC

14   gave the Altria investment in JLI clearance, which has yet to occur. Altria planned to use this

15   role to help guide JLI. According to Crosthwaite, Altria was focusing on “ensur[ing] JUUL

16   maintains long-term leadership in global E-vapor by leveraging Altria’s best-in-class

17   infrastructure and providing guidance through board participation.”709

18          570.    However, despite his now official role, Crosthwaite continued to meet privately

19   with Pritzker and Valani. For example, on January 16, 2019, Pritzker asked Crosthwaite if he

20   would meet with Valani and Pritzker after the JUUL Board meeting later that month.

21   Crosthwaite promptly reported back to Willard that he “agreed to have dinner with Nick and

22   Riaz on the 31st after the JUUL BOD meeting.”710

23

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     703
         ALGAT0002817348.
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         JLI01374736; JLI01416851.
     705
         JLI01392046.
26   706
         Archive00760280.
     707
27       ALGAT0003327931-33.
     708
         JLI01416851.
     709
28       ALGAT0002856951.
     710
         ALGAT0000114034.
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 1           571.   Crosthwaite continue to be involved in meetings between Altria and the

 2   Management Defendants as his time as an “observer” on the JLI Board went on. On March 26,

 3   2019, Willard, Gifford, and Crosthwaite and a few other Altria employees flew to San Francisco

 4   to attend a dinner with the JLI leadership, including Bowen, Monsees, Pritzker, Valani, and

 5   others.711 After the dinner, Pritzker emailed Willard, Gifford, and Crosthwaite, telling them that

 6   “[w]e truly appreciate our partnership, and look forward to an even deeper collaboration in the

 7   future.”712

 8           572.   To facilitate that “deeper collaboration” and its control of JLI, Altria decided to

 9   install one of its own career executives, Crosthwaite, as the head of JLI. In furtherance of that

10   goal, in April 2019, Howard Willard told Pritzker that he believed JLI would benefit from “a

11   new direction.”713 That same month, Pritzker invited Crosthwaite to Pritzker’s house in San

12   Francisco for a weekend visit.714 During this visit, according to JLI, Crosthwaite expressed

13   concerns about JLI’s leadership’s ability to guide JLI, and Pritzker and Crosthwaite discussed

14   Crosthwaite potentially joining JLI in some capacity.

15           573.   As the summer approached, JLI admits that “various Board members” continued

16   to communicate with Crosthwaite and that “the Board valued his perspective on JLI’s business,”

17   in other words, Altria’s perspective on JLI’s business.715 In his discussions with the Board,

18   Crosthwaite continued to express a view that JLI would benefit from a change in leadership. 716

19           574.   While Altria had not yet officially installed Crosthwaite as JLI’s CEO, that did

20   not prevent them from giving JLI’s leadership, and specifically Pritzker and Valani, advice and

21   direction about how to run the company. On May 26, 2019, Pritzker emailed Willard asked

22   whether he was “coming to the youth/PMTA meeting in DC June 14” and “[i]f so, do you think

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     711
         ALGAT0000080766.
26   712
         ALGAT0003889812.
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27       JLI01416851.
     714
         JLI01416851.
     715
28       JLI01416851.
     716
         JLI01416851.
                                                     189
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 1   we can find a time for you, Riaz, and I to get together separately?” Willard responded “Yes and

 2   yes. We can arrange the plan next week.”717

 3          575.    Similarly, on July 9, 2019, Willard emailed Valani, Pritzker, JLI’s then-CEO

 4   Kevin Burns and cc’d Crosthwaite giving JLI advice and feedback on their “Youth Vaping

 5   Prevention Plan.” Willard stated that the “plan represents a modest improvement rather than an

 6   impressive ‘new day.’” Willard also gave them advice and direction, telling them to “[k]eep

 7   working on it, but do not make a big announcement at this time” but that their proposed “internal

 8   changes sound reasonable and appropriate.”718

 9          576.    In June 2019, Howard Willard spoke to Pritzker and Valani again, along with

10   Frankel (who “[s]erves as Mr. Valani’s second board seat”719). Willard reiterated that he believed

11   JLI would be benefit from a new direction.720 Willard conveyed explicitly that “JLI could benefit

12   from Mr. Crosthwaite’s leadership.”721 Willard “expressed his view that Mr. Crosthwaite’s

13   unique experience would make him a strong leader for JLI.” 722

14          577.    After this conversation, on July 22, 2019, a draft press release was created and

15   sent to Crosthwaite announcing Crosthwaite as JLI’s new CEO.723 The draft press release states

16   that Crosthwaite was “most recently a JUUL Board Advisor” and includes a quote from

17   Defendant Monsees, explaining that “Adam [Bowen] and [Monsees] . . . have had the pleasure of

18   getting to know K.C. through our partnership with Altria and have already benefitted

19   tremendously from his strategic insights as a Board observer.”724 This document was sent to

20   Crosthwaite by Carina Davidson, the President of communications firm Abernathy MacGregor,

21   with whom Altria works regularly.725 Crosthwaite reviewed the documents and discussed it with

22

23   717
         ALGAT0003285214.
     718
24       ALGAT0003279064.
     719
         JLI00417815.
25   720
         JLI01416851.
     721
         JLI01416851.
26   722
         JLI01416851.
     723
27       ALGAT0005389689.
     724
         ALGAT0005389689.
     725
28       ALGAT0005389689; ALGAT0005389687; see also, e.g., ALGAT0003360382,
       ALGAT0003778898.
                                                     190
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 1   Davidson, including asking her to “tone down the language re: Kevin” Burns, JLI’s then-CEO,

 2   who Crosthwaite would be replacing.726

 3          578.    On August 23, 2019, Valani met with Crosthwaite again to discuss “business and

 4   non-business topics.”727

 5          579.    Throughout the month of September, Defendant Valani and Defendant Pritzker

 6   continued to meet with Altria about Crosthwaite taking over leadership of JLI. For example, on

 7   September 11, 2019, Valani and Pritzker spoke with Willard, about “the challenges facing JLI”

 8   and Willard “expressed concern about Mr. Burns’ [JLI’s then-CEO] leadership” and “expressed

 9   his opinion that JLI would benefit from a new direction.” 728 As mentioned above, Willard had

10   previously suggested Crosthwaite be installed in a leadership role. Four days later, on September

11   15, 2019, Crosthwaite met with Valani and Frankel “to further discuss the possibility of Mr.

12   Crosthwaite joining JLI.”729 During this meeting Crosthwaite told Valani and Frankel that he

13   also wanted them to consider hiring Joe Murillo, then the head of regulatory affairs for Altria, as

14   Chief Regulatory Officer for JLI. 730

15          580.    On September 17, 2019, Valani met with Crosthwaite in New York to further

16   discuss Crosthwaite taking over as the formal leader of JLI.731 Valani and Frankel met with

17   Crosthwaite again on September 18, 2019, in New York. 732 On September 19, 2019, Bowen,

18   Monsees, Pritzker, and Valani met with Crosthwaite for dinner in San Francisco. 733 On

19   September 20, 2019, Pritzker and Valani met with Crosthwaite again in San Francisco to discuss

20   the details of Crosthwaite’s leadership role.734

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23
     726
24       ALGAT0005410667.
     727
         JLI01416851.
25   728
         JLI01416851.
     729
         JLI01416851.
26   730
         JLI01416851.
     731
27       JLI01416851.
     732
         JLI01416851.
     733
28       JLI01416851.
     734
         JLI01416851.
                                                        191
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 1          581.    On September 22, 2019, Pritzker, Valani, and Frankel spoke to Crosthwaite over

 2   the phone about taking over leadership at JLI.735 Crosthwaite continued to express the view that

 3   JLI would benefit from leadership changes and reiterated his view that JLI should hire Murillo,

 4   should Crosthwaite join JLI. While Crosthwaite expressed some doubts about his position, the

 5   parties agreed to continue to discuss the matter.736 Ultimately, the Board met that day and

 6   resolved to offer Crosthwaite a leadership position at JLI.737

 7          582.    On September 24, 2019, JLI’s Board of Directors voted to accept the resignation

 8   of current JLI CEO Kevin Burns, approve Crosthwaite’s appointment as CEO of JLI and appoint

 9   him to the Board.738 That same day, Crosthwaite told “JLI to begin preparations on an offer of

10   employment for Murillo.”739

11          583.    Crosthwaite formally took over as CEO of JLI on September 25, 2019.740 Murillo

12   accepted a position as JLI’s Chief Regulatory Officer on September 29, 2019 and began work on

13   October 7, 2019.741 Altria’s plan was a success.

14                  b.      Altria Furthered the JLI Enterprise by Participating in and Directing
                            the Marketing and Distribution of JUUL Products.
15
            584.    In addition to installing its own executives as senior leadership at JLI, after its
16
     investment, the Altria Defendants worked with JLI’s leadership to assist JUUL’s growth through
17
     marketing and distribution, despite its knowledge that JUUL’s growth was based on selling to
18
     minors and lying to adults about JUUL products. The Altria Defendants helped JUUL thrive in
19
     the areas of “direct marketing; sales, distribution and fixture services; and regulatory affairs.”742
20
     This included, among other things:
21
                    c.      “Piloting a distribution program to provide long haul freight,
22                          warehouse storage and last mile freight services.”
23
     735
24       JLI01416851.
     736
         JLI01416851.
25   737
         JLI01416851.
     738
         JLI01416851. Pursuant to JLI’s by-laws, the Company’s CEO is automatically appointed to
26     the Board.
     739
27       JLI01416851.
     740
         JLI01416851.
     741
28       JLI01416851.
     742
         Letter from Howard Willard III, Altria Senator Durbin, et. al., at 11 (Oct. 14, 2019).
                                                      192
                                                                                         COMPLAINT
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 1                  d.      “Making available [Altria’s] previously contracted shelf space with
                            certain retailers,” thus allowing JUUL products to receive prominent
 2                          placement alongside a top-rated brand of combustible cigarettes,
                            Marlboro, favored by youth.
 3

 4                  e.      “Executing direct mail and email campaigns and related activities. .
                            . .”
 5
                    f.      “Leveraging Altria’s field sales force to . . . provide services such as
 6                          limited initiative selling, hanging signs, light product
                            merchandising, and surveys of a subset of the retail stores that Altria
 7                          calls upon.”
 8                  g.      “Providing regulatory affairs consulting and related services to
 9                          [JUUL] as it prepares its PMTA application.”743

10          585.    In an attempt to legitimize its support of JUUL’s growth and despite public and

11   regulatory concern, the Altria Defendants entered into a number of formal agreements with JLI.

12   These agreements included collaboration with Defendants Altria Group Distribution Company,

13   Altria Client Services, and Philip Morris USA, each known in the agreement as “the Altria

14   Company.” Each agreement listed Altria Group, Inc. as the “Provider” and was managed by

15   Theodore J. Edlich IV of Altria Client Services as the “Provider Manager.”744

16          586.    In each agreement, JLI agreed to “cooperate fully with the Altria Company in its

17   performance of the Services, including without limitation, by timely providing all information,

18   materials, resources, decisions, and access to personnel and facilities necessary for the proper

19   performance of the Services by the Altria Company.”745

20          587.    In exchange, Altria Group Distribution Company agreed to distribute and sell

21   JUUL products across the country greatly expanding JUUL’s retail footprint. While JUUL

22   products have typically been sold in 90,000 U.S. retail outlets, Altria’s products reach 230,000

23   U.S. outlets. Altria Group Distribution Company also brings its logistics and distribution

24

25

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27   743
         Id. at 13.
     744
28       See, e.g., JLI10490204.
     745
         See, e.g., JLI10490204.
                                                      193
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 1   experience (although, after increasing public scrutiny, Altria announced on January 30, 2020 that

 2   it would limit its support to regulatory efforts beginning in March 2020746).

 3          588.    Specifically, AGDC agreed to:

 4                  a.      Market JUUL products in 1,073 Speedway stores initially, followed by a

 5                         second wave of 1,937 stores, provide key account assistance and field

 6                         sales force management, and install Point of Sale materials for JUUL

 7                         products;747

 8                  b.     Sell and execute pre-books/pre-orders for JUUL products for 83 Chain

 9                         accounts and up to 51 distributors;748

10                  c.     Provide territory sales managements, key retail account assistance, and

11                         field sales force management to perform a “full reset” (including

12                         merchandising JUUL products to replace Nu Mark products and installing

13                         JUUL graphics and other marketing materials) in up to 40,399 stores,

14                         including Circle K, 7-Eleven, Chevron, Sheetz, Speedway, Wawa, Giant

15                         Eagle, Walmart, and many more;749

16                  d.     Provide sales support at 77,806 stores by improving out of stock and

17                         distribution gaps, providing labor and Field Sales Force services to handle

18                         merchandising, account management, tracking insights, and conduct

19                         inventory management;750

20                  e.     Conduct supply chain management for distribution of JUUL products, as

21                         well as line haul freight, public warehouse storage in San Bernardino,

22                         CA, last mile fright to customers, and shipping to distributions (including

23

24

25   746
         Nathan Bomey, Marlboro maker Altria distances itself from vaping giant JLI amid legal
       scrutiny, USA Today (Jan. 31, 2020), https://www.usatoday.com/story/money/2020/01/31/juul-
26     altria-distances-itself-e-cigarette-maker-amid-scrutiny/4618993002/.
     747
27       JLI10490204.
     748
         JLI01339886.
     749
28       JLI01339886.
     750
         JLI01339878.
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 1                         Circle K, Core Mark, and McLane) in Nevada, Arizona, and

 2                         California;751

 3                 f.      Provide distribution assistance, including freight from DCL to Richmond,

 4                         Virginia and warehouse storage and handling of JUUL products;752

 5                 g.      Provide sales support for JUUL products including working in tens of

 6                         thousands of stores number of stores to provide insights and conduct

 7                         surveys, update and install point of sale marketing, address “inventory

 8                         opportunities,” including out of stock issues and distribution gaps, check

 9                         prices and advertising the price in the store, and selling in new initiatives

10                         at the headquarters or store level, including new product launches, fixture

11                         merchandising, and training store personnel, and store and ship JUUL

12                         point-of-sale materials to support JUUL sales;753

13                 h.      Bring JLI into Altria Group Distribution Company’s Retail Council in

14                         June 2019, including giving opening remarks, three breakout group

15                         sessions, and a trade show booth;754 and

16                 i.      Distribute JUUL products and provide supply chain management for

17                         distribution to Arizona, California, Hawaii, Nevada, Texas, Louisiana,

18                         and Oklahoma (including line haul freight, public warehouse storage and

19                         handling in San Bernardino, California and Fort Worth, Texas, and last

20                         mile freight to customers);755

21          589.   Through these distribution services, Altria Group Distribution Services, and Altria

22   Client Services (as the “Provider Manager”) used the mail and wires to transmit JUUL collateral

23   and packaging that contained the false representation that a single JUUL pod was equivalent to a

24

25   751
         JLI01339918.
     752
         JLI01339903.
26   753
         JLI01339937; JLI01339930; JLI01339980. The November to December 2019 agreement also
27     included AGDC’s assistance in removing the companies’ “Make the Switch” campaign
       materials, which were the subject of a warning letter by the FDA.
     754
28       JLI01339973.
     755
         JLI01339955.
                                                     195
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 1   pack of cigarettes. A representation which, as discussed above, Altria and Altria Client Services

 2   knew was false.

 3          590.      Altria Group Distribution Company also worked to sell Mint JUUL products in

 4   particular. For example, Altria Group Distribution Company led a “market blitz” for JUUL

 5   products starting in February 2019. 756 As part of this blitz effort, JLI employees recognized that

 6   “Mint growth is huge – may need double space for certain SKUs to avoid out of stock

 7   situations,” but that “sales are low” for Classic Tobacco.757

 8          591.      Similarly, a March 18, 2019 AGDC presentation of its work to sell JUUL showed

 9   that it was pushing Mint more than Menthol and Virginia Tobacco combined. The re-order form

10   for 7-Eleven included seven choices, four of which were for Mint JUUL pods.758 In the

11   presentation, AGDC also indicated that Mint was flying off the shelves and that the Mint 5% 4-

12   pack in particular was out of stock 25% of the time. 759

13          592.      Crosthwaite, when he was still formally working for Altria and Altria Client

14   Services, was directly involved in supervising the distribution of JUUL products, including Mint.

15   For example, a senior director at Altria Group Distribution Company notified Crosthwaite that

16   certain JUUL products, including Mint 5% JUULpods, were experiencing “inventory

17   constraints” which “may be relevant to [Crosthwaite’s] conversation with Kevin Burns,” JLI’s

18   then-CEO.760 Crosthwaite forwarded the email to Burns, asking him “Assume your guys are all

19   over this?”761

20          593.      AGDC’s work was effective. When listing JUUL Performance Results in March

21   2019, AGDC included a quote from “Alex Cantwel, VP JUUL Strategy” reporting “We just had

22   our largest refill kit order in history. Thank you and your team for all the work.”762

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25   756
         JLI01010641.
     757
         JLI01010641.
26   758
         ALGAT0000772561.
     759
27       ALGAT0000772561.
     760
         JLI01392499.
     761
28       JLI01392499.
     762
         ALGAT0002940950.
                                                      196
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 1          594.   Altria Client Services, for its part, not only served as the “provider manager” for

 2   each of the formal agreements between JLI and various “Altria Compan[ies]”, but also agreed to

 3   work with JLI’s regulatory affairs employees on the PMTA application for JUUL and directly

 4   market JUUL to millions of customers.

 5          595.   For example, to assist with PMTA, ACS agreed to:

 6                 h.     Study JUUL products, including conducting pre-clinical (chemistry,
                          toxicology and biological sciences), clinical, aerosol, modeling and
 7                        simulation, sensory and population research (perception, behavior,
                          population modeling, consumer research and post-market
 8
                          surveillance) and assist with JLI’s regulatory affairs problems by
 9                        providing with strategy and engagement, regulatory intelligence and
                          insight, advocacy and regulatory narrative writing and
10                        submissions;763
11                 i.     Study and consult with JLI for examination of consumer perception,
                          behavior, and intentions relating to JUUL products, such as whether
12                        consumers comprehend JUUL’s e-vapor communications
                          (instructions for use, labeling and safety warning) and the impact of
13                        exposure to JUUL promotional materials among users and on users
                          on, the likelihood of switching, dual use, initiation, and cessation of
14
                          tobacco products, appeal of JUUL, absolute risk perceptions
15                        associated with use of JUUL, risk perceptions relative to other
                          tobacco products, NRTs and quitting, and general harm perceptions
16                        associated with the use of JUUL;764
17                 j.     Study and consult with JLI on preclinical in vivo inhalation
                          exposure of JLI’s 1.7% Glacial Mint flavor product and its effect on
18                        rats;765

19                 k.     Study and consult with JLI on chemical profiling analysis of Golden
                          Tobacco, Virginia Tobacco, Mango, Mint, and Menthol JUUL
20                        products in 1.7, 3, and 5 nicotine strength;766 and

21                 l.     Study and consult with JLI on population modeling, including on
                          assessing the population health impact to the U.S. population with
22                        the introduction of JUUL products, focusing on tobacco use
                          prevalence and all-cause mortality;767
23
                   m.     Conduct JUUL topical literature reviews relating to e-vapor
24                        products, including collecting and summarizing these articles into a
                          literature review summaries and create evidence tables on
25                        information about initiation, cessation, relapse, patterns of use,
26   763
         JLI01339882; JLI013398976.
     764
27       JLI01426119
     765
         JLI01426125
     766
28       JLI01426135.
     767
         JLI01426141.
                                                    197
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 1                         abuse liability, gateway, perceptions, chemistry, and health effects
                           topics;768
 2
                    n.     Develop, execute, and document exposure characterization for
 3                         JUUL’s classic tobacco product;769

 4                  o.     Study and consult with JLI on passive vaping modeling, including
                           modeling of second and third hand exposures to e-vapor and
 5                         cigarette smoke aerosols;770and

 6                  p.     Provide access to and use of Altria’s product testing services,
                           including its Smoking Machine Vitrocell 1/7, Vitrocell 24/28
 7                         system, and Vitrocell Ames 48 System.771
            596.    Altria Client Services also market JUUL products by sending out mailers, emails,
 8
     and coupons to millions of people across the United States. For example, ACS agreed to:
 9
                    q.     Work with JLI to develop the final creative design for direct mail
10
                           campaigns, execute the plans, and mail the JUUL advertisements
11                         and coupons to 1.5 million people in March 2019, 1 million people
                           in May 2019, 2.5 million people in September 2019, and 3.8 million
12                         people in December 2019;772
13                  r.     Work with JLI to develop the final creative design for an email
                           campaign and send out direct marketing via email, including three
14                         email campaigns with a combined total audience of 515,000,
                           including coupons of JUUL;773
15
            597.    Altria also worked with JLI to cross-market JUUL and Marlboro cigarettes. As
16
     memorialized in an agreement between Philip Morris USA, Inc. and JLI, “the Altria Company”
17
     worked with JLI to design inserts to put in Altria’s cigarettes and eventually distributed coupons
18
     for JUUL starter kits in 20 million packs of L&M and Parliament brand cigarettes and 30 million
19
     packs of Marlboro cigarettes:774
20

21

22   768
         JLI01339943.
     769
23       JLI01426146.
     770
         JLI01426130.
     771
24       JLI01339988.
     772
         JLI01339912; JLI01339915; JLI01339967; JLI01339970. In the December 2019 agreement,
25     but not the March, May, or September agreement, ACS claimed to “reserve the right not to
       send any mailing of portion thereof where all [JUUL] vapor products cannot be legally sold.”
26     JLI013339970.
     773
27       JLI01339927.
     774
         Points for us!, Reddit (Sept. 16, 2019),
28     https://www.reddit.com/r/juul/comments/d50jku/points_for_us/ (depicting an image of a
       Marlboro carton with a JUUL starter kit coupon inside); JLI01339874.
                                                    198
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10          598.    Both the inserts distributed by Philip Morris and the mail and email
11   advertisements sent by Altria Client Services were advertisements for JLI’s fraudulent “Make the
12   Switch” campaign described above.
13          599.    In order to help JUUL expand and be able to keep selling to kids and lying to
14   adults, Altria and Altria Client Services also directed JLI in combatting legal and regulatory
15   challenges, helping with patent infringement battles and consumer health claims and helping to
16   navigate the regulatory waters and FDA pressure. For example, in 2019, internal documents from
17   Altria Client Services confirm that the Altria Defendants were engaged in ongoing efforts to
18   provide “services and insight to accelerate JUUL’s U.S. performance” and “actively engage FDA
19   and other stakeholders to address youth vaping.”775
20          600.    Altria also brings lobbying muscle to the table, which worked to prevent new
21   federal or state legislation targeting JUUL or the e-cigarette category more broadly. Altria “has a
22   potent lobbying network in Washington [D.C.] and around the country.”776 Vince Willmore, a
23   spokesman for the Campaign for Tobacco-Free Kids, which has been involved in many state
24   lobbying battles, said, “It’s hard to say where Altria ends and JLI begins.”777 While an Altria
25

26   775
         ALGAT0002856956.
     776
27       Shelia Kaplan, In Washington, JLI Vows to Curb Youth Vaping. Its Lobbying in States Runs
       Counter to That Pledge., N.Y. Times (Apr. 28, 2019),
28     https://www.nytimes.com/2019/04/28/health/juul-lobbying-states-ecigarettes.html.
     777
         Id.
                                                     199
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 1   spokesman has denied that there was any contractual services agreement for lobbying between

 2   JLI and Altria, he admitted that he did not know what informal advice and conversations Altria

 3   has had with JLI about lobbying efforts. Crosthwaite admitted internally that Altria would be

 4   “collaborat[ing] on regulatory matters” with JLI (likely through Altria Client Services).778 And

 5   Altria installed Joe Murillo, then the head of regulatory affairs for Altria and a 24-year Altria

 6   veteran with extensive experience in e-cigarette regulations, as Chief Regulatory Officer for JLI.

 7   Indeed, since Altria worked with the Management Defendants to assume some control over JLI,

 8   JLI’s spending on lobbying has risen significantly. JLI spent $4.28 million on lobbying in 2019,

 9   compared to $1.64 million in 2018.779

10          601.    Contrary to public statements, Altria’s investment in JLI was not only a financial

11   contribution nor were these agreements about just “services”; rather, they were manifestations of

12   Altria’s and the Management Defendants’ plan to continue selling JUUL to kids and lying to

13   adults about JUUL products, all while staving off regulation and public outcry. Internal

14   documents show that Altria did not consider itself a mere non-voting minority investor or service

15   provider. Instead, it viewed itself as JLI’s “valued partner” and wanted to ensure it could

16   “completely unlock partnership benefits,” “guide [JLI’s] strategic direction through board

17   engagement,” including “providing strategic advice and expertise,” and “collaborate on youth

18   vaping.”780 According to an Altria Group Distribution Company presentation, AGDC should be

19   “viewed as more than a vendor but as a strategic partner in supporting JUUL’s mission.”781

20          602.    The Altria Defendants’ services agreements with JLI obscured Altria’s takeover

21   of large portions of JUUL’s distribution and marketing. Altria’s goal was always to expand the

22   reach and sales of JUUL products, despite the knowledge of their lies and youth targeting.

23   According to the Altria Client Services employees working with KC Crosthwaite on

24   summarizing Altria Group’s 2019 “Strategic Initiatives”, Altria Group’s CEO Howard Willard

25
     778
         ALGAT0002856953.
26   779
         Client Profile: JUUL Labs, Center for Responsive Politics,
27     https://www.opensecrets.org/federal-lobbying/clients/summary?cycle=2019&id=D000070920
       (last visited Apr. 4, 2020).
     780
28       ALGAT0002856956.
     781
         ALGAT0000772561.
                                                      200
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 1   “investment thesis from the beginning” was that Altria could accelerate JUUL growth “as it

 2   gains more prominent shelf space” and “category management.”782 And importantly, as noted

 3   above, Altria gives JLI access to shelf space that it had obtained under fraudulent pretenses. This

 4   is not just any shelf space; it is space near Altria’s (Philip Morris USA’s) blockbuster Marlboro

 5   cigarettes, and other premium products and retail displays. The arrangement allows JLI’s tobacco

 6   and menthol-based products to receive prominent placement alongside a top-rated brand of

 7   combustible cigarettes.

 8          603.    Altria’s investment and the Altria Defendants’ collaboration with the

 9   Management Defendants was not just about investing in a legitimate business or selling to adult

10   smokers. Instead, Altria used its relationship with the Management Defendant and with JLI to

11   continue selling to youth and lying to the public, just as it had done in the past. Despite its

12   knowledge of JUUL’s youth targeting, when announcing its investment, Altria explained that its

13   investment in JLI “enhances future growth prospects” and committed to applying “its logistics

14   and distribution experience to help JLI expand its reach and efficiency.”783 Altria sought to

15   achieve this goal through “strategic guidance,” “board influence,” and marketing and distribution

16   assistance.784 And with the help of the Management Defendants, and Pritzker and Valani in

17   particular, the Altria Defendants have successfully ensured that JUUL would maintain and

18   expand its market share—a market share that, based on Altria’s own October 25, 2018 letter to

19   the FDA, it believes was gained by employing marketing and advertising practices that

20   contributed to youth e-cigarette use.

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     782
         ALGAT0002856953.
26   783
         Altria Makes $12.8 Billion Minority Investment in JUUL to Accelerate Harm Reduction and
27     Drive Growth, BusinessWire (Dec. 20, 2018),
       https://www.businesswire.com/news/home/20181220005318/en/Altria-12.8-Billion-Minority-
28     Investment-JUUL-Accelerate.
     784
         ALGAT0004641801.
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 1   G.      JLI, Altria, and Others Have Successfully Caused More Young People to Start
             Using E-Cigarettes, Creating a Youth E-Cigarette Epidemic and Public Health
 2           Crisis.
 3           604.   Defendants’ tactics have misled the public regarding the addictiveness and safety
 4   of e-cigarettes generally, and JUUL products specifically, resulting in an epidemic of e-cigarette
 5   use among youth in particular.
 6           605.   Defendants’ advertising and third-party strategy, as discussed above, ensured that
 7   everyone from adults to young children, would believe JUULing was a cool, fun, and safe
 8   activity.
 9           606.   To this day, JLI has not fully disclosed the health risks associated with its
10   products, has not recalled or modified its products despite the known risks, and continues to
11   foster a public health crisis, placing millions of people in harm’s way.
12           1.     Defendants’ Scheme Caused Users, Including Minors, to be Misled into
13                  Believing that JUUL was Safe and Healthy.

14           607.   In 2016, the National Institute on Drug Abuse issued findings regarding “Teens

15   and Cigarettes,” reporting that 66% of teens believed that e-cigarettes contained only flavoring,

16   rather than nicotine.785

17           608.   Two years later, despite the ongoing efforts of public health advocates, a 2018

18   study of JUUL users between the ages of fifteen and twenty-four revealed that 63% remained

19   unaware that JUUL products contain nicotine.786 Further, the study found that respondents using

20   e-cigarettes were less likely to report that e-cigarettes were harmful to their health, that people

21   can get addicted to e-cigarettes, or that smoke from others’ e-cigarettes was harmful.787

22           609.   Similarly, in 2018, a literature review of seventy-two articles published in the

23   International Journal of Environmental Research and Public Health found that e-cigarettes were

24   perceived by adults and youth as being healthier, safer, less addictive, safer for one’s social

25

26   785
         Teens and E-cigarettes, Nat’l Inst. on Drug Abuse, https://www.drugabuse.gov/related-
27     topics/trends-statistics/infographics/teens-e-cigarettes (last visited Apr. 4, 2020).
     786
         Jeffrey G. Willett et al. Recognition, Use and Perceptions of Juul Among Youth and Young
28     Adults, 28 Tobacco Control 054273 (2019).
     787
         Id.
                                                      202
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 1   environment, and safer to use during pregnancy than combustible cigarettes.788 Further,

 2   researchers found that specific flavors (including dessert and fruit flavors) were perceived to be

 3   less harmful than tobacco flavors among adult and youth e-cigarette users.789 In addition,

 4   researchers found that youth e-cigarette users perceived e-cigarettes as safe to use and

 5   fashionable.790

 6           610.      In 2019, a study published in Pediatrics found that 40% of participants reported

 7   using nicotine-free e-cigarette products, when in fact the products they were using contained

 8   significant levels of nicotine.791

 9           611.      In 2019, a study published in the British Medical Journal Open systematically

10   reviewed all peer-reviewed scientific literature published on e-cigarette perceptions through

11   March 2018 which included fifty-one articles.792 Researchers found consistent evidence showing

12   that flavors attract both youth and young adults to use e-cigarettes.793 In addition, among this

13   same group, fruit and dessert flavors decrease the perception that e-cigarettes are harmful, while

14   increasing the willingness to try e-cigarettes.794

15           2.        Use of JUUL by Minors Has Skyrocketed

16           612.      On December 28, 2018, the University of Michigan’s National Adolescent Drug
17   Trends for 2018 reported that increases in adolescent e-cigarette use from 2017 to 2018 were the
18   “largest ever recorded in the past 43 years for any adolescent substance use outcome in the
19   U.S.”795
20

21   788
         Id.
     789
         Kim A. G. J. Romijnders et al., Perceptions and Reasons Regarding E-Cigarette Use Among
22     Users and Non-Users: A Narrative Literature Review, 15 Int’l J. of Envtl. Research & Public
23     Health 1190 (2018), https://doi: 10.3390/ijerph15061190.
     790
         Id.
     791
24       Rachel Boykan et al., Self-Reported Use of Tobacco, E-Cigarettes, and Marijuana versus
       Urinary Biomarkers, 143 Pediatrics (2019), https://doi.org/10.1542/peds.2018-3531.
25   792
         Meernik, et al, Impact of Non-Menthol Flavours in E-Cigarettes on Perceptions and Use: An
       Updated Systematic Review, BMJ Open, 9:e031598 (2019),
26     https://bmjopen.bmj.com/content/9/10/e031598.
     793
27       Id.
     794
         Id.
     795
28       National Adolescent Drug Trends in 2018, Univ. of Mich. Inst. for Social Research (Dec. 17,
       2018), http://monitoringthefuture.org/pressreleases/18drugpr.pdf.
                                                       203
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 1          613.    The percentage of 12th grade students who reported consuming nicotine almost

 2   doubled between 2017 and 2018, rising from 11% to 20.9%.796 This increase was “twice as large

 3   as the previous record for largest-ever increase among past 30-day outcomes in 12th grade.”

 4          614.    By 2018 approximately 3.6 million middle and high school students were

 5   consuming e-cigarettes regularly,797 and one in five 12th graders reported used an e-cigarette

 6   containing nicotine in the last 30 days.798 As of late 2019, 5 million students reported active use

 7   of e-cigarettes, with 27.5% of high school students and 10.5% of middle school students using

 8   them within the last thirty days and with most youth reporting JUUL as their usual brand.799

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            615.    The Secretary of the U.S. Department of Health and Human Services declared
16
     that “[w]e have never seen use of any substance by America’s young people rise as rapidly as e-
17
     cigarette use [is rising].”800 Then FDA Commissioner Dr. Gottlieb described the increase in e-
18
     cigarette consumption as an “almost ubiquitous—and dangerous—trend” that is responsible for
19

20
     796
         News Release, Teens Using Vaping Devices in Record Numbers, Nat’l Insts. of Health (Dec.
21     17, 2018) https://www.nih.gov/news-events/news-releases/teens-using-vaping-devices-record-
       numbers.
22   797
         See Jan Hoffman, Addicted to Vaped Nicotine, Teenagers Have no Clear Path to Quitting,
23     N.Y. Times (Dec. 18, 2018), https://www.nytimes.com/2018/12/18/health/vaping-nicotine-
       teenagers.html.
     798
24       Id.
     799
         National Youth Tobacco Survey, U.S. FDA (2019), https://www.fda.gov/tobacco-
25     products/youth-and-tobacco/youth-tobacco-use-results-national-youth-tobacco-survey; Karen
       Cullen et al., e-Cigarette Use Among Youth in the United States, 2019, 322 JAMA 2095 (2019).
26   800
         Jan Hoffman, Study Shows Big Rise in Teen Vaping This Year, N.Y. Times (Dec. 17, 2018),
27     https://www.nytimes.com/2018/12/17/health/ecigarettes-teens-nicotine-.html; Rajiv Bahl, Teen
       Use of Flavored Tobacco was Down, But E-Cigarettes Are Bringing It Back Up, Healthline
28     (Jan. 9, 2019), https://www.healthline.com/health-news/flavored-tobacco-use-rising-again-
       among-teens#An-unhealthy-habit.
                                                     204
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 1   an “epidemic” of nicotine use among teenagers.801 The rapid—indeed infectious—adoption of e-

 2   cigarettes “reverse[s] years of favorable trends in our nation’s fight to prevent youth addiction to

 3   tobacco products.”802 CDC Director Robert Redfield agreed, “The skyrocketing growth of young

 4   people’s e-cigarette use over the past year threatens to erase progress made in reducing tobacco

 5   use. It’s putting a new generation at risk for nicotine addiction.”803 Then-Commissioner Gottlieb

 6   identified the two primary forces driving the epidemic as “youth appeal and youth access to

 7   flavored tobacco products.”804

 8          616.    Within days of the FDA’s declaration of an epidemic, Surgeon General Dr.

 9   Jerome Adams also warned that the “epidemic of youth e-cigarette use” could condemn a

10   generation to “a lifetime of nicotine addiction and associated health risks.”805 The Surgeon

11   General’s 2018 Advisory states that JUUL, with its combination of non-irritating vapor and

12   potent nicotine hit, “is of particular concern for young people, because it could make it easier for

13   them to initiate the use of nicotine . . . and also could make it easier to progress to regular e-

14   cigarette use and nicotine dependence.”806

15          617.    Kids are consuming so much nicotine that they are experiencing symptoms of

16   nicotine toxicity, including headaches, nausea, sweating, and dizziness, and they have even

17   coined a term for it: “nic sick.” As one high school student explained to CBS News, it “kinda

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     801
         News Release, FDA Launches New, Comprehensive Campaign to Warn Kids About the
22     Dangers of E-Cigarette Use as Part of Agency’s Youth Tobacco Prevention Plan, Amid
23     Evidence of Sharply Rising Use Among Kids, U.S. FDA (Sept. 18, 2018),
       https://www.fda.gov/NewsEvents/Newsroom/PressAnnouncements/ucm620788.htm.
     802
24       Id.
     803
         Amir Vera, Texas Governor Signs Law Increasing the Age to Buy Tobacco Products to 21,
25     CNN (June 8, 2019), https://www-m.cnn.com/2019/06/08/health/texas-new-tobacco-
       law/index.html.
26   804
         Id.
27
     805
         Surgeon General’s Advisory on E-cigarette Use Among Youth (2018), https://e-
       cigarettes.surgeongeneral.gov/documents/surgeon-generals-advisory-on-e-cigarette-use-among-
28     youth-2018.pdf.
     806
         Id. a 2.
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 1   seems like a really bad flu, like, just out of nowhere. Your face goes pale, you start throwing up

 2   and stuff, and you just feel horrible.”807

 3          618.    The JUUL youth addiction epidemic spread rapidly across high schools in the

 4   United States. JUUL surged in popularity, largely through social media networks, and created

 5   patterns of youth usage, illegal youth transactions, and addiction, that are consistent with this

 6   account from Reddit in 2017:

 7          Between classes the big bathroom in my school averages 20-25 kids, and 5-10
            JUULs. Kids usually will give you a dollar for a JUUL rip if you don’t know
 8          them, if you want to buy a pod for 5$ you just head into the bathroom after lunch.
            We call the kids in there between every class begging for rips ‘JUUL fiends.’ Pod
 9
            boys are the freshman that say ‘can I put my pod in ur juul?’ and are in there
10          every block. I myself spent about 180$ on mango pods and bought out a store,
            and sold these pods for 10$ a pod, making myself an absolutely massive profit in
11          literally 9 days. Given because I’m 18 with a car and that’s the tobacco age
            around here, I always get offers to get pod runs or juuls for kids. people even
12          understand the best system to get a head rush in your 2 minutes between classes,
            is all the juuls at once. So someone yells “GIVE ME ALL THE JUULS” and 3-7
13
            are passed around, two hits each. This saves us all juice, and gives you a massive
14          head rush. Kids also scratch logos and words onto their juuls to make i[t] their
            own, every day you can find the pod covers in my student parking lot. I know this
15          sounds exaggerated, but with a school with 1400 kids near the city and JUULs
            being perceived as popular, it’s truly fascinating what can happen.808
16
            619.    In response to the post above, several others reported similar experiences:
17
                    a.      “[T]his is the exact same thing that happens at my school, we call
18
                            [JUUL fiends] the same thing, kind of scary how similar it is.”809
19
                    b.      “Same thing at my school. JUUL fiend is a term too.”810
20
                    c.      “Yeah nicotine addiction has become a huge problem in my high
21                          school because of juuls even the teachers know what they are.”811

22                  d.      “[S]ame [expletive] at my school except more secretive because it’s
                            a private school. It’s crazy. Kids hit in class, we hit 3-5 at once, and
23

24
     807
         High school students say about 20% of their peers are vaping, some as young as 8th grade,
25     CBS News (Aug. 30, 2019), https://www.cbsnews.com/news/high-school-students-say-about-
       20-of-their-peers-are-vaping-some-as-young-as-8th-grade/.
26   808
         What’s Juul in School, https://www.reddit.com/r/juul/comments/61is7i/whats_juul_in_school/
27     (last visited Apr.. 4, 2020).
     809
         Id.
     810
28       Id.
     811
         Id.
                                                      206
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 1                         everyone calls each other a juul fiend or just a fiend. Funny how
                           similar it all is.”812
 2
                    e.     “[T]he same [expletive] is happening in my school. kids that vaped
 3                         were called [expletive] for the longest time, that all changed
 4                         now.”813

 5                  f.     “Made an account to say that it’s exactly the same way in my school!
                           LOL. I’m from California and I think I know over 40 kids that have
 6                         it here just in my school. We do it in the bathrooms, at lunch etc.
                           LMAO. ‘Do you have a pod man?’”814
 7
                    g.     “It’s the same at my school and just about every other school in
 8                         Colorado.”815
 9
                    h.     “2 months into this school year, my high school made a newspaper
10                         article about the ‘JUUL epidemic.’”816

11                  i.     “Wow do you go to high school in Kansas because this sounds
                           EXACTLY like my school. I’ll go into a different bathroom 4 times
12                         a day and there will be kids in there ripping JUUL’s in every single
                           one.”817.
13

14                  j.     “At my high school towards the end of lunch everyone goes to the
                           bathroom for what we call a ‘juul party.’ People bring juuls, phixes,
15                         etc. It’s actually a great bonding experience because freshman can
                           actually relate to some upperclassmen and talk about vaping.”818
16
                    k.     “To everyone thinking that this is just in certain states, it’s not. This
17                         is a nationwide trend right now. I’ve seen it myself. If you have one
                           you’re instantly insanely popular. Everyone from the high-achievers
18
                           to the kids who use to say ‘e-cigs are for [expletives]’ are using the
19                         juul. It’s a craze. I love it, I’ve made an insane amount of money.
                           It’s something that has swept through our age group and has truly
20                         taken over. And it happened almost overnight.”819
21          620.    The following graph illustrates JLI’s responsibility for the nationwide youth e-
22   cigarette epidemic. While the rest of the e-cigarette industry stagnated from 2017 through 2018,
23
     812
24       Id.
     813
         Id.
25   814
         Id.
     815
         Id.
26   816
         Id. (citing Juuls Now Rule the School as Students Frenzy Over E-cig (Oct. 5, 2016),
27     https://imgur.com/a/BKepw).
     817
         Id.
     818
28       Id.
     819
         Id. (emphasis added).
                                                     207
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 1   JLI experienced meteoric growth. Through that same timeframe, youth e-cigarette rates nearly

 2   doubled from more than 11% in 2017 to more than 20% in 2018. Through October 5, 2019 (the

 3   last date for which data was available), rates of youth e-cigarette use continued to increase,

 4   tracking the growth of JUUL.

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15          621.    The unique features of the JUUL e-cigarette—high nicotine delivery, low
16   harshness, and easy-to-conceal design—have caused patterns of addiction with no historical
17   precedent. It is not uncommon for fifteen-year-old students, even those who live at home with
18   their parents, to consume two or more JUUL pods a day.
19          622.    The downwards trend in youth smoking that public health departments and school
20   anti-tobacco programs worked so hard to create has completely reversed. In 2018, more than one
21   in four high school students in the United States reported using a tobacco product in the past
22   thirty days, a dramatic increase from just one year before.821 But there was no increase in the use
23
     820
24       The area graph depicts e-cigarette unit sale volumes in retail outlets tracked by Nielsen by
       manufacturer and month from 2013 through October 5, 2019; the line graph depicts national
25     high school and middle school e-cigarette past-30-day usage rates as percentages from 2013
       through 2019, with each data point representing a year. See Nielsen: Tobacco All Channel
26     Data; National Youth Tobacco Survey (2019), https://www.fda.gov/tobacco-products/youth-
27     and-tobacco/youth-tobacco-use-results-national-youth-tobacco-survey; see also Compl. at 2
       (Figure 1), Commonwealth of Penn. v. Juul Labs, Inc., (Ct. Common Pleas, Feb. 10, 2020).
     821
28       Progress Erased: Youth Tobacco Use Increased During 2017-2018, CDC (Feb. 11, 2019),
       https://www.cdc.gov/media/releases/2019/p0211-youth-tobacco-use-increased.html.
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 1   of cigarettes, cigars, or hookahs during that same time period.822 There was only increased use in

 2   a single tobacco product: e-cigarettes. While use of all other tobacco products continued to

 3   decrease as it had been for decades, e-cigarette use increased 78% in just one year.823 This drastic

 4   reversal caused the CDC to describe youth e-cigarette use as an “epidemic.”824

 5   H.     JLI Thrived Due to Extensive Efforts to Delay Meaningful Regulation of its
            Products
 6
            1.      E-Cigarette Manufacturers Successfully Blocked the Types of Regulations
 7                  that Reduced Cigarette Sales, Creating the Perfect Opportunity for JLI.
 8
            623.    One of the main reasons e-cigarettes like JUUL were so appealing from an
 9
     investment and business development perspective is that, unlike combustible cigarettes, e-
10
     cigarettes were relatively unregulated. This regulatory void was not an accident; the cigarette
11
     industry, and then the e-cigarette industry, spent significant resources blocking, frustrating, and
12
     delaying government action. A 1996 article in the Yale Law & Policy Review detailed how
13
     cigarette companies vehemently opposed the FDA mid-1990s rules on tobacco products, using
14
     lawsuits, notice-and-comment, and arguments related to the FDA’s jurisdiction to delay or undo
15
     any regulatory efforts.825
16
            624.    In 2009, Congress enacted the Family Smoking Prevention and Tobacco Control
17
     Act (“TCA”). The TCA amended the Federal Food, Drug, and Cosmetic Act to allow the FDA to
18
     regulate tobacco products.
19
            625.    Although the TCA granted the FDA immediate authority to regulate combustible
20
     cigarettes, it did not give the FDA explicit authority over all types of tobacco products—
21

22   822
         Tobacco Use By Youth Is Rising: E-Cigarettes are the Main Reason, CDC (Feb. 2019),
23     https://www.cdc.gov/vitalsigns/youth-tobacco-use/index.html.
     823
         Scott Gottlieb, Statement from FDA Commissioner Scott Gottlieb, M.D., on proposed new
24     steps to protect youth by preventing access to flavored tobacco products and banning menthol
       in cigarettes, FDA (Nov. 15, 2018), https://www.fda.gov/news-events/press-
25     announcements/statement-fda-commissioner-scott-gottlieb-md-proposed-new-steps-protect-
       youth-preventing-access.
26   824
         Jerome Adams, Surgeon General’s Advisory on E-cigarette Use Among Youth, CDC (Dec.
27     2018), https://e-cigarettes.surgeongeneral.gov/documents/surgeon-generals-advisory-on-e-
       cigarette-use-among-youth-2018.pdf.
     825
28       Melvin Davis, Developments in Policy: The FDA's Tobacco Regulations, 15 Yale L. & Policy
       Rev. 399 (1996).
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 1   including those that had not yet been invented or were not yet popular. To “deem” a product for

 2   regulation, the FDA must issue a “deeming rule” that specifically designates a tobacco product,

 3   such as e-cigarettes, as falling within the purview of the FDA’s authority under the TCA.

 4           626.    The TCA also mandated that all “new” tobacco products (i.e., any product not on

 5   the market as of February 15, 2007) undergo a premarket authorization process before they could

 6   be sold in the United States.

 7           627.    Four years later, on April 25, 2014, the FDA finally issued a proposed rule

 8   deeming e-cigarettes for regulation under the Tobacco Act (“2014 Proposed Rule”).

 9           628.    Once issued, the e-cigarette industry, together with its newfound allies, parent

10   companies, and investors—the cigarette industry and pro-e-cigarette lobbyists—set to work to

11   dilute the rule’s effectiveness. For example, in comments to the 2014 Proposed Rule, companies

12   such as Johnson Creek Enterprises (one of the first e-liquid manufacturers) stated that the “FDA

13   [] blatantly ignored evidence that our products improve people’s lives.”826

14           629.    The New York Times reported that Altria was leading the effort to dilute,

15   diminish, or remove e-cigarette regulations. Notwithstanding Altria’s professed concern about

16   flavors attracting youth customers, Altria submitted comments in August 2014 in response to the

17   proposed rule opposing the regulation of flavors. Altria asserted that restrictions could result in

18   more illicit sales, and that adults also liked fruity and sweet e-cigarette flavors.827

19           630.    In 2015, Altria lobbied Capitol Hill with its own draft legislation to eliminate the

20   new requirement that most e-cigarettes already on sale in the United States be evaluated

21   retroactively to determine if they are “appropriate for the protection of public health.” In effect,

22   Altria lobbied to “grandfather” all existing e-cigarette brands, including JUUL, into a lax

23   regulatory regime. That proposed legislation was endorsed by R.J. Reynolds. Altria delivered its

24

25   826
         Eric Lipton, A Lobbyist Wrote the Bill.Will the Tobacco Industry Win Its E-Cigarette Fight?,
       N.Y. Times (Sept. 2, 2016), https://www.nytimes.com/2016/09/03/us/politics/e-cigarettes-
26     vaping-cigars-fda-altria.html.
     827
27       Altria Client Services Inc., Comment Letter on Proposed Rule Deeming Tobacco Products to
       be Subject to the Federal Food, Drug, and Cosmetic Act 47-48 (Aug. 8, 2014),
28     https://www.altria.com/-/media/Project/Altria/Altria/about-altria/federal-regulation-of-
       tobacco/regulatory-filings/documents/ALCS-NuMark-Comments-FDA-2014-N-0189.pdf.
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 1   proposal, entitled “F.D.A. Deeming Clarification Act of 2015,” to Representative Tom Cole of

 2   Oklahoma, who introduced the bill two weeks later using Altria’s draft verbatim.828 Seventy

 3   other representatives signed on to Altria’s legislation.829

 4           631.   The e-cigarette industry, along with the intertwined cigarette industry, was able to

 5   leverage support among Members of Congress such as Representative Cole and Representative

 6   Sanford Bishop of Georgia, who advocated for cigarette industry interests and opposed

 7   retroactive evaluation of e-cigarette products. Both Cole and Bishop echoed a common cigarette

 8   and e-cigarette industry refrain, that any regulations proposed by the FDA would bankrupt small

 9   businesses, even though the overwhelming majority of e-cigarettes were manufactured and

10   distributed by large cigarette companies.

11           632.   Representatives Cole and Bishop received some of the largest cigarette industry

12   contributions of any member of the U.S. House of Representatives, with Representative Bishop

13   receiving $13,000 from Altria, and Representative Cole $10,000 from Altria in the 2015-2016

14   cycle.830

15           633.   By thwarting and delaying regulation, or by ensuring what regulation did pass

16   was laced with industry-friendly components, the e-cigarette industry, including Defendants,

17   hobbled the FDA—and by extension—Congress’s efforts to regulate e-cigarettes.

18   Simultaneously, the e-cigarette industry continued to market their products to youth, and it

19   coordinated to sow doubt and confusion about the addictiveness and health impacts of e-

20   cigarettes.

21           634.   Even after the FDA issued its final deeming rule in 2016, e-cigarette industry

22   lobbying continued to pay dividends to companies like JLI. In 2017, when Dr. Scott Gottlieb

23   took over as the FDA Commissioner, one of his first major acts was to grant e-cigarette

24   companies a four-year extension to comply with the deeming rule, even as data indicated sharp

25
     828
         Eric Lipton, A Lobbyist Wrote the Bill. Will the Tobacco Industry Win Its E-Cigarette Fight?,
26     N.Y. Times (Sept. 2, 2016), https://www.nytimes.com/2016/09/03/us/politics/e-cigarettes-
27     vaping-cigars-fda-altria.html.
     829
         Id.
     830
28       Id.; Rep. Tom Cole - Oklahoma District 04, Contributors 2015-16, OpenSecrets (2017),
       https://www.opensecrets.org/members-of-congress/contributors?cid=N00025726&cycle=2016.
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 1   increases in teen e-cigarette use.831 Gottlieb had previously served on the board of Kure, a chain

 2   of e-cigarette lounges in the United States, though he fully divested before taking the helm at the

 3   FDA.832

 4          635.       The four-year extension was celebrated by e-cigarette lobbyists. Greg Conley,

 5   president of the American Vaping Association (“AVA”), stated that but for the extension, “over

 6   99 percent of vaper products available on the market today would be banned next year.”833

 7   Despite the minimal research publicly available on the health effect of e-cigarettes, Ray Story,

 8   who had since become commissioner of the Tobacco Vapor Electronic Cigarette Association,

 9   lauded the decision: “Absolutely, it’s a good thing . . . [w]hen you look at harm reduction, it’s a

10   no brainer.”834

11          2.         JLI, the Management Defendants, and Altria Defendants Successfully
                       Shielded the Popular Mint Flavor from Regulation.
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            636.       JLI, the Management Defendants, and Altria Defendants had a two-fold plan for
13
     staving off regulation: (1) ensure the FDA allowed certain flavors, namely mint, to remain on the
14
     market; and (2) stave off a total prohibition on JUUL that was being contemplated in light of
15
     JLI’s role in the youth e-cigarette epidemic. These schemes involved acts of mail and wire fraud,
16
     with the intent to deceive the FDA, Congress, and the public at large.
17
            637.       First, JLI, the Management Defendants, and Altria publicly defended mint
18
     flavoring as a substitute for menthol cigarette smokers, when in fact JLI’s studies indicated that
19
     mint users are not former menthol smokers. Second, by fighting to keep mint as the last flavor on
20
     the market, the cigarette industry could continue to appeal to non-smokers, including youth. JLI
21
     and the Management Defendants coordinated with Altria to pursue a fraudulent scheme to
22

23   831
         Katie Thomas & Sheila Kaplan, E-Cigarettes Went Unchecked in 10 Years of Federal
24     Inaction, N.Y. Times (Oct. 14, 2019), https://www.nytimes.com/2019/10/14/health/vaping-e-
       cigarettes-fda.html.
25   832
         Zeke Faux et al., Vaping Venture Poses Potential Conflict for Trump’s FDA Nominee,
       Bloomberg, (Apr. 19, 2017), https://www.bloomberg.com/news/articles/2017-04-19/vaping-
26     venture-poses-potential-conflict-for-trump-s-fda-nominee.
     833
27       Sheila Kaplan, F.D.A. Delays Rules That Would Have Limited E-Cigarettes on Market, N.Y.
       Times (July 28, 2017), https://www.nytimes.com/2017/07/28/health/electronic-cigarette-
28     tobacco-nicotine-fda.html.
     834
         Id.
                                                      212
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 1   convince the FDA into leaving the mint flavor on the market, sacrificing other flavors in the

 2   process.

 3          638.    On August 2, 2018, JLI met with the FDA to discuss a proposed youth-behavioral

 4   study regarding the prevalence of use, perceptions of use, and intentions to use JUUL and other

 5   tobacco products among adolescents aged 13-17 years (the “Youth Prevalence Study”).835

 6          639.    On November 5, 2018, JLI transmitted the results of the Youth Prevalence Study

 7   to the FDA and reported that a study of over 1,000 youth had found that only 1.5% of youth had

 8   ever used a JUUL, and that only 0.8% of youth had used a JUUL in the last 30 days. And in stark

 9   contrast to the McKinsey and DB Research studies discussed above, the Youth Prevalence Study

10   suggested that mango was four times as popular as mint.836 Specifically, the study found that

11   47% of youth who reported use of a JUUL device in the last 30-days professed to using mango

12   most often, with only about 12% reporting the same for mint.

13          640.    JLI’s study was a sham. JLI, the Management Defendants, and Altria knew their

14   reported data was inconsistent with the McKinsey and DB Research studies conducted just a few

15   months earlier. JLI’s report featured responses to a carefully selected survey question—which

16   single flavor youth used most often?—that obscured the widespread use of mint JUUL pods

17   among youth.

18          641.    Ironically, just a few days after JLI submitted the misleading Youth Prevalence

19   Study to the FDA, the National Youth Tobacco Survey was released. Revealing the depths of the

20   deception of JLI’s Youth Prevalence Study, which found that only 1.5% of youth were current

21   users of e-cigarettes, the National Youth Tobacco Survey found that 20.8% of high school

22   student were current users (i.e., consumed e-cigarettes within the last 30 days).

23          642.    The Youth Prevalence Study that JLI submitted to the FDA, either via U.S. mail

24   or by electronic transmission, was false and misleading. JLI, the Management Defendants, and

25   Altria knew as much. Indeed, they counted on it.

26

27   835
         Letter from Joanna Engelke, JUUL Labs, Inc., to David Portnoy, Ph.D., M.P.H., FDA Center
28     for Tobacco Products (Nov. 5, 2018).
     836
         Id. at 3.
                                                     213
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 1          643.    As the e-cigarette crisis grew, on September 25, 2018, then-FDA Commissioner

 2   Scott Gottlieb sent letters to Altria, JLI and other e-cigarette manufacturers, requesting a

 3   “detailed plan, including specific timeframes, to address and mitigate widespread use by

 4   minors.”837

 5          644.    As evidenced by Altria’s recent admission that negotiations with JLI were

 6   ongoing in late 2017,838 Altria and JLI’s responses to the FDA reflect a coordinated effort to

 7   mislead the FDA with the intention that regulators, in reliance on their statements, allow JLI to

 8   continue marketing mint JUUL pods.839

 9          645.    Defendants’ plan centered on efforts to deceive the FDA that (1) mint was more

10   akin to Tobacco and Menthol than other flavors; and (2) kids did not prefer mint.

11          646.    JLI took the first step in this coordinated effort to deceive the FDA. In response to

12   then-Commissioner Gottlieb’s September 12, 2018 letter, JLI prepared an “Action Plan,” which

13   it presented to the FDA at an October 16, 2018 meeting, and presented to the public on

14   November 12, 2018. The substance of JLI’s presentation to the FDA and its public-facing Action

15   Plan were largely identical.840 JLI purported to “share a common goal- preventing youth from

16   initiating on nicotine.”841 As part of this plan, JLI stated that it would be “stopping flavored

17   JUUL pod sales to all 90,000+ retail stores.”

18          647.    But this statement was not true. JLI was continuing retail sales of its mint JUUL

19   pods, which JLI categorized as a non-flavored “tobacco and menthol product.”842 In JLI’s Action

20   Plan, then-CEO Burns stated that only products that “mirror what is currently available for

21

22

23   837
         Letter from Scott Gottlieb, M.D. to JUUL Labs, Inc. (Sept. 12, 2018); Letter from Scott
24     Gottlieb, M.D. to Altria Group Inc. (Sept. 12, 2018).
     838
         Letter from Howard Willard III, Altria to Senator Durbin, et. al. ( Oct. 14, 2019).
25   839
         See United States v. Jones, 712 F.2d 1316, 1320-21 (9th Cir. 1983) (“It is enough that the
       mails be used as part of a ‘lulling’ scheme by reassuring the victim that all is well and
26     discouraging him from investigating and uncovering the fraud.”).
     840
27       JUUL did not include in its Action Plan a proposal for Bluetooth or Wi-Fi equipped devices
       that was included in JLI’s October presentation.
     841
28       JUUL Labs, Inc. FDA Presentation, 2 (Oct. 16, 2018); INREJUUL_00182989.
     842
         Id.
                                                      214
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 1   combustible cigarettes—tobacco and menthol-based products (menthol and mint pods)—will be

 2   sold to retail stores.”843

 3           648.    In both JLI’s October 2018 presentation to the FDA and JLI’s Action Plan that

 4   was shared with the public, JLI and its CEO fraudulently characterized mint as a non-flavored

 5   cigarette product, akin to tobacco and menthol cigarettes, suggesting that it was a product for

 6   adult smokers. The image below was included in both the public-facing Action Plan and JLI’s

 7   presentation to the FDA.

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             649.    JLI knew that non-smoking youth liked mint as much as any flavor.
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             650.    Numerous internal studies had informed JLI that mint’s success was “not because
20
     it’s a menthol/a familiar tobacco flavor but because it is the best JUUL flavor profile on multiple
21
     levels.”844 Indeed, despite JLI’s attempts to explicitly link mint to menthol, JLI knew there was
22
     “No Implied Relationship Between Mint & Menthol,”845 and “menthol smokers are not the only
23
     driver behind the popularity of mint flavored JUULpods.”846
24

25

26   843
         JUUL Labs Action Plan, JUUL Labs, Inc. (Nov. 13, 2018), https://newsroom.juul.com/juul-
27     labs-action-plan/.
     844
         INREJUUL_00265069.
     845
28       INREJUUL_00079307-INREJUUL_00079409, at 395.
     846
         Id.
                                                     215
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 1           651.    Most importantly, JLI knew that mint was the most popular JUUL pod. Though

 2   other flavors might draw new customers, JLI’s most addictive “flavor” predictably became its

 3   most popular.

 4           652.    The characterization of mint as an adult tobacco product was also fraudulent

 5   because JLI knew first hand from the McKinsey and DB Research studies that teens viewed mint

 6   as favorably as mango, which implies that mango and mint were fungible goods for JLI’s

 7   underage users. The McKinsey and DB Research studies also showed that youth preferred mint

 8   over the more stereotypically youth-oriented flavors like fruit medley, crème brule, and

 9   cucumber. As alleged in a Whistleblower Complaint, JLI’s then-CEO told his employees: “You

10   need to have an IQ of 5 to know that when customers don’t find mango they buy mint.”847

11           653.    On October 25, 2018, less than ten days after JLI presented its fraudulent,

12   misleading Action Plan to the FDA, Altria’s CEO Howard Willard submitted a letter in response

13   to the FDA’s call to combat the youth epidemic. Willard’s letter was a clear indication of Altria’s

14   willingness to continue the fraudulent scheme and deception of the FDA. While Willard’s letter

15   confirmed that Altria understood that JLI’s conduct and product was addicting many children to

16   nicotine, this letter repeated the misleading statement that mint was a “traditional tobacco flavor”

17   despite Altria and JLI knowing it was no such thing. Willard then claimed that the youth

18   epidemic was caused, in part, by “flavors that go beyond traditional tobacco flavors”—which,

19   according to JLI and Altria, did not include mint—and announced that Altria would discontinue

20   all MarkTen flavors except for “traditional tobacco, menthol and mint flavors.” Willard asserted

21   that these three flavors were essential for transitioning smokers. But Willard, and Altria, knew

22   this was not true.848

23           654.    That same day—October 25, 2018—Altria continued its deception on an earnings

24   call with investors. Altria fraudulently described its decision to remove its pod-based products

25

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     847
27       Angelica LaVito, Former JLI executive sues over retaliation, claims company knowingly sold
       tainted nicotine pods, CNBC (Oct. 30, 2019), https://www.cnbc.com/2019/10/30/former-juul-
28     executive-sues-over-retaliation-claims-company-knowingly-sold-tainted-pods.html.
     848
         Letter from Howard Willard III, Altria to Senator Durbin, et. al. (Oct. 14, 2019).
                                                     216
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 1   from the market as one intended to address the dramatic increase in youth e-cigarette use, while

 2   it was only weeks away from publicly announcing its 35% stake in JLI:

 3          We recently met with Commissioner Gottlieb to discuss steps that could be taken
            to address underage access and use. Consistent with our discussion with the FDA
 4          and because we believe in the long-term promise of e-vapor products and harm
            reduction, we’re taking immediate action to address this complex situation.
 5

 6          First, Nu Mark will remove from the market MarkTen Elite and Apex by MarkTen
            pod-based products until these products receive a market order from the FDA or
 7          the youth issue is otherwise addressed. Second, for our remaining MarkTen and
            Green Smoke cig-a-like products, Nu Mark will sell only tobacco, menthol and
 8          mint varieties. Nu Mark will discontinue the sale of all other flavor variants of our
            cig-a-like products until these products receive a market order from the FDA or the
 9
            youth issue is otherwise addressed. Although we don't believe we have a current
10          issue with youth access or use of our e-vapor products, we are taking this action,
            because we don't want to risk contributing to the issue.
11
            After removing Nu Mark’s pod-based products and cig-a-like flavor variants,
12          approximately 80% of Nu Mark's e-vapor volume in the third quarter of 2018 will
            remain on the market. 849
13
            655.    Willard reiterated that “pod-based products and flavored products” were behind
14
     the increase in youth use of e-cigarettes:
15
            I mean, I think the way we thought about this was that we believe e-vapor has a lot
16
            of opportunity to convert adult cigarette smokers in the short, medium and long-
17          term, but clearly, this significant increase in youth usage of the products puts that
            at risk and we think rapid and significant action is necessary. And I think as we
18          looked at the data that is available in some of the remarks from the FDA, I think we
            concluded that the driver of the recent increase we think is pod-based products and
19          flavored products and so we thought that the two actions that we took addressed the
            drivers of the increased youth usage here in the short run.850
20

21          656.    Willard emphasized that Altria’s withdrawal of its own pod-based products was

22   intended to address youth use: “[W]e really feel like in light of this dramatic increase in youth

23   usage, withdrawing those products until the PMTA is filed is one path forward.” He later said:

24   “And frankly, the actions we took were the actions that we thought we could take that would

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26   849
         Altria Group Inc (MO) Q3 2018 Earnings Conference Call Transcript
27   MO earnings call for the period ending September 30, 2018 (Oct. 25, 2018),
     https://www.fool.com/earnings/call-transcripts/2018/10/25/altria-group-inc-mo-q3-2018-
28     earnings-conference-ca.aspx.
     850
         Id.
                                                     217
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 1   have the biggest impact on addressing the increased use of e-vapor products by youth . . . we

 2   wanted to make a significant contribution to addressing the issue.”851 As noted above, however,

 3   it has since been reported that Altria “pulled its e-cigarettes off the market” not out of concern

 4   for the epidemic of youth nicotine addiction that JLI created, but because a non-compete clause

 5   was a “part of its deal with J[LI].”852

 6          657.    Thus, while Altria publicly announced that it would pull its pod-based products to

 7   combat youth usage, and publicly seemed to support removal of youth-friendly flavors, its

 8   defense of mint as a tobacco-analog was actually part of the scheme to protect the profits

 9   associated with JLI’s mint JUUL pods, one of JLI’s strongest products with the highest nicotine

10   content and highest popularity among non-smokers and youth.

11          658.    In support of his arguments to the FDA that mint was a flavor for adult smokers,

12   Willard cited to a study that Altria Client Services had conducted and presented at a conference

13   that JLI attended.853 But Willard did not disclose that Altria Client Services’ “study” was merely

14   a “quasi-experimental online survey” and not a true scientific study.854 Notably, JLI’s current

15   CEO, K.C. Crosthwaite, was the Vice President of Strategy and Business Development of Altria

16   Client Services when it conducted Altria’s mint “study” in Spring 2017, the same time that the

17   Management Defendants and Altria and Altria Client Services began their “confidential

18   negotiations.”855 Willard did not disclose that this study was contradicted by the “youth

19   prevention” data provided by JLI during its acquisition due-diligence showing that mint was

20   popular among teens.

21

22

23
     851
24       Id.
     852
         Id.
25   853
         Jessica Parker Zdinak, Ph.D., E-vapor Product Appeal Among Tobacco Users and Non-users
       and the Role of Flavor in Tobacco Harm Reduction, 72nd Tobacco Science Research
26     Conference (Sept. 18, 2018), https://sciences.altria.com/library/-
27     /media/Project/Altria/Sciences/library/conferences/2018%20TSRC%20J%20Zdniak%20Presen
       tation.pdf.
     854
28       Id.
     855
         Letter from Howard Willard III, Altria to Senator Durbin, et. al. (Oct. 14, 2019).
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 1          659.    Through these letters, Altria sought to prevent the FDA—which was actively

 2   considering regulating flavors856—from banning JLI’s mint JUULpods.

 3          660.    Acting in concert, JLI and Altria committed acts of mail or wire fraud when (1)

 4   JLI transmitted its Action Plan to the FDA and the public; and (2) Altria transmitted Willard’s

 5   letter to the FDA.

 6          661.    On October 25, 2018, the same day Howard Willard sent the FDA his letter

 7   fraudulently misrepresenting the Mint flavor and Altria’s view on pod-based products, Willard

 8   provided Pritzker and Valani with a copy of the very same letter. 857

 9          662.    It is no surprise that Altria was coordinating with Pritzker and Valani on the

10   scheme to protect flavors. It knew a potential ban on flavors would have a material impact on the

11   ability of JLI to continue its youth sales, and on the value of those sales. For example, in

12   November 2018, Crosthwaite asked Brian Blaylock at Altria Client Services to model a scenario

13   for Altria’s investment in JLI where the FDA enacts a flavor ban.858

14          663.    At the heart of these acts of fraud was Defendants’ characterization of mint as a

15   tobacco product that was targeted to adult smokers. This characterization was fraudulent because

16   Defendants knew kids prefer mint flavor and that JLI designed mint to be one of JLI’s most

17   potent products. Altria supported this plan and helped execute it. Together, these actions by JLI

18   and Altria ensured that mint would remain available to youths for many months, furthering their

19   efforts to maintain and expand the number of nicotine-addicted e-cigarette users in order to

20   ensure a steady and growing customer base.

21          664.    The deceptive scheme worked—the FDA did not protest JLI and Altria’s plan.

22   And on December 20, 2018, one month after JLI announced its Action Plan to keep selling mint,

23   Altria made a $12.8 billion equity investment in JLI.

24

25
     856
         Alex Lardieri, FDA Considers Ban on E-Cigarette Flavors Amid 'Epidemic' Use By Teens,
26     U.S. News & World Report (Sept. 12, 2018), https://www.usnews.com/news/health-care-
27     news/articles/2018-09-12/fda-considers-ban-on-e-cigarette-flavors-amid-epidemic-use-by-
       teens.
     857
28       JLIFTC00653389
     858
         ALGAT0000389729.
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 1          665.    By February of 2019, the FDA became aware that it had been deceived by JLI and

 2   Altria. On February 6, 2019, then-FDA commissioner Gottlieb wrote JLI and Altria demanding

 3   in-person meetings, excoriating Altria for its “newly announced plans with JUUL [that]

 4   contradict the commitments you made to the FDA” in a prior meeting and Willard’s October 25,

 5   2018 letter to the FDA.859 Gottlieb’s letter to JLI alleged that JLI’s conduct was “inconsistent

 6   with its previous representations to the FDA.”860

 7          666.    The FDA demanded Altria be prepared to explain itself regarding its “plans to

 8   stop marketing e-cigarettes and to address the crisis of youth use of e-cigarettes.” Then-

 9   Commissioner Gottlieb told Altria that “deeply concerning data” shows that “youth use of JUUL

10   represents a significant proportion of overall use of e-cigarette products by children” and despite

11   any alleged steps the companies had taken to address the issue he “ha[d] no reason to believe

12   these youth patterns of use are abating in the near term, and they certainly do not appear to be

13   reversing.”

14          667.    JLI and Altria met with Gottlieb in March 2019 in a meeting the then-

15   Commissioner described as “difficult.”861 Gottlieb “did not come away with any evidence that

16   public health concerns drove Altria’s decision to invest in JLI, and instead said it looked like a

17   business decision. According to reporting by the New York Times, Gottlieb angrily criticized

18   JLI’s lobbying of Congress and the White House, stating:

19          We have taken your meetings, returned your calls and I had personally met with
            you more times than I met with any other regulated company, and yet you still
20          tried to go around us to the Hill and White House and undermine our public
            health efforts. I was trying to curb the illegal use by kids of your product and you
21
            are fighting me on it.862
22
            668.    But just a week after the “difficult” meeting with JLI and Altria, Gottlieb posted a
23
     statement about the FDA’s new e-cigarette policy, proposing to ban all flavors except “tobacco-,
24

25   859
         Letter from Scott Gottlieb, FDA to Howard Willard, Altria (Feb. 9, 2019).
     860
         Letter from Scott Gottlieb, FDA to Kevin Burns, JUUL Labs, Inc. (Feb. 9, 2019).
26   861
         Kate Rooney & Angelica LaVito, Altria Shares Fall After FDA’s Gottlieb Describes
27     ‘Difficult’ Meeting on Juul, CNBC (Mar. 19, 2019), https://www.cnbc.com/2019/03/19/altria-
       shares-fall-after-fdas-gottlieb-describes-difficult-meeting-on-juul.html.
     862
28       Julie Creswell & Sheila Kaplan, How Juul Hooked a Generation on Nicotine, N.Y. Times
       (Nov. 24, 2019), https://www.nytimes.com/2019/11/23/health/juul-vaping-crisis.html.
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 1   mint- and menthol-flavored products.”863 He cited the strong support of President Trump (whose

 2   administration JLI had aggressively lobbied864), and also cited “recent evidence indicat[ing] that

 3   mint- and menthol-flavored ENDS products are preferred more by adults than minors.”865 Just a

 4   few weeks later, Gottlieb resigned from his position as commissioner of the FDA.

 5          669.    The scheme had succeeded in saving mint JUUL pods, as well as each

 6   Defendant’s bottom line. JLI’s sale of mint JUUL pods rose from one third of its sales in

 7   September 2018 to approximately two thirds in February 2019. JLI’s 2019 revenues were

 8   estimated to be between $2.36 billion and $3.4 billion, and mint JUUL pods accounted for

 9   approximately 75% of JLI’s total 2019 sales. And because mint remained on the market until JLI

10   withdrew it in November 2019 in the face of growing scrutiny,866 thousands, if not millions, of

11   underage JUUL users suffered the consequences.

12          670.    As former New York City Mayor Mike Bloomberg stated: “JUUL’s decision to

13   keep mint- and menthol-flavored e-cigarettes on the shelves is a page right out of the tobacco

14   industry’s playbook.”867

15          671.    JLI continues to sell menthol-flavored products.868

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     863
20       News Release, Statement from FDA Commissioner Scott Gottlieb, M.D., on advancing new
       policies aimed at preventing youth access to, and appeal of, flavored tobacco products,
21     including e-cigarettes and cigars, U.S. FDA (Mar. 13, 2019), https://www.fda.gov/news-
       events/press-announcements/statement-fda-commissioner-scott-gottlieb-md-advancing-new-
22     policies-aimed-preventing-youth-access.
     864
23       Evan Sully & Ben Brody, JLI Spent Record $1.2 Million Lobbying as Regulators Stepped Up,
       Wash. Post (Oct. 22, 2019), https://www.washingtonpost.com/business/on-small-business/juul-
24     spent-record-12-million-lobbying-as-regulators-stepped-up/2019/10/22/2a0dbc52-f4de-11e9-
       b2d2-1f37c9d82dbb_story.html.
25   865
         Id.
     866
         Ellen Huet, JLI Pulls Mint-Flavor Vaping Products, but Menthol Remains, Bloomberg (Nov.
26     7, 2019), https://www.bloomberg.com/news/articles/2019-11-07/juul-stops-selling-mint-
27     flavored-vaping-products.
     867
         Id.
     868
28       Sheila Kaplan, Juul Halts Sales of Mint, Its Top-Selling e-Cigarette Flavor, N.Y. Times
       (Nov. 7, 2019), https://www.nytimes.com/2019/11/07/health/vaping-juul-mint-flavors.html.
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 1          3.      In Response to the Public Health Crisis Created by JUUL, the FDA Belatedly
                    Tried to Slow the Epidemic.
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            672.    In 2017, the FDA announced that it would be taking steps to regulate e-cigarette
 3
     devices such as JUUL. In late 2017, the FDA initiated its investigation of e-cigarette companies’
 4
     advertising and sales practices. But, as noted above, the FDA’s 2017 Compliance Policy issued a
 5
     four-year extension for compliance with the 2016 deeming rule, apparently to “balance between
 6
     regulation and encouraging development of innovative tobacco products that may be less
 7
     harmful than cigarettes.”869 In March 2018, the 2017 Compliance Policy was challenged by the
 8
     American Academy of Pediatrics, along with other public health organizations concerned that a
 9
     compliance extension for the e-cigarette industry would allow more e-cigarette products into the
10
     market and continue to addict thousands of youth.870
11
            673.    In March 2019, the FDA drafted guidance that modified the 2017 Compliance
12
     Policy, but it did not go into full effect. However, on May 15, 2019, the lawsuit filed by the
13
     American Academy of Pediatrics was successful—the U.S. District Court for the District of
14
     Maryland vacated the 2017 Compliance Policy, and directed the FDA to “require that premarket
15
     authorization applications for all new deemed products” (“new” referred to any product launched
16
     after February 15, 2007 and thus would include JUUL) be submitted within ten months, by May
17
     2020.871
18
            674.    In January 2020, the FDA issued: Enforcement Priorities for Electronic Nicotine
19
     Delivery Systems (ENDS) and Other Deemed Products on the Market Without Premarket
20
     Authorization: Guidance for Industry (2020 FDA Guidance), directed at the e-cigarette industry,
21
     which detailed the FDA’s plan to prioritize enforcement of regulations prohibiting the sale of
22
     flavored e-cigarette products and prohibiting the targeting of youth and minors.872 The 2020
23
     FDA Guidance focused on flavored e-cigarettes that appeal to children, including fruit and mint:
24

25
     869
         Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed
26     Products on the Market Without Premarket Authorization, U.S. FDA (Jan. 2020),
27     https://www.fda.gov/media/133880/download.
     870
         Id.
     871
28       Id.; Am. Academy of Pediatrics v. FDA , 379 F. Supp. 3d 461, 496 (D. Md. 2019).
     872
         Id.
                                                     222
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 1   “[C]ompanies that do not cease manufacture, distribution and sale of unauthorized flavored

 2   cartridge-based e-cigarettes . . . within 30 days risk FDA enforcement actions.”873

 3          4.      The Government’s Efforts to Address the JUUL Crisis Were Too Late and
                    the Damage Has Already Been Done
 4
            675.    By the time the FDA acted, youth consumption of e-cigarettes had already
 5
     reached an all-time high, and the e-cigarette industry’s presence on social media became an
 6
     unstoppable force. The 2020 FDA Guidance acknowledges that two of the largest 2019 surveys
 7
     of youth cigarette use found that e-cigarette use had reached the highest levels ever recorded.874
 8
     By December 2019, there were over 2,500 reported cases of e-cigarette related hospitalization
 9
     for lung injury, including over fifty confirmed deaths.875 Despite the FDA’s efforts between 2017
10
     and 2019, youth consumption of e-cigarettes doubled among middle and high school students
11
     over the same period.876 In 2019, the total number of middle and high school students reporting
12
     current use of e-cigarettes surpassed five million for the first time in history.877
13
            676.    JLI’s presence on social media has also persisted, even without further initiation
14
     by JLI—the hallmark of a successful viral marketing campaign. When the “#juul” hashtag was
15
     first used on social media, it was a series of thirteen tweets on Twitter. By the time JLI
16
     announced it would shut down its Instagram account, “#juul” had been featured in over 250,000
17
     posts on Instagram. A study by Stanford University found that in the eight months after JLI
18
     ceased all promotional postings, community posting accelerated, to nearly half a million posts.
19

20

21

22
     873
23       News Release, FDA Finalizes Enforcement Policy on Unauthorized Flavored Cartridge-
       Based E-Cigarettes That Appeal to Children, Including Fruit and Mint, U.S. FDA (Jan. 2,
24     2020), https://www.fda.gov/news-events/press-announcements/fda-finalizes-enforcement-
       policy-unauthorized-flavored-cartridge-based-e-cigarettes-appeal-children.
25   874
         Enforcement Priorities for Electronic Nicotine Delivery Systems (ENDS) and Other Deemed
       Products on the Market Without Premarket Authorization, U.S. FDA (Jan. 2020),
26     https://www.fda.gov/media/133880/download.
     875
27       Karen A. Cullen et al., E-cigarette Use Among Youth in the United States, 2019, 322 JAMA
       2095 (2019).
     876
28       Id.
     877
         Id.
                                                       223
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 1   Whereas before JLI exited Instagram, “#juul” appeared on average in 315 posts per day, that

 2   number tripled to 1084 posts per day after JLI shut down its Instagram account.878

 3          677.    The FDA’s anti-e-cigarette campaign on social media was aimed at youth and

 4   middle and high school students. The campaign used the slogan “The Real Cost” to educate

 5   youth on social media platforms about the health impacts of e-cigarette consumption—the real

 6   cost of using e-cigarettes. A recent study from the University of California Berkeley found that

 7   since September 2018, when the FDA’s social media campaign began, the hashtag

 8   “#TheRealCost” was used about fifty times per month on Instagram. By comparison, e-cigarette

 9   related hashtags were used as many as 10,000 times more often. Despite the FDA’s social media

10   intervention, the number of e-cigarette related posts, and the median number of likes (a strong

11   metric of viewer engagement) the posts received, increased three-fold and six-fold,

12   respectively.879

13          678.    In short, by the time the FDA reacted to the epidemic created by Defendants,

14   millions of youth were addicted to e-cigarettes and nicotine, and were sharing e-cigarette related

15   posts on social media on their own.

16                  V.     GOVERNMENT ENTITY FACTUAL ALLEGATIONS

17   A.     E-cigarette Use in Schools
18          679.    In addition to severe health consequences, widespread e-cigarette use, and
19   particularly JUUL use, has placed severe burdens on society and schools in particular. It is not an
20   overstatement to say that JUUL has changed the high school and even middle school experience
21   of students across the nation. As one e-cigarette shop manager told KOMO News, “It’s the new
22   high school thing. Everyone’s got the JUUL.”880
23

24
     878
         Robert K. Jackler et al., Rapid Growth of JUUL Hashtags After the Company Ceased Social
25     Media Promotion, Stanford Research Into the Impact of Tobacco Advertising (July 22, 2019),
       http://tobacco.stanford.edu/tobacco_main/publications/Hashtag JUUL Project_7-22-19F.pdf.
26   879
         Julia Vassey, #Vape: Measuring E-cigarette Influence on Instagram With Deep Learning and
27     Text Analysis, 4 Frontiers in Commc’n 75
       (2020),https://www.frontiersin.org/articles/10.3389/fcomm.2019.00075/full.
     880
28       Juuling at School, KOMO News (2019),
       https://komonews.com/news/healthworks/dangerous-teen-trend-juuling-at-school.
                                                     224
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 1          680.    The JUUL youth addiction epidemic spread rapidly across high schools in the

 2   United States. JUUL surged in popularity, largely through social media networks, and created

 3   patterns of youth usage, illegal youth transactions, and addiction, that are consistent with the

 4   account from Reddit that described widespread JUUL use discussed above.

 5          681.    E-cigarette use has completely changed school bathrooms—now known as “the

 6   Juul room.”881 As one high school student explained, “it’s just a cloud.”882

 7          682.    As another high school student explained, “You can pull it out, you can have it

 8   anywhere. To smoke a cigarette you have to hit the bus stop. You want a Juul you hit the

 9   bathroom, it’s easy.”883 He added that JLI “market[s] it as an alternative to cigarettes but really

10   it’s a bunch of kids who have never picked up a pack and they’re starting their nicotine addiction

11   there.”884 Students at another high school stated that classmates had “set off the fire alarm four

12   times last year from vaping in the bathrooms [at school],” adding that it is commonplace to see

13   students using e-cigarettes in school bathrooms or in the parking lot.885

14          683.    An April 20, 2018 article in The Wall Street Journal described the problems

15   parents and schools are facing with the meteoric rise of nicotine use by America’s youth:

16          At Northern High School in Dillsburg, Pa., Principal Steve Lehman’s locked safe,
            which once contained the occasional pack of confiscated cigarettes, is now filled
17          with around 40 devices that look like flash drives.
18          The device is called a Juul and it is a type of e-cigarette that delivers a powerful
19          dose of nicotine, derived from tobacco, in a patented salt solution that smokers

20
     881
         Moriah Balingit, In the ‘Juul room’: E-cigarettes spawn a form of teen addiction that worries
21     doctors, parents and schools, Wash. Post (July 26, 2019),
       https://www.washingtonpost.com/local/education/helpless-to-the-draw-of-nicotine-doctors-
22     parents-and-schools-grapple-with-teens-addicted-to-e-cigarettes/2019/07/25/e1e8ac9c-830a-
23     11e9-933d-7501070ee669_story.html.
     882
         Greta Jochem, Juuling in School: e-Cigarette Use Prevalent Among Local Youth, Daily
24     Hampshire Gazette (Nov. 13, 2018), https://www.gazettenet.com/Juuling-in-Schools-
       21439655.
25   883
         Alison Grande, ‘Juuling': Vaping device that looks like USB drive popular with teens, KIRO
       7 (Dec. 8, 2017), https://www.kiro7.com/news/local/juuling-vaping-device-that-looks-like-usb-
26     drive-popular-with-teens/660965605/.
     884
27       Id.
     885
         Manisha Jha, ‘You need to stop vaping right now’: Students and faculty react to Washington
28     vape ban, The Daily, U. of Wash. (Sept. 30, 2019),
       http://www.dailyuw.com/news/article_960d8692-e324-11e9-870c-9f9d571115d6.html.
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 1          say closely mimics the feeling of inhaling cigarettes. It has become a coveted
            teen status symbol and a growing problem in high schools and middle schools,
 2          spreading with a speed that has taken teachers, parents and school administrators
            by surprise.
 3

 4          *       *        *
            After two decades of declining teen cigarette use, “JUULing” is exploding. The
 5          JUUL liquid’s 5% nicotine concentration is significantly higher than that of most
            other commercially available e-cigarettes. JUUL Labs Inc., maker of the device,
 6          says one liquid pod delivers nicotine comparable to that delivered by a pack of
            cigarettes, or 200 puffs—important for adult smokers trying to switch to an e-
 7          cigarette. It is also part of what attracts teens to the product, which some experts
 8          say is potentially as addictive as cigarettes and has schools and parents scrambling
            to get a grip on the problem.886
 9
            684.    This impact was only made worse by JLI intentionally targeting schools, as
10
     described above.
11
            685.    Such rampant e-cigarette use has effectively added another category to teachers’
12
     and school administrators’ job descriptions; many now receive special training to respond to the
13
     various problems that youth e-cigarette use presents, both in and out of the classroom. A national
14
     survey of middle schools and high schools found that 44.4% of schools have had to implement
15
     policies to address JUUL use.887 Participants in the survey reported multiple barriers to enforcing
16
     these policies, including the discreet appearance of the product, difficulty pinpointing the vapor
17
     or scent, and the addictive nature of the product.
18
            686.    Across the United States, schools have had to divert resources and administrators
19
     have had to go to extreme lengths to respond to the ever-growing number of students using e-
20
     cigarettes on school grounds, including in restrooms. According to the Truth Initiative, more than
21
     40% of all teachers and administrators reported responding to the JUUL crisis through camera
22
     surveillance near the school’s restroom; almost half (46%) reported camera surveillance
23

24
     886
         Anne Marie Chaker, Schools and Parents Fight a Juul E-Cigarette Epidemic, Wall St. J.
25     (Apr. 4, 2018), https://www.wsj.com/articles/schools-parents-fight-a-juul-e-cigarette-epidemic-
       1522677246.
26   887
         Barbara A. Schillo, PhD et al., JUUL in School: Teacher and Administrator Awareness and
27     Policies of E-Cigarettes and JUUL in U.S. Middle and High Schools, Truth Initiative Vol.
       21(1) Health Promotion Practice 20-24 (Sept. 18, 2019),
28     https://journals.sagepub.com/doi/full/10.1177/1524839919868222?url_ver=Z39.88-
       2003&rfr_id=ori:rid:crossref.org&rfr_dat=cr_pub%3dpubmed.
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 1   elsewhere in the school; and 23% reported using assigned teachers for restroom surveillance.888

 2   Some schools have responded by removing bathroom doors or even shutting bathrooms down,

 3   and schools have banned flash drives to avoid any confusion between flash drives and JUULs.

 4   Schools have also paid thousands of dollars to install special monitors to detect e-cigarette use,

 5   which they say is a small price to pay compared to the plumbing repairs otherwise spent as a

 6   result of students flushing e-cigarette paraphernalia down toilets. Other school districts have

 7   sought state grant money to create new positions for tobacco prevention supervisors, who get

 8   phone alerts when e-cigarette smoke is detected in bathrooms.

 9          687.    Many schools have also shifted their disciplinary policies in order to effectively

10   address the youth e-cigarette epidemic. Rather than immediately suspending students for a first

11   offense, school districts have created anti-e-cigarette curricula which students are required to

12   follow in sessions held outside of normal school hours, including on Saturdays. Teachers prepare

13   lessons and study materials for these sessions with information on the marketing and health

14   dangers of e-cigarettes—extra work which requires teachers to work atypical hours early in the

15   mornings and on weekends. Some schools will increase their drug testing budget to include

16   random nicotine tests for students before they join extracurricular activities. Under this drug-

17   testing protocol, first offenders will undergo drug and alcohol educational programming; second

18   and third offenders with be forced to sit out from extra-curricular activities and attend substance

19   abuse counseling.

20          688.    A July 26, 2019 article in The Washington Post noted the measures some schools

21   were taking to combat “JUULing” by students:

22          Many schools are at a loss for how to deal with Juuls and other e-cigarettes.
            Some educators report increases in the number of students being suspended after
23          they’re caught with e-cigarettes.
24          Desperate school administrators have banned USB drives because they’re
25          indistinguishable from Juuls. Others removed bathroom doors because teens were
            regularly gathering there to vape, and some have even started searching students.
26

27   888
        How are schools responding to JUUL and the youth e-cigarette epidemic?, Truth Initiative
28    (Jan. 18, 2019), https://truthinitiative.org/research-resources/emerging-tobacco-products/how-
      are-schools-responding-juul-and-youth-e-cigarette.
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 1          Jonathon Bryant, chief administrator of Lincoln Charter School in North Carolina,
            estimated that three-quarters of suspensions in the just-completed academic year
 2          were related to vaping, and some students were suspended more than once.889
 3          689.    JUUL’s prevalence in schools is not a coincidence; JLI actively sought to enter
 4   school campuses. By June 2017, JLI began developing what they claimed to be a “youth
 5   prevention program[.]”890 By December 2017, JLI’s venture included extensive work with
 6   schools.891
 7          690.    As discussed above, the U.S. House Subcommittee on Economic and Consumer
 8   Policy (“Subcommittee”) conducted a months-long investigation of JLI, including reviewing tens
 9   of thousands of internal documents, and concluded that JLI “deliberately targeted children in
10   order to become the nation’s largest seller of e-cigarettes.”892 The Subcommittee found that “(1)
11   JUUL deployed a sophisticated program to enter schools and convey its messaging directly to
12   teenage children; (2) JUUL also targeted teenagers and children, as young as eight years-old, in
13   summer camps and public out-of-school programs; and (3) JUUL recruited thousands of online
14   ‘influencers’ to market to teens.”893
15          691.    According to the Subcommittee, JLI was willing to pay schools and organizations
16   hundreds of thousands of dollars to have more direct access to kids. For example, JLI paid a
17   Baltimore charter school organization $134,000 to start a summer camp to teach kids healthy
18   lifestyles, for which JLI itself would provide the curriculum.894 Participants were “recruited from
19   grades 3 through 12.”895 JLI also offered schools $10,000 to talk to students on campus and gave
20

21   889
         Moriah Balingit, In the ‘Juul room’: E-cigarettes spawn a form of teen addiction that worries
       doctors, parents and schools, Wash. Post (July 26, 2019),
22     https://www.washingtonpost.com/local/education/helpless-to-the-draw-of-nicotine-doctors-
23     parents-and-schools-grapple-with-teens-addicted-to-e-cigarettes/2019/07/25/e1e8ac9c-830a-
       11e9-933d-7501070ee669_story.html.
     890
24       See, e.g., INREJUUL_00211242-243 at 242.
     891
         INREJUUL_00173409.
25   892
         Memorandum, U.S. House Subcommittee on Econ. & Consumer Policy (July 25, 2019),
       https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.
26     pdf.
     893
27       Id.
     894
         See INREJUUL_00194247-251; see also JLI-HOR-00003711-712 (invoice to JLI from The
28     Freedom & Democracy Schools, Inc. for $134,000 dated June 21, 2018).
     895
         INREJUUL_0019427-251 at 428.
                                                     228
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 1   the Police Activities League in Richmond, California, almost $90,000 to provide JLI’s own e-

 2   cigarette education program, “Moving On,” to teenage students suspended for using cigarettes.

 3   The Richmond Diversion Program targeted “youth, aged 12-17, who face suspension from

 4   school for using e-cigarettes and/or marijuana” and “juveniles who have committed

 5   misdemeanour (lesser category) offenses” and required students to “participate in the JUUL labs

 6   developed program, Moving Beyond,” for as long as ten weeks.896

 7          692.       Community members testified before the Subcommittee as to the content of one

 8   of JLI’s presentations in school. During JLI’s presentation to students, “[n]o parents or teachers

 9   were in the room, and JUUL’s messaging was that the product was ‘totally safe.’ The presenter

10   even demonstrated to the kids how to use a JUUL.”897

11          693.       In 2018, a representative from JLI spoke at a high school during a presentation for

12   ninth graders, stating that JUUL “was much safer than cigarettes,” that the “FDA would approve

13   it any day,” that JUUL was “totally safe,” that JUUL was a “safer alternative than smoking

14   cigarettes, and it would be better for the kid to use,” and that the “FDA was about to come out

15   and say it [JUUL] was 99% safer than cigarettes . . . and that . . . would happen very soon[.]”898

16   “The presenter even demonstrated to the kids how to use a JUUL.”899

17          694.       In the FDA’s September 9, 2019 Warning Letter, which discussed this

18   presentation to ninth graders, the agency noted its “concern is amplified by the epidemic rate of

19   increase in youth use of ENDS products, including JUUL’s products, and evidence that ENDS

20   products contribute to youth use of, and addiction to, nicotine, to which youth are especially

21   vulnerable.”900

22
     896
23       JLI-HOR-00002180-184 at 181-182.
     897
         Committee Staff, Memorandum re: Supplemental Memo for Hearing on “Examining JUUL’s
24     Role in the Youth Nicotine Epidemic: Parts 1 & II (“Supplemental Memo for Hearing”) at 1,
       Subcommittee on Econ. & Consumer Policy (July 25, 2019),
25     https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.
       pdf.
26   898
         Juul Labs, Inc. Warning Letter, FDA (Sept. 9, 2019), https://www.fda.gov/inspections-
27     compliance-enforcement-and-criminal-investigations/warning-letters/juul-labs-inc-590950-
       09092019.
     899
28       Subcommittee on Economic and Consumer Policy Memo (July 25, 2019).
     900
         Id.
                                                       229
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 1           695.    The FDA’s Center for Tobacco Products issued a separate letter to JUUL CEO

 2   Kevin Burns, requesting “documents and information from JUUL Labs, Inc. (JUUL) regarding

 3   JUUL’s marketing, advertising, promotional, and educational campaigns, as well as certain

 4   product development activity.”901 The FDA also issued a news release on September 9, 2019, in

 5   which it chided JUUL for its role in the youth e-cigarette epidemic, noting “[s]ome of this youth

 6   use appears to have been a direct result of JUUL’s product design and promotional activities

 7   and outreach efforts,” in particular, its outreach efforts to students.902

 8           696.    The Center for Tobacco Products letter requested documents and explanations on

 9   multiple topics, including, but not limited to:

10           Ms. Meredith Berkman, Co-founder, Parents Against Vaping e-cigarettes (PAVe),
             testified that, “In California, a retired school superintendent was offering schools
11           in his state and in Massachusetts money if they would implement the anti-JUUL
             curriculum that…a man named Bruce Harder was offering on JUUL’s behalf.”
12

13                                            *      *       *
             On July 25, 2019, in response to questions from Chairman Krishnamoorthi about
14           JUUL’s program to pay schools $10,000 or more to use a JUUL “youth
             prevention” curriculum, Ms. Ashley Gould, Chief Administrative Officer, JUUL
15           Labs, Inc., testified: “That is not currently the case. We ended that program in the
             fall of 2018,” and that, “…there were six schools that received funding from
16           JUUL to implement programming to prevent teen vaping….”
17
             In addition, in response to questions from Chairman Krishnamoorthi about
18           internal JUUL correspondence in 2018 about setting up a booth at a school health
             fair, Ms. Gould testified that JUUL ended its youth prevention program.903
19
             697.    JLI also sponsored a “Saturday School Program” in which students caught using
20
     e-cigarettes in school were presented with JLI-sponsored curriculum and snacks, and JLI
21

22

23
     901
24       Letter from Mitchell Zeller, Director, Center for Tobacco Products, to Kevin Burns, CEO of
       JUUL Labs, Inc. at 1 (Sept. 9, 2019), https://www.fda.gov/media/130859/download.
25   902
         FDA warns JUUL Labs for marketing unauthorized modified risk tobacco products, including
       in outreach to youth, FDA (Sept. 9, 2019), https://www.fda.gov/news-events/press-
26     announcements/fda-warns-juul-labs-marketing-unauthorized-modified-risk-tobacco-products-
27     including-outreach-youth (emphasis added)Letter from Center for Tobacco Products, to Kevin
       Burns, CEO of JUUL Labs, Inc. (Sept. 9, 2019), https://www.fda.gov/media/130859/download.
     903
28       Letter from Mitchell Zeller, Director, Center for Tobacco Products, to Kevin Burns, CEO of
       JUUL Labs, Inc. at 2 (Sept. 9, 2019), https://www.fda.gov/media/130859/download.
                                                       230
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 1   “established the right to collect student information from the sessions.”904 A JLI spokesman said

 2   the company is no longer funding such programs.

 3          698.    As mentioned above, the problems with JLI’s youth prevention programs were

 4   widespread. According to outside analyses, “the JUUL Curriculum is not portraying the harmful

 5   details of their product, similar to how past tobacco industry curricula left out details of the

 6   health risks of cigarette use.”905 Although it is well-known that teaching children to deconstruct

 7   ads is one of the most effective prevention techniques, JLI programs entirely omitted this skill,

 8   and JLI’s curriculum barely mentioned JUUL products as among the potentially harmful

 9   products to avoid.906 As one expert pointed out, “we know, more from anecdotal research, that

10   [teens] may consider [JUULs] to be a vaping device, but they don’t call it that. So when you say

11   to a young person, ‘Vapes or e-cigarettes are harmful,’ they say, ‘Oh I know, but I’m using a

12   JUUL.’”907

13          699.    Internal emails confirm both that JLI employees knew about the similarities of

14   JLI’s “youth prevention program” to the earlier pretextual antismoking campaigns by the

15   cigarette industry and that JLI management at the highest levels was personally involved in these

16   efforts. In April 2018, Julie Henderson, the Youth Prevention Director, emailed school officials

17   about “the optics of us attending a student health fair” because of “how much our efforts seem to

18   duplicate those of big tobacco (Philip Morris attended fairs and carnivals where they distributed

19   various branded items under the guise of ‘youth prevention’).”908 She later wrote that she would

20

21
     904
         Committee Staff, Memorandum re: Supplemental Memo for Hearing on “Examining JUUL’s
22     Role in the Youth Nicotine Epidemic: Parts 1 & II (“Supplemental Memo for Hearing”) at 2,
23     Subcommittee on Econ. & Consumer Policy (July 25, 2019),
       https://oversight.house.gov/sites/democrats.oversight.house.gov/files/Supplemental%20Memo.
24     pdf.
     905
         Victoria Albert, Juul Prevention Program Didn't School Kids on Dangers, Expert Says:
25     SMOKE AND MIRRORS. JUUL—which made up 68 percent of the e-cigarette market as of
       mid-June—seems to have taken a page from the playbook of Big Tobacco, The Daily Beast
26     (Oct. 19, 2018), https://www.thedailybeast.com/juul-prevention-program-didnt-school-kids-on-
27     dangers-expert-says.
     906
         Id.
     907
28       Id.
     908
         INREJUUL_00197607-608 at 608.
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 1   “confirm our participation w[ith] Ashley & Kevin”909—an apparent reference to Kevin Burns, at

 2   the time the CEO of JLI, who would later personally approve JLI’s involvement in school

 3   programs. In May 2018, Henderson spoke with former members of Philip Morris’s “youth

 4   education” team,910 and Ashley Gould received and forwarded what was described as “the paper

 5   that ended the Think Don’t Smoke campaign undertaken by Philip Morris.”911 The paper

 6   concluded that “the Philip Morris’s [‘youth prevention’] campaign had a counterproductive

 7   influence.”912

 8           700.     The Management Defendants were intimately involved in these “youth

 9   prevention” activities. For example, in April 2018, Defendants Valani and Pritzker edited a

10   “youth prevention” press release, noting that they “don’t want to get these small items wrong”

11   and that they “think it’s critical to get this right.”913

12           701.     JLI was aware that these out-of-school programs were, in the words of

13   Henderson, “eerily similar” to the tactics of the tobacco industry.914 Eventually, JLI ended this

14   version of its youth prevention program, but the damage had been done: following the cigarette

15   industry playbook, JLI had hooked more youth on nicotine.

16           702.     As the sales of JUUL continued to mushroom, it was readily apparent, and widely

17   reported, that the rapid growth in sales was due to the surging popularity of e-cigarette use

18   among teenagers. By March 2018, multiple national news outlets including National Public

19   Radio, USA Today, and Business Insider reported youth were using JUUL with alarming

20   frequency, posting about using JUUL in school restrooms on social media, and bragging about

21   being able to use the device in the classroom due to JUUL’s discreet design.

22

23

24
     909
         Id. at 607.
25   910
         INREJUUL_00196624-625.
     911
         INREJUUL_00265202.
26   912
         Matthew C. Farrelly et al., Getting to the Truth: Evaluating National Tobacco
27     Countermarketing Campaigns, 92 Am. J. Public Health 901 (2002),
       https://www.industrydocuments.ucsf.edu/tobacco/docs/#id=nxhb0024.
     913
28       JLI00151300.
     914
         INREJUUL_00194646.
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 1            703.   One of the priorities for JLI, Altria, and the Management Defendants was

 2   therefore to control the messaging and narrative around youth e-cigarette use. Faced with an

 3   urgent, growing public health crisis, national media attention, and the ire of the public, the FDA

 4   and members of Congress, the Defendants realized that dis-information campaign was urgently

 5   needed to protect its bottom line. This campaign was the “Make the Switch” campaign discussed

 6   above.

 7            704.   The “Make the Switch” campaign was a cover-up, and its goal was to convince

 8   the public, including schools and public health departments, that JUUL had never marketed to

 9   youth and was instead intended to be a smoking cessation device. This campaign was false. As

10   mentioned above, one of JLI’s engineers admitted, “we’re not trying to design a cessation

11   product at all . . . anything about health is not on our mind.”915 And as described elsewhere

12   herein, JLI and the Management Defendants directly targeted underage nonsmokers. Indeed, JLI

13   did not mention the term “adult” or “adult smoker” on its Twitter feed until July 5, 2017. JLI, the

14   Management Defendants, and Altria were all well aware that such users made up a significant

15   percentage of JLI’s customer base in 2018—in fact, they counted on this customer base to grow

16   and preserve JUUL’s market share—and that the statements they disseminated regarding “Make

17   the Switch” from smoking being JLI’s mission from the start were fraudulent, to the detriment of

18   schools and public health departments.

19            705.   As JUUL sales skyrocketed in 2017 and 2018 and schools quickly became

20   overwhelmed by this public health crisis, everyone from tobacco industry giants to e-cigarette

21   start-ups launched their own products to take advantage of the illicit youth e-cigarette market

22   Defendants created, using the key elements of JUUL’s design: flavor pods, nicotine salts, and a

23   tech-like appearance.

24            706.   The cigarette industry, which already marketed e-cigarettes, launched

25   “JUULalike” versions of their products in 2018, in flavors such as Mango Apricot and Green

26

27
28   915
        Kevin Roose, Juul’s Convenient Smoke Screen, N.Y. Times (Jan. 11, 2019),
      https://www.nytimes.com/2019/01/11/technology/juul-cigarettes-marketing.html.
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 1   Apple, and with nicotine salt formulations and higher nicotine content than their earlier e-

 2   cigarettes.916

 3           707.     The launch of “JUULalike” products concerned Vince Willmore, Vice President

 4   of Communications for the Campaign for Tobacco-Free Kids. According to Willmore, “Juul is

 5   our biggest concern right as it is being widely used by kids across the country . . . [b]ut we are

 6   also concerned that the introduction of a growing number of Juul-like products could make the

 7   problem even worse.”917 Willmore was not the only one worried. Then FDA Commissioner

 8   Gottlieb expressed concern about products copying JUUL’s features, stating that such products

 9   “closely resemble a USB flash drive, have high levels of nicotine and emissions that are hard to

10   see. These characteristics may facilitate youth use, by making the products more attractive to

11   children and teens.”918

12           708.     Researchers from SRITA called it “a nicotine arms race,” writing that “JUUL’s

13   success in the e-cigarette marketplace has spurred a variety of new pod-based products with

14   exceptionally high nicotine.”919 “As of September 2018,” the researchers wrote, “there were at

15

16

17   916
         Rachel Becker, Juul’s Nicotine Salts Are Dominating the Market – And Other Companies
       Want In, The Verge (Nov. 21, 2018), https://www.theverge.com/2018/11/21/18105969/juul-
18     vaping-nicotine-salts-electronic-cigarettes-myblu-vuse-markten; blu Launches myblu E-Vapor
19     Device, CStore Decisions (Feb. 21, 2018), https://cstoredecisions.com/2018/02/21/blu-
       launches-myblu-e-vapor-device/; Angelica LaVito, Juul’s momentum slips as NJOY woos
20     customers with dollar e-cigarettes, CNBC (Aug. 20, 2019),
       https://www.cnbc.com/2019/08/20/juuls-momentum-slips-as-njoy-woos-customers-with-dollar-
21     e-cigarettes.html.
     917
         Ben Tobin, FDA targets e-cigarettes like Juul as teachers fear ‘epidemic’ use by students,
22     USA Today (Aug. 16, 2018), https://www.usatoday.com/story/money/2018/08/16/juul-labs-
23     back-school-teachers-e-cigarettes/917531002/.
     918
         Scott Gottlieb, Statement from FDA Commissioner Scott Gottlieb, M.D., on new enforcement
24     actions and a Youth Tobacco Prevention Plan to stop youth use of, and access to, JUUL and
       other e-cigarettes, FDA (Apr. 23, 2018), https://www.fda.gov/news-events/press-
25     announcements/statement-fda-commissioner-scott-gottlieb-md-new-enforcement-actions-and-
       youth-tobacco-
26     prevention?utm_campaign=04242018_Statement_Youth%20Tobacco%20Prevention&utm_me
27     dium=email&utm_source=Eloqua.
     919
         Robert K. Jackler & Divya Ramamurthi, Nicotine arms race: JUUL and the high-nicotine
28     product market. 28 Tobacco Control 623-28 (2019),
       https://tobaccocontrol.bmj.com/content/28/6/623.
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 1   least 39 JUUL knock off devices on the market”—none of which were sold prior to the

 2   introduction of JUUL.920

 3           709.    The rapid proliferation of e-cigarette products in JUUL’s wake and the speed with

 4   which the e-cigarette market evolves make it difficult to enact effective legislative and regulatory

 5   measures.

 6           710.    The Secretary of HHS recognized, “The United States has never seen an epidemic

 7   of substance use arise as quickly as our current epidemic of youth use of e-cigarettes.”921 FDA

 8   Commissioner Stephen Hahn, M.D. added, “As we work to combat the troubling epidemic of

 9   youth e-cigarette use, the enforcement policy we’re issuing today confirms our commitment to

10   dramatically limit children’s access to certain flavored e-cigarette products we know are so

11   appealing to them—so-called cartridge-based products that are both easy to use and easily

12   concealable.”922

13           711.    Enterprising companies recognized loopholes in a policy aimed only at cartridge-

14   based products and the opportunity to fill the demand for fruit-flavored nicotine created by JLI.

15   Disposable e-cigarettes have become increasingly popular with youth due to the youth e-cigarette

16   market Defendant JLI created. The use of disposable e-cigarettes is now “rampant” in schools,

17   further intensifying this public health crisis.923

18           712.    For every company inspired by JLI to sell candy-flavored e-cigarette products that

19   exits the market, more materialize to take its place, driven by the knowledge that there is a large

20   market of nicotine-addicted youth eager for their products, a market created by JLI.

21

22

23
     920
24       Id.
     921
         U.S. Food & Drug Administration, FDA finalizes enforcement policy on unauthorized
25     flavored cartridge-based e-cigarettes that appeal to children, including fruit and mint (“FDA
       News Release”), FDA (Jan. 2, 2020), https://www.fda.gov/news-events/press-
26     announcements/fda-finalizes-enforcement-policy-unauthorized-flavored-cartridge-based-e-
27     cigarettes-appeal-children.
     922
         Id.
     923
28       Sheila Kaplan, Teens Find a Big Loophole in the New Flavored Vaping Ban, N.Y. Times
       (Jan. 31, 2020), https://www.nytimes.com/2020/01/31/health/vaping-flavors-disposable.html.
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 1          713.    The rise in disposable products demonstrates why additional measures are

 2   necessary to halt the spread of youth e-cigarette use.924

 3   B.     Impact of the Youth E-Cigarette Crisis on Plaintiff Spartanburg County School
            District Four Schools
 4
            714.    Plaintiff Spartanburg County School District Four is an award-winning school
 5
     district that serves approximately 2,700 students in Kindergarten through Twelfth Grade in 1
 6
     elementary school, 1 middle school, 1 high school, and 1 primary school. Its mission is to
 7
     significantly increase achievement for all students by providing a world-class education that
 8
     equips students with the knowledge and expertise to become successful, productive citizens.
 9
     Spartanburg County School District Four is located in Spartanburg County, with a population of
10
     approximately 331,000 residents.
11
            715.    Defendants’ conduct has created a public health crisis in Plaintiff’s schools and
12
     Plaintiff spent significant and unexpected levels of time and resources on addressing the
13
     pervasiveness of youth e-cigarette use.
14
            716.    Smoking combustible cigarettes in public places has become increasingly socially
15
     unacceptable as a result of years of sustained anti-smoking efforts by public health advocates,
16
     but due to Defendants’ actions and efforts to market e-cigarettes as a “safe” and “healthier”
17
     alternative to smoking and as a way to defy existing smoke-free regulations, e-cigarette use has
18
     become normalized and regarded as “cool” particularly among youth peer groups. This
19
     contributes to the false impression among Plaintiff’s youth that e-cigarette use is safe. To combat
20
     these norms and perceptions, Plaintiff has devoted time and resources to raise awareness and
21
     educate its stakeholders and community members regarding a city ordinance that, among other
22
     things, banned sales of vaping products within 1,000 feet of schools and banned sales of flavored
23
     vape products – a city ordinance that Defendant JLI actively opposed by funding a political
24
     action committee
25

26

27
     924
        Press Release: Raising the Tobacco Age to 21 Won’t Stop the Youth E-Cigarette Epidemic
      and Is Not a Substitute for Eliminating the Flavored Products that Lure Kids, Tobacco Free
28    Kids (Dec. 16, 2019), https://www.tobaccofreekids.org/press-
      releases/2019_12_16_tobacco21_flavor.
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 1          717.    Plaintiff has had to devote and divert staff resources to conduct staff training on e-

 2   cigarette use. Plaintiff’s teachers and administrators have had to become educated about

 3   Defendants’ products and their dangers. One component of the necessary education has been

 4   simply recognizing the devices for what they are: due to the USB-mimicking design of JUUL

 5   and its copycats, many teachers do not recognize the e-cigarette devices when they see them.

 6          718.    Plaintiff also has dedicated time at school to address the issue of e-cigarette use,

 7   time that could have otherwise been devoted to other important issues facing Plaintiff’s students.

 8          719.    In addition to working with students, Plaintiff’s counselors and administrators

 9   also train the district’s teachers and work to educate parents in Plaintiff’s community. Plaintiff

10   has created resources and materials and shared resources and education materials with its

11   community, who rely on Plaintiff for information about youth e-cigarette use. Plaintiff has had to

12   devote and divert staff resources to deploying student, family and parent-teacher education

13   regarding the dangers of e-cigarette products.

14          720.    Plaintiff has had to devote and divert staff resources to intervening in student e-

15   cigarette activities and coordinating necessary follow-up, devoting class time to discuss youth e-

16   cigarette use with students.

17          721.    The work that Plaintiff does to educate students and parents is particularly

18   important, and necessary, as a result of the widespread misinformation about e-cigarette

19   products. Many students in Plaintiff’s schools have been deceived by Defendants’ marketing and

20   misinformation and are unaware of the true nature, health risks, and addictiveness of e-cigarette

21   products. As a result of Defendants’ advertising campaigns, some students in Plaintiff’s schools

22   believe that Defendants’ products contain only flavoring, not nicotine. Additionally, both teens

23   and their parents have been deceived into thinking e-cigarette use is harmless, and as a result of

24   the low perception of harm, youth use e-cigarettes more frequently.

25          722.    Discipline and suspensions related to incidents of e-cigarette use in Plaintiff’s

26   schools have increased at alarming rates and staff are required to spend increased time

27   addressing discipline problems related to student e-cigarette use. Because of the alarming rise of
28   discipline and suspensions associated with student e-cigarette use, Plaintiff has devoted and


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 1   diverted staff resources to develop a diversion program so as to allow students who are caught

 2   using e-cigarettes to remain in school and in class where possible. Consequently, Plaintiff’s

 3   school administrators and teachers are having to address these issues during school hours, which

 4   interferes with curriculum and regular teaching time.

 5             723.   Plaintiff has been taking important steps to combat the youth e-cigarette crisis, but

 6   it cannot fully address the existing widespread use of e-cigarette products and resulting nicotine

 7   addiction among youth. Because of the smoothness of nicotine salts contained in Defendants’ e-

 8   cigarette products as well as Defendants’ discreet device designs, many youth use their e-

 9   cigarette devices with high frequency throughout the day—with some kids taking a puff as often

10   as every few minutes. Unlike a combustible cigarette with its telltale emissions of smoke and

11   distinct smell, the JUUL device and “JUULalikes” allow kids to use e-cigarettes undetected

12   behind closed doors and even behind their teachers’ backs in the classroom. Such frequent use

13   makes it much more likely that nicotine addiction will develop, particularly when coupled with

14   the high nicotine content in JUULpods and copycat products. Youth e-cigarette use has therefore

15   resulted in a higher incidence of addiction than that caused by youth smoking of combustible

16   cigarettes.

17             724.   As the researchers conducting the national Monitoring the Future survey wrote in

18   a letter to the New England Journal of Medicine in October 2019, current efforts are insufficient

19   to address youth nicotine addiction from e-cigarette use:

20             Current efforts by the vaping industry, government agencies, and schools have
               thus far proved insufficient to stop the rapid spread of nicotine vaping among
21             adolescents. Of particular concern are the accompanying increases in the
               proportions of youth who are physically addicted to nicotine, an addiction that is
22
               very difficult to overcome once established. The substantial levels of daily vaping
23             suggest the development of nicotine addiction. New efforts are needed to protect
               youth from using nicotine during adolescence, when the developing brain is
24             particularly susceptible to permanent changes from nicotine use and when almost
               all nicotine addiction is established.925
25
               725.   The lack of available nicotine-addiction treatment options for youth presents a
26
     challenge to communities across the country. The lack of treatment options for students within
27
28
     925
           Miech, supra note 4.
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 1   Plaintiff’s school district who are addicted to nicotine is a significant concern for Plaintiff, but

 2   such treatment options will be difficult to develop. The available FDA-approved tobacco

 3   cessation products are not intended for, and are not approved for, pediatric use. With additional

 4   resources, Plaintiff would support the development of additional, youth-appropriate cessation

 5   options that can meet the needs of its students. Plaintiff would also support the development of e-

 6   cigarette-specific cessation resources to address the ways in which e-cigarette cessation may

 7   differ from traditional smoking cessation. Development of such resources is a crucial step to

 8   combat the youth e-cigarette epidemic.

 9          726.      With additional resources, Plaintiff would develop and implement a district-wide

10   education and outreach campaign about e-cigarette use and its dangers in order to combat

11   Defendants’ marketing and the social pressures the youth e-cigarette epidemic has created.

12   Carrying out such a campaign effectively and countering Defendants’ extensive marketing will

13   require significant funding as well as staff time. This education and outreach campaign must

14   include developing prevention and education materials appropriate for middle school and even

15   elementary school students, as the e-cigarette crisis continues to spread to even younger children.

16   And critically, Plaintiff wants to establish more comprehensive parent education programs to

17   broaden capacity for families to support their children who are struggling with e-cigarette use

18   and addiction.

19          727.      In addition, Plaintiff would conduct more traditional outreach efforts such as

20   media development and targeted marketing campaigns to support Plaintiff’s prevention and

21   education work. This would require significant expenditure of resources to ensure the message

22   was spread widely enough to reach students and combat Defendants’ extensive marketing and

23   misinformation. In order to make the message resonate with youth, Plaintiff will have to work

24   with youth to cultivate the most effective message.

25          728.      Funding is also needed to establish a peer mentorship and prevention program.

26   Peer-to-peer messaging is crucial because it is necessary to change the social norms around e-

27   cigarette use, just as previous efforts ultimately changed social norms around combustible
28   cigarette smoking. Defendants have been adept at using peer-to-peer messaging to promote their


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 1   addictive e-cigarette products to kids through the use of social media campaigns and paid

 2   influencers. Because young people are often most willing to listen to other young people,

 3   countering Defendants’ conduct will require training and supporting youth to educate their peers.

 4           729.     With sufficient funding, Plaintiff would also purchase e-cigarette detectors to

 5   install in its bathrooms and cameras for the hallways, in order to both reduce the amount of staff

 6   time devoted to patrolling the bathroom and ensure that students using e-cigarettes at school are

 7   identified and connected with resources to help them quit. Where necessary, Plaintiff also would

 8   physically modify the design of certain areas of its property, such as restrooms, with alternative

 9   floorplans that have been demonstrated to reduce the ability of students to use contraband such

10   as e-cigarette devices.

11           730.     Fully addressing the harms to Plaintiff caused by Defendants’ conduct will

12   require a comprehensive approach. Without the resources to fund measures such as those

13   described herein, Plaintiff will continue to be harmed by the ongoing consequences of

14   Defendants’ conduct.

15   C.      No Federal Agency Action, Including by the FDA, Can Provide the Relief Plaintiff
             Seeks Here.
16
             731.     The injuries Plaintiff has suffered and will continue to suffer cannot be addressed
17
     by agency or regulatory action. There are no rules the FDA could make or actions the agency
18
     could take that would provide Plaintiff the relief it seeks in this litigation.
19
             732.     Even if e-cigarettes were entirely banned today or only used by adults, millions of
20
     youth, including Plaintiff’s students, would remain addicted to nicotine.
21
             733.     Regulatory action would do nothing to compensate Plaintiff for the money and
22
     resources it has already expended addressing the impacts of the youth e-cigarette epidemic and
23
     the resources it will need in the future. Only this litigation has the ability to provide Plaintiff with
24
     the relief it seeks.
25
             734.     Furthermore, the costs Plaintiff has incurred in responding to the public health
26
     crisis caused by youth e-cigarette and taking the actions described above are recoverable
27
     pursuant to the causes of actions raised by Plaintiff. Defendants’ misconduct alleged herein is not
28


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 1   a series of isolated incidents, but instead the result of a sophisticated and complex marketing

 2   scheme and related cover-up scheme that has caused a continuing, substantial, and long-term

 3   burden on the services provided by Plaintiff. In addition, the public nuisance created by

 4   Defendants and Plaintiff’s requested relief in seeking abatement further compels Defendants to

 5   reimburse and compensate Plaintiff for the substantial resources it has expended and will need to

 6   continue to expend to address the youth e-cigarette epidemic.

 7                                      VI.     CAUSES OF ACTION

 8                          VIOLATIONS OF SOUTH CAROLINA PUBLIC NUISANCE LAW
 9             735.   Plaintiff incorporates each preceding paragraph as though set forth fully herein.
10             736.   Plaintiff brings this claim under South Carolina public nuisance law as to all
11   Defendants.
12             737.   Under South Carolina law, public nuisance has been defined as “an offense
13
     against the public order and economy of the State, by unlawfully doing any act, or by omitting to
14
     perform any duty which the common good, public decency or morals, or the public right to life,
15
     health, and the use of property requires, and which at the same time annoys, injures, endangers,
16
     renders insecure or interferes with the rights of property of the whole community, or any
17

18   considerable number of persons.”926 In order for a nuisance to be a public nuisance, “it must be

19   in a public place or where the public frequently congregates, or where members of the public are
20   likely to come within the range of its influence.”927
21
               738.   Plaintiff and its students have a right to be free from conduct that endangers their
22
     health and safety. Yet Defendants have engaged in conduct and omissions which unreasonably
23
     and injuriously interfered with the public health and safety in Plaintiff’s community and created
24
     substantial and unreasonable annoyance, inconvenience, and injury to the public by their
25

26   926
           State v. Turner, 18 S.E.2d 376, 378 (S.C. 1942).
27
     927
        Neal v. Darby, 318 S.E.2d 18, 23 (S.C. Ct. App. 1984) (citing Morison v. Rawlinson, 7 S.E.2d
28   635 (S.C. 1940)).

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 1   production, promotion, distribution, and marketing of e-cigarette products, including, but not

 2   limited to JUUL, for use by youth in Plaintiff’s schools. Defendants’ actions and omissions have

 3   substantially, unreasonably, and injuriously interfered with Plaintiff’s functions and operations

 4   and affected the public health, safety, and welfare of Plaintiff’s community.

 5          739.    Each Defendant has created or assisted in the creation of a condition that is

 6   injurious to the health and safety of Plaintiff and its students and interferes with the comfortable

 7   enjoyment of life and property of Plaintiff’s community.

 8          740.    Defendants’ conduct has directly caused a severe disruption of the public health,

 9   order, and safety. Defendants’ conduct is ongoing and continues to produce permanent and long-

10   lasting damage.

11          741.    This harm to Plaintiff and the public is substantial, unreasonable, widespread, and

12   ongoing. It outweighs any potential offsetting benefit of the Defendants’ wrongful conduct
13
     because Defendants’ conduct violates South Carolina’s public policy against marketing vapor
14
     products to minors. This policy is expressed through statutes and regulations, including but not
15
     limited to:
16
                    1.      S.C. Code Ann., § 16-17-500(A), which makes it “unlawful for an
17
                            individual to sell, furnish, give, distribute, purchase for, or provide a
18                          tobacco product or an alternative nicotine product to a minor under the age
                            of eighteen years.”;
19
                    2.      S.C. Code Ann., § (F)(1)(a), states that “A minor under the age of eighteen
20                          years must not purchase, attempt to purchase, possess, or attempt to
                            possess a tobacco product or an alternative nicotine product, or present or
21
                            offer proof of age that is false or fraudulent for the purpose of purchasing
22                          or possessing these products.”;

23                  3.      S.C. Code Ann., § 16-17-500(B), which makes it “unlawful to sell a
                            tobacco product or an alternative nicotine product to an individual who
24                          does not present upon demand proper proof of age. Failure to demand
                            identification to verify an individual’s age is not a defense to an action
25                          initiated pursuant to this subsection.”; and
26
                    4.      S.C. Code Ann., § 16-17-500(C), which requires third party age
27                          verification on all internet or remote sales of alternative nicotine products.

28


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 1           742.    Defendants’ conduct violated these state laws and the public policy they enforce,

 2   including by:
 3
                     1.     Actively seeking to enter school campuses, targeting children as young as
 4                          eight through summer camps and school programs, extensively targeting
                            youth through social media campaigns, and recruiting “influencers” to
 5                          market to teens;
 6                   2.     Engaging in marketing tactics specifically designed to mislead children
                            and youth and to ensnare minors into nicotine addiction, including by
 7                          explicitly adopting tactics prohibited from Big Tobacco, with the
 8                          knowledge that those tactics were likely to ensnare children and youth into
                            nicotine addiction, including using billboards and outdoor advertising,
 9                          sponsoring events, giving free samples, paying affiliates and “influencers”
                            to push e-cigarette products, and by selling e-cigarette products in flavors
10                          designed to appeal to youth;
11                   3.     Engaging in advertising modeled on cigarette ads and featuring youthful-
12                          appearing models and designing advertising in a patently youth-oriented
                            fashion;
13
                     4.     Directing advertising to youth media outlets and media designed to appeal
14                          to children and youth, such as Instagram and other social media channels;

15                   5.     Hosting youth-focused parties across the United States, at which free
                            samples were dispensed and in which e-cigarette use was featured
16                          prominently across social media;
17
                     6.     Formulating e-cigarette products with flavors with the knowledge that
18                          such flavors appealed to youth and with the intent that youth become
                            addicted or dependent upon e-cigarette products; and
19
                     7.     Promoting and assisting the growth of the e-cigarette product market and
20                          its availability with knowledge that e-cigarette products were being
                            purchased and used by large numbers of youth.
21
             743.    Defendants’ conduct described in the preceding paragraph and throughout the
22

23   Complaint also violated, and thereby created or maintained a public nuisance, the following state

24   laws:
25                   1.     The South Carolina Unfair Trade Practices Act, S.C. Code Ann., § 39-5-
26                          10, et seq. (“SCUTPA”) prohibits “[u]nfair methods of competition and
                            unfair or deceptive acts or practices in the conduct of any trade of
27                          commerce.” S.C. Code Ann., § 39-5-20(a).

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 1                    2.     The Plaintiff is a “person” as defined in S.C. Code Ann., § 39-5-140. See,
                             S.C. Code Ann., § 39-5-10.
 2
                      3.     All Defendants engaged in “[t]rade or commerce” within the meaning of
 3                           S.C. Code Ann., § 39-5-10, during the relevant time periods, as detailed
 4                           further herein.

 5             744.   Defendants’ conduct substantially and unreasonably interfered with public health,

 6   safety and the right to a public education in a safe and healthy environment. In that regard, and

 7   in other ways discussed herein, the public nuisance created or maintained by Defendants was

 8   connected to Plaintiff’s property, including but not limited to school buildings.

 9             745.   The health and safety of the youth of Plaintiff’s schools, including those who use,

10   have used, or will use e-cigarette products, as well as those affected by others’ use of e-cigarette

11   products, are matters of substantial public interest and of legitimate concern to Plaintiff, as well

12   as to Plaintiff’s community.

13             746.   Defendants’ conduct has affected and continues to affect a substantial number of

14   people within Plaintiff’s school district and is likely to continue causing significant harm.

15             747.   But for Defendants’ actions, e-cigarette products, including, but not limited to

16   JUUL, used by youth would not be as widespread as they are today, and the youth e-cigarette

17   public health crisis that currently exists as a result of Defendants’ conduct would have been

18   averted.

19             748.   Defendants knew or should have known that their conduct would create a public

20   nuisance. Defendants knew or reasonably should have known that their statements regarding the

21   risks and benefits of e-cigarette use were false and misleading, that their marketing methods

22   were designed to appeal to minors, and that their false and misleading statements, marketing to

23   minors, and active efforts to increase the accessibility of e-cigarette products and grow JUUL’s

24   market share, or the market share of Defendants’ products, were causing harm to youth and to

25   municipalities, schools, and counties, including youth in Plaintiff’s school district and to Plaintiff

26   itself.

27             749.   Thus, the public nuisance caused by Defendants was reasonably foreseeable,

28   including the financial and economic losses incurred by Plaintiff.


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 1          750.    Alternatively, Defendants’ conduct was a substantial factor in bringing about the

 2   public nuisance even if a similar result would have occurred without it. By directly marketing to

 3   youth and continuing these marketing practices after it was evident that children were using

 4   JUUL products in large numbers and were specifically using these products in schools, JLI and

 5   the Management Defendants directly facilitated the spread of the youth e-cigarette crisis and the

 6   public nuisance affecting Plaintiff.

 7          751.    Altria, by investing billions of dollars in JLI and actively working to promote the

 8   sale and spread of JUUL products with the knowledge of JLI’s practice of marketing JUUL

 9   products to youth and its failure to control youth access to JUUL products, directly facilitated the

10   spread of the youth e-cigarette crisis and the public nuisance affecting Plaintiff.

11          752.    Plaintiff has taken steps to address the harm caused by Defendants’ conduct,

12   including, but not limited to, those listed in Section V.B above.

13          753.    Fully abating the epidemic of youth e-cigarette use resulting from Defendants’

14   conduct will require much more than these steps.

15          754.    As detailed herein, Plaintiff has suffered special injury, different in kind from

16   those suffered by the general public, including, but not limited to, those arising from: discipline

17   and suspensions related to incidents of e-cigarette use in Plaintiff’s schools have increased at

18   alarming rates; because of the alarming rise of discipline and suspensions associated with student

19   e-cigarette use, the Plaintiff has devoted and diverted staff resources to develop a diversion

20   program so as to allow students who are caught using e-cigarettes to remain in school and in

21   class where possible.

22          755.    Plaintiff therefore requests all the relief to which it is entitled in its own right and

23   relating to the special damage or injury it has suffered, and not in any representative or parens

24   patriae capacity on behalf of students, including damages in an amount to be determined at trial

25   and an order providing for the abatement of the public nuisance that Defendants have created or

26   assisted in the creation of, and enjoining Defendants from future conduct contributing to the

27   public nuisance described above.
28


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 1          756.    Defendants engaged in conduct, as described above, that constituted malice,

 2   oppression, or fraud, with intent to cause injury and/or with willful and knowing disregard of the

 3   rights or safety of another, being fully aware of the probable dangerous consequences of the

 4   conduct and deliberately failing to avoid those consequences.

 5          757.    Defendants’ conduct constituting malice, oppression or fraud was committed by

 6   one or more officers, directors, or managing agents of Defendants, who acted on behalf of

 7   Defendants; and/or

 8          758.    Defendants’ conduct constituting malice, oppression or fraud was authorized by

 9   one or more officers, directors, or managing agents of Defendants; and/or

10          759.    One or more officers, directors, or managing agents of Defendants knew of the

11   conduct constituting malice, oppression, or fraud and adopted or approved that conduct after it

12   occurred.

13          760.    Defendants regularly risks the lives and health of consumers and users of its

14   products with full knowledge of the dangers of its products. Defendants made conscious

15   decisions not to redesign, re-label, warn, or inform the unsuspecting public, including

16   Plaintiff’s students or Plaintiff. Defendants’ willful, knowing and reckless conduct,

17   constituting malice, oppression or fraud therefore warrants an award of aggravated or punitive

18   damages.

19                            VIOLATIONS OF THE RACKETEER INFLUENCED AND
                            CORRUPT ORGANIZATIONS ACT (“RICO”)
20
            1.      Violation of 18 U.S.C. § 1962(c)
21
            761.    Plaintiff incorporates the allegations set forth above as if fully set forth herein.
22
            762.    This claim is brought by Plaintiff against Defendants Monsees, Bowen, Pritzker,
23
     Huh, Valani, and Altria (the “RICO Defendants”) for actual damages, treble damages, and
24
     equitable relief under 18 U.S.C. § 1964, for violations of 18 U.S.C. § 1961, et seq.
25
            763.    Section 1962(c) makes it “unlawful for any person employed by or associated
26
     with any enterprise engaged in, or the activities of which affect, interstate or foreign commerce,
27
28


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 1   to conduct or participate, directly or indirectly, in the conduct of such enterprise’s affairs through

 2   a pattern of racketeering activity . . . .” 18 U.S.C. § 1962(c).

 3           764.    At all relevant times, each RICO Defendant is and has been a “person” within the

 4   meaning of 18 U.S.C. § 1961(3), because they are capable of holding, and do hold, “a legal or

 5   beneficial interest in property.”

 6           765.    Each RICO Defendant conducted the affairs of an enterprise through a pattern of

 7   racketeering activity, in violation of 18 U.S.C. § 1962(c), as described herein.

 8           766.    Plaintiff is a “person,” as that term is defined in 18 U.S.C. § 1961(3), and has

 9   standing to sue under 18 U.S.C. § 1964(c) as it was and is injured in its business and/or property

10   “by reason of” the RICO Act violations described herein.

11           767.    Plaintiff demands the applicable relief set forth in the Prayer for Relief below.

12                   a.      JLI is an Enterprise Engaged in, or its Activities Affect, Interstate or
                             Foreign Commerce
13
             768.    Section 1961(4) defines an enterprise as “any individual, partnership, corporation,
14
     association, or other legal entity, and any union or group of individuals associated in fact
15
     although not a legal entity.” 18 U.S.C. § 1961(4).
16
             769.    JUUL Labs, Inc. (“JLI”) is a corporation and therefore meets the definition of
17
     “enterprise” under the RICO Act. Specifically, JLI is registered as a corporate entity in the State
18
     of Delaware.
19
             770.    Each of Defendants Pritzker, Huh, Valani, Bowen, and Monsees controlled the
20
     JLI Enterprise—that is, they used JLI as the vehicle through which an unlawful pattern of
21
     racketeering activity was committed—through their roles as officers and directors of JLI. As set
22
     forth below, their roles allowed them to control the resources and instrumentalities of JLI and use
23
     that control to perpetrate a number of fraudulent schemes involving the use of mail and wires,
24
     including sales to youth and fraudulently misrepresenting or omitting the truth about JUUL
25
     products to adult users and the public at large. For its part, Altria and Altria Client Services
26
     began conspiring with Defendants Pritzker and Valani to direct the affairs of JLI as early as
27
     Spring 2017, messaging that if JLI continued its massive growth—which they knew was
28


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 1   achieved through youth marketing and fraudulent misrepresentations and omissions—they would

 2   receive a massive personal pay-off. The Altria Defendants started personally transmitting

 3   statements over the mail and wires in furtherance of the fraudulent schemes even before Altria’s

 4   December 2018 investment in JLI. After that point, Altria gained even further influence over the

 5   JLI Board of Directors and installed its own personnel in key roles at JLI, cementing its direction

 6   of the Enterprise.

 7          771.    JLI is an enterprise that is engaged in and affects interstate commerce because the

 8   company has sold and continues to sell products across the United States, as alleged herein.

 9                  b.      “Conduct or Participate, Directly or Indirectly, in the Conduct of
                            Such Enterprise’s Affairs”
10
            772.    “[T]o conduct or participate, directly or indirectly, in the conduct” of an
11
     enterprise, “one must participate in the operation or management of the enterprise itself.” Reves
12
     v. Ernst & Young, 507 U.S. 170, 185 (1993).
13
            773.    As described herein, each RICO Defendant participated in the operation or
14
     management of the JLI Enterprise, and directed the affairs of the JLI Enterprise through a pattern
15
     of racketeering activity, including masterminding schemes to defraud that were carried out by
16
     and through JLI using the mail and wires in furtherance of plans that were designed with specific
17
     intent to defraud.
18
            774.    Bowen and Monsees Founded the JLI Enterprise and Started its Mission of
19
     Hooking Kids and Lying to the Public and Regulators
20
            775.    Plaintiff incorporates by reference, as if fully set forth herein, the factual
21
     allegations stated against Defendants Bowen and Monsees above.
22
            776.    As described above in more detail, Defendants Bowen and Monsees were the
23
     visionaries behind JUUL, led JLI in its infancy to develop a highly addictive product, and
24
     formed JLI with the aim of creating a growing base of loyal users, including an illicit youth
25
     market of nicotine users, by following the same tactics that the cigarette industry has used for
26

27
28


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 1   decades: selling to kids and lying to adults about their products. Together, Bowen and Monsees

 2   set out to “deliver solutions that refresh the magic and luxury of the tobacco category.”928

 3          777.    Monsees admitted that when creating JLI, he and Bowen carefully studied the

 4   marketing strategies, advertisements, and product design revealed in cigarette industry

 5   documents that were uncovered through litigation and made public under the November 1998

 6   Master Settlement Agreement between the state Attorneys General of forty-six states, five U.S.

 7   territories, the District of Columbia, and the four largest cigarette manufacturers in the United

 8   States. “[Cigarette industry documents] became a very intriguing space for us to investigate

 9   because we had so much information that you wouldn’t normally be able to get in most

10   industries. And we were able to catch up, right, to a huge, huge industry in no time. And then we

11   started building prototypes.”929

12          778.    Seizing on the decline in cigarette consumption and the lax regulatory

13   environment for e-cigarettes, Bowen, Monsees, and investors in their company sought to

14   introduce nicotine to a whole new generation of youth users, with JLI as the dominant supplier,

15   by concealing the nicotine content and addictiveness of the products, and promoting these

16   products to youth users. To achieve that goal, they knew they would need to create and market a

17   product that would make nicotine cool to kids again, without the stigma associated with

18   cigarettes, deceive the public about what they were doing, and prevent and delay regulation that

19   would hinder their efforts to expand JUUL sales.

20          779.    Bowen led the design of the JUUL product, including by participating as a subject

21   in many of the company’s human studies. Bowen was instrumental in making the JUUL product

22   appealing to youth, even though “he was aware early on of the risks e-cigarettes posed to

23   teenagers.” He drew on his experience as a design engineer at Apple to make JUUL resonate

24   with Apple’s popular aesthetics. This high-tech style made JUULs look “more like a cool gadget

25

26   928
         Josh Mings, Ploom Model Two Slays Smoking With Slick Design and Heated Tobacco Pods,
27     SOLID SMACK (Apr. 23, 2014), www.solidsmack.com/ design/ploom-modeltwo-slick-design-
       tobacco-pods.
     929
28       Gabriel Montoya, Pax Labs: Origins with James Monsees, SOCIAL UNDERGROUND,
       https://socialunderground.com/2015/01/pax-ploom-origins-future-james-monsees/.
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 1   and less like a drug delivery device. This wasn’t smoking or vaping, this was JUULing.”930 The

 2   evocation of technology makes JUUL familiar and desirable to the younger tech-savvy

 3   generation, particularly teenagers. According to a 19-year-old interviewed for the Vox series By

 4   Design, “our grandmas have iPhones now, normal kids have JUULs now. Because it looks so

 5   modern, we kind of trust modern stuff a little bit more so we’re like, we can use it, we’re not

 6   going to have any trouble with it because you can trust it.”931

 7           780.     Bowen designed JUUL products to foster and sustain addiction, not break it. JLI

 8   and Bowen were the first to design an e-cigarette that could compete with combustible cigarettes

 9   on the speed and strength of nicotine delivery. Indeed, JUUL products use nicotine formulas and

10   delivery methods much stronger than combustible cigarettes, confirming that what Bowen

11   created an initiation product, not a cessation or cigarette replacement product. Bowen also

12   innovated by making an e-cigarette that was smooth and easy to inhale, practically eliminating

13   the harsh “throat hit,” which otherwise deters nicotine consumption, especially among nicotine

14   “learners,” as R.J. Reynolds’ chemist Claude Teague called new addicts, primarily young people.

15           781.     Bowen worked to minimize “throat hit” and maximize “buzz” of the JUUL e-

16   cigarette. Dramatically reducing the throat hit is not necessary for a product that is aimed at

17   smokers, who are accustomed to the harshness of cigarette smoke, but it very effectively appeals

18   to nonsmokers, especially youth.

19           782.     The “buzz” testing results demonstrate that Bowen’s goal was not to match the

20   nicotine delivery profile of a cigarette, but to surpass it by designing a maximally addictive

21   product, which could only be marketed as a cigarette substitute through a sophisticated fraud

22   campaign.

23           783.     Bowen designed the JUUL product to deliver nicotine in larger amounts and at a

24   faster rate than traditional cigarettes. This feature made the product more likely to capture users

25   with the first hit.

26

27   930
         How JUUL Made Nicotine Go Viral, VOX (Aug. 10, 2018),
28     https://www.youtube.com/watch?v=AFOpoKBUyok.
     931
         Id.
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 1            784.   Bowen was also heavily involved with JLI’s marketing strategy, which primarily

 2   targeted youth users.

 3            785.   Bowen personally developed JLI’s strategy to market to youth and make JLI as

 4   profitable as possible, so that it would be an attractive investment for a major manufacturer of

 5   traditional cigarettes. In a 2016 e-mail exchange with JLI employees regarding potential

 6   partnerships with e-cigarette juice manufacturers, Bowen reminded the employees that “big

 7   tobacco is used to paying high multiples for brands and market share.”932 Bowen knew that to

 8   achieve the ultimate goal of acquisition, JLI would have to grow the market share of nicotine-

 9   addicted e-cigarette users, regardless of the human cost.

10            786.   Bowen’s role in marketing included changing the name of “Crisp Mint” to “Cool

11   Mint” in 2015. Bowen also oversaw JLI’s formation of a commercial relationship with Avail

12   Vapor, LLC, an Altria subsidiary, which Altria and JLI used to coordinate the flavor preservation

13   schemes described below.

14            787.   Like Bowen, Monsees was instrumental to founding JLI with the aim of

15   expanding the market of nicotine addicted e-cigarette users to include those “who aren’t

16   perfectly aligned with traditional tobacco products.”933

17            788.   Monsees personally helped to market JLI to the “cool kids,” using a sophisticated

18   viral marketing campaign that strategically laced social media with false and misleading

19   messages, to ensure their uptake and distribution among young users. Then, he subsequently and

20   personally denied to the public and regulators that JLI had done just that.

21            789.   With help from their early investors and board members, who include Nicholas

22   Pritzker, Hoyoung Huh, and Riaz Valani, Bowen and Monsees succeeded in hooking millions of

23   youth, intercepting millions of adults trying to overcome their nicotine addictions, delaying

24   regulation that would have stopped their unlawful activities, and, of course, earning billions of

25   dollars in profits.

26

27
     932
28         INREJUUL_00294198.
     933
           Id.
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 1                  c.      Pritzker, Huh, and Valani Exercised Control and Direction Over the
                            JLI Enterprise
 2
            790.    Plaintiff incorporates by reference, as if fully set forth herein, the factual
 3
     allegations stated against Pritzker, Huh, and Valani above. As described above, Pritzker, Huh,
 4
     and Valani were early investors in JLI who worked closely with Monsees and Bowen, and took
 5
     control of the JLI Board of Directors in 2015. Working in close collaboration with Monsees and
 6
     Bowen, Pritzker, Huh, and Valani directed JLI’s affairs and used the corporation to effectuate
 7
     and continue fraudulent schemes for their own personal profits and financial benefits. Pritzker,
 8
     Huh, and Valani were “more active than most” board members and, unlike most corporate board
 9
     members, had active involvement in directing the company’s actions week-to-week, including
10
     JLI’s marketing efforts.
11
            791.    Pritzker, Huh, and Valani exercised an intimate level of control over JLI during a
12
     key period—from October 2015 through at least May 2016—when the three Defendants
13
     (Pritzker, Huh, and Valani) served as the Executive Committee of the JLI Board of Directors.
14
            792.    As detailed above, in 2015, there was a power struggle within JLI about whether
15
     to grow JLI’s consumer base by targeting young people. Pritzker, Huh, and Valani favored
16
     aggressive marketing of JUUL products to young people. By October 2015, the power struggle
17
     was over, with the debate resolved in favor of selling to teens. At that time, Monsees stepped
18
     down as CEO to be replaced by the three-member “Executive Committee” comprised of Pritzker,
19
     Huh, and Valani. Huh served as the Executive Committee Chairman, and Pritzker served as Co-
20
     Chairman. The Executive Committee had the final say over all day-to-day operations of the JLI
21
     business. Huh, as Chairman, and Pritzker, as Co-Chairman of JLI, were involved in the
22
     management of the company on a weekly basis. By December 2015, for example, the Executive
23
     Committee gave Pritzker and Huh supervisory responsibility for JLI employees. Valani, for his
24
     part, was also an active Board member, involved in the management of the company on a weekly
25

26

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28


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 1   basis. Dating back to 2011, Valani was a regular presence in JLI’s offices, appearing in person at

 2   JLI’s offices “a couple times a week.”934

 3                  d.      Bowen, Monsees, Pritzker, Huh and Valani Exercised a Firm Grip
                            over JLI
 4
            793.    By the summer of 2015, and at all times prior to Altria’s investment in JLI, JLI
 5
     was controlled by a Board of Directors with a maximum of seven seats. JLI co-founder Bowen
 6
     has occupied a seat on JLI’s Board from its inception. Likewise, Defendant Monsees was a
 7
     member of the Board of Directors of JLI until he stepped down in March 2020. Defendant
 8
     Pritzker has been on the Board of Directors of JLI since at least August 2013. He controlled two
 9
     of JLI’s seven maximum Board seats. Defendant Valani has been on JLI’s Board of Directors
10
     since at least 2007. He also controlled two of JLI’s maximum seven Board seats. Beginning
11
     around March 2015, Hank Handelsman occupied Valani’s second seat. Notably, Handelsman has
12
     a close relationship with Pritzker, as he serves as general counsel for the Pritzker Organization.
13
     He also was a senior executive officer and general counsel for the Pritzker’s Hyatt Corporation
14
     for several decades.
15
            794.    Collectively, and prior to Altria’s investment, Pritzker, Valani, Huh, Bowen, and
16
     Monsees controlled at least six of the seven seats on the JLI Board of Directors, which in turn
17
     allowed them to appoint the seventh member of the JLI Board of Directors. Thus, the
18
     Management Defendants had total control of the decisions of the Board of Directors. Pritzker
19
     and Valani, each holding two Board seats (and thus a majority of the seven-seat Board), had the
20
     ability to control the outcome of all decisions of the Board of Directors, as Board decisions were
21
     decided by a majority vote. It also follows that, by controlling the majority of the JLI Board of
22
     Directors at all relevant times, Pritzker and Valani had an effective “veto” over any decisions
23
     made by the JLI Board of Directors. And, Pritzker, Huh, and Valani exercised even more close
24
     control during the time period in which they served on the Executive Committee.
25

26

27
     934
28     https://www.vice.com/en/article/43kmwm/juul-founders-first-marketing-boss-told-us-the-
      vape-giants-strange-messy-origins
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 1          795.    Through the Board of Directors’ control over all aspects of JLI’s business,

 2   Bowen, Monsees, Pritzker, Huh, and Valani used JLI as a vehicle to further fraudulent schemes

 3   of targeting youth, misrepresenting and omitting to users of all ages what JLI was really selling

 4   and to whom, and seeking to delay or prevent regulation that would impede the exponential

 5   growth of JUUL’s massive youth market share. They achieved their ultimate goal of self-

 6   enrichment through fraud when Altria made an equity investment in JLI in December 2018.

 7                  e.      In 2017, Altria Conspired with Pritzker and Valani to Influence and
                            Indirectly Exercise Control Over JLI.
 8
            796.    Plaintiff incorporates by reference, as if fully set forth herein, the factual
 9
     allegations stated against the Altria Defendants above. As set forth above, Altria (through its
10
     subsidiary, Defendant Philip Morris) has been manufacturing and selling “combustible”
11
     cigarettes for more than a century, but, recognizing that regulation and litigation had resulted in
12
     declining cigarette sales, Altria was looking to enter the e-cigarette space. It formed a subsidiary,
13
     Nu Mark LLC, to develop and market an e-cigarette product, the Mark Ten. The Mark Ten was
14
     not a success, so Altria began eyeing an acquisition of the biggest player in the youth addiction
15
     game, JLI.
16
            797.    Altria’s pursuit led to eighteen months of negotiations with Altria and Altria
17
     Client Services on the one hand, and Defendants Pritzker and Valani on the other, regarding a
18
     potential acquisition or equity investment in JLI. They conspired to achieve the best outcome for
19
     Pritzker and Valani personally, and for Altria as an entity. During these eighteen months, Altria,
20
     and Altria Client Services specifically, enticed Pritzker and Valani with a potential multi-billion-
21
     dollar payout. During that time, Pritzker, Valani, and the other Management Defendants
22
     committed numerous acts of fraud to grow the business of JLI to satisfy Altria’s expectations.
23
     Meanwhile, Altria and Altria Client Services actively conspired with Pritzker and Valani to
24
     continue growing JLI’s youth market by continuing JLI’s fraudulent activities, their compliance
25
     ensured by that promised payout. Altria was gathering information on JLI to confirm Altria
26
     would be purchasing a company with a proven track record of sales to youths.
27
28


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 1                  f.      Altria Directly Exercises Control and Participates in of the JLI
                            Enterprise
 2
            798.    By October 2018, Altria was directly transmitting statements over the mail and
 3
     wires to support the JLI enterprise’s efforts to fraudulently market JUUL products and to prevent
 4
     or delay regulation.
 5
            799.    In December 2018, Altria publicly announced its ties to the JLI enterprise by
 6
     making a $12.8 billion equity investment in JLI, the largest private equity investment in United
 7
     States history. This investment led to massive personal financial benefit for each of the
 8
     Management Defendants and gave Altria three seats on the JLI Board of Directors, allowing it to
 9
     assert greater management and control over the JLI Enterprise, which used the instrumentalities
10
     of JLI to effectuate many of its fraudulent schemes.
11
            800.    Following the investment, Altria also directly distributed fraudulent statements
12
     that JLI was a cessation device, that JLI did not target youth, and that the nicotine in a single
13
     JUUL pod was equivalent to a pack of cigarettes.
14
            801.    Moreover, to further bolster its influence and control of JLI, Altria worked with
15
     Pritzker and Valani to install two key Altria executives into leadership positions at JLI: K.C.
16
     Crosthwaite and Joe Murillo.
17
     The Fraudulent Schemes
18
            802.    As detailed above, the operation of the JLI Enterprise, as directed by the five
19
     individual Defendants and Altria, included several schemes to defraud that helped to further the
20
     goals of the RICO Defendants—i.e., to expand the e-cigarette market, particularly among youth,
21
     for the five individual Defendants to reap huge personal profits, and for Altria to regain the
22
     market share that it was losing in the traditional cigarette arena and could no longer openly
23
     pursue through the same tactics used by JLI and the five individual Defendants.
24
     Fraudulent Marketing Scheme
25

26          803.    As described above and in Sections IV.D, IV.E, JLI, and Defendants Bowen,

27   Monsees, Pritzker, Huh, and Valani directed and caused JLI to make false and misleading

28


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 1   advertisements that omitted references to JUUL’s nicotine content and potency to be transmitted

 2   via the mail and wires, including the Vaporized campaign.

 3          804.    As early as 2014, Pritzker participated in planning discussions with Monsees and

 4   Valani about how to expand JUUL’s market share through marketing.

 5          805.    In 2015, Bowen helped to finalize the messaging framework for JUUL’s launch

 6   plan, including sponsored content on social media. This messaging was patently youth oriented

 7   and intentionally targeted children.

 8          806.    Monsees studied the marketing techniques of the traditional cigarette industry,

 9   and he personally reviewed the photographs that were used in the youth-oriented advertisements

10   that accompanied JUUL’s launch. The “Vaporized” campaign featured bright colors and young

11   models who were in “poses were often evocative of behaviors more characteristic of underage

12   teen than mature adults.”935

13          807.    Monsees also provided specific direction as to the content of the JUUL website to

14   JLI employees, and that content include false, misleading, and deceptive statements designed to

15   induce users, and particularly young people, to purchase the JUUL product.

16          808.    Pritzker, Valani, Monsees, and Bowen—individually and collectively—approved

17   images from the JUUL “Vaporized” ad campaign in 2015. While they noted the youthfulness of

18   the models, they expressed no concerns about the direction of the campaign, which was clearly

19   directed to young users, they all supported launching the campaign—which then proved to be a

20   great “success” in expanding vaping among underage users. And even though Pritzker, Huh, and

21   Valani knew—and explicitly stated—that what they were doing was wrong, JLI pressed ahead

22   with its youth-oriented marketing through early 2016.

23

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26   935
        Examining Juul’s Role in the Youth Nicotine Epidemic, Hearing Before the H. Comm. on
27    Oversight and Reform, Subcomm. on Econ. and Consumer Policy, 116th Cong. (2019)
      (statement of Robert K Jackler, Professor, Stanford University).
28    https://docs.house.gov/meetings/GO/GO05/20190724/109844/HHRG-116-GO05-Wstate-
      JacklerR-20190724.pdf.
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 1          809.    Before the launch of new JUUL advertising campaigns in 2015, Pritzker, Valani,

 2   and Bowen advised the JLI marketing team to allay their concerns about the messaging regarding

 3   the nicotine content of the JUUL product.

 4          810.    Along with Valani, Pritzker was so directly involved in the “Vaporized”

 5   advertising campaign—which, as described above, marketed the JUUL product to teens—that

 6   JLI’s COO in 2015 remarked that he was concerned that the Board would try to write copy for

 7   future branding changes.

 8          811.    Huh was also instrumental in these early marketing campaigns, which were

 9   targeted to youth and omitted references to JUUL’s nicotine content. In debates about whether to

10   continue marketing JUUL aggressively to youth, Huh supported that action and asserted that the

11   company could not be blamed for youth nicotine addiction.

12          812.    During his stint as Executive Committee chairman, which lasted at least until May

13   2016, Huh approved specific branding changes in 2015 and 2016, as JLI developed and

14   implemented its plans for marketing to youth.

15          813.    Various communications post-October 2015 demonstrate that Monsees deferred

16   to Huh with regard to the direction of the company.

17          814.    Pritzker also personally controlled several aspects of JLI’s branding. For instance,

18   Pritzker was directly involved in creating JLI’s corporate website in May 2017. JLI used this

19   website as another means to market its products to youth.

20          815.    Through the allegations above, Plaintiff has shown a direct connection between

21   the RICO Defendants and this fraudulent scheme, including personal involvement in directing, in

22   some part, the affairs of the JLI Enterprise.

23   Youth Access Scheme

24          816.    As described above and in Section IV.E, the five Management Defendants who
25   controlled JLI acted individually and in concert to expand youth access to JUUL products
26   through schemes to mislead customers about the products.
27          817.    As reflected in Section IV.E.11, JLI worked with Veratad to expand youth access
28   while giving the appearance the JLI was combating youth access to its products.

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 1              818.   Through the allegations above, Plaintiff has shown a direct connection between

 2   the RICO Defendants and this fraudulent scheme, including personal involvement in directing, in

 3   some part, the affairs of the JLI Enterprise.

 4   Nicotine Content Misrepresentation Scheme

 5              819.   As described above and in Section IV.D, IV.G, the five Management Defendants
 6   and Altria caused thousands, if not millions, of JUULpod packages to be distributed to users with
 7   false and misleading information regarding the JUUL pods’ nicotine content. The five individual
 8   Defendants who controlled JLI also caused the same false and misleading information to be
 9   distributed via JLI’s website.
10              820.   Defendant Bowen participated in studies regarding the nicotine content of JUUL
11   pods, including by altering or re-engineering his own studies concerning nicotine content to
12   mask the true content and impact in the products he developed. He discussed his engineering
13   test results (the Phase 1 results), and how they differed from the Phase 0 results, with Monsees,
14   Pritzker and Valani. He helped to select the 4% benzoate formulation that served as a model for
15   all formulations used with the JUUL product. As formulated, JUUL pods were foreseeably
16   exceptionally addictive, particularly when used by persons without prior exposure to nicotine.
17              821.   As alleged above, Defendants Monsees, Pritzker, and Valani had personal
18   knowledge about JUUL product nicotine content through direct communications with Bowen
19   discussing engineered test results (the Phase 1 results), and how they differed from the Phase 0
20   results.
21              822.   Defendants Bowen, Monsees, Pritzker and Valani thus caused the distribution of
22   numerous JUUL pod packages, and statements on the JLI website and elsewhere, that
23   fraudulently equated the nicotine content of one JUUL pod as equivalent to one pack of
24   cigarettes. These statements were false, as a JUUL pod had substantially more nicotine than a
25   standard pack of combustible cigarettes.
26              823.   Defendant Bowen also directed, on May 4, 2018, that Ashley Gould convey to the
27   Washington Post that JLI’s studies “support that nic strength and pack equivalence holds true,”
28   even though he knew this statement was false. On May 10, 2018, the Washington Post published

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 1   an article, quoting a JUUL spokesperson extensively and stating that JUUL “contains about the

 2   same amount of nicotine as a pack of cigarettes”—the exact false statement Bowen instructed

 3   Gould to convey to the Post.

 4          824.    The following year, Monsees conveyed this same misinformation in deposition

 5   testimony in a proceeding before the United States International Trade Commission.

 6          825.    Defendant Monsees also required, by no later than July 2018, that JLI employees

 7   obtain his personal approval for the artwork on all JUUL pod packaging.

 8          826.    Several Altria Defendants were involved in this scheme as well. With the

 9   approval and consent of Altria Group and under the management of Altria Client Services (the

10   “Provider Manager” for the contracts), Altria Group Distribution Company distributed millions

11   of JUULpod packages to stores across the country. These packages included the false and

12   misleading information regarding JUUL pods’ nicotine content.

13          827.    Through the allegations above, Plaintiff has shown a direct connection between

14   the RICO Defendants and this fraudulent scheme, including personal involvement in directing, in

15   some part, the affairs of the JLI Enterprise.

16   Flavor Preservation Scheme

17          828.    As described above and in Section IV.I, the RICO Defendants worked in concert
18   to defraud the public and deceive regulators to prevent regulation that would have impeded their
19   plan to keep selling to children. Specifically, they worked to ensure that the FDA allowed
20   JUUL’s mint flavor to remain on the market.
21          829.    Altria and JLI had been working together on flavor strategy as early as September
22   2017, when Tyler Goldman and Gal Cohen (Valani’s inside man within JLI) met with
23   representatives of Altria Client Services to plan a strategy for responding to the FDA’s proposed
24   regulation of flavors in e-cigarettes. This plan would be coordinated through Avail Vapor, LLC,
25   a company partially owned by Altria. Through Avail, the RICO Defendants obtained evidence
26   that confirmed that mint was so popular with non-smoking teenagers that even with mint as its
27   sole flavor option, JLI would remain a multi-billion-dollar enterprise.
28


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 1           830.   Weeks before Altria’s equity investment in December 2018, the regulatory

 2   pressure ramped up significantly, and Altria and JLI engaged in active fraud to lull the FDA that

 3   mint was simply a traditional cigarette flavor designed to help adult smokers switch, rather than a

 4   flavor that appealed primarily to youth. With the scheme in place, Altria and JLI finalized their

 5   deal.

 6           831.   In September 25, 2018, then-FDA Commissioner Scott Gottlieb sent letters to

 7   Altria, JLI and other e-cigarette manufacturers, requesting a “detailed plan, including specific

 8   timeframes, to address and mitigate widespread use by minors.”936

 9           832.   Altria and JLI’s responses to the FDA reflect a coordinated effort to mislead the

10   FDA with the intention that regulators, in reliance on their statements, would allow JLI to

11   continue marketing mint JUUL pods.937

12           833.   On October 25, 2018, Altria Group sent a letter to the FDA portraying mint as a

13   traditional tobacco flavor. Altria shared this letter with Pritzker and Valani. JLI, at the direction

14   of the five Management Defendants, subsequently sent a similar letter and false youth study,

15   fraudulently claiming that mint was a traditional tobacco flavor and was not attractive to kids.

16           834.   Altria Group Distribution Company and Altria Group (through K.C. Crosthwaite)

17   then distributed hundreds of thousands of mint pods in 2019. They focused on selling this flavor

18   in particular to take advantage of delayed regulation.

19           835.   Through the allegations above, Plaintiff has shown a direct connection between

20   the RICO Defendants and this fraudulent scheme, including personal involvement in directing, in

21   some part, the affairs of the JLI Enterprise.

22   Cover-up Scheme

23
             836.   The RICO Defendants were not only concerned with protecting flavors, however.
24
     In light of growing public scrutiny of JLI’s role in the youth vaping crisis, these Defendants
25

26   936
         Letter from Scott Gottlieb, M.D. to JUUL Labs, Inc. (Sept. 12, 2018); Letter from Scott
27     Gottlieb, M.D. to Altria Group Inc. (Sept. 12, 2018).
     937
         See United States v. Jones, 712 F.2d 1316, 1320-21 (9th Cir. 1983) (“It is enough that the
28     mails be used as part of a ‘lulling’ scheme by reassuring the victim that all is well and
       discouraging him from investigating and uncovering the fraud.”).
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 1   continued their scheme to prevent a complete ban on JLI’s product by portraying JUUL as a

 2   smoking cessation device and denying that the company ever marketed to youth.

 3            837.   As described above and in Sections IV.D, IV.E, JLI maintained website pages that

 4   provided false information about the addictive potential of its products and denied that JLI

 5   marketed to youth. Defendants Bowen, Monsees, Pritzker, Huh, and Valani directed the content

 6   of the JLI website and had “final say” over JLI’s marketing messaging.

 7            838.   Bowen understood that children were using the JUUL product and intentionally

 8   continued the youth-appealing marketing strategy. For instance, in 2016, upon seeing social

 9   media posts of teenagers using JUUL products, he remarked that he was “astounded by this ‘ad

10   campaign’ that apparently some rich east coast boarding school kids are putting on,” and he

11   added that Valani was plotting how JUUL could “leverage user generated content” to increase

12   sales.

13            839.   Monsees knew before the JUUL launch that JUUL would be attractive to youth.

14   In October 2014, Monsees received results from a JUUL prototype, including comments that

15   while JUUL was “too much” for smokers, the “younger group” liked JUUL, and JUUL “might

16   manage to make smoking cool again.” Monsees saw this information as an opportunity, not as a

17   warning.

18            840.   Bowen and Monsees were well aware that JUUL branding was oriented toward

19   teens, and they mimicked the previous efforts of the tobacco industry to hook children on

20   nicotine, to increase JUUL sales.

21            841.   In 2015, JLI’s Board—controlled by Bowen, Monsees, Pritzker, Huh, and

22   Valani—met frequently, and the appeal of JUUL to underage users was a constant topic of

23   discussion, as detailed above. Individually and collectively, Pritzker, Huh, and Valani affirmed

24   this course of action, taking steps to continue marketing efforts to youth and rejecting efforts by

25   other Board members to curtail them.

26            842.   Also in 2018, when concern grew about youth vaping, Valani directed JLI’s

27   strategy in responding to such concerns. As directed by Valani, the goal was to debunk studies
28   linking the company with the youth vaping crisis and to try to focus attention on youth smokers


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 1   who allegedly had switched to JUUL—a misinformation campaign designed to stave off

 2   regulation or the ban of JUUL products.

 3          843.    Likewise, in 2018, Pritzker and Valani were heavily involved in planning sham

 4   “youth prevention” activities, whereby JLI would put on seminars for school children that

 5   ostensibly were designed to prevent youth vaping, but which actually told school children that

 6   vaping was safe and even taught children how to use the product.

 7          844.    Pritzker was heavily involved in JLI’s public relations activities, including

 8   granular detail such as directing responses to particular inquiries from teachers. Along with

 9   Valani, Pritzker also approved a press release in response to an inquiry by U.S. Senators, falsely

10   detailing JLI’s alleged youth vaping prevention efforts.

11          845.    Pritzker and Valani each edited and revised press releases about JLI’s youth

12   prevention activities and steps it claimed to be taking to prevent youth sales, and they approved

13   CEO Kevin Burn’s op-ed to the Washington Post claiming that the company did not want to sell

14   to youth and was only targeting adult smokers.

15          846.    The five individual Defendants caused false and misleading advertising to be

16   distributed over television and the internet, to give the impression that JLI’s product was a

17   smoking cessation device and that JLI never marketed to youth.

18          847.    Valani and Pritzker routinely approved the copy for JUUL advertising spots. For

19   example, Kevin Burns sought Pritzker and Valani’s approval of the fraudulent “Make the

20   Switch” advertising campaign, which was distributed over the mail and wires.

21          848.    The Make the Switch campaign featured former smokers aged 37 to 54 discussing

22   how JUUL helped them quit smoking. According to JLI’s Vice President of Marketing, the

23   “Make the Switch” campaign was “an honest, straight down the middle of the fairway, very clear

24   communication about what we’re trying to do as a company.” But these statements were false, as

25   JUUL was not intended to be a smoking cessation device.

26          849.    Defendant Altria Group’s subsidiaries Philip Morris USA and AGDC continued

27   this scheme by transmitting the fraudulent “Make the Switch” advertisements in packs of its
28   combustible cigarettes. These advertisements falsely portrayed the JUUL product as a smoking


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 1   cessation device for adults. Defendant Altria Client Services did the same by e-mailing and

 2   mailing out hundreds of thousands of “Make the Switch” advertisements, with the approval and

 3   consent of Altria Group.

 4               850.   Monsees perpetuated the myth that JUUL was designed as a smoking cessation

 5   device, even though it was designed to appeal to young nonsmokers. Monsees testified before

 6   congress that JUUL was an “alternative” to traditional “cessation products” that “have extremely

 7   low efficacy.”

 8               851.   In response to a direct question about whether people buy JUUL to stop smoking,

 9   Defendant Monsees responded: “Yes. I would say nearly everyone uses our product as an

10   alternative to traditional tobacco products.”938

11               852.   These statements were false, and Monsees knew that they were false, as JUUL

12   was not intended as a smoking cessation device.

13               853.   Monsees also committed mail or wire fraud by giving the following written

14   testimony to Congress, which was false: “We never wanted any non-nicotine user, and certainly

15   nobody under the legal age of purchase, to ever use JLI products. ... That is a serious problem.

16   Our company has no higher priority than combatting underage use.”

17               854.   Monsees further committed mail or wire fraud with a false statement, through

18   JLI’s website, that: “We have no higher priority than to prevent youth usage of our products

19   which is why we have taken aggressive, industry leading actions to combat youth usage.” In

20   reality, the RICO Defendants, through JLI, knowingly and intentionally marketed its product to

21   youth users.

22               855.   Beginning in October 2018, both Altria and JLI transmitted false and misleading

23   communications to the public and the federal government, including Congress and the FDA, in

24   an attempt to stave off regulation of the JUUL product.

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     938
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 1          856.    As detailed above, each RICO Defendant directed and participated in these

 2   fraudulent schemes, either directly or indirectly, with specific intent to defraud, and used JLI as a

 3   vehicle to carry out this pattern of racketeering activity.

 4                  g.      “Pattern of Racketeering Activity”

 5          857.    The RICO Defendants did willfully or knowingly conduct or participate in,
 6   directly or indirectly, the affairs of the Enterprise through a pattern of racketeering activity
 7   within the meaning of 18 U.S.C. §§ 1961(1), 1961(5) and 1962(c), and employed the use of the
 8   mail and wire facilities, in violation of 18 U.S.C. § 1341 (mail fraud) and § 1343 (wire fraud).
 9          858.    Specifically, the RICO Defendants—individually and collectively—have
10   committed, conspired to commit, and/or aided and abetted in the commission of, at least two
11   predicate acts of racketeering activity (i.e., violations of 18 U.S.C. §§ 1341 and 1343), within the
12   past ten years, as described herein.
13          859.    The multiple acts of racketeering activity that the RICO Defendants committed, or
14   aided or abetted in the commission of, were related to each other, pose a threat of continued
15   racketeering activity, and therefore constitute a “pattern of racketeering activity.”
16          860.    The RICO Defendants used, directed the use of, and/or caused to be used,
17   thousands of interstate mail and wire communications in service of the Enterprise’s objectives
18   through common misrepresentations, concealments, and material omissions.
19          861.    As described above, the RICO Defendants devised and knowingly carried out
20   material schemes and/or artifices to defraud the public and deceive regulators by (1) transmitting
21   advertisements that fraudulently and deceptively omitted any reference to JUUL’s nicotine
22   content or potency (or any meaningful reference, where one was made); (2) causing false and
23   misleading statements regarding the nicotine content of JUUL pods to be posted on the JLI
24   website; (3) causing thousands, if not millions, of JUUL pod packages containing false and
25   misleading statements regarding the nicotine content of JUUL pods to be transmitted via U.S.
26   mail; (4) representing to users and the public at-large that JUUL was created and designed as a
27   smoking cessation device; (5) misrepresenting the nicotine content and addictive potential of its
28   products; (6) making fraudulent statements to the FDA to persuade the FDA to allow mint

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 1   flavored JUUL pods to remain on the market; and (7) making fraudulent statements to the public

 2   (including through advertising), the FDA, and Congress to prevent prohibition of JUUL

 3   cigarettes, as was being contemplated in light of JLI’s role in the youth vaping epidemic.

 4          862.    The RICO Defendants committed these racketeering acts intentionally and

 5   knowingly, with the specific intent to defraud and to personally or directly profit from these

 6   actions.

 7          863.    The RICO Defendants’ predicate acts of racketeering (18 U.S.C. § 1961(1))

 8   include, but are not limited to:

 9                  A. Mail Fraud: the Enterprise violated 18 U.S.C. § 1341 by sending or receiving,
                       or by causing to be sent and/or received, fraudulent materials via U.S. mail or
10                     commercial interstate carriers for the purpose of deceiving the public,
                       regulators, and Congress.
11

12                  B. Wire Fraud: the Enterprise violated 18 U.S.C. § 1343 by transmitting and/or
                       receiving, or by causing to be transmitted and/or received, fraudulent
13                     materials by wire for the purpose of deceiving the public, regulators, and
                       Congress.
14
            864.    As explained above, the RICO Defendants conducted the affairs of the Enterprise
15
     through a pattern of racketeering activity by falsely and misleadingly using the mails and wires
16
     in violation of 18 U.S.C. § 1341 and § 1343. To the extent that JLI itself or a JLI officer other
17
     than one or more of the RICO Defendants made a particular statement listed below, the five
18
     individual Defendants who controlled JLI and Altria caused those statements to be made through
19
     their control of JLI and through their control of the communications that JLI was disseminating
20
     to the FDA, to Congress, and to the general public in connection with directing the affairs of JLI.
21
     As detailed above, these statements are alleged to be part of the fraudulent schemes
22
     masterminded by the RICO Defendants who conducted the affairs of JLI.
23
            865.    Illustrative and non-exhaustive examples include the following:
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 1   From                 To                  Date              Description
 2   Statements Omitting Reference to JUUL’s Nicotine Content (see Section IV.E)

 3   JLI                  Public (via         2015              “Vaporized” Campaign, and other advertising
                          television,                           campaigns transmitted via the mails and wires
 4                        internet, and                         which targeted under-age vapers and omitted
                          mail)                                 any reference to JUUL’s nicotine content.
 5
     JLI                  Members of the      June 2015 to      171 promotional emails were sent to members
 6                        public on JLI’s     April 7, 2016     of the public with no mention of JUUL
                          email                                 nicotine content. For example, on July 11,
 7                        distribution list                     2015, JLI, following the marketing plan
                                                                directed and approved by the Management
 8                                                              Defendants, sent an email via the wires in
                                                                interstate commerce from JUUL’s email
 9                                                              address to people who had signed up from
                                                                JUUL emails, including youth. This email
10                                                              advertised JUUL’s promotion events and said
                                                                “Music, Art, & JUUL. What could be better?
11                                                              Stop by and be gifted a free starter kit.” This
                                                                email did not mention that JUUL contained
                                                                nicotine nor that JUUL or the free starter kits
12
                                                                were only for adults.
13   JLI                  Public (via         June 2015 to      JLI’s Twitter feed, @JUULvapor, and its 2,691
                          internet –          October 6, 2017   tweets, did not contain a nicotine warning. For
14                        Twitter)                              example, on August 7, 2015, the @JUULvapor
                                                                Twitter account published a tweet advertising
15                                                              the Cinespia “Movies All Night Slumber
                                                                Party” and captioned it “Need tix for
16                                                              @cinespia 8/15? We got you. Follow us and
                                                                tweet #JUULallnight and our faves will get a
17                                                              pair of tix!” This tweet was delivered via the
                                                                wires in interstate commerce to members of the
18                                                              public, including followers of JLI’s Twitter
                                                                Feed, which included youth. This tweet did not
19                                                              mention that JUUL contained nicotine.

20   JLI                  Public (via         July 28, 2017     The @JUULvapor Twitter account published a
                          internet –                            tweet, showing an image of a Mango JUULpod
21                        Twitter)                              next to mangos, and captioned “#ICYMI:
                                                                Mango is now in Auto-ship! Get the
22                                                              #JUULpod flavor you love delivered & save
                                                                15%. Sign up today.” This tweet was delivered
23                                                              via the wires in interstate commerce to
                                                                members of the public, including followers of
24                                                              JLI’s Twitter Feed, which included youth. This
                                                                tweet did not mention that JUUL contained
                                                                nicotine.
25

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 1   JLI                   Public (via        August 4, 2017     The @JUULvapor Twitter account published a
                           internet –                            tweet promoting Mint JUULpods with an
 2                         Twitter)                              image stating “Beat The August Heat with
                                                                 Cool Mint” and “Crisp peppermint flavor with
 3                                                               a pleasant aftertaste,” captioned “A new month
                                                                 means you can stock up on as many as 15
 4                                                               #JUULpod packs. Shop now.” This tweet was
                                                                 delivered via the wires in interstate commerce
 5                                                               to members of the public, including followers
                                                                 of JLI’s Twitter Feed, which included youth.
 6                                                               This tweet did not mention that JUUL
                                                                 contained nicotine.
 7
     JLI                   Public (via        August 28, 2017    The @JUULvapor Twitter account published a
 8                         internet –                            tweet comparing JUULpods to dessert with an
                           Twitter)                              image and stating “Do you bruleé? RT if you
 9                                                               enjoy dessert without a spoon with our Crème
                                                                 Brulee #JUULpods.” This tweet was delivered
10                                                               via the wires in interstate commerce to
                                                                 members of the public, including followers of
                                                                 JLI’s Twitter Feed, which included youth. This
11
                                                                 tweet did not mention that JUUL contained
                                                                 nicotine.
12
     Statements that JUUL is a Cessation Device (see Section IV.D.4)
13
     JLI                   Public (via        July 5, 2017       The @JUULvapor Twitter account published a
14                         internet –                            tweet stating “Here at JUUL we are focused on
                           Twitter)                              driving innovation to eliminate cigarettes, with
15                                                               the corporate goal of improving the lives of the
                                                                 world’s one billion adult smokers.”
16
     JLI                   Public (via        April 25, 2018     “JUUL Labs was founded by former smokers,
17                         internet – JLI     (or earlier) to    James and Adam, with the goal of improving
                           Website)           Present            the lives of the world’s one billion adult
18                                                               smokers by eliminating cigarettes. We envision
                                                                 a world where fewer adults use cigarettes, and
19                                                               where adults who smoke cigarettes have the
                                                                 tools to reduce or eliminate their consumption
20                                                               entirely, should they so desire.”

21   Kevin Burns           Public (via        November 13,       “To paraphrase Commissioner Gottlieb, we
     (former JLI CEO)      internet – JLI     2018               want to be the offramp for adult smokers to
22                         Website)                              switch from cigarettes, not an on-ramp for
                                                                 America’s youth to initiate on nicotine.”
23
     JLI                   Public (via        September 19,      “JUUL Labs, which exists to help adult
24                         internet – JLI     2019               smokers switch off of combustible cigarettes.”
                           Website)
25

26

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28


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 1   Howard Willard        Public (via         December 20,       “We are taking significant action to prepare for
     (Altria CEO)          internet – Altria   2018               a future where adult smokers overwhelmingly
 2                         website)                               choose non-combustible products over
                                                                  cigarettes by investing $12.8 billion in JUUL, a
 3                                                                world leader in switching adult smokers. ... We
                                                                  have long said that providing adult smokers
 4                                                                with superior, satisfying products with the
                                                                  potential to reduce harm is the best way to
 5                                                                achieve tobacco harm reduction.”

 6   Howard Willard        FDA (via U.S.       October 25,        “We believe e-vapor products present an
                           mail or             2018               important opportunity to adult smokers to
 7                         electronic                             switch from combustible cigarettes.”
                           transmission of
 8                         letter to
                           Commissioner
 9                         Gottlieb)

10   Statements Regarding Nicotine Content in JUUL pods (see Section IV.D)

11   JLI                   Public (via         July 2, 2019 (or   “Each 5% JUUL pod is roughly equivalent to
                           internet – JLI      earlier) to        one pack of cigarettes in nicotine delivery.”
                           website)            Present
12
     JLI                   Public (via         April 21, 2017     “JUUL pod is designed to contain
13                         internet – JLI                         approximately 0.7mL with 5% nicotine by
                           website)                               weight at time of manufacture which is
14                                                                approximately equivalent to 1 pack of
                                                                  cigarettes or 200 puffs.”
15
     JLI; AGDC; Altria     Public (via U.S.    2015 to Present    JUUL pod packages (1) claiming a 5% nicotine
16   Client Services       mail distribution                      strength; (2) stating that a JUUL pod is
                           of JUUL pod                            “approximately equivalent to about 1 pack of
17                         packaging)                             cigarettes.”

18   Statements to Prevent Regulation of Mint Flavor (see Sections IV.C.6 and IV.I.2)

19   JLI                   FDA (via U.S.       October 16,        JLI’s Action Plan that fraudulently
                           mail or             2018 (FDA)         characterizes mint as a non-flavored tobacco
20                         electronic                             and menthol product, suggesting that it was a
                           transmission);      November 12,       product for adult smokers.
21                         Public (via         2018 (Public)
                           internet – JLI
22                         website)

23   Howard Willard        FDA (via U.S.       October 25,        Letter from H. Willard to FDA fraudulently
     (Altria Group CEO)    mail or             2018               representing mint as a non-flavored tobacco
24                         electronic                             and menthol product, suggesting that it was a
                           transmission of                        product for adult smokers.
25                         letter to
                           Commissioner
                           Gottlieb)
26
     JLI                   FDA (via U.S.       November 5,        Fraudulent youth prevalence study transmitted
27                         mail or             2018               by JLI to the FDA.
                           electronic
28                         transmission)


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 1   Statements to Prevent Ban on JUUL Products or Overwhelming Public Outcry (see Sections IV.D.4 and
     IV.E.14)
 2
     JLI                  Public (via          January 2019      $10 million “Make the Switch” advertising
 3                        Television)                            campaign, which was designed to deceive the
                                                                 public and regulators into believing that JLI
 4                                                               was only targeting adult smokers with its
                                                                 advertising and product, and that JUUL was a
 5                                                               smoking cessation product.

 6   AGDC; Philip         Public (via          December 2018     “Make the Switch” advertising campaign, for
     Morris; JLI          inserts in           - Present         the purpose of deceiving smokers into
 7                        combustible                            believing that JUUL was a cessation product.
                          cigarette packs)
 8
     Altria Client        Public (via direct   December 2018     “Make the Switch” advertising campaign, for
 9   Services; JLI        mail and email       – Present         the purpose of deceiving smokers into
                          campaigns)                             believing that JUUL was a cessation product.
10

11
     JLI Chief            Public (via          December 14,      “It’s a really, really important issue. We don’t
12   Administrative       interview with       2017              want kids using our products.”
     Officer              CNBC, later
13                        posted on
                          internet)
14
     JLI                  Public (via          March 14, 2018    “We market our products responsibly,
15                        internet -social                       following strict guidelines to have material
                          media)                                 directly exclusively toward adult smokers and
16                                                               never to youth audiences.”

17   JLI                  FDA (via U.S.        October 16,       “We don’t want anyone who doesn’t smoke, or
                          mail or              2018 (FDA)        already use nicotine, to use JUUL products.
                          electronic                             We certainly don’t want youth using the
18                        transmission);       November 12,      product. It is bad for public health, and it is bad
                          Public (via          2018 (Public)     for our mission. JUUL Labs and FDA share a
19                        internet – JLI                         common goal – preventing youth from
                          website)                               initiating on nicotine. ... Our intent was never
20                                                               to have youth use JUUL products.”

21

22
     Then-CEO of JLI      Public (via          July 13, 2019     “First of all, I’d tell them that I’m sorry that
     (Kevin Burns)        interview with                         their child’s using the product. It’s not intended
23                        CNBC – later                           for them. I hope there was nothing that we did
                          posted on                              that made it appealing to them. As a parent of a
24                        internet)                              16-year-old, I’m sorry for them, and I have
                                                                 empathy for them, in terms of what the
25                                                               challenges they’re going through.”

26   JLI                  Public (via          August 29, 2019   “We have no higher priority than to prevent
                          internet - JLI                         youth usage of our products which is why we
27                        website)                               have taken aggressive, industry leading actions
                                                                 to combat youth usage.”
28


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 1   James Monsees       Public (via         August 27, 2019   Monsees said selling JUUL products to youth
                         statement to New                      was “antithetical to the company’s mission.”
 2                       York Times –
                         later posted on
 3                       internet)

 4   JLI                 Public (via         September 24,     “We have never marketed to youth and we
                         statement to Los    2019              never will.”
 5                       Angeles Times –
                         later posted on
 6                       internet)

 7   JLI (via counsel)   FDA (via U.S.       June 15, 2018     Letter from JLI's Counsel at Sidley Austin to
                         mail or                               Dr. Matthew Holman, FDA, stating: “JUUL
 8                       electronic                            was not designed for youth, nor has any
                         transmission to                       marketing or research effort since the product’s
 9                       Dr. Matthew                           inception been targeted to youth.” and “With
                         Holman)                               this response, the Company hopes FDA comes
10                                                             to appreciate why the product was developed
                                                               and how JUUL has been marketed — to
11                                                             provide a viable alternative to cigarettes for
                                                               adult smokers.”
12
     James Monsees       Congress (via       July 25, 2019     Written Testimony of J. Monsees provided to
                         U.S. mail or                          Congress, stating: “We never wanted any non-
13                       electronic                            nicotine user, and certainly nobody under the
                         transmission of                       legal age of purchase, to ever use JLI products.
14                       written                               ... That is a serious problem. Our company has
                         testimony)                            no higher priority than combatting underage
15                                                             use.”

16   Howard Willard      FDA (via U.S.       October 25,       “[W]e do not believe we have a current issue
                         mail or             2018              with youth access to or use of our pod-based
17                       electronic                            products, we do not want to risk contributing to
                         transmission of                       the issue.”
18                       letter to
                         Commissioner
19                       Gottlieb)

20   Howard Willard      Congress (via       October 14,       “In late 2017 and into early 2018, we saw that
                         U.S. mail or        2019              the previously flat e-vapor category had begun
21                       electronic                            to grow rapidly. JUUL was responsible for
                         transmission of                       much of the category growth and had quickly
22                       letter to Senator                     become a very compelling product among
                         Durbin)                               adult vapers. We decided to pursue an
23                                                             economic interest in JUUL, believing that an
                                                               investment would significantly improve our
24                                                             ability to bring adult smokers a leading
                                                               portfolio of non-combustible products and
                                                               strengthen our competitive position with
25                                                             regards to potentially reduced risk products.”
26   JLI                 Public (via Pam     October 17,       “Our Marketing Efforts are Adult-targeted. . .
                         Tighe at CBS        2016              Any media is focused on 21+ adult smokers
27                       News)                                 and we always adhere to or exceed all tobacco
                                                               guidelines for advertising in home, radio and
28                                                             digital.”


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 1   Kevin Burns, then-   Public (via JLI’s   April 25, 2018   “Our company’s mission is to eliminate
     CEO of JLI           website)                             cigarettes and help the more than one billion
 2                                                             smokers worldwide switch to a better
                                                               alternative . . . . We are already seeing success
 3                                                             in our efforts to enable adult smokers to
                                                               transition away from cigarettes and believe our
 4                                                             products have the potential over the long-term
                                                               to contribute meaningfully to public health in
 5                                                             the U.S. and around the world. At the same
                                                               time, we are committed to deterring young
 6                                                             people, as well as adults who do not currently
                                                               smoke, from using our products. We cannot be
 7                                                             more emphatic on this point: No young person
                                                               or non-nicotine user should ever try JUUL.”
 8
     Ashely Gould, JLI    Public (via JLI’s   April 25, 2018   “Our objective is to provide the 38 million
 9   Chief                website)                             American adult smokers with meaningful
     Administrative                                            alternatives to cigarettes while also ensuring
10   Officer                                                   that individuals who are not already smokers,
                                                               particularly young people, are not attracted to
                                                               nicotine products such as JUUL . . . . We want
11
                                                               to be a leader in seeking solutions, and are
                                                               actively engaged with, and listening to,
12                                                             community leaders, educators and lawmakers
                                                               on how best to effectively keep young people
13                                                             away from JUUL.”
14   JLI                  Public (via JLI’s   July 24, 2018    “We welcome the opportunity to work with the
                          website)                             Massachusetts Attorney General because, we
15                                                             too, are committed to preventing underage use
                                                               of JUUL. We utilize stringent online tools to
16                                                             block attempts by those under the age of 21
                                                               from purchasing our products, including
17                                                             unique ID match and age verification
                                                               technology. Furthermore, we have never
18                                                             marketed to anyone underage. Like many
                                                               Silicon Valley technology startups, our growth
19                                                             is not the result of marketing but rather a
                                                               superior product disrupting an archaic industry.
20                                                             When adult smokers find an effective
                                                               alternative to cigarettes, they tell other adult
21                                                             smokers. That’s how we’ve gained 70% of the
                                                               market share. . . . Our ecommerce platform
22                                                             utilizes unique ID match and age verification
                                                               technology to make sure minors are not able to
                                                               access and purchase our products online.”
23
     JLI                  Public (via JLI’s   July 26, 2018    “We did not create JUUL to undermine years
24                        website)                             of effective tobacco control, and we do not
                                                               want to see a new generation of smokers. . . .
25                                                             We want to be part of the solution to end
                                                               combustible smoking, not part of a problem to
26                                                             attract youth, never smokers, or former
                                                               smokers to nicotine products. . . .We adhere to
27                                                             strict guidelines to ensure that our marketing is
                                                               directed towards existing adult smokers.”
28


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 1     Adam Bowen           Public (via         August 27, 2018    Bowen said he was aware early on of the risks
                            statement to New                       e-cigarettes posed to teenagers, and the
 2                          York Times –                           company had tried to make the gadgets “as
                            later posted on                        adult-oriented as possible,” purposely choosing
 3                          internet)                              not to use cartoon characters or candy names
                                                                   for its flavors.
 4
       James Monsees        Public (via         November 16,       “Any underage consumers using this product
 5                          statement to        2018               are absolutely a negative for our business. We
                            Forbes, later                          don’t want them. We will never market to
 6                          published on                           them. We never have.”
                            internet)
 7
       Altria Group         Public (via         December 20,       Statement published in Altria news release
 8                          internet)           2018               stating: “Altria and JUUL are committed to
                                                                   preventing kids from using any tobacco
 9                                                                 products. As recent studies have made clear,
                                                                   youth vaping is a serious problem, which both
10                                                                 Altria and JUUL are committed to solve. As
                                                                   JUUL previously said, ‘Our intent was never to
11                                                                 have youth use JUUL products.’”

       Altria Group         Public (via         January 31, 2019   “Through JUUL, we have found a unique
12
                            Earnings Call)                         opportunity to not only participate
                                                                   meaningfully in the e-vapor category but to
13                                                                 also support and even accelerate transition to
                                                                   noncombustible alternative products by adult
14                                                                 smokers.”
15     K.C. Crosthwaite,    Public (via JLI’s   September 25,       “I have long believed in a future where adult
       JLI’s CEO            website)            2019               smokers overwhelmingly choose alternative
16                                                                 products like JUUL. That has been this
                                                                   company’s mission since it was founded, and it
17                                                                 has taken great strides in that direction.”

18     JLI                  Public (via JLI’s   March 29, 2020     “JUUL was designed with adult smokers in
                            website)                               mind.”
19

20           866.     The mail and wire transmissions described herein were made in furtherance of the

21   RICO Defendants’ schemes and common course of conduct, thereby increasing or maintaining

22   JLI’s market share. The sections cross-referenced in the chart detail how the RICO Defendants

23   caused such mailings or transmissions to be made. As described in those detailed factual

24   allegations, the RICO Defendants did so either by directly approving certain fraudulent

25   statements or by setting in motion a scheme to defraud that would reasonably lead to such

26   fraudulent statements being transmitted via the mail and wires.

27           867.     As described above, the RICO Defendants used JLI to further schemes to defraud

28   the public and deceive regulators, to continue selling nicotine products to youth, and to protect


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 1   their market share by denying that JLI marketed to youth and claiming that JUUL was created

 2   and designed as a smoking cessation device (or a mitigated risk product).

 3          868.    The RICO Defendants used these mail and wire transmissions, directly or

 4   indirectly, in furtherance of this scheme by transmitting deliberately false and misleading

 5   statements to the public and to government regulators.

 6          869.    The RICO Defendants had a specific intent to deceive regulators and defraud the

 7   public. For example, as alleged above, JLI made repeated and unequivocal statements through

 8   the wires and mails that it was not marketing to children and that its products were designed for

 9   adult smokers. These statements were false. Each of the RICO Defendants knew these statements

10   were false but caused these statements to be made anyway. Similarly, the RICO Defendants

11   caused to be transmitted through the wires and mails false and misleading statements regarding

12   the nicotine content in JUUL pods, which JLI’s own internal data, and Altria’s own

13   pharmacokinetic studies, showed were false. Moreover, each of the Enterprise Defendants had

14   direct involvement in marketing statements by JLI and thus caused such statements to be made,

15   notwithstanding that they knew they were false for the reasons detailed above.

16          870.    The RICO Defendants intended the public and regulators to rely on these false

17   transmissions, and this scheme was therefore reasonably calculated to deceive persons of

18   ordinary prudence and comprehension.

19          871.    The public and government regulators relied on the Enterprise’s mail and wire

20   fraud. For example, the regulators, including the FDA, relied on the Enterprise’s statements that

21   mint was not an appealing flavor for nonsmokers in allowing mint JUUL pods to remain on the

22   market. Regulators also relied on the Enterprise’s statements that it did not market to youth in

23   allowing the RICO Defendants to continue marketing and selling JUUL. Congress likewise

24   relied on the Enterprise’s statements in not bringing legislation to recall or ban e-cigarettes,

25   despite the calls of members of both parties to do just that. And, the public relied on statements

26   (or the absence thereof) that were transmitted by the RICO Defendants regarding the nicotine

27   content in and potency of JUUL pods in deciding to purchase JUUL products.
28


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 1          872.    Many of the precise dates of the fraudulent uses of the U.S. mail and interstate

 2   wire facilities have been deliberately hidden and cannot be alleged without access to the RICO

 3   Defendants’ books and records. Plaintiff has, however, described the types of predicate acts of

 4   mail and/or wire fraud, including the specific types of fraudulent statements upon which, through

 5   the mail and wires, the RICO Defendants engaged in fraudulent activity in furtherance of their

 6   overlapping schemes.

 7          873.    These were not isolated incidents. Instead, the RICO Defendants engaged in a

 8   pattern of racketeering activity by committing thousands of related predicate acts in a five-year

 9   period, in the form of mail and wire fraud, and there remains a threat that such conduct will

10   continue or recur in the future. That each RICO Defendant participated in a variety of schemes

11   involving thousands of predicate acts of mail and wire fraud establishes that such fraudulent acts

12   are part of the Enterprise’s regular way of doing business. Moreover, Plaintiff expects to uncover

13   even more coordinated, predicate acts of fraud as discovery in this case continues.

14                  h.      Plaintiff Has Been Damaged by the Enterprise Defendants’ RICO
                            Violations
15
            874.    Plaintiff has been injured by the Enterprise Defendants’ conduct, and such injury
16
     would not have occurred but for the predicate acts of those defendants which also constitute the
17
     acts taken by the RICO Defendants in furtherance of their conspiracy pursuant to Section
18
     1962(d). By working to preserve and expand the market of underage JUUL customers,
19
     fraudulently denying JLI’s youth-focused marketing, and deceiving regulators and the public in
20
     order to allow JUUL products and mint-flavored JUULpods to remain on the market, the
21
     Enterprise caused the expansion of an illicit e-cigarette market for youth in Plaintiff’s schools
22
     and caused a large number of youth in Plaintiff’s schools to become addicted to nicotine, thus
23
     forcing Plaintiff to expend time, money, and resources to address the epidemic Defendants
24
     created through their conduct. Indeed, the Enterprise Defendants intentionally sought to reach
25
     into schools and deceive public health officials in order to continue growing JLI’s youth
26
     customer base. The repeated fraudulent misstatements by the Enterprise Defendants denying that
27
28


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 1   JLI marketed to youth have served to preserve JUUL’s market share—a market share that is

 2   based upon children purchasing JLI’s tobacco products.

 3          875.    Plaintiff was a direct victim of Defendants’ misconduct. The Enterprise

 4   Defendants displayed a wanton disregard for public health and safety by intentionally addicting

 5   youth, including youth in Plaintiff’s schools, to nicotine and then attempting to cover up their

 6   scheme in order to maintain and expand JUUL’s market share. Defendants actively concealed

 7   that they marketed to youth in order to avoid public condemnation and to keep their products on

 8   the market and continue youth sales. This forced Plaintiff to shoulder the responsibility for this

 9   youth e-cigarette crisis created by Defendants’ misconduct. The harm from the illicit youth e-

10   cigarette market created by Defendants required Plaintiff to expend its limited financial and other

11   resources to mitigate the health crisis of youth e-cigarette use. The expansion of this youth e-

12   cigarette market was the goal of the Enterprise and is critical to its success. Therefore, the harm

13   suffered by Plaintiff because it must address and mitigate the youth e-cigarette crisis was directly

14   foreseeable and, in fact, an intentional result of Defendants’ misconduct.

15          876.    The creation and maintenance of this youth e-cigarette market directly harms

16   Plaintiff by imposing costs on its business and property. Plaintiff’s injuries were not solely the

17   result of routine government expenses. Instead, as a result of Defendants’ misconduct, Plaintiff

18   has been and will be forced to go far beyond what a governmental entity might ordinarily be

19   expected to pay to enforce the laws and to promote the general welfare in order to combat the

20   youth e-cigarette crisis. This includes providing new programs and new services as a direct result

21   and in direct response to Defendants’ misconduct. As a result of the conduct of the Enterprise

22   Defendants, Plaintiff has incurred and will incur costs that far exceed the norm.

23          877.    There are no intervening acts or parties that could interrupt the causal chain

24   between the Defendants’ mail and wire fraud and Plaintiff’s injuries. Defendants, in furtherance

25   of the Enterprise’s common purpose, made false and misleading statements directly to the public,

26   including Plaintiff, its employees, and its students. And in the case of fraud on third parties (i.e.,

27   FDA and Congress), causation is not defeated merely because the RICO Defendants deceived a
28   third party into not taking action where the FDA’s and Congress’s failure to regulate directly


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 1   allowed youth in Plaintiff’s schools to purchase products that should not have been on the market

 2   and/or that should not have been marketed to minors.

 3          878.    As to predicate acts occurring prior to May 8, 2016, Plaintiff did not discover, and

 4   could not have been aware despite the exercise of reasonable diligence, until shortly before the

 5   initiation of the instant litigation that Defendants transmitted fraudulent statements via the mails

 6   and wires regarding the topics described above including, inter alia, the true nicotine content in

 7   and delivered by JUUL products, such information the Defendants concealed and failed to

 8   truthfully disclose.

 9          879.    The Enterprise’s violations of 18 U.S.C. § 1962(c) have directly and proximately

10   caused injuries and damages to Plaintiff, its community, and the public, and Plaintiff is entitled

11   to bring this action for three times its actual damages, as well as for injunctive/equitable relief,

12   costs, and reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

13          2.      Violations of 18 U.S.C. § 1962(d)

14          880.    Plaintiff hereby incorporates by reference the allegations contained in the
15   preceding paragraphs of this complaint.
16          881.    Section 1962(d) makes it unlawful for “any person to conspire to violate” Section
17   1962(c), among other provisions. See 18 U.S.C. § 1962(d).
18          882.    The RICO Defendants have not undertaken the practices described herein in
19   isolation, but as part of a common scheme and conspiracy. In violation of 18 U.S.C. § 1962(d),
20   the RICO Defendants agreed to facilitate the operation of the Enterprise through a pattern of
21   racketeering in violation of 18 U.S.C. § 1962(c), as described herein. The conspiracy is
22   coterminous with the time period in which the Enterprise has existed, beginning before JLI was
23   officially formed in 2015 and continuing to this day (with Defendant Altria joining the
24   conspiracy by at least Spring 2017).
25          883.    The RICO Defendants’ agreement is evidenced by their predicate acts and direct
26   participation in the control and operation of the Enterprise, as detailed above in relation to the
27   RICO Defendants’ substantive violation of Section 1962(c). In particular, as described above,
28   Altria’s agreement is shown by the fact that it was well aware of JLI’s fraudulent activities in

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 1   marketing its products to youth but claiming that it would not do so, yet Altria nonetheless

 2   secretly collaborated with JLI to continue those unlawful activities, and it eventually made a

 3   multi-billion dollar investment in JLI and continued the deception by directing the affairs of JLI.

 4          884.    The acts in furtherance of the conspiracy attributable to the RICO Defendants

 5   include each of the predicate acts underlying the RICO Defendants’ use of the JLI Enterprise to,

 6   directly or indirectly, engage in a pattern of racketeering activity in violation of Section 1962(c),

 7   as described above. Various other persons, firms, and corporations, including third-party entities

 8   and individuals not named as Defendants in this Complaint, have participated as co-conspirators

 9   with the members of the Enterprise in these offenses and have performed acts in furtherance of

10   the conspiracy to increase or maintain revenue, maintain or increase market share, and/or

11   minimize losses for the Defendants and their named and unnamed co-conspirators throughout the

12   illegal scheme and common course of conduct. Where a RICO Defendant did not commit a

13   predicate act itself, it agreed to the commission of the predicate act.

14          885.    Plaintiff has been injured by the RICO Defendants’ conduct, and such injury

15   would not have occurred but for the predicate acts of those defendants which also constitute the

16   acts taken by the RICO Defendants in furtherance of their conspiracy pursuant to Section

17   1962(d). The combined effect of the RICO Defendants’ acts of mail and wire fraud in

18   furtherance of their conspiracy, including working to preserve and expand the market of

19   underage JUUL customers, fraudulently denying JLI’s youth-focused marketing, and deceiving

20   regulators and the public in order to allow JUUL products and mint-flavored JUUL pods to

21   remain on the market, was to cause e caused the expansion of an illicit e-cigarette market for

22   youth in Plaintiff’s schools and cause a large number of youth in Plaintiff’s schools to become

23   addicted to nicotine, thus forcing Plaintiff to expend time, money, and resources to address the

24   epidemic Defendants created through their conduct. Indeed, the Enterprise Defendants

25   intentionally sought to reach into schools and deceive public health officials in order to continue

26   growing JLI’s youth customer base. The repeated fraudulent misstatements by the Enterprise

27   Defendants denying that JLI marketed to youth have served to preserve JUUL’s market share—a
28   market share that is based upon children purchasing JLI’s tobacco products. The harm to


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 1   Plaintiff would not have occurred absent the RICO Defendants’ conspiracy to engage in a pattern

 2   of racketeering activity through a RICO Enterprise, the common purpose of which was

 3   maintaining and expanding the number of nicotine-addicted e-cigarette users, and youth in

 4   particular, in order to ensure a steady and growing customer base, including by preserving and

 5   growing JLI’s ill-gotten market share.

 6          886.    Plaintiff was a direct victim of Defendants’ misconduct. The Enterprise

 7   Defendants’ acts in furtherance of their RICO conspiracy displayed a wanton disregard for

 8   public health and safety by intentionally addicting youth, including youth in Plaintiff’s schools,

 9   to nicotine and then attempting to cover up their scheme in order to maintain and expand JUUL’s

10   market share. Defendants actively concealed that they marketed to youth in order to avoid public

11   condemnation and to keep their products on the market and continue youth sales. This forced

12   Plaintiff to shoulder the responsibility for this youth e-cigarette crisis created by Defendants’

13   misconduct. The harm from the illicit youth e-cigarette market created by Defendants required

14   Plaintiff to expend its limited financial and other resources to mitigate the health crisis of youth

15   e-cigarette. The expansion of this youth e-cigarette market was the goal of the Enterprise and is

16   critical to its success. Therefore, the harm suffered by Plaintiff because it must address and

17   mitigate the youth e-cigarette crisis was directly foreseeable and, in fact, an intentional result of

18   Defendants’ misconduct.

19          887.    The creation and maintenance of this youth e-cigarette market, and Defendants

20   actions in furtherance of their RICO conspiracy, directly harms Plaintiff by imposing costs on its

21   business and property. Plaintiff’s injuries were not solely the result of routine government

22   expenses. Instead, as a result of Defendants’ misconduct, Plaintiff has been and will be forced to

23   go far beyond what a governmental entity might ordinarily be expected to pay to enforce the

24   laws and to promote the general welfare in order to combat the youth e-cigarette crisis. This

25   includes providing new programs and new services as a direct result and in direct response to

26   Defendants’ misconduct. As a result of the conduct of the Enterprise Defendants, Plaintiff has

27   incurred and will incur costs that far exceed the norm.
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 1           888.    There are no intervening acts or parties that could interrupt the causal chain

 2   between the RICO Defendants’ mail and wire fraud acts in furtherance of their RICO conspiracy

 3   and Plaintiff’s injuries. The RICO Defendants, in furtherance of their conspiracy to form the

 4   Enterprise and advance its common purpose, made false and misleading statements directly to

 5   the public, including Plaintiff, its employees, and its students. And in the case of fraud on third

 6   parties (i.e., FDA and Congress), causation is not defeated merely because the RICO Defendants

 7   deceived a third party into not taking action where the FDA’s and Congress’s failure to regulate

 8   directly allowed youth in Plaintiff’s schools to purchase products that should not have been on

 9   the market and/or that should not have been marketed to minors.

10           889.    As to predicate acts undertaken in furtherance of the conspiracy which occurred

11   prior to May 8, 2016, Plaintiff did not discover, and could not have been aware despite the

12   exercise of reasonable diligence, until shortly before the initiation of the instant litigation that the

13   RICO Defendants transmitted fraudulent statements via the mails and wires regarding the topics

14   described above including, inter alia, the true nicotine content in and delivered by JUUL

15   products, such information the RICO Defendants concealed and failed to truthfully disclose.

16           890.    The Enterprise’s violations of 18 U.S.C. § 1962(d) have directly and proximately

17   caused injuries and damages to Plaintiff, its community, and the public, and Plaintiff is entitled

18   to bring this action for three times its actual damages, as well as for injunctive/equitable relief,

19   costs, and reasonable attorneys’ fees and costs pursuant to 18 U.S.C. § 1964(c).

20                                                           NEGLIGENCE

21           891.    Plaintiff incorporates by reference all preceding paragraphs.
22           892.    Defendants owed Plaintiff a duty to not expose Plaintiff to an unreasonable risk of
23   harm, and to act with reasonable care as a reasonably careful person and/or company would act
24   under the circumstances so as to prevent harm to others.
25           893.    At all times relevant to this litigation, Defendants had a duty to exercise
26   reasonable care in the design, research, manufacture, marketing, advertisement, supply,
27   promotion, packaging, sale, and distribution of Defendants’ e-cigarette products, including
28   the duty to take all reasonable steps necessary to manufacture, promote, and/or sell a

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 1   product that was not unreasonably dangerous to consumers, users, and other persons

 2   coming into contact with the product.

 3           894.    At all times relevant to this litigation, Defendants had a duty to exercise

 4   reasonable care in the marketing, advertisement, and sale of e-cigarette products. Defendants’

 5   duty of care owed to consumers and the general public, including Plaintiff, included

 6   providing accurate, true, and correct information concerning the risks of using Defendants’

 7   products and appropriate, complete, and accurate warnings concerning the potential adverse

 8   effects of e-cigarette and nicotine use and, in particular, JLI’s patented nicotine salts and the

 9   chemical makeup of JUUL pods liquids.

10           895.    At all times relevant to this litigation, Defendants knew or, in the exercise

11   of reasonable care, should have known of the hazards and dangers of Defendants’ e-cigarette

12   products and specifically, the health hazards posed by using JUUL pods and other e-cigarette

13   products and continued use of nicotine, particularly among adolescents.

14           896.    Accordingly, at all times relevant to this litigation, Defendants knew or, in

15   the exercise of reasonable care, should have known that use of Defendants’ products

16   students could cause Plaintiff’s injuries and thus created a dangerous and unreasonable risk of

17   injury to Plaintiff.

18           897.    Defendants also knew or, in the exercise of reasonable care, should have

19   known that users and consumers of Defendants’ products were unaware of the risks and the

20   magnitude of the risks associated with the use of Defendants’ products including but not limited

21   to the risks of continued nicotine use and nicotine addiction.

22           898.    As such, Defendants, by action and inaction, representation and omission,

23   breached their duty of reasonable care, failed to exercise ordinary care, and failed to act as a

24   reasonably careful person and/or company would act under the circumstances in the design,

25   research, development, manufacture, testing, marketing, supply, promotion, advertisement,

26   packaging, sale, and distribution of their e-cigarette products, in that Defendants manufactured

27   and produced defective products containing nicotine and other chemicals known to cause harm
28   to consumers, knew or had reason to know of the defects inherent in their products, knew or


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 1   had reason to know that a consumer’s use of the products created a significant risk of harm

 2   and unreasonably dangerous side effects, and failed to prevent or adequately warn of these risks

 3   and injuries.

 4          899.     Despite their ability and means to investigate, study, and test their products

 5   and to provide adequate warnings, Defendants have failed to do so. Indeed, Defendants have

 6   wrongfully concealed information and have made false and/or misleading statements

 7   concerning the safety and/or use of Defendants’ products and nicotine e-cigarette use.

 8          900.     Defendants’ negligence included:

 9                   a.     Researching, designing, manufacturing, assembling, inspecting, testing,
                            packaging, labeling, marketing, advertising, promoting, supplying,
10                          distributing, and/or selling their products, without thorough and adequate
                            pre- and post-market testing;
11

12                   b.     Failing to undertake sufficient studies and conduct necessary tests to
                            determine whether or not their products were safe for their intended use;
13
                     c.     Failing to use reasonable and prudent care in the design, research,
14                          manufacture, formulation, and development of their products so as to
                            avoid the risk of serious harm associated with the prevalent use of e-
15                          cigarettes and nicotine products;
16                   d.     Designing and manufacturing their products to cause nicotine addiction,
17                          including by maximizing nicotine delivery while minimizing “throat hit”
                            or “harshness”;
18
                     e.     Failing to utilize proper materials, ingredients, additives and components
19                          in the design of their products to ensure they would not deliver unsafe
                            doses of nicotine;
20
                     f.     Designing and manufacturing their products to appeal to minors and
21
                            young people, including through the use of flavors and an easily
22                          concealable, tech-inspired design;

23                   g.     Advertising, marketing, and promoting their products to minors, including
                            through the use of viral social media campaigns;
24
                     h.     Failing to take steps to prevent their products from being sold to,
25                          distributed to, or used by minors;
26                   i.     Failing to provide adequate instructions, guidelines, and safety precautions
27                          to those persons who Defendants could reasonably foresee would use their
                            products;
28


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 1                  j.      Affirmatively encouraging new JUUL users through an instructional
                            starter pack insert to disregard any initial discomfort and to continue e-
 2                          cigarette use by instructing users to “keep trying even if the JUUL feels
                            too harsh,” and telling them, “[d]on’t give up, you’ll find your perfect
 3
                            puff”;
 4
                    k.      Failing to disclose to, or warn, Plaintiff, users, consumers, and the general
 5                          public of negative health consequences associated with exposure to
                            nicotine and other harmful and toxic ingredients contained in Defendants’
 6                          products;
 7                  l.      Misrepresenting to Plaintiff, users, consumers, and the general public the
                            actual nicotine content of Defendants’ products;
 8

 9                  m.      Failing to disclose to Plaintiff, users, consumers, and the general public
                            that Defendants’ products deliver more nicotine than represented;
10
                    n.      Misrepresenting Defendants’ products as non-addictive, less addictive,
11                          and/or safer nicotine delivery systems than traditional cigarettes;
12                  o.      Representing that Defendants’ products were safe for their intended use
                            when, in fact, Defendants knew or should have known that the products
13
                            were not safe for their intended use;
14
                    p.      Declining to make or propose any changes to the labeling or other
15                          promotional materials for Defendants’ e-cigarette and nicotine products
                            that would alert consumers and the general public, including minors in
16                          Plaintiff’s schools of the true risks of using Defendants’ products;
17                  q.      Advertising, marketing, and recommending Defendants’ products while
                            concealing and failing to disclose or warn of the dangers known by
18
                            Defendants to be associated with, or caused by, the use of Defendants’
19                          products;

20                  r.      Continuing to disseminate information to consumers, which indicates or
                            implies that Defendants’ products are not unsafe for their intended use;
21
                    s.      Continuing the manufacture and sale of Defendants’ products with
22                          knowledge that the products were unreasonably unsafe, addictive, and
                            dangerous;
23

24                  t.      Failing to recall Defendants’ products; and

25                  u.      Committing other failures, acts, and omissions set forth herein.

26          901.    Defendants knew and/or should have known that it was foreseeable that Plaintiff

27   would suffer injuries as a result of Defendants’ failure to exercise ordinary care in the

28   manufacturing, marketing, labeling, distribution, and sale of e-cigarette products, particularly


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 1   when Defendants’ products were made and marketed so as to be attractive and addictive to youth

 2   who spend many hours each week on Plaintiff’s property and under Plaintiff’s supervision.

 3           902.    Plaintiff did not know the nature and extent of the injuries that could result from

 4   the intended use of e-cigarette products including, but not limited to JLI’s patented JUUL pods

 5   liquids by Plaintiff’s students.

 6           903.    Defendants’ negligence helped to and did produce, and was a substantial factor in

 7   and the proximate cause of, the injuries, harm, and economic losses that Plaintiff suffered, and

 8   will continue to suffer, and such injuries, harm and economic losses would not have happened

 9   without Defendants’ negligence as described herein.

10           904.    As a foreseeable consequence of Defendants’ breaches of their duties, Plaintiff

11   has suffered and will continue to suffer direct and consequential economic and other injuries as a

12   result of dealing with the e-cigarette epidemic in Plaintiff’s schools, including but not limited to:

13                   a.      Discipline and suspensions related to incidents of e-cigarette use in
                             Plaintiff’s schools have increased at alarming rates;
14
                     b.      Because of the alarming rise of discipline and suspensions associated with
15                           student e-cigarette use, Plaintiff has devoted and diverted staff resources
16                           to develop a diversion program so as to allow students who are caught
                             using e-cigarettes to remain in school and in class where possible;
17
                     c.      Students in Plaintiff’s schools, addicted to nicotine, have demonstrated
18                           anxious, distracted and acting out behaviors, causing disruption and
                             diverting staff resources away from classroom instruction and requiring
19                           additional time and attention for addicted students;
20                   d.      Plaintiff has had to devote and divert staff resources to intervening in
21                           student e-cigarette activities and coordinating necessary follow-up;

22                   e.      Plaintiff has had to devote and divert staff resources to conduct staff
                             training on e-cigarette use;
23
                     f.      Plaintiff has had to devote and divert staff resources to deploying student,
24                           family and parent-teacher education regarding the dangers of e-cigarette
                             products;
25

26           905.    Defendants engaged in conduct, as described above, that constituted malice,

27   oppression, or fraud, with intent to cause injury and/or with willful and knowing disregard of the

28


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 1   rights or safety of another, being fully aware of the probable dangerous consequences of the

 2   conduct and deliberately failing to avoid those consequences.

 3          906.    Defendants’ conduct constituting malice, oppression or fraud was committed by

 4   one or more officers, directors, or managing agents of Defendants, who acted on behalf of

 5   Defendants; and/or

 6          907.    Defendants’ conduct constituting malice, oppression or fraud was authorized by

 7   one or more officers, directors, or managing agents of Defendants; and/or

 8          908.    One or more officers, directors, or managing agents of Defendants knew of the

 9   conduct constituting malice, oppression, or fraud and adopted or approved that conduct after it

10   occurred.

11          909.    Defendants regularly risks the lives and health of consumers and users of its

12   products with full knowledge of the dangers of its products. Defendants made conscious

13   decisions not to redesign, re-label, warn, or inform the unsuspecting public, including

14   Plaintiff’s students or Plaintiff. Defendants’ willful, knowing and reckless conduct,

15   constituting malice, oppression or fraud therefore warrants an award of aggravated or punitive

16   damages.

17                                                 GROSS NEGLIGENCE

18          910.    Plaintiff incorporates by reference all preceding paragraphs.
19          911.    Defendants owed a duty of care to Plaintiff to conduct their business of
20   manufacturing, promoting, marketing, and/or distributing e-cigarette products in compliance
21   with applicable state law and in an appropriate manner.
22          912.    Specifically, Defendants had a duty and owed a duty to Plaintiff to exercise a
23   degree of reasonable care including, but not limited to: ensuring that Defendants’ marketing does
24   not target minors; ensuring that Defendants’ products including, but not limited to, JUUL e-
25   cigarettes and JUULpods are not sold and/or distributed to minors and are not designed in a
26   manner that makes them unduly attractive to minors; designing a product that will not addict
27   youth or other users to nicotine; and adequately warning of any reasonably foreseeable adverse
28   events with respect to using the product. Defendants designed, produced, manufactured,

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 1   assembled, packaged, labeled, advertised, promoted, marketed, sold, supplied and/or otherwise

 2   placed Defendants’ products into the stream of commerce, and therefore owed a duty of

 3   reasonable care to those, including Plaintiff, who would be impacted by their use.

 4          913.    Defendants’ products were the types of products that could endanger others if

 5   negligently made, promoted, or distributed. Defendants knew the risks that young people would

 6   be attracted to their e-cigarette products and knew or should have known the importance of

 7   ensuring that the products were not sold and/or distributed to anyone under age 26, but especially

 8   to minors.

 9          914.    Defendants knew or should have known that their marketing, distribution, and

10   sales practices did not adequately safeguard minors from the sale and/or distribution of

11   Defendants’ products and, in fact, induced minors to purchase their products.

12          915.    Defendants were grossly negligent in designing, manufacturing, supplying,

13   distributing, inspecting, testing (or not testing), marketing, promoting, advertising, packaging,

14   and/or labeling Defendants’ products.

15          916.    As powerfully addictive and dangerous nicotine-delivery devices, Defendants

16   knew or should have known that their e-cigarette products needed to be researched, tested,

17   designed, advertised, marketed, promoted, produced, packaged, labeled, manufactured,

18   inspected, sold, supplied and distributed properly, without defects and with due care to avoid

19   needlessly causing harm. Defendants knew or should have known that their products could

20   cause serious risk of harm, particularly to young persons like students in Plaintiff’s schools.

21          917.    Defendants engaged in willful and/or wanton conduct that lacked any care and

22   amounted to an extreme departure from what a reasonably careful person would do in the same

23   situation to prevent harm to others. Defendants’ willful and wanton conduct caused Plaintiff to

24   suffer harm.

25          918.    The willful and wanton conduct of Defendants includes, but is not limited to, the

26   following:

27                  a.      Researching, designing, manufacturing, assembling, inspecting, testing,
                            packaging, labeling, marketing, advertising, promoting, supplying,
28


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 1              distributing, and/or selling their products, without thorough and adequate
                pre- and post-market testing;
 2
           b.   Failing to undertake sufficient studies and conduct necessary tests to
 3              determine whether or not their products were safe for their intended use;
 4
           c.   Failing to use reasonable and prudent care in the design, research,
 5              manufacture, formulation, and development of their products so as to
                avoid the risk of serious harm associated with the prevalent use of e-
 6              cigarette and nicotine products;
 7         d.   Designing and manufacturing their products to cause nicotine addiction,
                including by maximizing nicotine delivery while minimizing “throat hit”
 8              or “harshness”;
 9
           e.   Failing to utilize proper materials, ingredients, additives and components
10              in the design of their products to ensure they would not deliver unsafe
                doses of nicotine;
11
           f.   Designing and manufacturing their products to appeal to minors and
12              young people, including through the use of flavors and an easily
                concealable, tech-inspired design;
13

14         g.   Advertising, marketing, and promoting their products to minors, including
                through the use of viral social media campaigns;
15
           h.   Failing to take steps to prevent their products from being sold to,
16              distributed to, or used by minors;

17         i.   Failing to provide adequate instructions, guidelines, and safety precautions
                to those persons who Defendants could reasonably foresee would use their
18              products;
19
           j.   Affirmatively encouraging new JUUL users through an instructional
20              starter pack insert to disregard any initial discomfort and to continue e-
                cigarette use by instructing users to “keep trying even if the JUUL feels
21              too harsh,” and telling them, “[d]on’t give up, you’ll find your perfect
                puff”;
22
           k.   Failing to disclose to, or warn, Plaintiff, users, consumers, and the general
23              public of negative health consequences associated with exposure to
24              nicotine and other harmful and toxic ingredients contained in Defendants’
                products;
25
           l.   Misrepresenting to Plaintiff, users, consumers, and the general public the
26              actual nicotine content of Defendants’ products;
27         m.   Failing to disclose to Plaintiff, users, consumers, and the general public
                that Defendants’ products deliver more nicotine than represented;
28


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 1                  n.      Misrepresenting Defendants’ products as non-addictive, less addictive,
                            and/or safer nicotine delivery systems than traditional cigarettes;
 2
                    o.      Representing that Defendants’ products were safe for their intended use
 3                          when, in fact, Defendants knew or should have known that the products
 4                          were not safe for their intended use;

 5                  p.      Declining to make or propose any changes to the labeling or other
                            promotional materials for Defendants’ e-cigarette and nicotine products
 6                          that would alert consumers and the general public, including minors in
                            Plaintiff’s schools of the true risks of using Defendants’ products;
 7
                    q.      Advertising, marketing, and recommending Defendants’ products while
 8                          concealing and failing to disclose or warn of the dangers known by
 9                          Defendants to be associated with, or caused by, the use of Defendants’
                            products;
10
                    r.      Continuing to disseminate information to consumers, which indicates or
11                          implies that Defendants’ products are not unsafe for their intended use;
12                  s.      Continuing the manufacture and sale of Defendants’ products with
                            knowledge that the products were unreasonably unsafe, addictive, and
13
                            dangerous;
14
                    t.      Failing to recall Defendants’ products; and
15
                    u.      Committing other failures, acts, and omissions set forth herein.
16
            919.    Defendants breached the duties they owed to Plaintiff and in doing so, were
17
     wholly unreasonable. A responsible company, whose primary purpose is to help adult smokers,
18
     would not design a product to appeal to minors and nonsmokers nor market their products to
19
     minors and nonsmokers. If they are aware of the dangers of smoking and nicotine ingestion
20
     enough to create a device to help people stop smoking, then they are aware of the dangers
21
     enough to know that it would be harmful for young people and nonsmokers to use.
22
            920.    Defendants breached their duties through their false and misleading statements
23
     and omissions in the course of the manufacture, distribution, sale, and/or marketing of
24
     Defendants’ nicotine products.
25
            921.    As a foreseeable consequence of Defendants’ breaches of their duties, Plaintiff
26
     has suffered and will continue to suffer direct and consequential economic and other injuries as a
27
     result of dealing with the vaping epidemic in Plaintiff’s schools, including but not limited to:
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 1                  a.     Discipline and suspensions related to incidents of e-cigarette use in
                           Plaintiff’s schools have increased at alarming rates;
 2
                    b.     Because of the alarming rise of discipline and suspensions associated with
 3                         student e-cigarette use, Plaintiff has devoted and diverted staff resources
 4                         to develop a diversion program so as to allow students who are caught
                           using e-cigarettes to remain in school and in class where possible;
 5
                    c.     Students in Plaintiff’s schools, addicted to nicotine, have demonstrated
 6                         anxious, distracted and acting out behaviors, causing disruption and
                           diverting staff resources away from classroom instruction and requiring
 7                         additional time and attention for addicted students;
 8                  d.     Plaintiff has had to devote and divert staff resources to intervening in
 9                         student e-cigarette activities and coordinating necessary follow-up;

10                  e.     Plaintiff has had to devote and divert staff resources to conduct staff
                           training on e-cigarette use;
11
                    f.     Plaintiff has had to devote and divert staff resources to deploying student,
12                         family and parent-teacher education regarding the dangers of e-cigarette
                           products;
13

14          922.    Defendants engaged in conduct, as described above, that constituted malice,

15   oppression, or fraud, with intent to cause injury and/or with willful and knowing disregard of the

16   rights or safety of another, being fully aware of the probable dangerous consequences of the

17   conduct and deliberately failing to avoid those consequences.

18          923.    Defendants’ conduct constituting malice, oppression or fraud was committed by

19   one or more officers, directors, or managing agents of Defendants, who acted on behalf of

20   Defendants; and/or

21          924.    Defendants’ conduct constituting malice, oppression or fraud was authorized by

22   one or more officers, directors, or managing agents of Defendants; and/or

23          925.    One or more officers, directors, or managing agents of Defendants knew of the

24   conduct constituting malice, oppression, or fraud and adopted or approved that conduct after it

25   occurred.

26          926.    Defendants regularly risks the lives and health of consumers and users of its

27   products with full knowledge of the dangers of its products. Defendants made conscious

28   decisions not to redesign, re-label, warn, or inform the unsuspecting public, including


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 1   Plaintiff’s students or Plaintiff. Defendants’ willful, knowing and reckless conduct

 2   therefore warrants an award of aggravated or punitive damages.

 3                    VIOLATIONS OF SOUTH CAROLINA UNFAIR AND DECEPTIVE
              TRADE PRACTICES ACT, S.C. CODE ANN., §§ 39-5-10, ET SEQ. (ALL
 4                                 DEFENDANTS)
 5          927.    Plaintiff incorporates each preceding paragraph as though set forth fully herein.
 6          928.    The South Carolina Unfair Trade Practices Act, S.C. Code Ann., § 39-5-10, et
 7   seq. (“SCUTPA”) prohibits “[u]nfair methods of competition and unfair or deceptive acts or
 8   practices in the conduct of any trade or commerce.” S.C. Code Ann., § 39-5-20(a).
 9          929.    The Plaintiff is a “person” as defined in S.C. Code Ann., § 39-5-140. See, S.C.
10
     Code Ann., § 39-5-10.
11
            930.    All Defendants engaged in “[t]rade or commerce” within the meaning of S.C.
12
     Code Ann., § 39-5-10, during the relevant time periods, as detailed further herein.
13

14          931.    During the relevant period, and as alleged herein, Defendants each engaged in

15   unfair methods of competition and unfair or deceptive acts or practices in the conduct of any

16   trade or commerce, in violation of the SCUTPA, including by actively promoting and marketing
17
     e-cigarettes to minors, circulating false and misleading information concerning the safety of e-
18
     cigarettes, and downplaying or omitting the risk of addiction caused by their use.
19
            932.    Defendants’ violations of the SCUTPA offend public policy, are immoral,
20
     unethical, oppressive, or unscrupulous, as well as malicious, wanton, manifesting ill will, and
21

22   caused substantial injury to Plaintiff.

23          933.    Defendants’ conduct was willful or knowing under S.C. Code § 39-5-140.
24          934.    As a direct and proximate result of Defendants’ violations of the SCUTPA,
25
     Plaintiff has suffered damages, and is threatened with continuing harm.
26
            935.    Plaintiff is entitled to treble damages, declaratory and injunctive relief, attorneys’
27
     fees and costs, and all other remedies available under S.C. Code Ann., § 39-5-140.
28


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 1                                     VII.   PRAYER FOR RELIEF

 2          WHEREFORE, Plaintiff prays for judgment as follows:
 3          936.      Entering an Order that the conduct alleged herein constitutes a public nuisance
 4   under South Carolina law;
 5          937.      Entering an Order that Defendants are jointly and severally liable;
 6          938.      Entering an Order requiring Defendants to abate the public nuisance described
 7   herein and to deter and/or prevent the resumption of such nuisance;
 8          939.      Enjoining Defendants from engaging in further actions causing or contributing to
 9   the public nuisance as described herein;
10          940.      Awarding equitable relief to fund prevention education and addiction treatment;
11          941.      Awarding actual and compensatory damages;
12          942.      Awarding treble damages;
13          943.      Awarding punitive damages;
14          944.      Awarding statutory damages in the maximum amount permitted by law;
15          945.      Awarding reasonable attorneys’ fees and costs of suit;
16          946.      Awarding pre-judgment and post-judgment interest; and
17          947.      Such other and further relief as the Court deems just and proper under the
18   circumstances.
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 1                               VIII. JURY TRIAL DEMANDED

 2         948.   Plaintiff hereby demands a trial by jury.
 3

 4
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